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 Fill in this information to identify the case:

 Debtor name         Club Ventures Investments LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         17-10060
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          February 13, 2017                       X /s/ Howard Brodsky
                                                                       Signature of individual signing on behalf of debtor

                                                                       Howard Brodsky
                                                                       Printed name

                                                                       CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Club Ventures Investments LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)               17-10060
                                                                                                                                                                                          Check if this is an
                                                                                                                                                                                          amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                      12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                     $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                        $                165.08

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                       $                165.08


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                     $       45,116,680.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                        $        1,491,780.78

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                                +$        2,934,786.39


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                              $         49,543,247.17




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                    page 1
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 Fill in this information to identify the case:

 Debtor name         Club Ventures Investments LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         17-10060
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Bank of America                                         Checking                        6533                                       $140.76




           3.2.     Chase                                                   Checking                        6299                                         $24.32



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                        $165.08
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         Club Ventures Investments LLC                                                Case number (If known) 17-10060
                Name

13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                     Valuation method used     Current value of
                                                                                                     for current value         debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     DB 85 Gym Corp.                                                100       %                                            Unknown




           15.2.     Club Ventures X, LLC                                           100       %                                            Unknown




           15.3.     Club Ventures III, L.L.C.                                      100       %                                            Unknown


                     Several non-debtor subsidiaries: Club
                     Ventures II, L.L.C.; CV II Gym, LLC; CV 2,
                     LLC; CV III Gym, LLC; CV 3, LLC; Club
                     Ventures IV, LLC; CV IV Gym, LLC; Club
                     Ventures V, LLC; Club Ventures VI, LLC; CV
                     VII Gym, LLC; CLub Ventures VIII, LLC; CV
                     VIII Gym LLC; CV 4 Leasing, LLC; CV VI,
                     LLC; Club Ventures IX, LLC; Club Ventures
                     X, LLC; CV X Gym, LLC; Club Ventures XI,
                     LLC; Club Ventures XII, LLC. Some or all of
           15.4.     the subsidiaries may no longer be operating.                   100       %                                            Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                 $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 2
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 Debtor         Club Ventures Investments LLC                                                 Case number (If known) 17-10060
                Name



        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Office furniture at Astor Place location                                   $10,227.21                                            Unknown


           Office furniture at Bellevue location                                        $1,703.37                                           Unknown


           Office furniture at Chicago location                                         $4,278.66                                           Unknown


           Office furniture in corporate offices.                                           $0.00                                           Unknown



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computer equipment at Astor Place location                                       $0.00                                           Unknown


           Computer equipment at Bellevue location                                        $464.57                                           Unknown


           Computer equipment at Chicago location                                       $1,513.48                                           Unknown


           Computer equipment in corporate offices.                                         $0.00                                           Unknown



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                      $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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 Debtor         Club Ventures Investments LLC                                                 Case number (If known) 17-10060
                Name

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            Gym equipment at Astor Place location
            (inventory unavailable)                                                  $108,308.60                                            Unknown


            Gym equipment at Bellevue location (inventory
            unavailable)                                                              $64,955.56                                            Unknown


            Gym equipment at Chicago location (inventory
            unavailable)                                                             $107,857.39                                            Unknown


            Equipment in corporate offices (inventory
            unavailable)                                                                $4,385.61                                           Unknown




 51.        Total of Part 8.                                                                                                                 $0.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
                No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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 Debtor         Club Ventures Investments LLC                                                Case number (If known) 17-10060
                Name

            List of gym members.                                                       Unknown                                             Unknown



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                 $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities
            Commercial liability policy issued by National Casualty
            Company                                                                                                                        Unknown


            Commercial excess liability policy issued by National
            Casualty Company                                                                                                               Unknown



 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                                 $0.00
            Add lines 71 through 77. Copy the total to line 90.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 5
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 Debtor         Club Ventures Investments LLC                                                Case number (If known) 17-10060
                Name



 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 6
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 Debtor          Club Ventures Investments LLC                                                                       Case number (If known) 17-10060
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $165.08

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                   $165.08        + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                      $165.08




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 7
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 Fill in this information to identify the case:

 Debtor name         Club Ventures Investments LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)             17-10060
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Bank of America                                Describe debtor's property that is subject to a lien             $11,115,000.00                   Unknown
       Creditor's Name                                All assets.
       767 5th Avenue, Floor 12A
       New York, NY 10153
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Bank of America
       2. LBN Holdings LLC
       3. Praesidian Capital
       Investors, LP
       4. Praesidian II SPV1, LP
       5. Praesidian II SPV2, LP

 2.2   LBN Holdings LLC                               Describe debtor's property that is subject to a lien             $25,219,958.84                   Unknown
       Creditor's Name                                All assets.
       745 Fifth Avenue
       New York, NY 10151
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 3
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 Debtor       Club Ventures Investments LLC                                                            Case number (if know)    17-10060
              Name


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.3   Life Fitness                                   Describe debtor's property that is subject to a lien                     Unknown           $0.00
       Creditor's Name                                Accounts, money, general intangibles,
       Columbia Center III, 5th                       instruments, documents, chattel paper.
       Floor
       9525 Bryn Mawr Avenue
       Des Plaines, IL 60018
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Praesidian Capital
 2.4                                                                                                                       $2,424,765.18    Unknown
       Investors, LP                                  Describe debtor's property that is subject to a lien
       Creditor's Name                                All assets
       2 Madison Avenue
       Larchmont, NY 10538
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.5   Praesidian II SPV1, LP                         Describe debtor's property that is subject to a lien                 $5,683,836.99    Unknown
       Creditor's Name                                All assets
       2 Madison Avenue
       Larchmont, NY 10538
       Creditor's mailing address                     Describe the lien

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2 of 3
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 Debtor       Club Ventures Investments LLC                                                            Case number (if know)       17-10060
              Name


                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.
        Specified on line 2.1

 2.6    Praesidian II SPV2, LP                        Describe debtor's property that is subject to a lien                     $673,118.99            Unknown
        Creditor's Name                               All assets
        2 Madison Avenue
        Larchmont, NY 10538
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.
        Specified on line 2.1

                                                                                                                               $45,116,680.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 3
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                                                                       Pg 13 of 142
 Fill in this information to identify the case:

 Debtor name         Club Ventures Investments LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)           17-10060
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                           $88.18        $0.00
           ALEXANDRA L. THORSON                                      Check all that apply.
           250 ARGYLE RD.                                               Contingent
           2ND FLOOR                                                    Unliquidated
           BROOKLYN, NY 11218                                           Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $1,220.19         $0.00
           ANA CLAUDIA MENDES                                        Check all that apply.
           2331 1ST AVE.                                                Contingent
           # 5B                                                         Unliquidated
           NEW YORK, NY 10035                                           Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $644.56    $0.00
          ANDREA CARCHIA                                             Check all that apply.
          117 WEST 75TH                                                 Contingent
          APT 7                                                         Unliquidated
          NEW YORK, NY 10023                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,396.59    $0.00
          ANDREI JOVAN MORENO                                        Check all that apply.
          1821 MENAHAN                                                  Contingent
          RIDGEWOOD, NY 11385                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $480.94    $0.00
          ARIANA ARENTINO REYES                                      Check all that apply.
          2 PECK AVE                                                    Contingent
          #212B                                                         Unliquidated
          RYE, NY 10580                                                 Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $220.23    $0.00
          CHRISTINE LIN CHEN                                         Check all that apply.
          310 W 120TH ST PH8D                                           Contingent
          NEW YORK, NY 10027                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,860.10    $0.00
          CHRISTOPHER TRO WINN                                       Check all that apply.
          215 WEST 83RD ST.                                             Contingent
          APT. # 6G                                                     Unliquidated
          NEW YORK, NY 10024                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,511.33    $0.00
          COLE L. MCDONOUGH                                          Check all that apply.
          155 WEST 68TH STREET                                          Contingent
          APT # 327                                                     Unliquidated
          NEW YORK, NY 10023                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,905.90    $0.00
          DANIEL EVAN STRANSKY                                       Check all that apply.
          86-15 AVA PL                                                  Contingent
          JAMAICA ESTATES, NY 11432                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $264.66    $0.00
          DANIELLE ASARO                                             Check all that apply.
          25-34 31ST ST APT 3B                                          Contingent
          ASTORIA, NY 11102                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,655.96    $0.00
          DARLIN GIL                                                 Check all that apply.
          2186 5TH AVE APT #12B                                         Contingent
          NEW YORK, NY 10037                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $749.93    $0.00
          DERRICK COBB                                               Check all that apply.
          269 WEST 154TH ST                                             Contingent
          APT 3F                                                        Unliquidated
          NEW YORK, NY 10039                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,236.02    $0.00
          DOUGLAS JASON KELLY                                        Check all that apply.
          535 C 78 ST                                                   Contingent
          APT 6H                                                        Unliquidated
          NEW YORK, NY 10075                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,448.04    $0.00
          EDWIN ABRAHAM                                              Check all that apply.
          822 OCEAN AVE                                                 Contingent
          APT 3-E                                                       Unliquidated
          BROOKLYN, NY 11225                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,113.37    $0.00
          ELEAZAR ROJAS                                              Check all that apply.
          6 E. 167 ST.                                                  Contingent
          APT. 42                                                       Unliquidated
          BRONX, NY 10452                                               Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $41.33    $0.00
          GEORGE DAVID HIRSCH                                        Check all that apply.
          675 VANDERBILT AVE                                            Contingent
          APT # 1D                                                      Unliquidated
          BROOKLYN, NY 11238                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,924.58    $0.00
          HERNAN PAZMINO                                             Check all that apply.
          326 E. 84TH ST                                                Contingent
          APT 1B                                                        Unliquidated
          NEW YORK, NY 10028                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,704.41    $0.00
          HING MON MA                                                Check all that apply.
          1666 74TH ST                                                  Contingent
          BROOKLYN, NY 11204                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $17,057.45    $0.00
          HOWARD S BRODSKY                                           Check all that apply.
          9 GREAT HILL FARMS                                            Contingent
          RD                                                            Unliquidated
          BEDFORD, NY 10506                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $15,584.66    $0.00
          Illinois Department of Revenue                             Check all that apply.
                                                                        Contingent
          Springfield, IL 62719                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Witholding tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $107.00    $0.00
          Illinois Department of Revenue                             Check all that apply.
                                                                        Contingent
          Springfield, IL 62719                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Soft drink tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $233.00    $0.00
          Illinois Department of Revenue                             Check all that apply.
                                                                        Contingent
          Springfield, IL 62719                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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              Name

 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $70,122.40    $0.00
          Illinois Dept of Employment                                Check all that apply.
          Security                                                      Contingent
          33 S. State Street                                            Unliquidated
          10th Floor                                                    Disputed
          Chicago, IL 60603
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $952,222.43    $0.00
          Internal Revenue Service                                   Check all that apply.
          Centralized Insolvency Operation                              Contingent
          PO Box 7346                                                   Unliquidated
          Philadelphia, PA 19101                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Withholding
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,788.03    $4,788.03
          Internal Revenue Service                                   Check all that apply.
          Centralized Insolvency Operation                              Contingent
          PO Box 7346                                                   Unliquidated
          Philadelphia, PA 19101                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Unemployment tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $56.95    $0.00
          JAMAL HARDING                                              Check all that apply.
          194-02 115TH AVE                                              Contingent
          ST. ALBANS, NY 11412                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,126.08       $0.00
          JAMES JOSEPH RIZZO                                         Check all that apply.
          1461 1ST AVE                                                  Contingent
          SUITE 280                                                     Unliquidated
          NEW YORK, NY 10075                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          JAVIER ALONSO BENITEZ                                      Check all that apply.
          34-52 CRESCENT ST.                                            Contingent
          ASTORIA, NY 11106                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,343.17       $0.00
          JENNY ROBIN WEST                                           Check all that apply.
          409 EAST 64TH ST.                                             Contingent
          APT 2H                                                        Unliquidated
          NEW YORK, NY 10065                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $538.72       $0.00
          JOHN BOYD                                                  Check all that apply.
          333 EAST 34TH STREET                                          Contingent
          APT. 8A                                                       Unliquidated
          NEW YORK, NY 10016                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,733.73    $0.00
          JOSE BACA                                                  Check all that apply.
          90 CONVENT AVE                                                Contingent
          APT #1B                                                       Unliquidated
          NEW YORK, NY 10027                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $962.71    $0.00
          JOSEANN R RAMSUNDAR                                        Check all that apply.
          1491 EAST NEW YORK AVE.                                       Contingent
          BROOKLYN, NY 11212                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,954.91    $0.00
          JOSEPH H. DEBAUN                                           Check all that apply.
          235 E. 80TH ST.                                               Contingent
          # 4D                                                          Unliquidated
          NEW YORK, NY 10075                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $705.22    $0.00
          JUAN C. DEJESUS                                            Check all that apply.
          19-37 77TH ST                                                 Contingent
          APT 2                                                         Unliquidated
          EAST ELMHURST, NY 11370                                       Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,472.14    $0.00
          JULIE ANNA HANSEN                                          Check all that apply.
          66 W. 88TH ST.                                                Contingent
          2B                                                            Unliquidated
          NEW YORK, NY 10024                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,092.39    $0.00
          KAMAL HOSSAIN                                              Check all that apply.
          44 MAC DONOUGH ST                                             Contingent
          APT 1D                                                        Unliquidated
          BROOKLYN, NY 11216                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,896.13    $0.00
          KEVIN J. KAVANAUGH                                         Check all that apply.
          505 WEST 37TH ST.                                             Contingent
          # 3909                                                        Unliquidated
          NEW YORK, NY 10018                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $304.15    $0.00
          KHURELBAATAR K. OCHIR                                      Check all that apply.
          10 COOPER ST                                                  Contingent
          APT #C                                                        Unliquidated
          NEW YORK, NY 10034                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $119.40    $0.00
          KYLE A. CASHIN                                             Check all that apply.
          351 E. 82ND ST.                                               Contingent
          APT #3 FE                                                     Unliquidated
          NEW YORK, NY 10028                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $191.06    $0.00
          LAMAR RONNELL MCKAY                                        Check all that apply.
          917 SHERIDAN AVE                                              Contingent
          5N                                                            Unliquidated
          BRONX, NY 10460                                               Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,494.86    $0.00
          LAVINIA LONG                                               Check all that apply.
          709 W 176 STREET                                              Contingent
          # 1D                                                          Unliquidated
          NEW YORK, NY 10033                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,110.85    $0.00
          MARCIA D. BASHORE                                          Check all that apply.
          210 E 68TH STREET                                             Contingent
          APT #8M                                                       Unliquidated
          NEW YORK, NY 10021                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,628.22    $0.00
          MARFRED SUAZO                                              Check all that apply.
          2165 CHATTERTON 4C                                            Contingent
          BRONX, NY 10472                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $664.52    $0.00
          MARIA MUNOZ                                                Check all that apply.
          955 WALTON AVE                                                Contingent
          APT #4G                                                       Unliquidated
          BRONX, NY 10452                                               Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,562.61    $0.00
          MAUREEN FERGUS                                             Check all that apply.
          1577 YORK AVE                                                 Contingent
          APT 5N                                                        Unliquidated
          NEW YORK, NY 10028                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      $0.00
          Members                                                    Check all that apply.
          See attachment.                                               Contingent
                                                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 2.47     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $886.57       $0.00
          MICHAEL GARRETT                                            Check all that apply.
          350 E. 143RD ST.                                              Contingent
          BRONX, NY 10454                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.48     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MICHAEL NOLAN                                              Check all that apply.
          110 WEST 86TH ST.                                             Contingent
          # 12D                                                         Unliquidated
          NEW YORK, NY 10024                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.49     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,293.43       $0.00
          MOHAMMAD BAHAR UDDIN                                       Check all that apply.
          455 PROSPECT PLACE                                            Contingent
          APT #1L                                                       Unliquidated
          BROOKLYN, NY 11238                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.50     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,371.19       $0.00
          MOHAMMED HOSSAIN                                           Check all that apply.
          40-46 73RD STREET                                             Contingent
          2ND FLOOR                                                     Unliquidated
          WOODSIDE QUEENS, NY 11377                                     Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.51     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,888.66    $0.00
          MONIKA LOCKE                                               Check all that apply.
          425 E 74 ST                                                   Contingent
          APT. 6C                                                       Unliquidated
          NEW YORK, NY 10021                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.52     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $937.67    $0.00
          NADYA KARLINA                                              Check all that apply.
          168 E 81 ST                                                   Contingent
          #1B                                                           Unliquidated
          NEW YORK, NY 10028                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.53     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,495.43    $0.00
          NAZMINE AKHTER                                             Check all that apply.
          1059 GLENMORE AVE                                             Contingent
          #3R                                                           Unliquidated
          BROOKLYN, NY 11208                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.54     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,424.65    $0.00
          NICHOLAS J. DEBAUN                                         Check all that apply.
          21 MILBANK ROAD                                               Contingent
          STATEN ISLAND, NY 10306                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.55     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,081.87    $0.00
          NICOLE ELIZABET SPENCE                                     Check all that apply.
          1709 ADEE AVE                                                 Contingent
          BRONX, NY 10469                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.56     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,920.04    $0.00
          NICOLE LESHARLA HAMPTON                                    Check all that apply.
          506 E. 88TH ST.                                               Contingent
          APT. 4H                                                       Unliquidated
          NEW YORK, NY 10128                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.57     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $557.55    $0.00
          NORBERT PETI                                               Check all that apply.
          722 AMSTERDAM AVE                                             Contingent
          APT 1D                                                        Unliquidated
          NEW YORK, NY 10025                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.58     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,496.00    $0.00
          NYC Department of Finance                                  Check all that apply.
          Church Street Station                                         Contingent
          PO Box 3600                                                   Unliquidated
          New York, NY 10008                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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 2.59     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $23,256.21    $0.00
          NYS Department of Labor                                    Check all that apply.
          Unemployment Insurance Division                               Contingent
          WA Harriman State Campus                                      Unliquidated
          Albany, NY 12240                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.60     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $29,934.01    $29,934.01
          NYS Department of Taxation &                               Check all that apply.
          Finance                                                       Contingent
          WA Harriman State Campus                                      Unliquidated
          Albany, NY 12227                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Unemployment tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.61     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,354.62    $0.00
          NYS Department of Taxation and                             Check all that apply.
          Finance                                                       Contingent
          NYS Estimated Corporation Tax                                 Unliquidated
          PO Box 4136                                                   Disputed
          Binghamton, NY 13902
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.62     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $145,869.55    $0.00
          NYS Department of Taxation and                             Check all that apply.
          Finance                                                       Contingent
          WA Harriman State Campus                                      Unliquidated
          Albany, NY 12227                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Withholding Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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 2.63     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,826.96    $0.00
          NYS Department of Taxation and                             Check all that apply.
          Finance                                                       Contingent
          WA Harriman State Campus                                      Unliquidated
          Albany, NY 12227                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.64     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $22,775.72    $0.00
          NYS Department of Taxation and                             Check all that apply.
          Finance                                                       Contingent
          NYS Assessment Receivables                                    Unliquidated
          PO Box 4127                                                   Disputed
          Binghamton, NY 13902
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.65     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,637.74    $0.00
          PATRICK E. DOHERTY                                         Check all that apply.
          36 W 73RD                                                     Contingent
          APT. 2                                                        Unliquidated
          NEW YORK, NY 10023                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.66     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,887.92    $0.00
          PHILLIP A. ARICO                                           Check all that apply.
          1500 LEXINGTON AVENUE                                         Contingent
          APT 17D                                                       Unliquidated
          NEW YORK, NY 10029                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.67     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $539.05    $0.00
          ROBERT A BENTZ                                             Check all that apply.
          1601 THIRD AVE                                                Contingent
          APT 30D                                                       Unliquidated
          NEW YORK, NY 10128                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.68     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,016.72    $0.00
          ROBERT C. NGUYEN                                           Check all that apply.
          1 RIVER PLACE                                                 Contingent
          #3707                                                         Unliquidated
          NEW YORK, NY 10036                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.69     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $485.12    $0.00
          ROBERT LEE MENEFEE JR                                      Check all that apply.
          229 W 121ST ST                                                Contingent
          APT 5C                                                        Unliquidated
          NEW YORK, NY 10027                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.70     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $433.12    $0.00
          RYAN BARRY RIORDAN                                         Check all that apply.
          1030 5TH AVENUE                                               Contingent
          NEW YORK, NY 10028                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.71     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $245.09    $0.00
          RYAN MATTHEW HALL                                          Check all that apply.
          556 WEST 181 ST                                               Contingent
          APT I                                                         Unliquidated
          NEW YORK, NY 10033                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.72     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,152.41    $0.00
          SCOTT M. FREIMAUER                                         Check all that apply.
          327 MIDLAND COURT                                             Contingent
          UNIT G1                                                       Unliquidated
          WEST NEW YORK, NJ 07093                                       Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (1)
                                                                        Yes


 2.73     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,656.48    $0.00
          SEAN TARR                                                  Check all that apply.
          P.O. BOX 974                                                  Contingent
          CANAAN, CT 06018                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.74     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $988.17    $0.00
          SHANASIA A HODGES                                          Check all that apply.
          2652 CROPSEY AVE                                              Contingent
          APT 7A                                                        Unliquidated
          BROOKLYN, NY 11214                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.75     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          STEPHEN CHARLES LINCOLN                                    Check all that apply.
          207 8TH AVENUE                                                Contingent
          APT 5S                                                        Unliquidated
          NEW YORK, NY 10011                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.76     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $998.79       $0.00
          SVEN MALDONADO                                             Check all that apply.
          87-10 37 AVE.                                                 Contingent
          APT. 414                                                      Unliquidated
          JACKSON HEIGHTS, NY 11372                                     Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.77     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $8,731.66       $0.00
          TERRENCE M. WALCOTT                                        Check all that apply.
          145-53 225 ST.                                                Contingent
          LAURELTON, NY 11413                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.78     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $213.80       $0.00
          VALORIOS A. SHAFFER                                        Check all that apply.
          16 MONACO PLACE # 3                                           Contingent
          BROOKLYN, NY 11233                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.79     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $689.35    $0.00
          VASTEE DE-LORD JACKSON                                     Check all that apply.
          1250 5TH AVE                                                  Contingent
          APT 5L                                                        Unliquidated
          NEW YORK, NY 10029                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (1)
                                                                        Yes


 2.80     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,973.27    $0.00
          VLADIMIR LUCIC                                             Check all that apply.
          210 E. 63RD ST.                                               Contingent
          NEW YORK, NY 10065                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.81     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $45,502.51    $0.00
          Washington Department of                                   Check all that apply.
          Revenue                                                       Contingent
          PO Box 47464                                                  Unliquidated
          Olympia, WA 98504                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.82     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $12,241.34    $0.00
          Washington Department of                                   Check all that apply.
          Revenue                                                       Contingent
          PO Box 47464                                                  Unliquidated
          Olympia, WA 98504                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Excise tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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 2.83       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         $10,339.86         $0.00
            Washington Department of                                 Check all that apply.
            Revenue                                                     Contingent
            PO Box 47464                                                Unliquidated
            Olympia, WA 98504                                           Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Sales tax
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.84       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         $18,291.03         $0.00
            Washington State Employment                              Check all that apply.
            Security Dep                                                Contingent
            Insolvency Unit                                             Unliquidated
            PO Box 9046                                                 Disputed
            Olympia, WA 98507
            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.85       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                             $632.18        $0.00
            YASIRIS E VARGAS GONZALEZ                                Check all that apply.
            111 E MOSHOLU PKWY N                                        Contingent
            BRONX, NY 10467                                             Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.86       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $1,215.93         $0.00
            ZUZANA KUCHAROVICOVA                                     Check all that apply.
            1590 MADISON AVE                                            Contingent
            APT 20F                                                     Unliquidated
            NEW YORK, NY 10029                                          Disputed

            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim




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 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $53,450.05
          200 South Biscayne TIC II LLC                                         Contingent
          200 South Biscayne Blvd                                               Unliquidated
          Suite 350
                                                                                Disputed
          Miami, FL 33131
          Date(s) debt was incurred
                                                                             Basis for the claim:    Guarantee of Club Ventures Miami lease
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $16,969.07
          Abacus Systems Solutions LLC                                          Contingent
          Attn.: JB Edwards                                                     Unliquidated
          27 E. Sheridan, 2nd Floor                                             Disputed
          Oklahoma City, OK 73104
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,349.50
          ABC Automatic Fire Protection                                         Contingent
          252 W. 38th Street, Ste. 1402                                         Unliquidated
          New York, NY 10018                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,718.18
          ABCO Facility Maintenance                                             Contingent
          834 Morrow Street                                                     Unliquidated
          Staten Island, NY 10303                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,571.00
          Acme Linen Co.                                                        Contingent
          5136 E. Triggs Street                                                 Unliquidated
          Los Angeles, CA 90022                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $11,182.69
          Admiral Mechanical Services                                           Contingent
          4150 Litt Drive                                                       Unliquidated
          Hillside, IL 60162                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          ADR Drexel, LLC
          c/o Spector Gadon & Rosen, P.C.                                       Contingent
          Attn.: Paul R. Rosen & Andrew J. DeFalco                              Unliquidated
          1635 Market Street, 7th Floor                                         Disputed
          Philadelphia, PA 19103
                                                                             Basis for the claim:    Breach of contract action
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $967.24
          Aetna Behavioral Health LLC                                           Contingent
          Box 3791                                                              Unliquidated
          PO Box 8500                                                           Disputed
          Philadelphia, PA 19178
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $367.70
          Agora NW LLC                                                          Contingent
          12600 Interurban Ave S                                                Unliquidated
          Suite 160                                                             Disputed
          Seattle, WA 98168
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $759.41
          Airtronics Air Conditioning Corp.                                     Contingent
          208 E. 51st Street                                                    Unliquidated
          Suite 203                                                             Disputed
          New York, NY 10022
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,879.85
          Americare Systems Inc.                                                Contingent
          136 Arlington Avenue                                                  Unliquidated
          Bloomfield, NJ 07003                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,636.90
          Americare Systems Inc.                                                Contingent
          136 Arlington Avenue                                                  Unliquidated
          Bloomfield, NJ 07003                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Chemicals
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,282.56
          Ashland Plumbing & Heating Co.                                        Contingent
          4160 N. Elston Ave                                                    Unliquidated
          Chicago, IL 60618                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,365.88
          AT&T Chicago                                                          Contingent
          PO Box 5080                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,500.00
          Atlas Fitness Systems                                                 Contingent
          PO Box 822685                                                         Unliquidated
          Philadelphia, PA 19182                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,204.00
          AXA Equitable                                                         Contingent
          6314 Fly Rd.                                                          Unliquidated
          East Syracuse, NY 13057                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $30,616.67
          Bank of America                                                       Contingent
          PO Box 660576                                                         Unliquidated
          Dallas, TX 75266                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,287.19
          Beacon Plumbing Heating & Mechanical Inc                              Contingent
          8611 South 192nd Street                                               Unliquidated
          Kent, WA 98031                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $525.00
          Bellevue Downtown Association                                         Contingent
          400 108th Ave NE                                                      Unliquidated
          Suite 110                                                             Disputed
          Bellevue, WA 98004
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,681.25
          Benefit Practice                                                      Contingent
          1055 Washington Blvd                                                  Unliquidated
          Suite 540                                                             Disputed
          Stamford, CT 06901
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $219.60
          Beverage Works NY, Inc.                                               Contingent
          1800 Highway 34                                                       Unliquidated
          Suite 203                                                             Disputed
          Belmar, NJ 07719
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,708.00
          Big Apple Dist                                                        Contingent
          1628 Bathgate Ave                                                     Unliquidated
          Bronx, NY 10457                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $184.00
          Big Geyser Inc.                                                       Contingent
          57-65 48th Street                                                     Unliquidated
          Maspeth, NY 11378                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,988.67
          BMI                                                                   Contingent
          PO Box 630893                                                         Unliquidated
          Cincinnati, OH 45263                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $112.50
          Bobby D Dulaney                                                       Contingent
          48 Saint Nicholas Pl #27                                              Unliquidated
          New York, NY 10031                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,564.21
          Bravern Bellevue BIT LLC                                              Contingent
          PO Box 310300                                                         Unliquidated
          Property: 262110                                                      Disputed
          Des Moines, IA 50331
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,551.82
          Bulbs.com                                                             Contingent
          243 Stafford St.                                                      Unliquidated
          Worcester, MA 01603                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,749.08
          CDW Direct                                                            Contingent
          PO Box 75723                                                          Unliquidated
          Chicago, IL 60675                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $609.70
          Century Waste Services LLC                                            Contingent
          PO Box 1109                                                           Unliquidated
          623 Dowd Ave                                                          Disputed
          Elizabeth, NJ 07201
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $352.26
          CenturyLink                                                           Contingent
          PO Box 91155                                                          Unliquidated
          Seattle, WA 98111                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,332.63
          Chemical Specifics, Inc.                                              Contingent
          46-09 54th Road                                                       Unliquidated
          Maspeth, NY 11378                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    85th Street
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,143.30
          Chemical Specifics, Inc.                                              Contingent
          46-09 54th Road                                                       Unliquidated
          Maspeth, NY 11378                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Astor Place
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $657.68
          City Fire Extinguisher Protection Corp.                               Contingent
          PO Box 190518                                                         Unliquidated
          South Richmond Hill, NY 11419                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $381.06
          City Gas Heating Service Co., Inc.                                    Contingent
          431 Barretto Street                                                   Unliquidated
          Bronx, NY 10474                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $62.50
          Code LLC                                                              Contingent
          40 Worth Street                                                       Unliquidated
          Suite 1221                                                            Disputed
          New York, NY 10013
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $150.00
          Cold Blooded Productions Inc.                                         Contingent
          111 Third Ave #9H                                                     Unliquidated
          New York, NY 10003                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $772.05
          Comcast                                                               Contingent
          PO Box 34744                                                          Unliquidated
          Seattle, WA 98124                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $12,279.96
          ComEd                                                                 Contingent
          PO Box 6111                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $11,600.12
          ConEdison                                                             Contingent
          JAF Station                                                           Unliquidated
          PO Box 1701                                                           Disputed
          New York, NY 10116
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,406.24
          Corporation Service Company                                           Contingent
          PO Box 13397                                                          Unliquidated
          Philadelphia, PA 19101                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,000.00
          Creative Mirror & Shower                                              Contingent
          2141 W. Army Trail Rd.                                                Unliquidated
          Addison, IL 60101                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $510.00
          Custom Security Systems                                               Contingent
          1145 Siesta Key Ln                                                    Unliquidated
          Elgin, IL 60120                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,233.70
          DavEd Fire Systems Inc.                                               Contingent
          307 West Pleasantview Avenue                                          Unliquidated
          Hackensack, NJ 07601                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,849.45
          DGA Security Systems Inc                                              Contingent
          PO Box 1920                                                           Unliquidated
          New York, NY 10101                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $396.87
          DirecTV                                                               Contingent
          PO Box 60036                                                          Unliquidated
          Los Angeles, CA 90060                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $225.00
          DJ Sammy Jo                                                           Contingent
          520 E. 12th Street #7C                                                Unliquidated
          New York, NY 10009                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,584.13
          Duct & Vent Cleaning of America, Inc.                                 Contingent
          311 Page Boulevard                                                    Unliquidated
          Springfield, MA 01104                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,400.00
          East Coast Mechanical Contracting Corp.                               Contingent
          340 Jackson Avenue                                                    Unliquidated
          Bronx, NY 10454                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $281.99
          Eastern American Technologies                                         Contingent
          35 Larkfield Road                                                     Unliquidated
          East Northport, NY 11731                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $693.81
          EK Beverage Company                                                   Contingent
          22145 68th Avenue South                                               Unliquidated
          Kent, WA 98032                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $244.52
          Electro Mechanical Technical Group Inc.                               Contingent
          115 West 30th Street                                                  Unliquidated
          Suite 202                                                             Disputed
          New York, NY 10001
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,578.17
          Empire State Plumbing & Heating Corp.                                 Contingent
          199-10 32nd Avenue                                                    Unliquidated
          Flushing, NY 11358                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $97,196.09
          EQC 600 West Chicago Property LLC                                     Contingent
          7847 Solution Center                                                  Unliquidated
          Chicago, IL 60677                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $226.00
          First Illinois Systems, Inc.                                          Contingent
          53 South Cypress Drive                                                Unliquidated
          Bristol, IL 60512                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,217.96
          Fitness Resource                                                      Contingent
          31 Commercial Street                                                  Unliquidated
          Plainview, NY 11803                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,000.00
          Flyte Fitness                                                         Contingent
          311 East 92nd Street #4E                                              Unliquidated
          New York, NY 10128                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,886.61
          Fore Supply Co.                                                       Contingent
          1205 Capital Drive                                                    Unliquidated
          Addison, IL 60101                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $143.81
          Francotyp-Postalia Inc.                                               Contingent
          PO Box 4510                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,699.00
          George Montoya                                                        Contingent
          16 Terrace Ave, 1st Floor                                             Unliquidated
          Jersey City, NJ 07307                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,409.20
          Glanbia Performance Nutritions, Inc.                                  Contingent
          Dept 331                                                              Unliquidated
          Carol Stream, IL 60132                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $86.70
          Global Capacity                                                       Contingent
          Dept 33408                                                            Unliquidated
          PO Box 39000                                                          Disputed
          San Francisco, CA 94139
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,541.94
          Golenbock Eiseman Assor Bell                                          Contingent
          & Peskoe                                                              Unliquidated
          437 Madison Avenue                                                    Disputed
          New York, NY 10022
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $81,303.07
          Gordon & Rees LLP                                                     Contingent
          275 Battery Street, 20th Floor                                        Unliquidated
          San Francisco, CA 94111                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,125.00
          Graystar Construction, Inc.                                           Contingent
          1259 Rand Road                                                        Unliquidated
          Unit B                                                                Disputed
          Des Plaines, IL 60016
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $29,027.16
          Greenberg Traurig, LLP                                                Contingent
          200 Park Avenue                                                       Unliquidated
          New York, NY 10166                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,500.00
          Hercules Fitness Corporation                                          Contingent
          62-14 81st Street                                                     Unliquidated
          Middle Village, NY 11379                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,870.00
          Homeyer Consulting Services, Inc.                                     Contingent
          36 Hillman Street                                                     Unliquidated
          Suite 8                                                               Disputed
          Tewksbury, MA 01876
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,928.95
          Howard Brodsky                                                        Contingent
          9 Great Hill Farms Rd                                                 Unliquidated
          Bedford, NY 10506                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,629.72
          Howard M. Haimes, Inc.                                                Contingent
          41 Garden Place                                                       Unliquidated
          Brooklyn, NY 11201                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $123,229.22
          HUB International Northeast Trust                                     Contingent
          PO Box 414972                                                         Unliquidated
          Boston, MA 02241                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,625.00
          Impacct                                                               Contingent
          149 Madison Avenue                                                    Unliquidated
          Suite 201                                                             Disputed
          New York, NY 10016
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $20,000.00
          In House LLC                                                          Contingent
          6237 Alton Road                                                       Unliquidated
          Miami Beach, FL 33140                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $15,667.50
          Intrannuity                                                           Contingent
          3100 Gentian Blvd                                                     Unliquidated
          Suite 118                                                             Disputed
          Columbus, GA 31907
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $43,324.60
          IPFS Corporation                                                      Contingent
          24722 Network Pl.                                                     Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $577.04
          Jenisse Leisure Products Inc.                                         Contingent
          5 Van Duyne Court                                                     Unliquidated
          Towaco, NJ 07082                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,900.00
          Jersey Software LLC                                                   Contingent
          50 Rockport Road                                                      Unliquidated
          Port Murray, NJ 07865                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $230.53
          Jimenez Velo Sports                                                   Contingent
          22 Saint Lukes Pl. #24                                                Unliquidated
          Montclair, NJ 07042                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $141.60
          Joe Cataldi                                                           Contingent
          17 Long Meadow Rd                                                     Unliquidated
          Commack, NY 11725                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $756.82
          John's Market                                                         Contingent
          25-50 50th Avenue                                                     Unliquidated
          Long Island City, NY 11101                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,049.60
          K&H Custodial Services Inc.                                           Contingent
          967 Glenmore Ave                                                      Unliquidated
          Brooklyn, NY 11208                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $66,873.07
          LCO Group                                                             Contingent
          420 Lexington Ave                                                     Unliquidated
          Suite 2154                                                            Disputed
          New York, NY 10170
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,599.59
          M&S Mechanical Services, Inc.                                         Contingent
          855 Conklin Street                                                    Unliquidated
          Suite F                                                               Disputed
          Farmingdale, NY 11735
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,820.99
          M.T. Air Corporation                                                  Contingent
          114 Beach 216th Street                                                Unliquidated
          Breezy Point, NY 11697                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $750.00
          Mango & Iacoviello, LLP                                               Contingent
          14 Penn Plaza                                                         Unliquidated
          Suite 1919                                                            Disputed
          New York, NY 10122
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $237.20
          Manhattan Fire & Safety Corp.                                         Contingent
          242 West 30th Street, 7th Floor                                       Unliquidated
          New York, NY 10001                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $112,924.15
          Mansion Realty, LLC                                                   Contingent
          150 East 58th Street                                                  Unliquidated
          New York, NY 10155
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Guarantee of Club Ventures Limelight lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $128,750.00
          McGladrey LLP                                                         Contingent
          850 Canal Street                                                      Unliquidated
          4th Floor                                                             Disputed
          Stamford, CT 06902
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,632.42
          Mckinstry Co LLC                                                      Contingent
          c/o McKinstry Lockbox                                                 Unliquidated
          PO Box 3895                                                           Disputed
          Seattle, WA 98124
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $23,301.92
          Meridian Sports Clubs California LLC                                  Contingent
          1001 Fourth Street                                                    Unliquidated
          San Rafael, CA 94901                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $74,695.41
          Morrison Cohen                                                        Contingent
          909 Third Avenue                                                      Unliquidated
          27th Floor                                                            Disputed
          New York, NY 10022
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $425,000.00
          Motionsoft, Inc.                                                      Contingent
          Attn.: Ed Darwish                                                     Unliquidated
          1451 Rockville Pike, Suite 500                                        Disputed
          Rockville, MD 20852
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $183.76
          Motionsoft, Inc.                                                      Contingent
          23 Fontana Lane                                                       Unliquidated
          Suite 111                                                             Disputed
          Rosedale, MD 21237
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,679.89
          Muscle Foods USA                                                      Contingent
          PO Box 62808                                                          Unliquidated
          Baltimore, MD 21264                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,000.00
          My Red Fish Media LLC                                                 Contingent
          605 Lincoln Road                                                      Unliquidated
          Suite 220                                                             Disputed
          Miami Beach, FL 33139
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $20,150.00
          National Positions                                                    Contingent
          31280 Oak Crest Drive                                                 Unliquidated
          Suite 1                                                               Disputed
          Westlake Village, CA 91361
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,568.70
          New York Barbell of Hicksville                                        Contingent
          37 17th Street                                                        Unliquidated
          Jericho, NY 11753                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $606,725.89
          NewMark & Co. Real Estate Inc.                                        Contingent
          125 Park Avenue                                                       Unliquidated
          11th Floor                                                            Disputed
          New York, NY 10017
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,200.00
          Northwest Building Maintenance                                        Contingent
          1600 SW Dash Point Rd.                                                Unliquidated
          Suite B54                                                             Disputed
          Federal Way, WA 98023
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,607.04
          Nouveau Elevator Industries Inc.                                      Contingent
          74 Calyer Street                                                      Unliquidated
          Brooklyn, NY 11222                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,084.27
          Ovarian Cancer Research Fund                                          Contingent
          14 Pennsylvania Plaza                                                 Unliquidated
          Suite 1710                                                            Disputed
          New York, NY 10122
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $14,807.00
          Paramount Plumbing Company, Inc                                       Contingent
          315 Jackson Ave                                                       Unliquidated
          Bronx, NY 10454                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $14,461.84
          Paychex of New York LLC                                               Contingent
          714 Brook Street                                                      Unliquidated
          Suite 120                                                             Disputed
          Rocky Hill, CT 06067
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,055.54
          Peitzman Weg & Kempinsky LLP                                          Contingent
          2029 Century Park East                                                Unliquidated
          Suite 3100                                                            Disputed
          Los Angeles, CA 90067
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $857.44
          Peoples Gas                                                           Contingent
          200 E. Randolph St                                                    Unliquidated
          Chicago, IL 60601                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,389.85
          Peter F Reilly Storage Inc.                                           Contingent
          PO Box 401A                                                           Unliquidated
          New York, NY 10024                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $18,812.05
          Petra Hygienic Systems International Ltd                              Contingent
          PO Box 18217                                                          Unliquidated
          Reno, NV 89511                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $683.23
          Pioneer Door, Inc.                                                    Contingent
          2130 19th St. SW                                                      Unliquidated
          Lynnwood, WA 98036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,684.50
          PSF Mechanical Inc.                                                   Contingent
          11621 East Marginal Way S.                                            Unliquidated
          Suite A                                                               Disputed
          Seattle, WA 98168
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,377.25
          Quality Water Financial LLC                                           Contingent
          1756 Airport Way S                                                    Unliquidated
          Seattle, WA 98134                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $413.47
          Quality Water Solutions, LLC                                          Contingent
          1756 Airport Way S                                                    Unliquidated
          North Building                                                        Disputed
          Seattle, WA 98134
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $750.00
          R&R Commercial Services Corp.                                         Contingent
          549 Sunset Park Terrace                                               Unliquidated
          Suite 1B                                                              Disputed
          Brooklyn, NY 11220
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $430.00
          Rabbit Messenger Inc.                                                 Contingent
          PO Box 1196                                                           Unliquidated
          New York, NY 10018                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $112.50
          Raymond Digiacomo                                                     Contingent
          308 West 21st Street #4B                                              Unliquidated
          New York, NY 10011                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $241.45
          RCN                                                                   Contingent
          PO Box 11816                                                          Unliquidated
          Newark, NJ 07101                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,905.34
          Receivable Management Services                                        Contingent
          PO Box 8500-55028                                                     Unliquidated
          Philadelphia, PA 19178                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,965.00
          Refinery 29, Inc                                                      Contingent
          30 Cooper Square                                                      Unliquidated
          4th Floor                                                             Disputed
          New York, NY 10003
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,020.92
          Rifkind Law Group                                                     Contingent
          100 Drakes lLanding Road                                              Unliquidated
          Suite 260                                                             Disputed
          Greenbrae, CA 94904
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $400.00
          Rise Electric LLC                                                     Contingent
          1071 N. Hermitage Ave                                                 Unliquidated
          Chicago, IL 60622                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,205.00
          Robear MP LLC                                                         Contingent
          2130 1st Avenue                                                       Unliquidated
          Suite 1608                                                            Disputed
          New York, NY 10029
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $682.00
          Royal Media Network, Inc.                                             Contingent
          1030 B. Leslie Ave                                                    Unliquidated
          Catonsville, MD 21228                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $734.91
          Royal Waste Services Inc.                                             Contingent
          187-40 Hollis Avenue                                                  Unliquidated
          Hollis, NY 11423                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $77.76
          Schindler Elevator Corporation                                        Contingent
          13800 NW 2nd Street                                                   Unliquidated
          Suite 140                                                             Disputed
          Sunrise, FL 33325
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,437.89
          Scope                                                                 Contingent
          560 W. Main Street                                                    Unliquidated
          Suite C153                                                            Disputed
          Alhambra, CA 91801
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Scott A. Barbuto
          c/o The Jacob D. Fuchsberg Law Firm, LLP                              Contingent
          500 Fifth Avenue, 45th Floor                                          Unliquidated
          Attn.: Alan Fuchsberg, Walter Osuna                                   Disputed
          New York, NY 10110
                                                                             Basis for the claim:    Personal injury suit
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $112.50
          Scott Morgan                                                          Contingent
          1447 5th Ave #1                                                       Unliquidated
          New York, NY 10035                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,000.00
          Seth A. Eappen
          Zimmerman Law Offices, P.C.                                           Contingent
          77 West Washington Street                                             Unliquidated
          Suite 1220                                                            Disputed
          Chicago, IL 60602
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $12,188.86
          Shadow Public Relations                                               Contingent
          30 West 21 Street                                                     Unliquidated
          10th Floor                                                            Disputed
          New York, NY 10010
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,875.50
          Shearman & Sterling LLP                                               Contingent
          599 Lexington Avenue                                                  Unliquidated
          New York, NY 10022                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,816.89
          Slade Elevator Industries, Inc.                                       Contingent
          1101 Bristol Road                                                     Unliquidated
          Mountainside, NJ 07092                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,935.59
          Smart Fitness                                                         Contingent
          3481 Old Conejo Rd #102                                               Unliquidated
          Newbury Park, CA 91320                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,560.00
          Sofia Bros., Inc.                                                     Contingent
          PO Box 401A                                                           Unliquidated
          New York, NY 10024                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,251.68
          Staples Advantages                                                    Contingent
          Dept NY                                                               Unliquidated
          PO Box 415256                                                         Disputed
          Boston, MA 02241
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,045.20
          TalentReef, Inc                                                       Contingent
          210 University Blvd                                                   Unliquidated
          Suite 300                                                             Disputed
          Denver, CO 80206
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $226,795.99
          TCF Equipment Finance                                                 Contingent
          11100 Wayzata Boulevard                                               Unliquidated
          Suite 801                                                             Disputed
          Minnetonka, MN 55305
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,144.85
          Temp-Art Mechanical Inc.                                              Contingent
          199 Hempstead Avenue                                                  Unliquidated
          West Hempstead, NY 11552                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $136,772.00
          The Shops at the Bravern, LLC                                         Contingent
          700 110th Avenue N.E.                                                 Unliquidated
          Suite 288
                                                                                Disputed
          Bellevue, WA 98004
          Date(s) debt was incurred
                                                                             Basis for the claim:    Guarantee of Club Ventures X lease
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $568.97
          Time Warner Cable                                                     Contingent
          PO Box 11820                                                          Unliquidated
          Newark, NJ 07101                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,668.00
          TNR Mechanical LLC                                                    Contingent
          2010 Touhy Ave                                                        Unliquidated
          Suite B                                                               Disputed
          Elk Grove Village, IL 60007
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $156,059.84
          U.S. Trustee                                                          Contingent
          PO Box 530202                                                         Unliquidated
          Atlanta, GA 30353-0202                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,012.66
          Uline                                                                 Contingent
          12575 Uline Dr                                                        Unliquidated
          Pleasant Prairie, WI 53158                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.141     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $2,454.59
           US Intercommunications Corp.                                         Contingent
           6 Whippoorwill Trail                                                 Unliquidated
           Monroe, NY 10950                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,989.40
           Verizon                                                              Contingent
           PO Box 15124                                                         Unliquidated
           Albany, NY 12212                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,047.49
           Verizon Wireless                                                     Contingent
           PO Box 408                                                           Unliquidated
           Newark, NJ 07101                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $7,419.63
           W.B. Mason Co. Inc.                                                  Contingent
           59 Centre Street                                                     Unliquidated
           Brockton, MA 02301                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $412.39
           Washington Automated Inc.                                            Contingent
           5801-23rd Drive W.                                                   Unliquidated
           Suite 103                                                            Disputed
           Everett, WA 98203
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.146     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $704.42
           Western Pest Services                                                Contingent
           100 Marin Blvd                                                       Unliquidated
           Jersey City, NJ 07302                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,230.42
           XO Communications                                                    Contingent
           14239 Collections Center Drive                                       Unliquidated
           Chicago, IL 60693                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.


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   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                               On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any
 4.1      Blank Rome LLP
          Attn.: Brian S. Paszamant, Esq.                                                        Line   3.7
          One Logan Square
                                                                                                        Not listed. Explain
          130 N. 18th Street
          Philadelphia, PA 19103

 4.2      Havkins Rosenfeld Ritzert & Varriale LLP
          Attn.: Shawn Schatzle & Carla Varriale                                                 Line   3.124
          1065 Avenue of the Americas, Ste. 800
                                                                                                        Not listed. Explain
          New York, NY 10018

 4.3      Illinois Department of Revenue
          Bankruptcy Section                                                                     Line   2.20
          PO Box 64338
                                                                                                        Not listed. Explain
          Chicago, IL 60664

 4.4      Illinois Department of Revenue
          Bankruptcy Section                                                                     Line   2.21
          PO Box 64338
                                                                                                        Not listed. Explain
          Chicago, IL 60664

 4.5      Illinois Department of Revenue
          Bankruptcy Section                                                                     Line   2.22
          PO Box 64338
                                                                                                        Not listed. Explain
          Chicago, IL 60664

 4.6      Illinois Dept of Employment Security
          Benefit Payment Control Division                                                       Line   2.23
          PO Box 4385
                                                                                                        Not listed. Explain
          Chicago, IL 60680

 4.7      New York City Law Department
          Tax and Bankruptcy Litigation Division                                                 Line   2.58
          100 Church Street
                                                                                                        Not listed. Explain
          New York, NY 10007

 4.8      NYC Department of Finance
          345 Adams Street, 3rd Floor                                                            Line   2.58
          Attn.: Legal Affairs
                                                                                                        Not listed. Explain
          Brooklyn, NY 11201

 4.9      NYS Department of Taxation & Finance
          Bankruptcy/Special Procedures Section                                                  Line   2.61
          PO Box 5300
                                                                                                        Not listed. Explain
          Albany, NY 12205

 4.10     NYS Department of Taxation & Finance
          Bankruptcy/Special Procedures Section                                                  Line   2.62
          PO Box 5300
                                                                                                        Not listed. Explain
          Albany, NY 12205

 4.11     NYS Department of Taxation & Finance
          Bankruptcy/Special Procedures Section                                                  Line   2.63
          PO Box 5300
                                                                                                        Not listed. Explain
          Albany, NY 12205

 4.12     NYS Department of Taxation & Finance
          Bankruptcy/Special Procedures Section                                                  Line   2.64
          PO Box 5300
                                                                                                        Not listed. Explain
          Albany, NY 12205

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              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.13      NYS Department of Taxation & Finance
           Bankruptcy/Special Procedures Section                                                 Line     2.60
           PO Box 5300
                                                                                                        Not listed. Explain
           Albany, NY 12205

 4.14      Thompson Hine LLP
           Attn.: Jeremy M. Campana, Esq.                                                        Line     3.91
           3900 Key Center
                                                                                                        Not listed. Explain
           127 Public Square
           Cleveland, OH 44114

 4.15      Washington Department of Revenue
           Bankruptcy/Claims Unit                                                                Line     2.81
           2101 4th Ave #1400
                                                                                                        Not listed. Explain
           Seattle, WA 98121

 4.16      Washington Department of Revenue
           Bankruptcy/Claims Unit                                                                Line     2.82
           2101 4th Ave #1400
                                                                                                        Not listed. Explain
           Seattle, WA 98121

 4.17      Washington Department of Revenue
           Bankruptcy/Claims Unit                                                                Line     2.83
           2101 4th Ave #1400
                                                                                                        Not listed. Explain
           Seattle, WA 98121


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                  1,491,780.78
 5b. Total claims from Part 2                                                                       5b.    +     $                  2,934,786.39

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                    4,426,567.17




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 45 of 45
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 In re    Club Ventures Investments LLC                                          Case No.     17-10060
                                                         Debtor(s)



              SCHEDULE E - CREDITORS WHO HAVE PRIORITY UNSECURED CLAIMS
                                          Attachment A - Gym Members



Please note: These are the complete member lists for the gym locations at 4 Astor Place, New York, NY; 30 East 85th
Street, New York, NY; 600 W. Chicago Avenue, Chicago, IL; and 11111 NE 8th Street, Bellevue, WA, all of which are
operated by Club Ventures Investments LLC. These lists include members who may have already obtained refunds from
their credit card companies. Due to the expense, we are unable to obtain details regarding the amount owed to each
member and/or which members are no longer owed any amounts because they got a refund from their credit card
company at this time.
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Name                       Address1                              Address2      City          State   Zip
Heather Lorence            435 East 79th Street 4H                             New York      NY              10028
David Martinez             137 Ave A                             Apt 5C        New York      NY              10009
Franck Laverdin            1 UNIVERSITY PLACE #18B                             NEW YORK      NY              10003
Stan Richardson            PO Box 2262 Radio City Station                      NEW YORK      NY              10101
Ben Hart                   6600 Blvd E.                          #20H          West New York NJ               7097
Chi-chi Valente            111 THIRD AVENUE #9H                                NEW YORK      NY              10003
Derrick Goss               184 East 3rd Street                   Apt 1F        New York      NY              10009
David Kraus                15 W 11TH ST                          APT PHB       NEW YORK      NY              10011
Genady Maryash             346 east 58th street                                NEW YORK      NY              10022
Micheal DiPietro
Chelsea Davis
Carolina Quiroga                                            54                 ny              NY            10003
Joseph Kennedy             85 4th Ave aot 4G                                   New York        NY            10003
Bennie (jr) Richmond       50 East 119th St                      Apt 4D        New York        NY             7037
Peter Corniotes            85 Eighth Ave                         Apt 2J        New York        NY            10011
Drew Glick                 22 West 26 St                         Apt 9F        New York        NY            10010
Frank Quesada              305 west 18th st                      apt 2d        New York        NY            10011
John Rosselli              103 St Marks Place                    apt C1        Brooklyn        NY            10009
Alan Sabal                 245 Ave. C                            #7g           New York        NY            10009
Roberto Merida             165 east 116 street #3                              New York        NY            10029
Kevin Burns                438 E. 13th St.                       #C4           New York        NY            10009
Philip Heckman             306 Gold St. Apt. 16C                               Brooklyn        NY            11201
Edward Metcalfe            259 east 7th st                       2e            New York City   NY            10009
Long Nguyen                365 west 20th street                                New York        NY            10011
John Czarnecki             30 Charlton St. #2J                                 New York        NY            10014
Roger Wilkes               45 E. 25th St.                        #9A           New York        NY            10010
Christian Palmieri         84 E3rd St.                           Apt #6c       New York        NY            10003
Roberto Lau                252 7th Ave. Apt. 8Y                                New York        NY            10001
Erik Stepp                 P.O. Box 1092                                       New York        NY            10163
Robert Nguyen              One River Place                       Apartment 3707new york        NY            10018
Stephen Knoll              345 West 13th Street                  Apt #10       New York        NY            10011
Patrick Carmody            40 W 12th #3                                        New York        NY            10011
Carlos Pisco               185 E 3rd St                          Apt# 2B       New York        NY            10009
Zane Abbott                99 john street 2001                                 new york        NY            10038
Edwin Pabon                201 E 33rd St                         Apt 2A        New York        NY            10016
Peter Campodonico          100 west 26th                                       New York        NY            10001
Robert Cooper              11 Waverly Place Apt#11j                            New York        NY            10003
Alan Cumming               151 First Ave #170                                  New York        NY            10003
David Allyn                228 East 11th                                       New York        NY            10003
Omer Rosen                 45 west 54th                          3B            New York        NY            10019
Alan Vengersky             77 7th Avenue                         Apt. 17G      New York        NY            10011
George Karabotsos          199 State St                          #4B           Brooklyn        NY            11201
Adam Wade                  60 W 10th #5B                                       New York        NY            10011
Ron Zofnat                 26 Emm Lane                                         Roslyn          NY            11576
Anderson Cooper            28 W 38th St Apt 12 W                               New York        NY            10018
Mo (maurice) Rocca         180 West 20th St. #12F                              New York        NY            10011
Olivier Van Doorne         447 W 18th St                                       New york        NY            10011
Ruben Gallo                400 West 24th St                      16K           new York        NY            10011
Benjamin Curley            272 e. 3rd St. Apt. 7                               New York        NY            10009
Zaquan Champ               365 west 20th street                                New York        NY            10001
Richard Rothschild         23 Waverly Pl, 6B                                   New York        NY            10003
Alex Galan                 250 10th Ave. Apt. 3rd floor                        New York        NY            10001
Oscar Apaydinali           124 West 25th St. #4R                               New York        NY            10001
David Depoalo              39 East 12th St. #708                               New York        NY            10003
Matthew Kinsey             106 Mulberry St                       Apt 14F       New York        NY            10013
Sai Madivala               36 Hillside Drive                                   Easton          CT             6612
Wilfredo Arias             9809 64th Road                        #4H           Rego Park       NY            11374
Daniel Greenfield          156 1st Avenue                        Apt 5         New York        NY            10009
Peter Lentz                205 Water St.                                       Brooklyn        NY            11201
Elan Ben-Avi               50 w 23rd Street                      5th Floor     New York        NY            10010
Matteo Sardi               25 5th ave                            10B           New York        NY            10003
Randy Nolte                165 Christopher Street                Apt 3a        New York        NY            10014
Ge Wang                    215 West 23rd                                       New York        NY            10011
Jim Arnoff                 54 west 12th st. #4r                                New York        NY            10001
Craig White                9325 Kings Highway                                  Brooklyn        NY            11212
Sebastien Robcis           88 Lexington Ave                      #4F           New York        NY            10016
Carlos Bahena              14 saint Marks                        Pl atp 5b     NY              NY            10003
Don Peavy                  190 Bedford Ave                       158           Brooklyn        NY            11249
Erica Dhar                 303 Mercer St                         Apt C201      New York        NY            10003
Christopher Godfrey        205 Park Place, Apt #14                             Brooklyn        NY            11238
Wolsey Kerr                626 Flatbush Avenue                   apt 15F       Brooklyn        NY            11225
Jorge Delgado              281 Union Ave                                       Brooklyn        NY            11211
Ryan Mcnally               112 East 4th Street Apt. #6                         New York        NY            10003
Simone Pietro Onnis        268 Wythe avenue apt 2a                             Brooklyn        NY            11249
Robert Munoz               145 East 15 st                        Apt 12P       New York        NY            10003
Jay Williams               70 Baldwin Rd.                                      Hempstead       NY            11550
Russell Dorn               3530 34th Street                      Apt 4A        Astoria         NY            11106
Leonid Batekhin            401 West 45th Street                  Apt 4B        New York City   NY            10036
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Melissa Guttman          311 East 9th street                          New York    NY     10003
Vilas Jacktong           100 willoughbly st 22w                       brooklyn    NY     11201
Tom Yeung                388 Bridge Street             apt 41E        Brooklyn    NY     11201
Robert Morea             446 Kent Ave                                 Brooklyn    NY     11249
Paul Travis              37 W. 12th Street Apt #9H                    New York    NY     10011
Jim Nelson               458 w 23rd St.                Apt 4a         New York    NY     10011
Todd Verow               141 Ridge St Apt 7                           New Youk    NY     10002
Robert Montalvo          2107 Gates Ave                               Ridgewood   NY     11385
Gregory Thomas           520 W.23rd St. APT 7-H                       New York    NY     10011
Steven Yee               143 Avenue B                  Apt 8E         New York    NY     10009
Justin Mulaire           506 Ft Washington             Apt 4c         New York    NY     10033
Aaron Brager             2401 W Ohio St., Loft 25                     Chicago     IL     60612
Stuart Marland           443 W 56th Street             Apt B          New York    NY     10019
Simone Kim               59 East 7th street apt 8                     new york    NY     10003
Glen Santiago            367 E 10th Street             Apt 4          New York    NY     10009
Miguel Dejesus           60 2nd Avenue                 Apt 14         New York    NY     10003
Dario Sanchez            207 Montrose Avenue           Apt 3          Brooklyn    NY     11206
Alvin Loshak             21 Astor Place                6-B            New York    NY     10003
Rob Heyvaert             40 Mercer Street              Apt 23         New York    NY     10013
Wayne Cutler             21 Astor Place Apt 7A                        New York    NY     10003
Michael Mason            30 East ninth street          Apt.9J         New York    NY     10003
Marcelo Garate           165 Ludlow Street 1B                         New York    NY     10002
Jacques Correia          163 West Fourth Street        Apt. 4R        New York    NY     10014
Alan Pahng               21 Astor Place Apt 7c                        New York    NY     10003
Jason Grimes             32 St. Marks Place            Apartment 16 New York      NY     10003
Miles Redd               300 Elizabeth Street                         New York    NY     10012
Arturo Diaz              188 Suffolk Street            Apt 3-C        New York    NY     10002
Myron Chin               115 E 9th Street              Apt 2L         New York    NY     10003
Mike Brocoum             101 West 12th Street          Apt 10Y        New York    NY     10011
Kyle David White         21 Astor Place                Apt 2F         New York    NY     10003
Tim Cass                 21 Astor                      2f             New York    NY     10003
Todd Jackson             66 East 7th Street Apt 14                    New York    NY     10003
Daniel Marx              303 Mercer Street             B-602          New York    NY     10003
Thaddeus Motyka          431 East 9th Street           Apartment #7 New York      NY     10009
Nathan Haratz            23 Waverly Place                             New York    NY     10003
Robert Hawkins           2 Washington Square Village   Apt 4G         New York    NY     10012
Eri Kim                  2 Washington Sq. Village      Apartment #4G New York     NY     10012
David Dunkin             303 w 66th                    3GW            New York    NY     10023
David Tufts              710 Broadway                  Apartment 9 New York       NY     10003
Kirkwood Taylor          150 Myrtle Ave                Apt 3202       Brooklyn    NY     11201
Juan Menendez            204 West Houston Street       Apt 5D         New York    NY     10014
Doug Bass                55 East 9th Street            Apt 8K         New York    NY     10003
Warren Fischer           716 Broadway #4                              New York    NY     10003
Paul Hallasy             17 Cleveland Place            Apartment 9 New York       NY     10012
Tim Mckelvey             60 East 8th Street            Apt 30-C       New York    NY     10003
Chris Stipeck            400 broome st.                apt 212        New York    NY     10013
Mark Carrasquillo        87 East 2nd St                Apartment 3E New York      NY     10003
Jonathan Sandurs         400 broome st                 apt 212        New York    NY     10013
Zach Hudson              40 East 9th Street Apt 7l                    New York    NY     10003
Michael Toback           57 east 8th street                           New York    NY     10003
Thomas Ling              220 East 12th Street          Apt 2W         New York    NY     10003
Dan Ragone               41 5th Avenue                 Apartment 15F New York     NY     10003
Hyosoon Lee              60 East 8th Street            Apt 5-A        New York    NY     10003
Rand Morrison            35 East 9th Street            Apt 91         New York    NY     10003
Konstanze Zeller         34 East 1st                   Apartment # 5R New York    NY     10003
Gerard Mignone           338 East 13th Street          Apt C          New York    NY     10003
Abiezer Benitez          123 Chrystie street apt 2B                   New york    NY     10002
Roberta Bayley           30 St.Marks Place             Apt 6C         New York    NY     10003
Casal Sanandres          59 East 7th Street            Apartment 17 New York      NY     10003
Jennifer Wilson          60 East 9th Street            Apt 209        New York    NY     10003
Nick Atkinson            726 Washington Street         Apt 4A         New York    NY     10014
Daniel Metviner          330 1st Avenue                Apt 9E         New York    NY     10009
Tom Cunningham           40 East 9th Street            Apt 7L         New York    NY     10003
Ken Louie                525 Union Ave                 Apartment 5E Brooklyn      NY     11211
Grant Stitt              610 e 9th street              #18            New York    NY     10009
Noel Kurdi               310 e. 46th                   Apt 5M         New York    NY     10017
Nikki Canubida           218 Montrose Avenue           apt 3          Brooklyn    NY     11206
Johnny Rozsa             154 East 7th Street           Apt RE         New York    NY     10009
Tom Delavan              13 West 9th St                Apt 3          New York    NY     10003
Christopher Ventry       45 Fifth Ave                  Apt 2C         New York    NY     10003
Isabel Gilberto          1 Astor Place                 PH A           New York    NY     10003
Benjamin Maisani         84 West 3rd St                               New York    NY     10012
Pamella Lessero          23 E 10th Street              Apt 309        NY          NY     10003
Jeffrey Rosales          243 NY Ave                                   Brooklyn    NY     11216
David Williams           194 Bleeker St                Apt c          New York    NY     10012
David Soto               41 Fifth Avenue               Apartment 7F New York      NY     10003
Fraser Conlon            77 Nevins St. Apt. 3                         Brooklyn    NY     11217
Gregory Nalbone          76 East 1st St apt 3b                        New York    NY     10009
Tee Scatuorchio          53 East 10th                                 New York    NY     10003
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Han Lee                     300 Mercer St.                  apt. 19K        New York        NY     10003
James Volpe                 306 East 5th Street apt 2                       New York        NY     10003
Chris Berry                 21 Astor Place apt 4a                           New York        NY     10003
Joshua Pushkin              55 E 7th St                     Apartment 3C    New York        NY     10003
William Kelley              230 E. 12th st.                 #7h             New York        NY     10003
Federico Velasquez          110 East 13th Street Apt 3E                     New York        NY     10003
Sam Wagner                  373 Broadway                    Apartment #62   New york        NY     10013
James Razzetti              145 East 15th Street            Apartment 12R   new York        NY     10003
Evandy Rodriguez            1514 Sedgwick Ave.              apt. 4E         New York        NY     10453
Jane Rose                   29 East 9th Street                              New York        NY     10003
Neil Drew                   223 E 10th St                   Apartment 14    New York City   NY     10003
Jeffrey Campagna            144 E.7th Street                Apt. D 12       New York        NY     10009
Joshua Wallin               182 W 4th St                    Apt. 8          New York        NY     10014
Cesar Abreu                 512 West 158th St.              apt. 52         New York        NY     10032
Richard Kim                 37 Clinton Street               Apt 3D          New York        NY     10002
Barry Silverman             63 E. 9th Street                                New York        NY     10003
Sherri Wasserman            19 West 8th Street              Apt 3           New York        NY     10011
Klaus Janson                60 E 8th St                     Apt 15E         New York        NY     10003
William Forni               29 ave c                        1c              nyc             NY     10009
Paul Testa                  515 E. 14th Street                              new York        NM     10009
Josh Kaplan                 1 Astor Place                   Apt 6V          New York        NY     10003
Darren Dryden               513 East 12th St                Apt 7           New York        NY     10009
John Grauwiler              526 E. 6th Street               apt. 1          New York        NY     10009
Malcolm Carfrae             35.5 Washington Square South    Apt 6           New York        NY     10012
Yvonne Fernandez            718 Broadway                    Apt 3D          New York        NY     10003
Kito Huggins                365 Bridge Street               apt. 12B        Brooklyn        NY     11201
Christopher Spaulding       116 Avenue C                    #100            New York        NY     10009
Sabrina Bubar               115 east 9Th Street             8J              New York        NY     10003
Yvonne Douglas              63 East 9th street              Apt 2X          New York        NY     10003
Michael Fuentes             26 West 27th Street             Apt 20          New York        NY     10001
Scott Byrd                  7 Avenue A                      2nd floor       New York        NY     10009
Garth Condit                140E 17th street                Apt 4E          New York        NY     10003
Dan Rocker                  335 W. 19th                     Apartment B4    New York        NY     10011
Vali Mohammadi              10 Liberty Street               Suite 15C       New York        NY     10005
Shelley Weinstock           60 E 8th St                     16E             New York        NY     10003
Steven Brodoff              7 East 14th Street                              New York        NY     10014
Jennifer Lebeau             1 University Place                              New York        NY     10009
Bernard Milan               309E 9th St                     Apt 3A          New York        NY     10003
Kalil Saliba                65 2nd Avenue                                   New York        NY     10003
Marcus Carter               415 East 12th Street            #5              New York        NY     10009
Arthur Chu                  115 East 9th St                 Apt 12K         New York        NY     10013
Dan Barasch                 259 East 10th Street            #4              New York        NY     10009
Marianne Berson             40 East 9th Street              Apt 7H          New York        NY     10003
Stephen Bassman             339 Adelphi St                  Apt #3          Brooklyn        NY     11238
Ravi Kapoor                 416 Lafayette Street            Apt 2C          New York        NY     10003
Ignasi Clemente             155 East 34th Street            Apartment 8D    New York        NY     10016
Steven Nassimos             131 Marcus Garvey Blvd. Apt#2                   Brooklyn        NY     11206
Jared Baumeister            67 east 11th st                 Apt 719         New York        NY     10003
Jake Hakanson               174 Ave B                       Apt #4          New York        NY     10009
Thomas Adams                182 W4TH ST.                    Apt. 8          New York        NY     10014
Kaiko Hayes                 291 6th Avenue                  Apt 2           Brooklyn        NY     11215
Juan Gamboa                 65 Morton Street                Apt 5K          New York        NY     10014
Paul Epstein                10 Monroe Street                Apt. GC2        New York        NY     10002
Alicia Galitzin             808 Broadway                    Apt #4F         New York        NY     10003
Robert Landy                1028 Bellmore Road                              N Bellmore      NY     11710
James Chambers
Alex Giordano
Katrina Rosado              516E 79th Street                Apt 6E         New York         NY     10075
Alice Griffin               121 East 12th Street            Apt 7c         New York         NY     10003
Brian Messana               223 East 10th Street            Apt 12         New York         NY     10003
David Danzig                300 Mercer Street               Apt 33C        New York         NY     10003
Walker Brockington          81 Rivington Street                            New York         NY     10002
Oliver Wadsworth            510 East 13th Street            Aprartment 103 New York         NY     10009
Francesco Venezia           7 Woodridge Terrace                            Wayne            NJ      7470
Andrew Isaacs               63 East 9th Street              Apartment 5J New York           NY     10003
Michael Baum                200 north end avenue            19E            New York         NY     10282
Steve Lavine                225 E 6th Street                               New York         NY     10003
Leslie Ayre                 278 Mott Street                 Apt 2D         New York         NY     10012
Gina Bondinello             300 Mercer Street               Apartment 12I New York          NY     10003
Aleks Krutainis             283 Avenue C                    Apartment 7A New York           NY     10009
Gwenyth Jackaway            205 East 16th Street            Apartment 5C New York City      NY     10003
Gordon Steiner              126 1st Avenue Apt 2F                          New York         NY     10009
Kevin Rupnik                20 5th Avenue                   Apartment 8B New York City      NY     10011
Brian Sprague               30 East 9th Street              Apartment 6NN New York City     NY     10003
Danielle Contillo           24 5th Ave                                     New York         NY     10011
Eva Aziz                    1 Astor Place                   Apt 3K         New York         NY     10003
Toby O'Rorke                223 East 10th Street            Apt 12         New York         NY     10003
Adam Zelasko                22-47 38th Street                              Astoria          NY     11105
Colette Jennings            214 E 10th Street               Apt # 5        New York         NY     10003
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James White              782 Bergen Street       Apt 1B        Brooklyn        NY          11238
Shermarkeh Hussein       520 East 12th Street    Apt 4C        New York        NY          10009
Val Taubner              1000 Peace Street                     Pelham          NY          10803
Sarah Phillips           1 Astor Place                         New York        NY          10003
Jonathan Bauer           238 South 3rd Street    Apt 3         Brooklyn        NY          11211
Dan Bosquez
Christiane Brame
Matthew Camp
Kevin Campos
Joseph Carusone
Stephanie Castro
James Chambers
Sunny Chang
Caleb Christian
Michael Danielian
Laura De La Merced
Chloe Douglas
Nora El Zokm             na                                    na              IL   na
Khaled Elahi
Javier Garza
Juliana Gonzalez
Donovan Hamlet
Chase Higgs
Christa Hitengoku
John Jackson
Justin Jacobs
Bill Lagaret
Javier Lewis
Malik Muata-Kweisi
Lukas Prokes
Diamond Reynolds
Christina Rodino
Katrina Rosado
Dawn Slocum                                                                    FL
Stephanie Smith
Frances Stohlman
Sima Stuve
Scotti Williams
Anthony Zillmer
Martha Andeliz
Thomas Anderson
Shane Collins
Anthony Hernandez
Mohammed Hoque
Aminur Islam
Shahinur Islam
Karen Lamour
Abul Kalam Mahmood
Koomar Mangal
Marion McKune
Courtney Mitchell
Golam Mortuza
S.M.Mizanur Rahman
Adalgisa Santana
Md. Shahabuddin
Maria Tepoxtecatl
Shahid Ullah
Charlotte Day            421 East 9th Street     Apt C3        New York        NY          10009
Lisa Wild                300 East 34th st        Apt #17 L     New York        NY          10016
Tim Keller               1 Union Square South    Apt # 11      New York        NY          10003
Aisha Koswara            1 Union Square South    Apt 11G       New York        NY          10003
Gala Darling             403 East 8th Street     Apartment 7   New York City   NY          10009
Alan Rish                167 Ave B, 3F                         New York        NY          10009
Allan Howard             712 East Dunhill Road                 Bronx           NY          10467
Efrem Kamen              52 East 4th Street      6th Floor     New York        NY          10003
Sharone Katz             144 East 7th Street     Apt C5        New York        NY          10009
Rhonda Gottlieb          70 East 10th Street                   New York        NY          10003
Alex Badia               23 East 10th Street                   New York        NY          10003
Brenda Gibson
Travis Williams          943 Amsterdam Ave       Apt 1F        New york        NY          10025
Andrew Posner            215 Thompson Street     Apt #1        New York        NY          10012
Melissa Dolan            60 East 9th Street      Apartment 540 New York City   NY          10003
Kyle Froman              19 Bond Street          Apt 2C        New York        NY          10012
Leo Alejandro            234 East 24th street    4e            New York        NY          10010
Robert Corber            13 West 13th Street     Apt 5hs       New York        NY          10011
Kent Sargent             13 West 13th Street     Apt 5hs       New York        NY          10011
Teodor Kowalyk           410 East 6th Street     Apartment 1801New York        NY          10003
Travis Burnham           302 E 90th Street       Apartment 2D New York         NY          10128
Zach Holbrook            38 Sutton St                          Brooklyn        NY          11222
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Adam Gargani                 267 Carleton Ave                             Central Islip   NY     11011
Emma O'Neil                  366 East 8th St #5                           New York        NY     10003
Alex Rabadziska              1 University Place Apt#21D                   New York        NY     10003
Christian Sjulsen            89 Bleecker St.                Apartment 3D New York         NY     10012
Christopher Moisan           101 Lafayette Ave, Apt 15h                   Brooklyn        NY     11217
David Mooney                 45 E. 9th Street               Apartment #99 New York        NY     10003
Julio Hernandez              40 E 10 St.                    #98           New York        NY     10003
Paul Davis                   40 East 10th Street                          New York        NY     10003
Craig Kellogg                545 e. 12th st @2C                           New York        NY     10009
Michael Loeber               111 4th Ave                    apt 8C        New York        NY     10003
Dyami Allen                  41 Orcord St                                 New York        NY     10002
Robert Regina                2nd 5th Avenue                               New York        NY     10011
Sam Bhargava
Nick Pirovano                60 East 9th                                  New York      NY       10003
Kieter Chan                  11 East First St               Apt 607       New York      NY       10003
Glenn Hanna                  76 Green Street                              Brooklyn      NY       11222
Dustin Sveum                 290 elizabeth st               5             New York      NY       10012
Chris Lucas                  3 Wood Street                                Viatmeh       NY       10530
Deon Serrant                 116 36 128th Street                          South Ozone Park
                                                                                        NY       11420
Scott Sanders                82 Downing ST Apt 1A                         Brooklyn      NY       11238
Aimee Sailor                 300 Mercer Street 22f                        New York      NY       10003
Ben Linder                   300 Mercer Street              Apartment 14i New york city NY       10003
Nish Degruiter               534 East 6St                                 New York      NY       10009
Frank Guyton                 271 Ocean Avenue #3c                         Brooklyn      NY       11225
Kammal Mohammed              145 Orchard                    Apt 10        New York      NY       10003
Michael Amador               175 Thompson Street #28                      New York      NY       10012
Robert Brill                 440 E. 79th Street 12k                       New York      NY       10075
Michelangelo Sosnowitz       1 Astor Place                                New York      NY       10003
Eric Leven                   324 East 6th Street            apt 9         New York      NY       10003
Ivy Cook                     300 Mercer St                                New York      NY       10003
Paul Meza
Anthony Zillmer
Josh Towvim                  525 e. 5th st #C                              NY             NY      1000
Paul Barletta                736 Broadway, Loft 2                          New York       NY     10003
Clement Lee                  305 Cherry Street                             New York       NY     10002
Leif Everson                 265 East 2nd Street                           New York       NY     11211
Romeo Palmisano              45 East 9th Street                            New York       NY     10003
Richard Soto                 p.o. Box 1711                                 New York       NY     10009
Sean Simpson                 90 West Apt. 4N                               New York       NY     10006
Mark Goldstein               754 e. 6th st #5D                             New York       NY     10009
Daniel Spitzer               300 Mercer #30H                               New York       NY     10003
Hewley Helstone              210 Park Place #1C                            Brooklyn       NY     11238
Lauren Strigari              116 Ave C                      Apt 1          New York       NY     10009
Eulises Roman Jr.            136 Winchester Drive                          Yonkers        NY     10710
Zach Rocklin                 194 E. 2nd Street 5M                          New York       NY     10009
Aldemar Montano              3515 Leverich St.              apt 111        Jackson HeightsNY     11372
Phillip Goldstein            101 West 12th Street Apt. 7D                  New York       NY     10011
James Destefano              5 St Marks Pl #16                             New York       NY     10003
Claire D'Ottavio             304 Boerum Street                             Brooklyn       NY     11206
Daniel D'Ottavio             304 Boerum Street                             Brooklyn       NY     11200
Nancy Twine                  255 E 10th St #4C                             NY             NY     10003
Akinyemi Babatunde           2224 Story Ave                                Bronx          NY     10473
James Langford               37 Wall Street                 Apt 21H        New York       NY     10005
Thomas Cho                   526 E 11th St #5                              New York       NY     10009
Mark Salzman                 43 East 10 Apt 4J                             New York       NY     10003
Edward Gorecki               853 Broadway                   Suite 1601     New York       NY     10003
Daniel Gilmore               199 1st ave                    #2             New york City NY      10003
Michelle Behrend             222 East 17th Street           Apt#4          New York       NY     10003
Adrian Parra                 503 Clinton Avenue             Apt #2         Brooklyn       NY     11238
william figueroa             21 east 3rd                    3c             new york       NY     10003
Brandon Matthews             113 1/2 W.15th Street Apt Be                  New York       NY     10011
Marlin Torres                115 Elizabeth Street                          New York       NY     10013
Jamie Mcewan                 46 great jones                                New York City NY      10012
Steven Lipsky                300 Mercer Street                             New York       NY     10003
Evan Gilmer                  48 Meserole St. Apt 1C                        Brooklyn       NY     11206
Gil Reisfield                1 University Place #3H                        New york City NY      10003
Jan Plass                    100 Bleecker st                               New york City NY      10012
Bruce homer                  15 Washinton Place             apt 4E         New york City NY      10003
Alisha Ali                   15 Washinton Place             apt 4E         New york City NY      10003
Mark Mccrery                 711 Fayette                                   Alexander      VA     22314
Stephen Oppenheim                                                                         IL
Jose Miguez                  34-41 85th Street              Apt 1B         Queens         NY     11372
James Trowbridge             289 Cumberland Street                         Brooklyn       NY     11238
Lesia Lozowy                 101 1st. Ave.                                 New York       NY     10009
Todd Tyler                   411 W. 54th Street                            New York       NY     10019
Christiana Shorter           4706 46th Street               apt. A5        Woodside       NY     11377
Day Le                       247 Eldridge Street 4B                        New York       NY     10002
Mara Haseltine               114 E 13th                     apt 7D         New York City NY      10003
Rosa Goldstein               754 East 6th st                apt 5D         New York City NY      10009
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Rob Roth                   195 Stanton st                                  New York City NY       10002
Jim Conley                 7 E 9th st                                      New York City NY       10003
Jorge Najera-ordonez       10 Astor Place                                  New York      NY       10003
Mia Johnson
Frederico Mendes           21 Orchard St #2                                New York        NY     10002
Ira Fields                 115 East 9th Street                 apt 19b     new york        NY     10003
Amie Fields                115 East 9th Street                 apt 19b     new york        NY     10003
Gregory Henniger           60 East 8th st                      Apt 30c     New york City   NY     10003
Jennifer Price             225 e. 14th st #3C                              New York        NY     10003
Marcel Yeoh                342 East 9th St                     Apt C       New York        NY     10003
Amanda Miller              115 E. 9th St.                      Apt. 15G    New York        NY     10003
Oliver Drewes              7 Lexington Avenue Apt #1G                      New York        NY     10010
Kelly Rippy                71 E 3rd St.                        Apt 21      New York        NY     10003
Linn Lomo                  66 West 38th st                                 New York City   NY     10018
Fortunato Alegria          440 East 13th st                    apt 2E      NYc             NY     10009
Jeff Lersch                                                                                NY
Jodi Mizrachy
Jeremy Hernandez           256 Irving ave                                  Brooklyn        NM     11237
Nathanael Woodruff         200 Bedford Ave                     Apt 3       Brooklyn        NY     11222
Sonya Dhar                 303 Mercer Street                   Apt c201    New York        NY     10003
Jon Connett                4 Astor Place                                   New York        NY     10003
Donn Froshiesar            4 Astor Place                                   New York        NY     10003
Thomas Murray              70 E. 10th Street Apt. 11C                      NYC             NY     10003
Tomas Gonzalez             510 E 13th St                       Apt25       NYC             NY     10009
David Cohen                194 E 2nd St Apt 2G                             New York        NY     10009
James Mumford              40 E. 9th ST                        4J          New York        NY     10003
Josh Goldfarb              143 Avenue B                                    New York        NY     10009
Adrian Chang               92 2nd Avenue                       #14         New york        NY     10003
Elliston Lutz              110 bleecker st                     5d          ny              NY     10012
Ira Sherman                100 Lincoln Rd                      1443        Miami Beach     FL     33139
Eyal Tessler               200 east 17th st 4e                             New York        NY     10003
Geoffrey Garcia            224 ave b #2                                    new york        NY     10009
Alexander Furman           110 Bleecker Street                 Apt 5D      New York        NY     10012
Joey Perez                 419 East 93rd street                apt # 19F   New York        NY     10128
Javier Fuentes             na                                              New York        NY     10003
Michael Sarkozi            61 West 9th Street                  Apt 9A      New York        NY     10011
Jessie Tran                22 St. Marks Place                  Apt 2C      New York        NY     10003
Luciano Bianco             52 East 13th street                 #7E         New York        NY     10003
Michael Carolan            54 E 8th St                         Apt. 3K     New York        NY     10003
Todd Polkes                226 east 12th st                                ny              NY     10003
Alan Shapiro               610 E 9th Street                                New York        NY     10009
Alex Chertok               512 E 13th St                                   New York        NY     10009
Sean Devaney               252 N. 6th                                      New York        NY     11211
Danielle Schaefer          300 Mercer St                                   New York        NY     10003
Brian Machon               403 6th Avenue                                  Brooklyn        NY     11215
Justin Irvine              153 Norfolk st 5H                               New York        NY     10002
Sara Machowsky             63 E. 9th St. Apt #5V                           New York        NY     10003
Linda Prager               115 east 9th street                             New York        NY     10003
Brian Convery              25 Bushwick Ave                     Apt 3       Brooklyn        NY     11211
Brett Nelson               25 Beaver St 2L                                 New York        NY     11206
Freddy Regnier             63 Himrod Street                                Brooklyn        NY     11221
Yashua Moore               63 Himrod                                       New York        NY     11221
Jack Kowalczyk             155 E. 4th street                               New York        NY     10009
Michael Disanto            114 Troutman St                                 New York        NY     11206
Lee Jimenez                133 Suydam St                                   New York        NY     11221
Kah Chong                  19 Kenmare Apt#13                               New York        NY     10012
Stephen Dickerson          2170 Madison Ave #4D                            New York        NY     10031
Eric Rosenbaum             30 E 9th St. #6NN                               New York        NY     10003
Junsuk Huh                 578 manhattan ave                               brooklyn        NY     11222
Brendan Bullen             630 Rugby Rd #b-10                              Brooklyn        NY     11230
Gareth Gaston              117 E. 10th #4                                  New York        NY     10002
Heather Roberson           117 E. 10th Street #4                           New York        NY     10003
Daria Mcdermott            740 Broadway St 1101                            New York        NY     10003
Emily Briickner            476 Jefferson St #306                           Brooklyn        NY     11237
Ted Finkel                 722 Broadway                        Apt 8       New York        NY     10003
Rebecca Eppenstein         107 St Marks place                  3B          New York        NY     10009
James Caldwell             11-13 Ave D                         Apt #7      NEw York        NY     10009
Eric Bork                  85 e. 3rd st                                    New York        NY     10003
Scott Attie                242 E. 7th St.# 3                               New York        NY     10009
Francisco Lomparte         P.O. Box 610 Peter Stuyvesant Sta               New York        NY     10009
Becca Blasdel              132 Thompson St                                 New York        NY     10012
Gracie Nash                75 3rd avenue apt 1302n                         New York        NY     10003
Ricardo Bonechi            232 East 2nd street                 3D          New York        NY     10009
Kelly Marshall             110 East 14th                       Apt 1302    New York        NY     10003
Brendan Barr               520 E. 12th #5C                                 New York        NY     10009
Ulrik Christiansen         34 East 1st Street                  Apt 4L      New York        NY     10003
George Jochnowitz          54 E 8th St                                     New York        NY     10003
Charlotte Taylor           122 Lexington Ave                   APt 4E      New York        NY     10016
Calvin Look                706 Sacilett Street                             Brooklyn        NM     11217
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Ross Fein                    145 E 17th ST                               New York        NY         10003
Natalie Bell                 300 Mercer Street                Apt330     New York        NY         10003
Sebastian Buys               188 ludlow APt 21B                          New York        NY         10002
Jake Newman                  245 E 124th St.                  Apt 7B     New York        NY         10035
Mitchell Baseman             Penthouse Suite #1 Trump tower              New York        NY         10028
Jeremy Yamashiro             84 William Street                Apt 14b1   New York        NY         10038
Francis Richards             45 East 7th Street                          New York        NY         10003
John Szydlik                 300 E. 40th Street                          New York        NY         10016
Francesca Padron             21 Orchard st                               New York        NY         10002
Ronald Watkins               100 East 7th St                             New York        NY         10009
Ryan Cox                     78 Greenpoint Ave                           New York        NY         11222
Ariel Lacayo                 347 E 6th ST                                New York        NY         10003
Dana Buselt                  621 e. 11th st 5B                           New York        NY         10009
Kamal Machicote              345 Clinton Ave                  Apt 5E     Brooklyn        NY         11238
Kenyon O'Brien               4 Astor Pl.                                 New York        NY         10003
Alex Leonard                 8512 2nd Ave                                NOrthburg       NJ          7047
Surrenca Albert              133-12 234th street                         Rosedale        NY         11422
Renne Campos                 4 Astor                                     New York        NY         10003
Chris Batista                4 Astor Pl.                                 New York        NY         10003
Jonathan Solomon             29 Clinton Street                           New York        NY         10002
Marcus Anthony               4 Astor Pl.                                 New York        NY         10003
Eugene Smith                 295 Park Avenue South                       New York        NY         10010
Brian Nieh                   298 E 3rd                        5B         New York        NY         10002
Nitza Perez                  456 53rd Street                             Brooklyn        NY         11220
Mathew Maleski               1210 Lake rd. West Fork                     Hamlin          NY         14464
Susan Harvey                 P.O. Box 10332                              staten island   NY         10301
Gregorio Bailen              3 Stuyvesant Oval                           New York        NY         10009
Josh Hilliard                401 W 22nd St                    #4E        New York        NY         10011
Amanda Sterling              4 Astor Place                               New York        NY         10003
Miles Jackson                415 e. 90th st 1B                           New York        NY         10128
Kaitlin Coari                144 West 23rd Street                        New York        NY         10011
Jim Charter                  37 1/2 St Marks                             New York        NY         10003
Jeff Shuster                 300 Mercer Street                           New York        NY         10003
Jennifer Kirschenbaum        300 Mercer Street                           New York        NY         10003
Jose Vilanova                137 Ave A- 3D                               ny              NY         10009
Jessica Bajoros              352 E 9th ST                                New York        NY         10003
Waraporn Sripirom            6 Greenwich Ave                             New York        NY         10014
Jason Hall                   334 east 25th st                 607        New York        NY         10016
Franky Lee                   23 E 10th Street                            New York        NY         10003
Alberto Minero               217 Thompson Street              Apt 26     New York        NY         10002
Tim Valz                     1 Astor Place                               New York        NY         10003
William Nazar                725 E 9th St.                    Apt. 7D    New York        NY         10009
Thomas Griffin               536 E 13th Street                #4F        New York        NY         10009
David Kazakov                8326 Abingdon Road                          Kew Gardens     NY         11415
Frederic Viguier             1 washington square village      6i         New York        NY         10012
Maria-eugenia Aguilera       21 judge st                                 brooklyn        NY         11211
Mirna Harun                  300 Mercer St.                   Apt 31J    New York        NY   N/A
Mike Markoff                 73 5th Avenue apt2                          Brooklyn        NY         11217
Cristiano Mancini            15 E 10th St                     Apt 3C     new york        NY         10003
Katherine Lu                 11 waverly                       4j         New York        NY         10003
Sarah Conaghan               23 Waverly Place                 Apt. 3Y    New York        NY         10003
Celeste Pulman               107 St Marks Place               apt 2C     NY              NY         10009
Dmitry Potapov               315 siegel                                  Brooklyn        NY         11206
Matt Nesi                    108 E 1st Ave                    Apt. 3     New York        NY         10001
Erica Rhone                  518 East 13th St.                Apt 8      Jersey City     NV         10009
Meka Gibson                  4 astor                                     New York        NY         10003
Deanna Melluso               100 St. Marks Place              Apt 18     New York        NY         10009
Matt Rich                    270 Lafayette Street                        New York        NY         10012
Joeito Maisonet              1365 5th Ave Apt 12G                        New York        NY         10029
Kevin Mcghee                 790 Amsterdam Ave                Aopt5B     New York        NY         10025
Felix Pagan                  25 Montgomery                               New York        NY         10002
John Calaba                  1 University Place Apt 17B                  New York        NY         10003
Bryan Kinney                 13 Russell Street                #3         Brooklyn        NY         11222
Ian Macrae                   195 Stanton Street #G                       New York City   NY         10003
Kate Schupp                  21 Astor Place                              New York        NY         10003
Josey Greenwell              105 West 55th                               New york        NY         10019
Peter Kingham                225 east 6th street              7F         New York        NY         10003
Sung Bang                    343 E. 65th Street               2FE        New York        NY         10065
Romain Mullier               225 East 12th Street                        New York        NY         10003
Dickson Jean                 302 8th Ave                      #4R        New York        NY         10001
Douglas Mcgraw               71 West 12th Street              Apt 6E     New York        NY         10011
Jorel Rios                   220 E. 103rd St.                            New York        NY         10029
Sheri Raskin                 300 Mercer St.                   Apt. 22C   New York        NY         10003
Mark Raskin                  300 Mercer St.                   Apt. 20C   New York        NY         10003
James Rushing                256 West 10th Street                        New York        NY         10014
Joshua Kokeny                508 Sececa Ave                   apt 4D     Ridgewood       NY         11385
Jocelyn Malheiro             59 Thompson St.                  #32        New York        NY         10012
Shashank Patel               229 Christie St                  Apt 921    New York        NY         10004
Thomas Kilgore               388 Bridge Street                apt 41E    Brooklyn        NY         11201
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Mischa Golebiewski                436 east 9th st                            New York       NY     10009
Francisco Rireiro Tellechea       514 East 5th street Apt A                  New York       NY     10009
Marc Kimelman                     140 E 7th 3G                               New York       NY     10009
Lance Smith                       1000 Fulton Street            apt 3A       Brooklyn       NY     11238
Thomas O'Reilly                   70 Commercial Street          #102         Brooklyn       NY     11222
Ashley Kalinske                   324 East 6th street                        New York       NY     10003
Lauren Eisenberg                  344 3rd Avenue.               Apt. 5F      New York       NY     10010
Jason Chen                        160-05 Laburnum Avenue                     Flushing       NY     11358
James Andersen                    33 Central Ave 4E                          Staten Island NY      10301
Donte' Howard                     2333 Davidson Ave             Apt. #5S     Bronx          NY     10468
Michael Lollo                     410 e. 20th                   Apt 61       New York       NY     10009
Jane Gershuny                     38 east 9th st 1d                          New York       NY     10003
Matt See                          2585 48th street                           astoria        NY     11103
Suzanne Schwedock                 50 West 8th Street            Apt #1D      New York       NY     10011
Andrew Rogers                     610 E 9th St.                 Apt. 12A     New York       NY     10009
Rudy Young                        361 East 10th street          apt 56       New York       NY     10009
Derek Willie                      187 Metropolitan              Apt.         Brooklyn       NY     11249
Hans Rieners                      495 Fulton Court                           West New York NJ       7093
Kelvin Goncalves                  71 Division Ave               Apt. 1       Brooklyn       NY     11249
David Brugiatelli                 410 E 6th St.                 Apt. 20E     New York       NY     10009
Thor Milland                      525 E 13th St                              New York       NY     10009
Carolina Herrera                  318 east 15th st              2D           New York       NY     10003
Chloe La Branche                  339 East 12th street          apt 15       New York       NY     10003
Parker Stockbridge                194 e 2nd st                  APT 5e       New York       NY     10009
Lauren Tabach-bank                One University Place          # 14E        New York       NY     10003
Kasia Kowalczyk                   155 E 4th St                               New York       NY     10009
Jessie Mcgee                      124 2nd Ave                                New York       NY     10003
Jeffrey Omura                     601 W 160th St.               Apt. 6B      New York       NY     10032
Mark Baldino                      208 east 28th                 2B           New York       NY     10016
Cole Mcdonough                    4 astor place                              New York       NY     10003
Lawerence Parker                  121 St. Marks Place           APt 30       New York       NY     10009
Nicole Goldkranz                  615 lorimer st                3            BK             NY     11211
Johann Romano                     29-31 sickles street          5E           New York       NY     10040
Jason Glick                       63 East 9th Street            Apt 8x       New York       NY     10003
Doug Mateyschuk                   23 waverly place              2V           New York       NY     10003
Melanie Batten                    103 St. Marks Place           Apt #4c      New York       NY     10009
Alexandra Pike                    139 south 4th st              6F           Brooklyn       NY     11211
Maurice Russell                   533 east 6th st               5            New York       NY     10009
Jorge Fontanez                    533 east 6th st               5            New York       NY     10009
Martin Martinez                   4101 Pinetree Drive           #1725        Miami          FL     33140
Leary Forteau                     3523 Mckinney Ave             520          Dallas         TX     75204
Alexander Shalan                  471 central park west         4C           New York       NY     10025
Alex Ifill                        One River Place                            New York       NY     10036
Tracy Smith                       300 Mewrcer Street            Apt 24H      New York       NY     10003
Michael Blackmon                  4 Astor                                    New York       NY     10003
Leo Martinez                      433 Marion Street             1R           NY             NY     11233
Nate Gay                          810 melrose ave               c            Bx             NY     10451
Quinn Marston                     222 east 39th street          20b          New York       NY     10016
Victor Law                        423 74th st                                BK             NY     11209
Mitchell Gross                    40 East 10th Street                        New York       NY     10003
Jason Patrick                     400 West 150th St.            Apt. 5       New York       NY     10031
Michael Vasquez                   190 E 7th St.                 Apt. 204     New York       NY     10009
Tiya Nandi                        1 Astor Place                              New York       NY     10003
Jack Mcgrath                      39 E 12th St.                 Apt. 208     New York       NY     10003
James Edwards                     144 East 22nd                 2B           New York       NY     10010
Seth Foss                         510 East 13th Street Apt 14                New York       NY     10009
Antonio De La Rocha               137 2nd ave                                New York       NY     10003
James Johnson                     150 Smith St.                 2F           Brooklyn       NY     11201
Nachman Rosenberg                 54 Great Jones St.            3rd Floor    New York       NY     10012
Jennifer Lamiraoui                304 Mulberry St.              Apt. LH      New York       NY     10012
Robert Critchlow                  1670 Linden St                             New York       NY     11385
Edward Zabala                     909 Sheraton Ave              Apt 3K       New York       NY     10451
Miroslav Vassilev                 1 University Place            #21D         New York       NY     10003
Travis Cronin                     1056 Willoughby Avenue.                    Brooklyn       NY     11221
Spencer Taylor                    314 W 82nd St.                             New York       NY     10024
Max Roy                           167 1st Ave.                  Apt. 4       New York       NY     10003
Leo Jimenez                       416 E 13th St #5A                          New York       NY     10003
Amanda Turner                     210W 103 Street                            New York       NY     10025
Keith Brinkerhoff                 95 wall street                             New York       NY     10005
Patrick Rey Lara                  3542 88th St.                 1st. Floor   Jackson HeightsNY     11372
Kayla Shaffer                     601 east 20th st                           New York       NY     10009
Nicolay Espitia                   251 w 14th st                              New York       NY     10011
Janille Jarrett                   136 Graham Ave                Apt 3        Brooklyn       NY     11206
Albert Lovelace                   567 quincy st                              BK             NY     11221
Edward Wardrip                    11 University Pl.                          New York       NY     10003
Kara Olsen                        416 E 65th street             Apt 2f       New York       NY     10065
Jesse Evans                       181 Prince St.                Apt. 1       New York       NY     10012
Andrew Krause                     41 East 1st Street            A2 W         New York       NY     10003
Kelsey Falter                     121 Madison Ave                            New York       NY     10016
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Peter Denema              300 Mercer Street         Apt 10F     New York      NY     10003
Jessica Woodby            300 Mercer Street         apt 10F     New York      NY     10003
Justin Stafford           71 Fifth Ave              15th Floor  New York      NY     10003
Kevin Bitterman           p.o. box 7878                         New York      NY     10116
Ron King                  47 W. Division            197         New York      NY     60610
Samuel Schear             300 Mercer st Apt 15 d                New York      NY     10003
Karen Shimakawa           115 E 9th St              Apt 8G      New York      NY     10003
Daniel Martinez           36 Cooper Square                      New York      NY     10003
Aloysius Tan              740 West End Ave                      New York      NY     10025
Chris Freeberg            607 east 11th             11          New York      NY     10009
Zack Drew                 165 Attorney St           Apt 5C      New York      NY     10002
Gordon Mackay             192 east 2nd st           15          New York      NY     10009
Alissa Clare              300 Mercer St                         New York      NY     10003
Taylor Hoffmann           14 West Mall Drive                    Huntington    NY     11743
Annie Shon                524 manhattan ave         8           BK            NY     11112
Flora Theden              217 East 27th Street                  New York      NY     10010
Kellen Harris             308 E. 78th St                        New York      NY     10075
Dominic Nurre             241 east 7th st                       NY            NY     10009
David Shieh               41 East 1st Street        Apt 2W      New York      NY     10003
Shaina Stelzer            300 Mercer St 29B                     New York      NY     10003
Souki Amira               na                                    New York      NY     10003
Quentin Dolan             125 Coveneck Rd                       New York      NY     11771
Ari Levinson              na                                    New York      NY     10003
Lamar Sapp                561 Hudson St.                        New York      NY     10014
Kenneth Lai               6220 12th Ave                         Brooklyn      NY     11219
David Levi                40 East 10th street       apt 4H      New York      NY     10003
Vincent Lee               103 Essex St                          New York      NY     10002
Sherry Wang               445 Lafeyette St                      New York      NY     10003
Faris Al-shatir           4 Astor Place                         New York      WA     10009
Anna Bredikhina           1973 70 Street            Apt a5      Brooklyn      NY     11204
William Lau               200 East 24th Street      Apt 403     New York      NY     10010
Adrian Frankum            na                                    New York      NY     10003
Adam Strausser            111 Lawrence St           Apt 19K     brooklyn      NY     11201
Remi Jaffre               508 East 12 Street                    New York      NY     10009
Pier Pilippo              20 east 9th street                    New York      NY     10003
Pooja Barbhaiya           1 astor place             2j          New York      NY     10003
Sarah Kellner             1 Astor                               New York      NY     10003
Robert Valadez            146 mulberry st           16          New York      NY     10013
Aleks Chistiakowa         65 4th Ave                            New York      NY     10003
Lacey Dorn                636 East 11th street 7c               New York      NY     10009
Seth Goldstein            300 Mercer St                         New York      NY     10003
Zach Sachs                342 E. 8th St             Apt 6K      New York      NY     10003
Mostafa Osman             12 CORNELISA ST                       New York      NY     10014
Marcelo Said              384 Highland                          Sommerville   MA      2144
Keith Stewart             90 Washington Street      Apt 15N     New York      NY     10006
Deena Krobot              1 astor place                         New York      NY     10003
Jonathon Krobot           1 astor place                         New York      NY     10003
Lydia Hudgens             1829 Caton Ave            apt 5D      Brooklyn      NY     11226
Adam Savitch              170 Norfolk St            Apt 18      New York      NY     10002
Steven Salzgeber          170 Norfolk St            Apt 18      New York      NY     10002
Sheba Lane                4 Astor Place                         New York      NY      1003
Nick Savarese             49 east 12 th st 3e                   New York      NY     10003
Jade Hwa                  115 East 9th Street       apt 10G     New York      NY     10003
Aaron W Eckerle           398 Willoughby Ave        Bsmt        Brooklyn      NY     11205
Jon Paul Wegrzyn          360 West 34th Street      Townhouse12 New York      NY     10001
Patrick Sykes-craig       101 Woodruff Ave          Apt 1F      Brooklyn      NY     11225
Joe Hannon                NA                                    New York      NY     10003
Douglas Lancet            60 east 8th street                    New York      NY     10003
Kyle Kalski               1504 Dekalb Ave Apt 3L                Brooklyn      NY     11237
Hallie Angelella          4 Astor Place                         New York      NY     10001
Brittany Moran            4 Astor Place                         New York      NY     10001
Carolyn Johnson           4 Astor Place                         New York      NY     10001
Tami Hausman              70 E. 10th St                         New York      NY     10003
Brian Valencia            150 W. 4th St                         New York      NY     10012
Abzal Issabekov           137 Manhattan Avenue                  Brooklyn      NY     11206
Rosie Grillo              93 Underhill Ave #5D                  Brooklyn      NY     11238
Kendall Werts             100 St. Marks Place                   New York      NY     10003
Noah Rubinstein           65 4th ave                apt PHC     New York      NY     10003
Dan Antson                310 W. 22 Street Apt 1B               New York      NY     10011
Jennifer Barbosa          87 Beaver Street          APT B       New York      NY     11206
Joey Dudding              188 S 3rd St              Apt 12      Brooklyn      NY     11211
Ferratti Valerio          670 Broadway              Suite 300   New York      NY     10012
Ehren Clodfelter          13 Essex Street #17                   New York      NY     10002
Amy Gardinerr-lowe        150 Norman Ave. 3L                    New York      NY     11222
Noura Alj                 202e 13th Street                      New York      NY     10003
Hayley Cohen              63 East 9th Street                    New York      NY     10003
Devon Russell             207 East 5th Street       Apt 18      New York      NY     10003
Josefina Bueno            3227 benridge ave                     New York      NY     10467
Patrick Roebke            127 West 96th street      apt 4A      New York      NY     10025
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Metanoya Webb                 415 Carlton ave                         New York        NY     11238
Scott Bixby                   32 E 7th St                  Apt 2C     New York        NY     10003
Rachel Ghorbani               108 Stanton Street                      New York        NY     10002
Milena Duke                   54 East 8th Street                      New York        NY     10003
Brandon Fuhrmann              525 E. 13th St               Apt 1F     New York        NY     10009
Amy Romanowsky                159 Carroll St               Apt 3R     Brooklyn        NY     11231
Robert Szelei                 510 E 13th St                Apt 14     New York        NY     10009
Julie Goldin                  525 E. 13th St               Apt 1F     New York        NY     10009
Ethan Mattocks                383 s. broad street                     New York        NY     11211
Rosemary Blanch               Astor Place                             New York        NY     10009
Luis Flores                   220 E. 5th St                           New York        NY     10003
Adela Shin                    26 St Marks Place                       New York        NY     10003
Wallis Post                   55 East 9th Street                      New York        NY     10003
Susan Dague                   221 E 12 St.                            New York        NY     10003
Lisa Steiger                  151 Nesbit                              New York        NY      7086
David Kruk                    410 East 6th strett          Apt 3J     New York        NY     10009
Joshua Sparber                4 astor place                           New York        NY     10003
Ines Shaban                   19 East 7th Street                      New York        NY     10003
Courtney Flanagan             649 East 9th                 #E3        New York        NY     10009
Michael Shkreli               4 astor place                           New York        NY     10003
Annie Greiner                 342 East 6th Avenue                     New York        NY     10003
Kristine Gallardo             216 East 10th Street                    New York        NY     10003
Daniel Malin                  30 5th Ave. Apt 2J                      New York        NY     10011
Michael Strevel               60 Monroe St                 Unit 6     Hoboken         NJ      7030
Simon Vargas                  229 Chyristie St                        New York        NY     10002
Shanelle Pendergrass          7 Washington Place                      New York        NY     10003
Erica Malin                   30 5th Ave. 2J                          New York        NY     10011
Saif Latif                    318 East 15th Street         Apt 9c01   New York        NY     10003
Sabri Ben-achour              500 W 43rd                   Apt 4F     New York        NY     10036
Mark Reynolds                 100 W. 26thst 27F                       New York        NY     10001
Alexandra Cronon              4 astor                                 New York        NY     10009
Jose Bustamante               250 W. 19th St. #12L                    New York        NY     10011
Kate Ferber                   na                                      New York        NY     10003
Michael Lenahan               10 Barclay St.                          New York        NY     10007
Tara Bhatia                   60 E 9th St                             New York        NY     10036
Kathleen Fannin               4 astor place                           New York        NY     10003
Bernadette Limada             576 Ave z                    6C         Brooklyn        NY     11223
Caitlin Chase                 557 Metropolitian Ave #1R               New York        NY     11211
Alexander Flores              112 Lincoln ave              apt 310    Bronx           NY     10454
Kiran Mathrani                26 West 8th                             New York        NY     10011
Stephen Wood                  1318 Halsey street           apt 2L     Brooklyn        NY     11237
Sophia Fraioli                208 East 7th Street          APt 8      New York        NY     10009
Bradley Dworkin               160 Graham Ave #2                       New York        NY     11206
Evangelia Frangomihalos       23-70-27 Street                         Astoria         NY     11105
Dale Linton                   80 Dekalb avenue             26N        New York        NY     11201
Patricia Brady                277 west 10 street           8K         New York        NY     10014
Michael Horner                515 West 48th street                    New York        NY     10036
Amanda Warren                 4 astor place                           New York        NY     10003
David Schmid                  300 Mercer Street            Apt 11d    New York        NY     10003
James Walsh                   20 Wagner Road                          Westerly        RI      2891
Simon Lockett                 83-11 34th Ave               apt 2B     jackson Hieghts NY     11372
Ashley Modell                 300 Mercer                   31F        New York        NY     10003
Cody Young                    21 East 7th Street           Apt 3      New York        NY     10003
Ricardo Neves                 323 West 96th street                    New York        NY     10026
Walton Nunez                  154 Powers Street                       Brooklyn        NY     11211
Christopher Jett              300 Mercer                   Apt 32B    New York        NY     10003
George Mattis                 66 lake st                              jersey city     NJ      7036
Ludo Bok                      31 east 31st                            New York        NY     10016
Genevieve Paquet              410 East 13th street                    New York        NY     10009
Eric Shuda                    4 Astor Place                           New York        NY     10003
Natasa Bogunovic              250 Mercer Street                       New York        NY     10002
Justin Gordon                 175 E 74th St                           New York        NY     10021
Grant Gilmore                 444 east 20th st. apt F                 New York        NY     10009
Tore Erickson                 1168 66th street             apt 2R     Brooklyn        NY     11219
Chayanne Marfisi              4 Astor                                 New York        NY     10004
Caitlin Ghosio                4 astor place                           New York        NY     10003
Adam Kerlin                   166 lefferts                            Brooklyn        NY     12255
Alan Chan                     25 east 7th street                      New York        NY     10003
Brandon Fizer                 221 East 12 st               #2         New York        NY     10003
Bart Heynen                   547 broadway                            New York        NY     10003
Mark Barbham                  4 Astor Place                           New York        NY     10003
Matthew Long                  300 Mercer                              New York        NY     10003
Nahuel Banos                  85 Avenue A                  APt 3C     New York        NY     10009
Matheus Cunha                 350 West 145th Street                   New York        NY     10039
Nii-ayitey Annan              321 e 22nd st 5w                        New York        NY     10010
Monir Mohammed                145 Orchard Street           At10       New York        NY     10002
Adam Mcmahon                  242 Bainbridge St Apt 4                 New York        NY     11233
Thomas Lutazi                 184 Kent Avenue Apt. C-614              Brooklyn        NY     11249
Matthew Craig                 511 east 11th street                    New York        NY     10009
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Stephen Bolick           2 cooper sq 7g                                New York        NY          10003
Margo Fingeret           110 Hollywood Avenue                          Englewood CliffsNJ           7632
Lizzy Shaw               300 Mercer St                                 New York        NY          10003
Derek Yarbrough          268 Wythe avenue                  apt 2A      New York        NY          11249
Oscar Hedaya             302 Bowery                                    New York        NY          10012
Caroline Weaver          55 east 9 th st 4 e                           New York        NY          10003
Randolph Harris          1 astor place                                 New York        NY          11932
Alex Bonda               300 Mercer St                     Apt 23O     New York        NY          10003
Anthony Giambri          161-35 158th                                  New York        NY          11003
Praveen Gupta            131 thompson street                           New York        NY          10012
Irina Akulenko           2780 West 5th Street                          New York        NY          11224
Brian Levins             689 Myrtle Avenue                 4E          New York        NY          11205
Robert Strobel           36 Duncan Ave                     Apt A       Jersey City     NJ           7304
Ignacio Saiz             85 Avenue A                       6D          New York        NY          10009
Mike Zogala              4 Astor Place                                 New York        NY          10009
Julianna Haas            202 E 7th St.                                 New York        NY          10009
Jesse Binns              240 W 73rd St.                    Apt. 812    New York        NY          10023
Oscar Hernandez          500 Riverside Dr                              New York        NY          10027
Matthew Fox              1 Astor place                                 New York        NY          10009
Kevin Sung               516 watkins drive                             mineola         NY          11501
Robert Levine            60 East 8th Street                            New York        NY          10003
Laura Tretner            45 hartland ave                               Emerson         NJ           7630
Gabe Levi                208 West 23rd St                  511         New York        NY          10011
Henry Wu                 12 W 10th St. Apt 4                           New York        NY          10011
Jared March              33 Washingston Square W Apt 917               New York        NY          10011
Danny Ryan               171 Avenue A                      #3d         New York        NY          10009
Emily Coggins            208 Huron                         apt 3L      Brooklyn        NY          11222
James Garland            363 Grand Ave #5C                             Brooklyn        NY          11238
Gregory Gestner          427 E. 6th Street                             New York        NY          10009
Tony Phillips            161 W16st #14                                 New York        NY          10011
Floreencia Castro        411 east 6th st apt 1A                        New York        NY          10009
Adrian Pollack           250 Mercer St.                    Apt. C601   New York        NY          10012
Jin Jo                   xxxx                                          New York        NY   xx
Mansi Sharma             75 third ave                                  New York        NY          10003
Sana Odeh                14 washington pl                              New York        NY          10003
Shubhang Arora           33 Washington Square West                     New York        NY          10011
Maurice Franco           30 East 85th Street                           New York        NY          10028
Seamus Mcguigan          55 east 10th street                           New York        NY          10003
Timothy Zirolnik         515 East 11th street                          New York        NY          10009
Dana Fields              55 E9 street                                  New York        NY          10003
Craig Bailey             82 E 3rd St. Apt 5A                           New York        NY          10003
Steven Waters            1 Astor Place                                 New York        NY          10003
Sheng Yu                 xx                                            New York        NY   xx
Joseph Aizer             57 West 30th Street                           New York        NY          10010
Nick Cowan               305 west 13th street                          New York        NY          10014
Alan Weiss               60 E 8th St Apt 22K                           New York        NY          10003
Moscovici Tessa          60 e8th street                                New York        NY          10003
Massimo Lusardi          300 Mercer St. #31L                           New York        NY          10003
Johnathan Wilhelmi       681 Van Nest Ave                              Bronx           NY          10462
Morgan Conrad            300 Mercer                                    New York        NY          10128
Ian Palmer               73 E Street Apt 2D                            New York        NY          10003
Sofiya Andreyeva         5600 North Flagler Drive          apt 303     West Palm Beach FL          33407
Stefon Peace             17 West 125th St                              New York        NY          10021
Kristi Palmer            nyu                                           New York        NY          10003
Jose Regazzini           xx                                            New York        NY          10003
Leonardo Kossoy          xx                                            New York        NY          10003
Emanuel Solis            48 Wilson Ave. Apt. 2L                        Brooklyn        NY          11237
Tracy Thomas             94 east 4th st                                New York        NY          10003
Eddie Bennett            97 3rd Place Apt 3                            Brooklyn        NY          11231
Alex Azcona              55 Pineapple St                               Brooklyn        NY          11201
Frank Rocco              216 Belmont Blvd                              Elmont          NY          11003
Lucena Shenkler          9425 57th Avenue                  Apt. 7W     Elmhurst        NY          11373
Diana Castro             411 E 6th St Apt 1A                           New York        NY          10009
John Voege               43 E 10 st                        5c          New York        NY          10003
Jennifer Beeston         27 Washington Sq N Apt 40                     New York        NY          10011
Renata Kress             170 South Portland Ave            11C         Brooklyn        NY          11217
Rudolph Mance            244 east 7th st                   13          New York        NY          10009
Mish Tworkowski          45 east 9th street                            New York        NY          10003
Miguel Pallas            20 East 9th Street                apt 5P      new york        NY          10003
Chris Mitchener          256 himrod st 2R                              New York        NY          11237
Ben Santiago             4 astor place                                 New York        NY          10003
Demario Booker           4 astor place                                 New York        NY          10003
Michael Corrado          163 Stanton St.                   Apt. 1E     New York        NY          10002
Andrew Chu               90 elizabeth st                               New York        NY          10013
Jordan Melnick           40 E. 9th St.                     Apt 3M      New York        NY          10003
Chad Meyers              539 East 6th Street PHD                       New York        NY          10009
Christian Ceballos       28 East 1st St.                               New York        NY          10003
Dana Power               4 Astor Place                                 New York        NY          10009
Hui Hong Liu             162 mott st                                   New York        NY          10013
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Stephanie Ballantyne          525 Hudson Street             Apt 5RN    new york         NY      10014
Henri Benaim                  324 west brd st                          New York         NY      10024
Josh Nyitray                  832 Dekalb Ave Apt 5C                    Brooklyn         NY      11221
Martin White                  114-11 200 street                        New York         NY      11412
Junior Kennedy                965 East 31st                            Brooklyn         NY     111210
Nicole Pope                   534 E. 6th St                            New York         NY      10009
Dawn Sun                      13 Essex ST                   Apt. 22    New York         NY      10002
Starling Hooks                145 west 136th st             1          New York         NY      10030
Yu Guo                        5 Washington Pl                          New York         NY      10003
Annie Ristuccia               96 st. marks                             New York         NY      10009
Shawn Campbell                4 Astor Place                            New York         NY      10003
Adam Werner                   540 E 5th St                             New York         NY      10003
Jesse Kessel                  144 Macon St Apt 1                       Brooklyn         NY      11216
Cody Lyon                     427 Clinton Street                       Brooklyn         NY      11231
James Sedlock                 55 E 7th St                   1b         New York         NY      10003
Sarah Andry                   4 astor                                  New York         NY      10003
Eric Chang                    516 East 6th St Apt 2A                   New York         NY      10009
Jonathan Rackleff             207 5th St.                   Apt. 18    New York         NY      10003
Ricardo Santiago              677 metropolitan ave                     brooklyn         NY      11211
Lydia Rodrigues               4 Astor Place                            New York         NY      10009
Alvaro Colom                  158 Mott st                   #10        New York         NY      10003
Jason (xiangtian) Zheng       55 e 10 st                               New York         NY      10003
David Gelbard                 300 Mercer St                            New York         NY      10003
Lea Winkler                   771 Montauk Hwy.                         Montauk          NY      11954
Micaela Melley                18 St. Mark's Place           Apt. 7     New York         NY      10003
Nat Thonglab                  4 Astor Place                            New York         NY      10003
James Armistead Johnson       251 E 32nd street                        New York         NY      10016
Rohail Sushil                 75 3rd ave                               New York         NY      10003
Hannah Woodberry              190 e 7th st                             New York         NY      10009
Rishi Madhok                  57 E 7th St Apt 21                       New York         NY      10003
Eugene Kelly                  4 astor place                            New York         NY      10009
Justin Taylor                 4 Astor Place                            New York         NY      10003
Derek Dekoff                  309 West 14th street          apt 55     New York         NY      10014
Luc Olinga                    202 Bowery                               New York         NY      10012
Timothy Leavitt               4 astor pl                               New York         NY      10003
Petr Shikin                   4 Astor Place                            New York         NY      10003
Antonio Hoyos                 3721 31st St                  409        New York         NY      10010
Peter Farrell                 1660 Madison Ave              7E         New York         NY      10029
Mike Miceli                   22 W 15 Street                14E        New York         NY      10011
Julia Rudlin                  416 E 9th St                             New York         NY      10009
Madhavarao Subbarao           300 Mercer St.                Apt. 7J    New York         NY      10003
Brent Malcolm                 361 East 10th street          aapt 62    New York         NY      10009
Nicole Hampton                30 E 85th St                  PH AB      New York         NY      10028
Kara Wright                   na                                       Pottsville       WA      90210
Tiffany Scalogna              440 Midwood Street, Apt. #2              Brooklyn         NY      11225
Andrew Kilkenny               8 sherry Road                            New York         NY       8816
Bobby Cappucio                4 Astor Place                            New York         NY      10009
Jeremy O'Shea                 417 Lafayette St                         New York         NY      10003
Brian Kenner                  127 E. 7th St.                Apt. 2A    New York         NY      10009
Nikko Robles                  287 Bleecker St                          New York         NY      10014
Radhika Merchant              75 3rd ave                               New York         NY      10003
Raymond Borbon                251 3rd st                    a[t 2L     New York         NY      10009
Hebert Marin                  214 E. 24th St                           New York         NY      10010
Martina Carbone               259 bleecker street                      New York         NY      10014
Jennifer Giacche              1 Astor Place                            New York         NY      10009
Dina Suyunchalieva            2013 83rd st                  d4         new york         NY      11214
Nicholas Byrne                66 Beverly Rd.                           New York         NY      11566
Yoo Hyoung-min                4 astor                                  New York         NY      10003
Tim Brand                     200 E 27th St                            New York         NY      10016
Stuart Winecoff               331 grand st #apt 3                      New York         NY      10002
Alex Ariza                    8555 106th St                            Richmond Hill NY         11418
Gerard Caviston               300 Mercer St                            New York         NY      10003
Alex Pacheco                  4310 Crescent St              Apt 2810   Long Island City NY      11101
Claire Fong                   225 east 6th st                          New York         NY      10003
Kristen Morgan                300 west 55th st                         New York         NY      10019
Andre Vertefeuille            225 E 70th St                            New York         NY      10021
Jessica Keyt                  600 west 218th street         #1N        New York         NY      10034
Michel Jancek                 11 E. 1st                                New York         NY      10003
Warner Torres                 40-29 67th                               new york         NY      11377
Annmarie Rivera               883 39th street, Apt. 3F                 New Brooklyn NY          11232
Sam Gunning                   170 Thompson St               Apt 12     New York         NY      10012
Blaise Olivier                300 Mercer St.                Apt. 28D   New York         NY      10003
David Villouta                145 Borinquen Pl              Apt 13     Brooklyn         NY      11211
Andrew Saxon                  242 east 19th                 #9C        New York         NY      10003
Morgan Vogel                  4 Astor Place                            New York         NY      10003
Aaron Adler                   30 East 9th street            apt 3M     New York         NY      10003
Jamie Dwyer                   100 Maspeth Ave 5G                       Brooklyn         NY      11211
Brandon Mchie                 172 Henry St                  #4C        New York         NY      10002
Adam Jaffe                    70 E. 7th St.                 Apt. 3B    New York         NY      10003
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Jermaine Younger                2409 20 Exchange                          New York       NY     10005
Michaela Drapes                 300 Lewis Ave                 #3          New York       NY     11221
Shannon Robertson               300 Lewis Ave                 Apt 3       Brooklyn       NY     11221
Mauricio Calderon               200 Pinehurst Ave                         New York       NY     10033
Austin Deboer                   205 St. James Place                       Brooklyn       NY     11238
Ewa Szwed                       410 Grand St.                             New York       NY     10002
Joan Hastings                   250 Mercer St.                            New York       NY     10012
Bruce Alaimo                    86-11 34th Avenue             Apt. 6D     Jackson HeightsNY     11372
Maria Camila Palacio            85 ave A apt 3c                           New York       NY     10009
Andrew Saxe                     229 east 13th 6B                          New York       NY     10003
Ian Hampson                     61 Clinton street apt #20                 New York       NY     10002
Marc Jebara                     155 HesterApt 502                         New York       NY     10013
Yuan Zhou                       224 Sullivan St                           New York       NY     10012
Clarke Carlos                   410 Grand St. Apt 7H                      New York       NY     10002
Jerry Jackson                   144 East 7th St.              D-16        New York       NY     10009
Chris Frieri                    336 E 13th St B2                          New York       NY     10003
Daneila Cosio                   1 Astor place                             New York       NY     10003
Max Ries                        540 E 5th                                 New York       NY     10009
Sturgis Warner                  434 Lafayette St #D2                      New York       NY     10003
Ariel Seth Blumberg             34 Lagrange street                        New York       NY     10003
Mary Hayes                      172 Montague                  Apt 11c     Br0oklyn       NY     11201
Randeep Melhi                   60 E 9th St                   324         New York       NY     10003
Christine Aguillera             9 Cliff Hill Rd                           CLifton        NJ      7013
Paul Bruno                      320 Wadsworths                apt 5B      New York       NY     10040
Todd Houchins                   7 east 9th #4                             New York       NY     10003
Vincent ( Paul) Kierulf         94 15th street                            Brooklyn       NY     11215
Jon Freeman                     12 E 8th st 2b                            New York       NY     10003
Analee Kasudia                  666 4th Ave                   #4R         Brooklyn       NY     11232
Brian Beech                     223 Mott St #8                            New York       NY     10012
Jordon Parker                   11 Jones Street #7                        New York       NY     10014
Sarah Koch                      4 astor pl                                New York       NY     10003
Will Flood                      276 E 10th St                 Apt 3       New York       NY     10009
Michael O'Conner                53 Pitt Street                            New York       NY     10002
Timothy Suba                    418 Monmouth st                           Jersey         NJ      7302
Paul Havern                     429 Humblldt st                           Brooklyn       NY     11211
Giovanni Spedicato              240 Mercer st                             New York       NY     10012
Rory Rohan                      254 East 10th St Apt 6D                   New York       NY     10009
Charles Varenne                 68 E 1st st                               New York       NY     10003
Sofia Von Hauske                270 E 10th St                             New York       NY     10009
Anthony Ramirez                 2588 7th Ave                  6J          New York       NY     10039
Alice Feiring                   250 Elizabeth St.             Apt 8       New York       NY     10012
Montana Vasquez                 p.o Box 7032                              New York       NY     10116
Jorge Alcantar                  586 dean st.apt. Apt 2                    New York       NY     11238
Thomas Blake                    200 water st                              New York       NY     10038
Kristina Lopez                  529 W 111th St.               Apt 5       New York       NY     10025
Stephanie Danielsson            99-01 165th ave,                           Howard beach NY      11414
Ridhima Kalani                  4 astor                                   New York       NY     10003
Ivan Ivkov                      1124 43rd street                          Brooklyn       NY     11219
Ryan Weaver                     215 East 27th                 Apt 1A      New York       NY     10016
Mark Dizon                      110 Green St                              New York       NY     11122
Weichen Yan                     19 West 4th Street            6th floor   New York       NY     10012
Andrew Fayad                    155 Hesterst                  #502        New York       NY     10013
Ken Barnett                     25 Minetta Lane               Apt 5G      New York       NY     10012
Michael Sheffy                  1 Astor Place                             New York       NY     10003
Graciany Miranda-ramirez        155 W 20 St 1B                            New York       NY     10011
Alex Segade                     50 olive st                               brooklyn       NY     11211
Edwin Aguilar                   55 Rutgers st apt 4b                      New York       NY     10002
Sinan Huang                     720 Jersey St. Harrison                   na             NJ      7029
Winston Johnathon Herbert       86 Fenimore St.                           Brooklyn       NY     11225
Ruben Borukhov                  233 east 10th street                      New York       NY     10003
Laura Barati                    1004 Union Street #1D                     Brooklyn       NY     11225
Harrison Bernal                 157 Allen St #CC                          New York       NY     10002
Steven Blader                   100 Bleecker Street                       New York       NY     10012
Cristiano Moura                 162 Ave B                                 New York       NY     10009
Terrence Torrington             398 Skyline Dr                            ST.            NY     10304
Daniel Rottenberg               1 Astor Place                 3F          New York       NY     10003
Jay Solomon                     11 east 1st street ph 20                  New York       NY     10003
Andrew Schaffer                 190 East 7th Street Apt 416               New York       NY     10009
Michael Lynch                   2317 hunter rdg                           New York       OH     44512
Milton Hsu                      21 Astor Place                Apt 2A      New York       NY     10003
Shamar White                    168 21 street                             Brooklyn       NY     11232
Michael Wang                    352 W 12th st                             New York       NY     10014
Siddarth Garg                   1 Washington Sq Vill                      New York       NY     10012
Joseph Klar                     60 e. 8th St.                             New York       NY     10003
Harel Shaked                    316 west 93rd st                          New York       NY     10025
Joseph Kalfon                   316 west 93rd st                          New York       NY     10025
Joe Macdougal                   233 E 9th St Apt 1C                       New York       NY     10003
Mark Hudson                     408 Adley RD                              Fairfield      NY      6825
Shannon Ries                    124 s. 3rd apt. 13                        New York       NY     11249
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Titus Negrescu             316 E 55th St               Apt 1E       New York        NY      10022
Sean Bower                 15 Church Towers            apt 2J       Hoboken         NJ       7030
Jeton Haskaj               321 E. 12th                              New York        NY      10003
Matthew Breau              55 Halsey St Apt 2                       Newark          NJ       7102
Taurean Bethea             133 Edgecombe Apt 2A                     New York        NY      10030
Vincent Guida              727 Clark ave                            Ridgefield      NY       1657
Sarah Lewitinn             203 Rivington St. 3A                     New York        NY      10002
Grant Beyleveld            97 1/2 E 7th St Apt #4                   New York        NY      10009
Diana Timofyeyva           312 East. 9th Ave                        New York        NY      10003
Robert Iscaro              60 East 8th                 apt 31F      New York        NY      10003
Flora Li                   3720 Prince st                           Flushing        NY      11354
Alexa West                 1 astor pl 10j                           New York        NY      10003
Maxime Defforey            415 Layfayette                           New York        NY      10003
Trina Merry                1545 Newport ave                         san jose        CA      95125
Leonard Garica-duran       10 bay street landing 4E                 staten island   NY      10301
Michi Yamaguchi            10 bay Street Landing       Apt 4E       Staten Island   NY      10301
Rajasri Narasimhan         Avenue A #4C                             New York        NY      10009
Miguel Quiros              59 wathers                               New York        NY      11211
Joseph Pino                103 Central Park west                    New York        NY      10023
Fran Cooper                175 E 62nd St               Apt 6A       New York        NY      10065
Zizhe Hong                 75 Third Ave                             New York        NY      10013
Zheyu Xu                   75 3rd Ave                               New York        NY      10013
Ruicheng Zhou              120 E 12th St.                           New York        NY      10003
Gabriel Heywood            230 troutman st apt 1A                   brookyln        NY     111237
Justin Lippincott          123 e street                             New York        NY      10003
Robert Young               377 west Palisades Avenue                Englewood       NJ       7631
Yugi Dai                   University Hall 607                      New York        NY      10003
Will Reyes                 223 Mott St #8                           New York        NY      10012
Yasmin Secada              90 Pinehurst Ave                         New York        NY      10033
Rafal Szymanski            119 Avenue A                             New York        NY      10009
Nicolai Sisteron           87 st. marks place                       New York        NY      10009
Margaret Boreham           400 Broome st.                           New York        NY      10013
Josh Acheatel              63 East 9th street          apt 3D       new york        NY      10003
Samuel Servello            205 E 10th St Apt 5D                     New York        NY      10003
Pereira Johnson            140 W 69th St               79B          New York        NY      10023
Deborah Hunter             184 82nd                                 New York        NY      10009
Victor Debianchi           33 3rd ave 11j                           New York        NY      10003
Dexter Emmanuel            540 Gates ave                            New York        NY      11221
Sami Saaud                 25 East 10th                apt 7A       New York        NY      10003
Gonzalez Andrew            4 Astor Place                            New York        NY      10003
Timmy Howard               402 Broadway                             New York        NY      10013
Rob Kohl                   431 West 37th                            New York        NY      10018
Jonathan Talbot            713 east 9th street                      New York        NY       1009
Stephane Jaspar            111 Fourth Ave                           New York        NY      10003
Kristin Jackson            250 Vernon Ave #4                        Brooklyn        NY      11206
Steven Fuchs               240 Riverside Boulevard     apt 27B      New York        NY      10069
Leighton Barker            99 Sunnyside Drive                       New York        NY      10705
Keith Solomon              392 Stuyvesant Ave                       New York        NY      11233
Edward Mulligan            149 Kinckerbocker ave                    New York        NY      11237
Paul Bland                 12 Pinehurst Ave            Basement Apt New York        NY      10033
Adam Press                 213 west 23rd #9                         New York        NY      10010
Cody Hoffmann              814 McDonough st                         New York        NY      11233
Christian Fornerod         14 Bedford st Apt 9                      New York        NY      10014
Elizabeth Rothschild       1 Astor Place               Apt 4L       New York        NY      10003
Jamey Poole                506 E5 st                                New York        NY      10009
Lawrence Gripper           415 E 54th St                            Brooklyn        NY      11203
Steven Janda               635 w. 42 st. 23A                        New York        NY      10036
Joshua Greene              35 East 10th St.                         New York        NY      10003
Terrence J Connolly        60 E 8th st                              New York        NY      10003
Tiffany Connolly           60 e 8 str                               New York        NY      10003
Mona Elnaggar              1 Astor Place                            New York        NY      10003
Lawrence Cacciatore        400 East 56th St.           29L          New York        NY      10022
Pedro Pinto                171 N 7th St                #3B          Brooklyn        NY      11211
Neil Canavan               178 Ocean Parkway                        New York        NY      11218
Drunnel Levinson           122 2nd ave                              New York        NY      10003
De Vitton                  60 ave c                                 New York        NY      10009
Heidi Pelczar              105 Henry St                             New York        NY      10002
Alvio Mancuso              225 E 7th st, 4g                         New York        NY      10009
Saul Ulerio                499 west 158th                           New York        NY      10032
Lukasz Mroz                232 E 5th St                             New York        NY      10003
Eric Freiman               4 Astor Place                            New York        NY      10003
Roxana Hathaway            51 W 106 St. #3C                         New York        NY      10025
Georgette Alimperti        14 canterburry                           New York        NY      10583
Francisco Alegria          805 141st St Apt 31                      New York        NY      10031
Nicole Camet               223 Second Ave Apt 2K                    New York        NY      10003
Karen Jean Baker           4 Bond Street, 4th Floor                 New York        NY      10012
Molly Forsyth              928 Broadway                suite 1001   New York        NY      10010
Nikhil Maitra              344 E9th St                              New York        NY      10003
Ananita Varughese          344 E 9th st                             New York        NY      10003
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Garrett Benson              15 Dunhan Place # 5k                       New York      NY     11249
Lyle- Matthew Kan           500 East 12th                  apt 5       New York      NY     10009
Lindy Frigo                 156 e 2nd st,#23                           New York      NY     10009
Xin Wu                      401 East 34thstreet            apt S7K     New York      NY     10016
Jose Herrera                E 10th St #156th                           New York      NY      1003
Katherine Chuy              250 East 40th Street           apt 12E     New York      NY     10016
Jay Huang                   21 Astor PL, Apt 7F                        New York      NY     10003
Jillian Knapczyk            813 Eastern Pkwy                           Brooklyn      NY     11213
Kevin Lee                   88 Jefferson st                            Brooklyn      NY     11206
Andrew Rispoli              134 east 13th street, apt 3w               New York      NY     10003
Chao Lin                    120 e 12th street                          New York      NY     10003
Gigino Boffa                465 grand st apt 3                         brookyln      NY     11211
Peter Botti                 25 Tudor City Place                        New York      NY     10011
David Halperin              300 Mercer st, 30G                         New York      NY     10003
Lori Zuckerman              300 Mercer                                 New York      NY     10003
Maryanna Smith              262 Taaffe St                              new york      NY     11205
Danielle Flores             214 east 11th apt 4c                       New York      NY     10003
Bo Wang                     460 west 42nd                              New York      NY     10036
Ben Stroman                 210 Macintosh LN                           Centerville   AA     31028
Roey Yogev                  92 Roebling st, ap 2                       Brooklyn      NY     11211
Andrew Springer             659 Metropaliton ave           Apt2        Brooklyn      NY     11211
Daisy Lepere                166 2ND AVE                                New York      NY     10003
Sophia Abookire             303 e. 5th St.                             New York      NY     10003
Chris Headley               276 Cornelia st.                           New York      NY     11221
Rose Hayes                  888 Main st, 910                           New York      NY     10044
Billy Walsh                 58 e 1st st, #4D                           New York      NY     10003
Shelia Brown                30 east 9th                                New York      NY     10003
Chinmei Fan                 108-41 63rd rd                             New York      NY     11375
Jonas Foster                250 1st Ave                                New York      NY     10009
Otabek Djalolov             1421 Ave Y                                 New York      NY     10003
Lawrence Lenske             2 5th ave                                  New York      NY     10011
Zoe Froidevaux              1 Astor Pl                                 New York      NY     10003
Harry Mao                   75 Third Avenue                            New York      NY     10003
Jessica Bryant              287 Ave C                      apt 3H      New York      NY     10009
Danielle Marmel             230 E. 44th Street                         NY            NY     10003
Sai Ichir                   1574 Third Avenue              apt 2F      New York      NY     10128
Kevin Mayer                 1 University Ave               apt5G       New York      NY     10003
Leobardo Chaparro           90 Ave D                       #2I         New York      NY     10009
Heather Forman              2585 48th St Apt 2                         Astoria       NY     11103
Clara Alonso                1 unversity                                New York      NY     10003
Robert Serafin              1 unversity                                New York      NY     10003
Thiago Lima                 115 East 115 street            apt 3B      New York      NY     10029
Justin Barton               460 w 149                                  New York      NY     10031
Siddharth Gopalan           837 Jersey Ave                             New York      NY      7310
Andrew Haupricht            62 Cooper Square                           New York      NY     10003
Jordi Martinez              415 East 12th street           apt 12      New York      NY     10009
Sanela Dervisevic           10 astor place                             New York      NY     10003
Jacob Seelbach              391 convert ave                            New York      NY     10031
David Gottlieb              1 Astor Place                              new york      NY     10003
Tamara Hagoel               30 E 9th St                                New York      NY     10003
Jason Trojanowski           320 59th St.                               New York      NY      7093
Alex Redcliffe              146 south 4th                              New York      NY     11211
Mark Elliot                 170 Park Row                   16C         New York      NY     10038
Peter Randolph Mazzeo       1718 M St NW                               washington    DC     20036
Jordan Hoch                 60 east 8th                                New York      NY     10003
Javier Gomez                108 McDougal 2C                            New York      NY     10012
Nicole Samii                3 washington sq villiage                   New York      NY     10012
Tira Johnson                1369 Dekalb Ave                apt 1       Brooklyn      NY     11221
Tyler Kelly                 15 west 11th                               New York      NY     10011
Miles Burnett               587 Riverside Drive            #1H         New York      NY     10031
Johann Carrasco             8409 35th ave                              queens        NY     10003
Korin Parrella              179 Mulberry St                Apt 15      New York      NY     10012
Julie Slevin                1 Astor Place                  apt 2K      New York      NY     10003
Reynolds Duck               108 e 4thst apt1                           New York      NY     10001
Holly Imamura               10 montgomery                              New York      NY     10002
Brian Martin                21 E 7th                                   New York      NY     10003
Brad Phifer                 21 E 7th St                                New York      NY     10003
Raymond Dimartino           148 Madison st.                            New York      NY     10002
Elizabeth Teplukhin         4 astor place                              New York      NY     10003
Myron Mcnulty               1 haven Plaza #211                         New York      NY     10009
Fangyi Zou                  300 Mercer                                 New York      NY     10003
Irene Uy                    151 W 95th St                              New York      NY     10025
Joshua Shelstad             402 grand street apt 1b                    brookyln      NY     11211
Neil Anthony                4 Astor Place                              New York      NY     10003
Steve Fields                73 1st ave                                 New York      NY     10003
David Cohen                 1 Astor Place                  Penthouse   New York      NY     10003
Xinyang Wu                  11 Waverly Place               apt 5C      New York      NY     10003
Andrew Jacobs               415 East 9th Street #1                     New York      NY     10009
Dan Levin                   415 East 9trh street #1                    New York      NY     10009
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Justin Perez               135-24 Hoover Ave              Apt 3C         Jamaica       NY     11435
Andrew Cooper              4 Terrace Circle                              Armonk        NY     10504
Arya Sundar                943 St. Marks Ave                             New York      NY     11213
Abby Pierson               3242 Salisbury Road                           Birmingham    AL     35213
Danica Cooperstone         344 E. 9th                                    New York      NY     10003
Ian Lafkowitz              300 mercer st                                 New York      NY     10003
Zhanna Bratanova           900 Park Avenue                apt 23 E       New York      NY     10075
Michael Russell            92 2nd Avenue                                 New York      NY     10003
Sean Pierce                5-09 48th Ave                                 New York      NY     11101
Joe Cedrone                78 Wachyta Place                              New York      NY     10011
Jamal Albright             130 Halsey                                    Brooklyn      NY     11216
Avinash Poonacha           1 Rivercoat                    Apt 901        Jersey City   NJ      7310
Kendall Gregory            11 Waverly Place               apt 10A        New York      NY     10003
Rachel Bloch               344 E 9th st.                                 New York      NY     10003
Matt Whitney               40 e 12st.                                    New York      NY     10003
Carolina Lee               1 Union Sq South               Apt 14B        New York      NY     10003
Colin F Davis              105 E. 9th                                    New York      NY     10003
Uarlene Guraieb            417 e. 6th                                    New York      NY     10009
Christopher Morris         208 6th street                                New York      NY     10003
Michael Colton             405 E 6th St                                  New York      NY     10009
Tiago Valente              241 e. 7th                                    New York      NY     10009
Noam Dvir                  30 irving St                                  Cambridge     MA      2138
Daniel Rauchwerger         30 irving St                                  cambridge     MA      2138
David Rhee                 252 Skillman Avenue            apt 3          Brooklyn      NY     11211
Curtis Washington          397 Creeme Ave                                Brooklyn      NY     11216
Ken Allard                 410 W 24th St                  Apt 19B        New York      NY     10011
Oliver Szeto               500 west 43rd #4F                             New York      NY     10036
Jamie Jaffe                60 e. 8th                                     New York      NY     10003
Erik Izquierdo             324 E 19th St #2A                             New York      NY     10003
Dionysios Kaltis           510 E 13th St                                 New York      NY     10009
Stavros Tripi              223 Clermont Ave                              Brooklyn      NY     11205
Jeff Scheible              8 east 8 st                                   New York      NY     10003
Odili Brown                424 west 205th ST              apt 3C         New York      NY     10034
Phillip Glassman           155 East 30th street           apt 3D         New York      NY     10016
Rey Lozano                 24 E 80th St                                  New York      NY     10028
Jill Danne                 653 East 14th street           apt 3H         new york      NY     10009
Basil Williams             100 Bleeker Street             apt 13F        New York      NY     10012
Louis Inho Kim             310 E. 6th st.                                New York      NY     10003
David Sher                 126 1st                                       New York      NY     10009
Sarah Jones                205 St Nicholas Ave                           Brooklyn      NY     11237
Christian Diaz             543 east 6th st                               New York      NY     10003
Monique Cinque             543 east 6th st                               New York      NY     10003
Omar Shawki                1 Astor                                       New York      NY     10003
Will Lumpkin               1044 flushing ave                             New York      NY     11237
Zere Grace                 1306 myrtle ave                               New York      NY     11207
Davis Richardson           76 St. Marks                                  New York      NY     10003
Cynthia Sakai              51 Greene Street, 5th Floor                   New York      NY     10013
Vienna Giacche             11 east 12th Street                           New York      NY     10003
Patrick Stoia              33 Third Avenue                apt 9K         New York      NY     10003
Cecilia Kim                33 3rd Avenue                                 New York      NY     10003
Ian Vazquez                56 St Marks                    apt 3B         new york      NY     10003
Jason Hoffman              120 West 58th Street                          New York      NY     10019
Linus Kwok                 75 Third Ave                                  New York      NY     10003
Ruben Perez                250 Mercer Street              apt C 311      New York      NY     10012
Zhenyu Chen                35 5th avenue                                 New York      NY     10003
Zhekai Jin                 29 3rd avenue                                 New York      NY     10003
Eric Ramirez               3 Washington Sq                               New York      NY     10012
Timothy Hall               1 University Place             apt 3o         New York      NY     10003
Katherine Rabinowitz       40 east 9th street 11b                        New York      NY     10003
Mike Spreter               301 knickerbocker avenue #3                   New York      NY     11237
Nahil Jain                 770 Broadway                                  New York      NY     10003
Peter Fisher               108 e. 4th                                    New York      NY     10003
Melissa Weiss              775 Scarsdale Road             unit 31        Tuckahoe      NY     10707
Eduardo Logemann           33 Washington Sq West                         New York      NY     10011
Monica Shores              105 Duane St                   7B             New York      NY     10007
Alicia Canellas            3064 45th street#1                            New York      NY     11103
Jaime Hernandez            Hayden Hall                    33 W washingtonNew
                                                                           Sq York     NY     10003
Taras Kravtchouk           282 Grand Street                              New York      NY     10002
Rodrigo Campos             610 Clark Street                              Linden        NJ      7035
Zhou Zhao                  655 E 14th St                  Apt 8E         New York      NY     10009
Ayush Maheshwari           4 Astor Place                                 New York      NY     10003
Dahao Ni                   65 E 14th St                                  New York      NY     10003
Eli Nagler                 115 East 9thy street apt 12h                  New York      NY     10003
Harshil Shan               110 east 14th street                          New York      NY     10003
Fan Sun                    272 1st avenue                                New York      NY     10009
Jenny Bloom                300 Mercer                                    New York      NY     10003
Caroline Rugo              636 Greenwich St apt 409C                     new york      NY     10014
Dorottya Kenessey          80 lafyette st 0819b                          New York      NY     10013
Vanessa Janowski           25 washington street apt 5g                   brooklyn      NY     11122
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Paroma Neotia                   33 East Third Avenue              apt 13J    New York        NY      10010
Kelley Walker                   15 west 28th street fl 5                     New York        NY      10001
Yasmine Makkiyah                140 east 14st suite 412                      New York        NY      10003
Sobhith Gopakumar               120 E 12th st                                New York        NY      10003
Miranda Diaz                    41 E. 7th                                    New York        NY      10003
Jessica Wolfert                 3 Catha Lane                                 Hingham         MA       2043
Kiran Siddique                  60 E 12 St                                   New York        NY      10003
Molly Liu                       85 E 10th St                                 New York        NY      10003
Mark Stokely                    17 Stuyvesant st apt4                        New York        NY      10003
Gustavo Diaz                    298 E 3rd St                      Apt 7      New York        NY      10009
Hardik Agrawal                  33 3rd Ave                                   New York        NY      10003
Cyc Astor                       4 Astor Place                                New York        NY      10003
Glam & Go Inc.                  4 Astor Place                                New York        NY     100003
Zaven Nahapetyan                200 East 72nd st                  apt 26G    New York        NY      10021
Mackian Bauman                  146 Meserole St                              New York        NY      11206
Joseph Wang                     45 River Dr. S.                   APT 2805   Jersey City     NJ       7310
Yui Umezawa                     33 Third Ave                                 New York        NY      10003
Patrick King                    111 South 3rd street              apt 2F     Brooklyn        NY      11247
Melissa Pasha                   1 astor place #5d                            New York        NY      10003
Ian Leeker                      43 East 10th street               apt 5C     New York        NY      10003
Xiwen Su                        120 e. 12st.                                 New York        NY      10003
Andrew Moon                     4 astor                                      New York        NY      10003
Justin Halim                    4 astor place                                New York        NY       1000
Sabrina Howell                  2 Washington Square Village       apt PHB    New York        NY      10012
Nicolas Strafach                636 Greenwich Street              Room 210   new york        NY      10014
Weston Barker                   835 Riverside Drive               4H         NY              NY      10032
Angus O''Brien                  25 Unions Sq West                            New York        NY      10003
Danqi Xie                       31 3rd Ave                        11J        New York        NY      10003
Zhang Wenjia                    143 E. 10th st.                              New York        NY      10003
Ginna Le Vine                   5 Saint Marks Pl                             New York        NY      10005
Christopher Garbushian          342 E. 13th                                  New York        NY      10003
Jonathan Nunez                  4 astor                                      New York        NY      10004
Wendy Nichols                   115 E 9th St                      #17A       New York        NY      10003
Terrence Duffy                  115 E 9th St                                 New York        NY      10003
Devorah Blisko                  200 E. 15th                                  New York        NY      10003
Xintong Cai                     79 Washington St E                503        New York        NY      10003
Katie Ierardi                   133 Ave D                                    New York        NY      10009
Jasmine Nears                   2650 Broadway                                New York        NY      10033
Carlos Jimenez                  10 East 138th street              apt 3A     New York        NY      10037
Eric Jahola                     1 Astor Place                                New York        NY      10003
Andrea Meyer                    5 Univ place room 321                        New York        NY      10003
Kristine Gutierrez              1170 BROADWAY                                New York        NY      10011
Tatianna Saracino               51 astor place                               New York        NY      10003
Shishen Chen                    200 E. 6th                                   New York        NY      10003
Cyrus Sanati                    70 e. 7th                                    New York        NY      10003
Minji Kim                       96 St Marks Place apt 7                      New York        NY      10009
Gabrielle Carmine               29 7th Ave South                  apt 2D     New York        NY      10014
Cheyenne Adler                  319 Ave C # 6D                               New York        NY      10009
Emma Lester                     20 east 9th street                apt 7f     New York        NY      10003
Brian Chavarro                  15704 92 st.                                 New York        NY      11414
Cody Rose                       350 Bowery #2                                New York        NY      10012
Jarrod Fox                      122 2nd ave                                  New York        NY      10003
Mark Seamon                     411 E. 6th                                   New York        NY      10009
Nikolaus Wimberly               915 Bushwick Ave                             New York        NY      11221
Gabriela Reutter                33 Washington sQ West 1407                   New York        NY      10003
Ashley O'Connor                 8 Centre Market Place             apt 8      New York        NY      10013
Yohaan Sinha                    75 3rd avenue                                New York        NY      10003
Austin Bonilla                  29 Ave C                                     New York        NY      10009
Hayden Manders                  370 butler street apt 3                      brooklyn        NY      11217
Zoe Ruckers                                                   1              New York        NY          1
Charles Laurence                214 East 9th Street               Apt 2B     New York        NY      10003
Tanya Morgan                    214 East 9th Street               2B         New York        NY      10003
Olivier Devoret                 166 West 4th street                          New York        NY      10014
Alexandre Valdetaro Porto       339 E 9th st #1b                             New York        NY      10003
Stephen Cha-kim                 234 flatbush ave apt 4                       brooklyn        NY      11217
Michael Liu                     188 Ave B                         #2         New York        NY      10009
Andrew Liu                      188 Ave B                         #2         New York        NY      10009
Ryan Howard                     148-27 booth memorial                        flushing        NY      11355
Alina Jett                      300 Mercer                                   New York        NY      10003
Gillian Rowland-kain            7802 4th Avenue                              Brooklyn        NY      11209
Niezar Muntasser                7213 6th Avenue                              Brooklyn        NY      11209
Paige Michelet                  9482 East Iron Wood Bend                     Scottsdale      AZ      85255
Jesse Stuart                    122 norfolk street #11                       New York        NY      10002
Sarah Cichon                    na                                           New York        NY      10013
John Byron                      201 Hamilton Ave                             Staten Island   NY      10301
Max Elizondo                    63 East 9th Street #5E                       New York        NY      10003
Jamie Baldwin                   45 West 60th street               apt 16E    New York        NY      10023
Ben Knox                        188 S. 3 #12                                 New York        NY      11211
Shannon Carroll                 415 11th St                                  Brooklyn        NY      11215
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Dominic Demarco              768 Maple Hill                                Navga           NY      6770
Lili Zhu                     121 east 10th street                          New York        NY     10003
Nate Morales                 2372 broadway                                 New York        NY     10003
Carrie Sutherland            na                                            New York        NY     10003
Jason Topete                 1124 43rd St                                  Brooklyn        NY     11219
Mark Ingalls                 6 conneticut ave                              grenwich        CT      6830
Luis Reyes                   15 Westminster Rd                             Brooklyn        NY     11218
Benjamin Heriaud             1 Astor Place                   apt 7S        New York        NY     10003
Adeline Weyrich              140 E. 14                                     New York        NY     10003
Madan Nagaldinne             18 hadden rd                                  scarsdale       NY     10583
Adam Cantrowitz              315 berry st #206                             New York        NY     11249
Jenny Lee                    300 Mercer                                    New York        NY     10003
Emily Vacher                 15 William Street               apt 31G       New York        NY     10005
Kendyll Dombek               539 E 6th St Apt PHD                          New York        NY     10009
Dylan Iannitelli             642 Rogers Ave                  Apt 1         Brooklyn        NY     11226
Breanna Duncan               9246 S Constance                              Chicago         IL     60617
Chris Hudson                 515 E 11th St                                 New York        NY     10009
Claudia Kronfeld             54 3rd street #11                             New York        NY     10003
Jeremy Hawkins               305 Cherry Street               apt G1        New York        NY     10002
Neil Fulwiler                237 E. 10th                                   New York        NY     10003
Alex Fialho                  885 Willoughyby Ave Apt 401                   Brooklyn        NY     11221
Kurt Boehringer              1200 Brickell Bay Drive         apt 3404      Miami           FL     33131
Ashley Albrittain-ross       420 East 54th street            apt 23E       New York        NY     10022
Hogan Chen                   300 Mercer St.                  Apartment 20L New York City   NY     10003
Kelsey Liu                   908 bedford ave                               brooklyn        NY     11205
Jacob Zieben                 1309 5th Ave #290                             New York        NY     10029
Amy Furman                   41 35 67th street               apt 2A        Woodside        NY     11377
Jensen Clifford              105 East 122nd street           apt 1E        New York        NY     10035
Devon Going                  1 University Place              apt 5G        New York        NY     10003
Andrew Gauzza                42 maple                                      New York        NY     12508
Joel Burgos                  63 Conselyea Street Apt A1                    New York        NY     11211
Andrew Wybolt                74 Irving Place                 apt 2A        New York        NY     10003
Wesley Faucher               2109 38th                                     New York        NY     11105
Peter Nagy                   12 16 120th street                            College Point   NY     11356
Eurys Lara                   340 Roebling Street                           New York        NY     11211
Amanda Miller                54 east 3rd street #11                        New York        NY     10003
Matthew Ragas                351 Saint Nichols                             New York        NY     10027
Jordan Rich                  1 Astor Place                                 New York        NY     10003
Xavier Estrella              325 West 45th street            apt 502       New York        NY     10036
Brandon Osorio               1520 Christopher st                           new york        NY     10014
Jacob Dewels                 439 West 48th street            apt 5W        New York        NY     10036
Bryan Campbell               101 east hilton street                        New York        NY     11920
Anthony Trentacosti          35-09 21st ave                                astoria         NY     11105
Sean Roland                  17 Pike st                                    New York        NY     10002
Timothy Reyna                251 east 110 street                           New York        NY     10033
Arriana Marion               60 Plaza St East                3K            Brooklyn        NY     11238
William Tracy                1212 6th avenue                               New York        NY     10019
Michelle Apiar               63 E 9th St                     #11G          New York        NY     10003
Daniel Timins                63 E 9th St                     311G          New York        NY     10003
Kathryn Ryan                 226 east 29th street                          New York        NY     10010
Avery Alchek                 110 St. Mark                                  New York        NY     10009
Eric Lemay                   7319 21st                                     New York        NY     11370
Deena Tomassini              29 East 7th Street Apt 4E                     New York        NY     10003
Qiong Wu                                                   1               New York        NY         1
Kevin Irizarry               1887 Gates Ave                                New York        NY     10016
Anna Beeber                  439 Lafayette Street            apt 4         New York        NY     10003
Alvin Dervisevic             3139 perry avenue                             bronx           NY     10467
Deborah Fishman              250 west 90 street                            New York        NY     10024
William Schweitzer           2533 Crescent Street            Apt 2R        Astoria         NY     11102
Sanjay Vasdev                101 Bedford Ave                 apt A308      Brooklyn        NY     11211
Peter Lisovin                50 Battery Park Place           apt 9W        New York        NY     10280
Yuya Feng                    2 Gold Street                                 New York        NY     10038
Tiffany Whipple              167 Bleeker Street              apt 2         New York        NY     10012
Kenneth Feibush              523 east 83rd street                          New York        NY     10028
Kevin Murphy                 7 west 131st #2                               New York        NY     10037
Jinshuo Zhang                128 2nd Ave                                   New York        NY     10003
Malcolm Roberts              369 e. 21st                                   New York        NY     11226
Simon Psaric                 770 broadway                                  New York        NY     10003
Alika Hall                   1049 Greene ave                               New York        NY     11221
Paul Evans Ali               118-76 128th Street                           New York        NY     11420
Madge Thomas                 330 West 55th Street Apt 2J                   New York        NY     10019
Ramone Henry                 115. e. 94th st                               New York        NY     11212
Christina Metauro            875 Montgomery St                             New York        NY     11213
Douglas Sissan               512 E 13th St                                 New York        NY     10009
Travis Wong                  190 east 7th street                           New York        NY     10009
David Bonney                 300 Mercer Street               apt 29K       New York        NY     10003
Martin Lenon                 451 8th Street                                New York        NY     11217
Stephen Dalessandro          21 East 1st Street                            New York        NY     10003
Kim Mar                      63 Clinton St                   Apt 15        New York        NY     10002
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Francesca Querci             175 Cover Road                             Manhasset        NY             11030
Alan Salcedo                 426 Loriimer Street                        Brooklyn         NY             11213
Jungyeon Lim                 33 3rd Ave                                 New York         NY             10003
Shubhang Arora               112 E 11th St                              New York         NY             10003
Rui Yang                     436 58th st                   fl 3         brooklyn         NY             11220
Yang Hu                      114 East 27th street          apt 2A       New York         NY             10016
Kaisa Talaga                 1143 DeKalb Ave               apt 2B       New York         NY             11221
Dearrick Knupp               43 east 10th street                        New York         NY             10011
Paul Rosoff                  65 Hunter                                  New York         NY             10801
Anastasiia Caviston          300 Mercer                                 New York         NY             10003
Arlyn Goldberg               65 Morris Lane South                       Scarsdale        NY             10583
Royce Friou                  416 62nd st                                new york         NY             11220
Cameron Mcmillan             416 62nd St                                brooklyn         NY             11220
Chris Spearpoint             63 Clifton St                 apt 15       New York         NY             10002
Alex Yu                      183 thompson street                        New York         NY             10012
Rusty Rigby                  80 east 3rd street                         New York         NY             10003
Dmitry Mironenko             603 Isham Street              apt 2D       New York         NY             10034
Rebecca Krasity              16-15 Hancock                              New York         NY             11385
Andre Wheeler                310 3rd Ave                                New York         NY             10010
Camila Dauhajre              75 Third Ave                  apt TE304A   New York         NY             10003
Jesse Hendrickson            73 First Ave                               New York         NY             10003
Ryan Davis                   11 Fifth Ave                               New York         NY             10003
Maria Couch                  103 East 10th street          apt 2B       New York         NY             10003
Marcus Wilson                57 Grove St                                Brooklyn         NY             11221
Brian Rosenkrans             25 Bushwicks ave #3                        New York         NY             11211
Francis Brochu               259 Jefferson Street                       New York         NY             11237
Carlos Depedro               117 W 141st St                #57          New York         NY             10030
Samantha Lach                266 east 10th Street Apt 2A                New York         NY             10009
Chris Dufault                160 9th ave                   apt 4R       New York         NY             10011
Lydia Gaby                   71 Sullivan St                             New York         NY             10012
Suraj Jain                   1 Astor Place                              New York         NY             10003
Jorges Santos                3195 Fulton Street                         Brooklyn         NY             11208
David Shupe                  145 W 94th                    2F           New York         NY             10025
Samuel Maramba-ferrell       94 E 7th St                                New York         NY             10009
Donchristian Jones           185 Hart street                            New York         NY             11206
Robert Barba                 216 E 6th St. #4B                          New York         NY             10003
Lisa Plunkett                21 First Ave                  apt 1        New York         NY             10003
Poncin Marie                 318 e. 15th                                New York         NY             10003
Mai Shiver                   718 Broadway                  apt 11C      New York         NY             10003
Andrew Kirtzman              19 Bond St                                 New York         NY             10012
Danny Suggs                  415 West 56th Street Apt 9                 New York         NY             10019
Chase Mcnulty                250 N.6th                                  New York         NY             11211
David Yu                     44 east 1st apt 3                          New York         NY             10003
Mitch Wainer                 115 East 9th street           apt 20D      New York         NY             10003
Jana Algaranaz               75 3rd ave 11st                            New York         NY    10003l
Kai Nedden                   107 W 69th St                              New York         NY             10023
Francis Hernandez            1375 Prospect Avenue                       New York         NY             10459
James Kim                    195-1458th ave 2nd                         New York         NY             11365
Holly Sudbey                 217 Thompson Street Apt 15                 New York         NY             10012
Clare Wilson                 153 East Ridge Street         apt 2E       New York         NY             10002
Skylar Zar                   11 Shelter Bay Drive                       New York         NY             11024
Elizabeth Center             145 2nd ave #24                            New York         NY             10003
Tim Khalif                   1408 myrtle ave                            brooklyn         NY             11237
Henley Cook                  259 Bleeker Street Apt 8                   New York         NY             10014
Alice Song                   194 E 4th St                  Apt GF       New York         NY             10009
Yelana Stavinsky             1 Astor Place                              New York         NY             10003
Carolina Ramos               420 East 13th Street Apt 16                New York         NY             10009
Camille Rivera               159 Willoughby Avenue                      New York         NY             11205
Carlos Abeyta                333 east 6th street apt 1ES                New York         NY             10003
Nima Hashemi                 71 Clinton St                 Apt 18       New York         NY             10002
Mattia Valdisolo             1 Astor Place                              New York         NY             10003
Alastair Daivis              455 East 14th street                       New York         NY             10003
Khanh Le                     451 West 44th street          apt 43       new york         NY             10036
Alexander Constantin         254 E 10th St                 Apt 4B       New York         NY             10009
Carson Kessler               75 3rd ave                                 New York         NY             10003
Ryan Shirar                  370 W 30th St                 Apt 9C       New York         NY             10001
Grace Ko                     301 oldwoods road                          franklin lakes   NJ              7417
Nellie Zubkis                273 St Mark's Place           apt 6C       New York         NY             10301
Stephen Brown                24 Aston Court                             London           LONDONn4 2yd
Meguru Hirata                na                                         New York         NY             10003
Talia Schonfeld              5 University Place                         New York         NY             10003
Dan Lujan                    5 Times sq                    EY           New York         NY             10036
Kyle Reingold                80 Lafayette Street                        New York         NY             10013
Jose Loza                    4545 Center Blvd                           New York         NY             11104
David Aryanto                450 Decatur Street                         New York         NY             11233
Han Bowei                    50 West 34th Street                        New York         NY             10001
Mengqi Gu                    343 gold Street                            New York         NY             11201
Robert Rowe                  434 East 10th                 apt 2        New York         NY             10009
Rebecca Resnick              190 east 7th street                        New York         NY             10009
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Elizabeth Andreassen              201 East 10th street               apt 4     New York        NY     10003
Leo Redman                        15330 89th Ave                     #801      Jamaica         NY     11432
Zaher Saleh                       4 Astor Place                                New York        NY      1003
Akesha Sanjay                     9 Stuyvesant oval                            New York        NY     10009
Zehra Merchant                    33rd Ave                                     New York        NY     10003
Hector Gonzalez                   340 E 105 St Apt 6F                          New York        NY     10029
Ruby Gomez                        486 7th Street                               New York        NY     10003
Amanda Dudley                     580 Flatbush Ave Apt 5C                      Brooklyn        NY     11225
Melissa Cazaux                    126 1st avenue apt 2f                        New York        NY     10009
Tai-hua Wu                        35-46 Crescent St                  BSMT      Astoria         NY     11106
Chen Wang                         88 Bleeker St                      Apt6N     New York        NY     10012
Lauren Hudson                     200 2nd Abe                                  New York        NY     10003
Chris Gonzalez                    173 1st ave #4b                              New York        NY     10003
Corey Tuttle                      45 5th Ave                                   New York        NY     10003
Adam La Faci                      192 ainslie st                               New York        NY     11211
Linda Tes                         156 Rogers Ave Apt 11                        Brooklyn        NY     11216
Andrew Wilson                     60 E 9th St                                  New York        NY     10003
Beth Katzoff                      29 Washington Square West apt 5C             New York        NY     10011
Jingyu Liu                        349 w. 45th                                  New York        NY     10036
Blaise Preau                      221 E 5th St                       Apt 5     New York        NY     10003
Hector Fabiano                    20 Columbia St apt 8A                        New Jerseey NJ          7102
Kate Monahan                      233 S. 1st Street Apt 3W                     New York        NY     10003
Natan Dorfman                     159 1st ave                                  New York        NY     10003
Franco Alonzo                     84-50 169th St.                    #610      Jamaica         NY     11432
Angelique Cesar                   176 north 6th street #2                      brooklyn        NY     11211
Viv Bond                          520 east 12th street 5f                      New York        NY     10009
Michael Rouff                     2 5th Ave                                    New York        NY     10011
Richard Bonneau                   4 Washington                                 New York        NY     10012
Danny Reinberg                    29 Washington Sq                             New York        NY     10011
Danielo Guzman                    29 Washington Sq                             New York        NY     10011
Sofia Dieck                       215 e. 4th St                                New York        NY     10009
Nicole Demaretz                   120-05 Hillside                              New York        NY     11418
Raghav Sikka                      1 Astor Place                                New York        NY     10003
Brandon Trice                     528 e. 6th                                   New York        NY     10009
Joe Ward                          1610 Bedford Ave 1D                          New York        NY     11225
Martin Bigio                      200 waverly                                  New York        NY     10014
Megan Kendzior                    1620 Caton ave                               New York        NY     11226
Georgina Dixon                    110 3rd Avenue Apt 2D                        New York        NY     10003
Jerry Qi                          791 broadway                                 New York        NY     10003
Sebastien Clervau                 105 Harbor dr                                New York        NY      6902
Janice Lee                        University Place, 8th street                 New York        NY     10003
Steve Bentley                     250 mercer street                            New York        NY     10003
Devin Daly                        449 west 37th                                New York        NY     10018
Sophie Milkes                     9 East 32nd street                 apt 3G    New York        NY     10016
Randy Ruder                       po box 361                                   Mamarerech NY          10543
Puja Prakash                      220 West 104th street                        New York        NY     10025
Christian Seale                   1487 Nostrand Ave                            Brooklyn        NY     11226
Danny Robinson                    129 Vanduran Street                apt 1     Brooklyn        NY     11221
Callie Marx                       56 east 7th street #7                        New York        NY     10003
Cristian Costache                 413 Graham                                   brooklyn        NY     11211
Katie Andrews                     3701 union street #2b                        brooklyn        NY     11231
Maria Jose Fernandez-concha       120 East 12th street                         New York        NY     10003
Victor Stewart                    269 South Irving Street                      Ridgewood       NJ      7450
Jennefer Cameron                  455 E. 14th                                  New York        NY     10009
Paris Hilton                      4 Astor Place                                New York        NY     10003
Jennifer Rovero                   4 Astor Place                                New York        NY     10003
Simon Kinsella                    36 Gramercy Park East              apt 10N   New York        NY     10003
Jake Mccauley                     770 Broadway                                 New York        NY     10003
Christian Biesinger               4260 Broadway                                New York        NY     10033
Kenny Rainelli                    1407 Marina Mile Boulevard         apt 306   Fort lauderdale FL     33315
Noah Sussman                      200 Rector Pl. 8G                            New York        NY     10280
Katie Adler                       343 East 21st street               apt 3     New York        NY     10010
George Twizell                    4 astor place                                New York        NY     10003
James Kleinmann                   209 east 5th #1R                             New York        NY     10003
Josh Hyatt                        4 Astor Place                                New York        NY     10003
Blake Johnson                     300 Mercer Street Apt 23B                    New York        NY     10003
Quinn Buggs                       439 West 46th Street apt 1D                  New York        NY     10036
Marcus Davis                      760 Eldert Lane apt 2B                       Brooklyn        NY     11208
Mollie Thomas                     226 East 29th street               apt 2D    New York        NY     10016
Alana Mcmillan                    47 Pitt st apt8                              New York        NY     10002
Katie Spelman                     202 bowery #2                                New York        NY     10019
Chris Rich                        55 east 9th st                               New York        NY     10003
David Meehan                      166 ainslie                                  New York        NY     11211
Camilo Valdes                     2812 Pine Street                             Miami beach FL         33140
Elaine Nieves                     213 e 5th st                                 New York        NY     10003
Eric Morriss                      86 kenmare st apt 15                         New York        NY     10012
Michele Sicard                    140 Thompson Street                apt 2D    New York        NY     10012
Anna Boman                        347 east 6th street apt 4a                   New York        NY     10003
Winston Bradley                   1160 5th Avenue                              New York        NY     10029
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Elias Kakos                  1502 River Edge                                 Whippany       NJ      7981
Eric Peterson                416 Himrod street #4L                           New York       NY     11237
Liam Heeks                   166 Ainslie Street                              New York       NY     11211
Emily Graf                   20 Waterside Plaza                              New York       NY     11104
Bryan Young                  235 East 13th street                  apt 5N    New York       NY     10003
Kait Mccann                  1 Astor Place                                   New York       NY     10003
Sarah Debolt                 117 east 11th Apt 3a                            New York       NY     10003
Timothy Williams             4 Astor Place                                   New York       NY     10003
Roderick Harris              27 Barker Avenue 1017                           New York       NY     10601
Sasha Sleiman                34-28 28th                                      New York       NY     11106
Lerie Palmaira               6544 182nd street                               Flushing       NY     11365
Giovannie Santiago           514 Lidgerwood ave                              New York       NY      7202
Elben Heramis                102 St. Mark Pl.                                New York       NY     10009
Sara-olivia Granberger       226 East 29th street                  apt 2D    New York       NY     10016
Sophia Chang                 500B Grand Street                     apt 12C   New York       NY     10002
Adam Dephillips              160 Graham ave                                  New York       NY     11206
Olivia Skutnik               138 Eldridge Street Apt 1R                      New York       NY     10002
Nicole Barritta              230 East 27th st #9                             New York       NY     10016
Virender Poeran              94 E. 4th street                                New York       NY     10003
Anna Rosa Parker             3 Washington Square village apt11rt             New York       NY     10012
Petch Wannissorn             620 East 6th st                                 New York       NY     10003
Michelle Lamy                bowery hotel                                    New York       NY     10010
Daniel Owen                  247 West 46th                                   New York       NY     10036
Christos Pietris             51 astor place                                  ny             NY     10010
Michele Calise               63 E 9th street                                 New York       NY     10003
Matthew Newton               725 east 9th Street                             New York       NY     10003
Virginia Anderson            722 broadway #3                                 New York       NY     10003
Manny Lopez                  Lispenard Street                                New York       NY     10013
Nichele Dudley               85 e. 10th                                      New York       NY     10003
Katherine Ampolini           516 E. 6th Apt D                                New York       NY     10009
Ryan Lupo                    30 Waterside Plaza                    apt 35E   New York       NY     10010
Sarah Kennedy                300 8th ave                           apt 6H    Brooklyn       NY     11215
Holly Williamson             2578 bedford aave                               New York       NY     11226
Wenbing Yang                 284 Mott Street                       apt 6J    New York       NY     10012
Ben Wegman                   30 West 141st ST #8N                            New York       NY     10028
Jamar Burton                 526 9th avenue                                  New York       NY     10013
Steven Vine                  300 Mercer                                      New York       NY     10003
Nicholas Dupont              4 Astor Place                                   New York       NY     10003
Larry Debono                 1 Astor Place                                   New York       NY     10003
Kurt James                   82 Nassau Street                                New York       NY     10038
Brooke Nedelcovych           162 Bedford Avenue                    apt 4F    Brooklyn       NY     11249
Emma Oh                      220 Ave A                                       New York       NY     10009
Rick Lavere                  45 cottage street #3                            jersey city    NJ      7012
Beth Staehle                 59 irving ave                                   New York       NY     11237
Amber Harrison               700 Grove Street                      apt 12W   Jersey City    NJ      7310
Stefan Hengst                205 east 10th Street                            New York       NY     10003
Chris Dunne                  1 astor place                                   New York       NY     10003
Alina Bozyczko               478 Woodward Ave 3R                             Ridgewood      NY     11385
Douglas De Jager             312 eaST 9th                          Apt 4     New York       NY     10003
Andrew Zachs                 na                                              New York       NY     10010
Laurie Woolery               425 Lafayette St                                New York       NY     10003
Cindy Manzanares             163-24 89 ave                                   New York       NY     11432
Michelle Brennan             60 East 9th street                    apt 415   New York       NY     10003
David Yueh                   7025 yellowstone blvd                           forrest hill   NY     11375
Manuel Romero                701 Ridge Hill                        apt 2C    Yonkers        NY     10710
Veronica Staehle             4 Astor Place                                   New York       NY     10003
Randy Platnick               1 astor place                                   New York       NY     10003
Elizabeth Brown              137 east 15th                                   New York       NY     10003
Robert Higa                  30 E 85th St                                    New York       NY     10028
Kate Bartow                  235 East 13th street                  apt 4N    new york       NY     10003
Mimi Kigawa                  5 St Marks Place                      apt 4     New York       NY     10003
James Skotchdopole           172 East 4th street                   apt 4H    New York       NY     10009
Dean Sparks                  172 East 4th street                   apt 4H    New York       NY     10009
Grace Gao                    1 Irving Place                        pt P9H    New York       NY     10003
Gila Sohn                    222 East 14th street                            New York       NY     10003
Louis Lafata                 420 bleeker st apt 3L                           Brooklyn       NY     11237
Taylor Carr                  420 Bleeker Street                    apt 3L    Brooklyn       NY     11237
Yasemin Akbaba               216 N 8th St                                    Brooklyn       NY     11211
Alex Berger                  152 Orchard Street                              New York       NY     10002
Taara King                   700 Broadway                                    New York       NY     10003
Ryan Ramasir                 343 Gold Street                                 New York       NY     11201
Edwin Batista                240 West 73rd Street                  apt 401   New York       NY     10023
Berj Tenguerian              102B Nassau ave 2                               New York       NY     11222
Nithin Donepudi              21 stuyvesant oval                              New York       NY     10009
Brionka Halbert              3051 Sunrise Lakes Drive East         apt 109   Sunrise        FL     33322
Courtney Alexander           189 east 3rd street #2                          New York       NY     10009
Fred Weaver                  West 8th sttreet                                New York       NY     10003
Michael Bonella              474 Central Park West                           New York       NY     10025
Steve Hurley                 1 astor place #6p                               New York       NY     10003
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Colin Bennett              Fifth avenue                               New York       NY      10022
Kristine Thomason          291 5th Ave                  Apt 4R        New York       NY      11215
Julia Gall                 110 East 1st Street          Apt #4        New York       NY      10009
Joel Schwimmer             104 lorimer st 2                           Brooklyn       NY      11206
Justin Bagoyo              45-31 Apt 2F                 40th street   sunnyside      NY      11104
Fervic Salvacion           64-12 Wetherole Street       apt 1B        Rego Park      NY      11374
Jason Savitt               12771 Caswell Ave            suite 4       Los Angeles    CA      90066
Monica Jiang               33 Third Ave                 alumni hall   New York       NY      10003
Zachary Kimekheim          36 St Marks Place            apt 16        New York       NY      10003
Phoebe Alix                158 East 22 apt4                           New York       NY    2235994
Constantine Yannelis       10-12 East 8th street                      New York       NY      10003
Kia Andreadou              12 Easrt 8th tsreet                        New York       NY      10003
Anthony Defino             10 Buttonwood Drive                        New York       NY       7746
Lauren Henderson           151 East 31st street                       New York       NY      10016
Landon Jones               65 St Marks Place            apt 5         New York       NY      10003
Anthony Bustos             528 east 5th street                        New York       NY      10009
Steven Summersill          131-60 Laurelton Parkway     2nd floor     Rosedale       NY      11422
Denys Roz                  295 Cooper St                              New York       NY      11237
Andrea Nespola             310 East 55th street apt4b                 New York       NY      10022
Brian Ruggiero             44 Princeton Street                        Maplewood      NJ       7040
Gennaro Savastano          31-84 30th street            apt 1         Astoria        NY      11106
Yuanzhou Wu                110 west 3rd street                        New York       NY      10001
Vadim Ananev               943 Elden ave 202                          Los Angeles    CA      90006
Dmitry Shishov             503 RTE 6A                                 Yarmouthport   MA       2675
Vivek Bagri                19 St Marks Pl 6E                          New York       NY      10003
Neha Thirani Bagri         19 St Marks Place                          New York       NY      10003
Mohan Warusha              241 East 7th                 apt 2B        New York       NY      10009
Komail Aijazuddin          102 St Marks Place           apt 3         new york       NY      10009
Obaid Dumas                1350 Washington Ave          apt 15B       Bronx          NY      10456
Heath Morgan               179 Prince Street            apt 2         New York       NY      10012
Simon Macfarlane           82 east 7th apt 1E                         New York       NY      10003
Molly Jordan               245 East 10th Street                       New York       NY      10003
Chung Ng                   738 Broadway                               New York       NY      10003
Angelo Toriello            1 astor place                              New York       NY      10001
Magnus Rosengarten         118 west 119 street                        New York       NY      10026
Alex Vuong                 60 Orchard Street Unit 6                   New York       NY      10002
Steven Le                  65 2nd ave 5E                              New York       NY      10003
Monte Dop                  94 East 4th street           apt 501       new york       NY      10003
Danielle Rothermel         629 West 138th street        apt 24        New York       NY      10031
Madeleine Boardman         4 Astor Place                              New York       NY      10003
Michael Walsh              347 West 55 st                             New York       NY      10019
Becky Schaumberg           14 Washington Place          apt 10M       New York       NY      10003
John Mcaneny               1 University Place 5F                      New York       NY      10003
Sanjana Arefin             420 bleeker street           apt 2L        Brooklyn       NY      11237
Isabel Rechberg            94 East 4th street           apt 501       new york       NY      10003
Meaghan Whyte              2314 28th Avenue             apt 2F        Astoria        NY      11102
Ricardo Kuma               105 Winthrop St              Apt. #5J      New York       NY      11225
Natalie Guillaume          1 Stuyvesant Oval            apt 4A        New York       NY      10009
Jacques Servin             383 Grand Street M1906                     New York       NY      10002
Naomi Gheorghe             116 Avenue C                               New York       NY      10003
Sacha Goldberger           60 East 8th street                         New York       NY    2235413
Mitch Heckart              345 East 12th                              New York       NY      10003
Constance Yeung            77 Madison                                 New York       NY      10002
Pavan Trivedi              15 Ashbrook Dr                             New York       NY       8820
Paul Rufo                  4 Astor Place                              New York       NY      10003
Corinne Labitzke           33 2nd ave                   #2A           New York       NY      10003
Hector Crespo              4 Astor Place                              New York       NY      10003
Konstantin Eder            420 E 13th St #31                          New York       NY      10009
Owen Kaye-kauderer         1 Astor Place                              New York       NY      10003
Peter Dion                 96 3rd Ave                   #F            New York       NY      10003
Anna Boyd                  10 City Point #33F                         Brooklyn       NY      11201
David Gordon               1 Astor Place                              New York       NY      10003
Dianne Carroll             215 East 5th st                            New York       NY      10003
Simon Pastukhov            1353 E 13th St.                            Brooklyn       NY      11230
Oscar Hernandez            110 West 129th street        apt 4R        New York       NY      10027
Allen Reiser               151 E 79th St #4th Floor                   New York       NY      10075
Kerstin Wagner             85 E 10th #PH6N                            New York       NY      10003
Meghan Turner              60 E 8th #5N                               New York       NY      10003
Yajie Zhuang               105 W 29th St. #43A                        New York       NY      10001
Jane Peters                354 East 8th street          apt 2         New York       NY      10009
Shanice Stephens           701 Bradford St #1                         Brooklyn       NY      11207
Pedro Dall Stella          128 2nd Ave #AA                            New York       NY      10003
Daniel Gourvitch           60 E 8th St #7k                            New York       NY      10003
Anissa Labyad              33 Crooke Ave #2E                          Brooklyn       NY      11226
Irina Sobol                655 Marlborough Rd                         New York       NY      11230
Nicolette Klym             152 2nd Ave #4F                            New York       NY      10003
Suzanne Egertson           5 Kathleen Dr.                             Andover        MA       1810
Erin Boyajian              218 East 10th street         apt 4A        New York       NY      10003
Jared Ray                  145 Hicks Street             apt B67       Brooklyn       NY      11201
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Charles Wilson                  225 East 7th street            apt 5A         New York         NY     10009
Jimmy Cappe                     20 Clinton Street                             New York         NY     10002
Sol Kassorla                    63 East 9th street             apt 3R         New York         NY     10003
Nicole Monforton                189 W 10th St #1E                             New York         NY     10014
Yulenny Reyes                   200 w 143rd st                                New York         NY     10030
Matt Malone                     55 Norton Avenue                              San Jose         CA     95126
Marcus Gholar                   2125 Pacific Street                           New York         NY     11233
David Bellemere                 133 2nd Ave                    apt 11         New York         NY     10003
Christian Mueller               14 Washington Place            apt 10B        New York         NY     10003
Shaila Foster                   4 Rodak Circle                                Edison           NJ      8817
Joe Cimpian                     4 Washington Square Village    apt 7A         New York         NY     10012
Sarah Bratman                   104 Mcdougal Street                           New York         NY     10012
Rick Sarkar                     4630 Center Blvd #1405                        Long Island City NY     11109
Chris Hayes                     193 Albany AVe                                Brooklyn         NY      1121
Kendra Guersoy                  19 Glenview Road                              South Orange NJ          7079
Yitzchok Pfeiffer               515 Flushing Ave                              Brooklyn         NY     11205
Jasmine Soltani                 170 Parkside Ave               apt 3E         Brooklyn         NY     11226
Mahad Hassen                    205 West 147th street          apt 10         New York         NY     10039
Scott Sartiano                  6366 Lindenhurst Ave                          LA               CA     90048
Alexandra Rizzo                 6366 Lindernhurst Ave                         LA               CA     90048
Janelle Miranda                 271 Avenue C APT MG                           New York         NY     10009
Nicole Kaplan                   341 East 9th street            apt 9          New York         NY     10003
Ariel Andrews                   60 E 8th Street Apt 22 D                      New York         NY     10003
Stephen Ma                      75 3rd Ave #402E                              New York         NY     10003
Carla Tian                      75 3rd St #TE409                              New York         NY     10003
Silu Ruan                       75 3rd Ave #TN402                             New York         NY     10003
Michael Ayjian                  19 Bala Ave                                   Balacynwyd       PA     19004
Sumer Thakkar                   120 E 12th St #2203A                          New York         NY     10003
Carly Calbreath                 414 West 121st                 apt 42         New York         NY     10027
Raphael Taurel                  545 E 14th St                  #6E            New York         NY     10009
Laura Kendrick                  63 Clinton Street              apt 5          New York         NY     10002
Bella Suansing                  33 Third Ave                                  New York         NY     10003
Darian Amirsaleh                60 East 8th Apt29E                            New York         NY     10003
Lianhong Wen                    2502 Bathgate Ave                             Bronx            NY     10458
Matthew Krull                   120 E 12th St #607                            New York         NY     10003
Haley Sacks                     194 East 2nd street            apt 4A         New York         NY     10009
Sabastian Diaz Jaramillo        4 Stuyvesant Oval 12B                         New York         NY     10006
Maya Fakhoury                   55 East 10th street                           New York         NY     10003
Farouk Aboughazale              3rd N. 3rd ave 11 street                      New York         NY     10003
Darragh Lacey                   110 East 14th street                          New York         NY     10003
Tarek Amin                      110 East 14th street                          New York         NY     10003
John Tang                       80 Lafayette St #1418                         New York         NY     10013
Krongsuk Kumpituck              33 Central Ave                 apt B          Staten Island NY        10301
Tara Tabbara                    110 East 14th street                          New York         NY     10012
David Kaner                     613 east 6th street                           New York         NY     10021
Brennan O'Rear                  613 East 6th street #56                       New York         NY     10001
Mason Meeks                     75 3rd Ave                                    New York         NY     10003
Su Yi                           110 East 14 street                            New York         NY     10003
Winson Zhuang                   9 West 31st                    apt 11H        New York         NY     10001
Melonie Tallerson               30-44 34th street              apt 2D         Astoria          NY     11103
Go Forth                        30 place                                      New York         NY     10573
Katya Kulikova                  4 Astor Place                                 New York         NY     10003
Shirui Zhang                    12A 11 Waverly place                          New York         NY     10003
Alyas Mohammad Ali              189 Linden Ave                 Ground Floor   Jersey City      NJ      7305
Jared Delaney-smith             295 Park Ave South #12P                       New York         NY     10010
Andrew White                    629 Sterling Place             apt 2R         Brooklyn         NY     11238
Eitan Adika                     1881 Grand Concourse           apt 3F         Bronx            NY     10453
Marsel Aminev                   2502 Cortelyou Road            apt 3G         Brooklyn         NY     11226
Alexandria Costa                500 East 12th street           apt 3          New York         NY     10009
Hui Huang                       243 Hemmy Street                              New York         NY     10002
Alex Lesnevskiy                 225 East 34th Street                          New York         NY     10006
Luisa Alvarez                   317 East 9th Street                           New York         NY     10003
Erick Nieto                     317 East 9th                                  New York         NY     10003
Elizabeth English               169 St Marks Place                            New York         NY     10009
Jeff Mcfarland                  249 Eldert Street              apt 1          Brooklyn         NY     11207
Troy Horton                     402 East 12th street           apt 10         New York         NY     10009
Giacomo Tagiuri                 119 E 96th St #9                              New York         NY     10128
Ammaar Amdani                   110 East 14th street                          New York         NY     10003
Tiffany Song                    11 Waverly Place 5C                           New York         NY     10003
Moon Choi                       55 East 10th street                           New York         NY     10003
Yoonkyung Choi                  55 east                                       New York         NY     10003
Miles Murphy                    300 East 5th street                           New York         NY     10003
Avinash Samarth                 10 west                                       New York         NY     10003
Matthew Green                   1295 Pacific Street            apt 2R         Brooklyn         NY     11216
Elizabeth Ellsworth-kasch       160 Bleecker Street apt 10CW                  New York         NY     10012
Juan Diego Villegas             4 Astor Place                                 New York         NY     10003
Julian Halim                    199 E 3rd #5A                                 New York         NY     10009
Sheila Pande                    14 Stuyvesant Oval             apt 4C         New York         NY     10009
Owen Whiting                    2 college 1319                                New York         NY      2193
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Jesse Crawford                 19 West 8th street            apt 2     New York         NY     10011
Nick Quigley                   4 Astor Place                           New York         NY     10003
Jae Kim                        33 Washington Sq.                       New York         NY     10011
Tingyu Su                      300 18 east 15street                    New York         NY     10003
Erick Wu                       100 W 31st St #37L                      New York         NY     10001
Eileen Armella                 117 west 58th street                    New York         NY     10003
Rafael Cetin                   629 E. 11th St #c3                      New York         NY     10009
Zafar Shaw                     296 Powers Stret              Apt 3L    Brooklyn         NY     11211
Mohil Gupta                    4 astor place                           New York         NY     10003
Arwa Numan                     11 Waverly Place #9L                    New York         NY     10003
Gabriel Orazi                  224 Sullivan Street           Apt B31   New York         NY     10012
Natalie Bouchard               83 Baxter Street              apt 7D    New York         NY     10013
Austin Wise                    33 Beekman Street rm 1605               New York         NY     10038
Sean Mcsweyn                   17 Saint Marks Place.                   New York         NY     10003
Tinghao Huang                  390 1st Avenue                apt 8E    New York         NY     10010
Yifan Peng                     238 Ainslie Street            apt 2B    Brooklyn         NY     11211
Alicia Aguilar                 55 Rutgers St APt 4B                    New York         NY     10002
Joanie Choremi                 21 Leroy Street                         New York         NY     10014
Philip Natale                  413 East 9th street           apt 3C    New York         NY     10003
Dominic Guida                  75 3rd Ave. #508                        New York         NY     10003
Rob Milton                     60 E 13th #4W                           New York         NY     10003
Maiko Carvalho                 60-14 Grove St                          Ridgewood        NY     11385
James Castle                   45-40 Center Blvd #101                  Long Island City NY     11109
Qichang Sun                    343 Gold Street                         Brooklyn         NY     11201
Joseph Hof                     237 east 10th Street #1A                New York         NY     10003
Greg Crockart                  2595 N Cardillo Ave                     Palm Springs CA         92262
Kianna Stupakoff               162 Ave B                     apt 4E    New York         NY     10009
Gil Ayalon                     546 Broadway                            New York         NY     10010
Omer Soylemez                  318 East 15th street          apt 2A    New York         NY     10003
Stewart Riggs                  155 Hester Street             Apt 703   New York         NY     10013
Milan Chatterjee               240 Mercer street #211A                 New York         NY     10012
Andre Cunningham-bullock       824 Grand St                            Jersey City      NJ      7304
Jennifer Zhang                 11 Waverly Place #9A                    New York         NY     10003
Avery Klemmer                  245 East 10th Street                    New York         NY     10009
Nellie Norouzian               1 Astor Place                 apt 6E    New York         NY     10003
William Goldberg               11 Saint Marks Place Apt19              New York         NY     10003
Kemar Jewel                    52 Mother Gaston Blvd #1                Brooklyn         NY     11233
Allegra Durante                10 Bennett Ave #4E                      New York         NY     10033
Marianne Camargo               110 East 13th street          apt 4B    New York         NY     10003
Nika Sagalchik                 111 Thied avenue                        New York         NY     10003
Minji Shin                     230 Sullivan                            New York         NY     10012
Valber Sousa                   971 Broadaway                 floor     New York         NY     10003
David Kellman                  14209 223rd Street                      New York         NY     11413
Mauricio Aguirre               4 Astor Place                           New York         NY     10003
Chelsea Morrison               1 Astor Place #6o                       New York         NY     10003
Jasmond Mcmillian              56 West 105th #1A                       New York         NY     10025
Mandana Torabi                 1 University Place            Apt 5B    New York         NY     10003
Andrew Brownlee                1 University Place            apt 5B    New York         NY     10003
Mimi Aboubaker                 422 East 9th street           apt 3     New York         NY     10009
Julia Roytman                  122 E 13th St Apt LLB                   New York         NY     10003
Sam Golino                     25 Union Square W                       New York         NY     10003
Clare Aronow                   4 Washington Square Village   apt 17O   New York         NY     10012
Nikos Siozos                   20-31 49th St. #2nd Floor               Astoria          NY     11105
Vikram Mothe                   9 Carnation Road                        Monroe           NJ      8831
Jamie Wilde                    328 East 19th street          apt 19C   New York         NY     10003
Sara Campbell                  25 10th St #7F                          New York         NY     10003
Jeffrey Steiner                25 10th St. #7F                         New York         NY     10003
Len Peters                     37 Washington Aquare West               New York         NY     10011
Alexandra Sapera               19 St Marks Place             unit 5A   New York         NY     10003
Joanna Li                      75 3rd Ave                              New York         NY     10003
Diego Goncalves                240 East 13th street                    New York         NY     10003
Kalkidan Tadese                75th Third Ave                          New York         NY     10003
Sam Kevin                      80 E 3rd                                New York         NY     11201
Christian Mota                 208 7th Street Apt 6                    New York         NY     10009
Elaina Ferreira                521 E 14th St. #9B                      New York         NY     10009
Strevel Models                 4 Astor Place                           New York         NY     10003
Adam Grudman                   14 St. Marks Pl. #3C                    New York         NY     10003
Mackenzie Alderman             235 Elizabeth St. #16                   New York         NY     10012
Yuri Choi                      277 Ave C #1H                           New York         NY     10009
Sam Lee                        277 Ave C #1H                           New York         NY     10009
Kelsea Alderman                179 Mulberry St. #15                    New York         NY     10012
Yuan Li                        137 1st ave                             New York         NY     10003
Abby Bullard                   94 east 4th street apt801               New York         NY     10003
Meredith Suzuki                140 East 16th street #1A                New York         NY     10003
Elliott Wheeler                518 East 11th street          apt 5B    New York         NY     10009
Adrian Hao                     11 Wavery Place                         New York         NY     10003
October Wang                   120 E 12th St. #2607                    New York         NY     10003
Kalin Clarke                   256 Malcolm X Blvd                      Brooklyn         NY     11233
Carrington Hill                355 Chauncey St                         Brooklyn         NY     11233
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Julia Vlasenko           304 E 90th #1C                            New York        NY     10128
Meghan Brake             655 E 14th st                             New York        NY     10009
Michael Ovalle           585 West 204th                            New York        NY     10033
Lilly Shahidi            345 E 5th St. #2                          New York        NY     10003
Jose Torrado             239 North 9th street apt W418             Brooklyn        NY     11211
Josh Moore               310 East 12th street            apt 3B    New York        NY     10003
Andrew Nunez             107 Havemeyer St. #27                     Brookyln        NY     11211
Stephanie Parker         269 West 132nd apt4                       New York        NY     10027
Henry Igunbor            172 Meserole St                           New York        NY     11206
Lingwei Wu               292 Hawthorne Street                      Brooklyn        NY     11215
Sarah Gillet             1 Astor place                             New York        NY     10003
Gabrielle Afandi         620 E 6th St                              New York        NY     10009
Enzo Derohanessian       1 University Place              apt 18B   New York        NY     10003
Thomas Tolerico          530 Stockton St. #104                     San Francisco   CA     94108
Caitlin Schultz          160 bLEECKER sT # 2aw                     New York        NY     10003
John Bockstanz           440 E. 13th St                            New York        NY     10009
Maximillion Cohen        229 East 13th street Apt 3b               New York        NY     10003
Rasheed Escobar          77 Fulton Street                          New York        NY     10038
Vinay Sharma             773 Broadway                              New York        NY     10003
Kate Mcbreaty            4 Astor                                   New York        NY     10003
Lucas Carey              746 Jefferson Ave #2                      Brooklyn        NY     11221
Margarita Golub          67 E 7th St. #1A                          New York        NY     10003
Jonathan Graf            40 Grave Street                           New York        NY     10014
Erika Gulderner          1 Hudson St                               New York        NY     10031
Nils Wagner              85 E 10th St. #6N                         New York        NY     10003
Jared Elbert             223 W 14th apt 3B                         New York        NY     10011
Brian Sun                1600 15th St                              San Francisco   CA     94103
Eric Selbst              85 East 10th st                 Apt 50    New York        NY     10003
Lyle Shemer              1675 York ave APt 19A                     New York        NY     10128
Vasi Eugenis             33 3rd Ave                                New York        NY     10003
Jesenko Tesan            Bravadziluk 27                            New York        NY     10003
Azusa Hirano             568 Pacific St. #2D                       Brooklyn        NY     11217
Adele Carrai             22 Washington Square N                    New York        NY     10011
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                                             02/13/1785th Entered 02/13/17 13:54:03
                                                          STREET MEMBERS
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Name                        Address1                        Address2          City       State   Zip
Alex Barlow                 11 E 80Th St                                      New York   NY              10075
Kathryn Strom               ***                                               New York   NY              10028
Susan Sigda                 1040 Park Ave                   Apt 9J            New York   NY              10028
Scott Mead                  30 E 85Th St                                      New york   NY              10028
Maggie Simmons              40 East 83rd Apt 10E                              New York   NY              10028
Patrick Schwarz             30 E 85th St                    Apt 9A            New York   NY              10028
Roger Hertog                1040 Fifth Avenue                                 New York   NY              10028
Susan Hertog                1040 Fifth Avenue #13A                            New York   NY              10028
Susan Stern                 940 Park Ave                                      New York   NY              10028
Michael Borodkin            1020 Park Ave #2C                                 New York   NY              10028
Stuart Shikiar              30 E 85Th 24B                                     New York   NY              10028
Leslie Mintz                11 East 86th St Apt 8C                            New York   NY              10028
Gwen Marder                 160 East 65th Street                              New York   NY              10021
Ashley Newman Jr.                                                                        NY
Trainer Radiah Given                                                                     NY
Madelyn Adamson             1020 Park Ave #20B                                New York   NY              10028
Alison Adams                434 Monterey Ave                                  Pelham     NY              10803
Hans Utsch                  1021 Park Ave                                     New York   NY              10128
Sanja Frank                 1040 5th Avenue                                   New York   NY              10028
Jan Riese                   60 East 96Th                    1E                New York   NY              10128
Andrew Gordon               22 E 88Th St                    Apt 11F           New York   NY              10128
Salem Grassi                944 Park Ave                                      New York   NY              10028
Edwin Abraham                                                                            NY
Peter Cohen                 14 East 96th Street             Apt. 2            New York   NY              10128
Denise Saftchick            1100 Madison Ave                                  New York   NY              10028
Hugh Mackay                 17 E 89Th St                                      New York   NY              10128
Aly Sene-dorsi              1000 Park Ave                   Apartment #5E     New York   NY              10028
Laurence Lerner             45 East 85Th Street                               New York   NY              10028
Drake Tempest               1020 Park Avenue #8-9D                            New York   NY              10028
Anne Levitt                 875 Fifth Ave                                     New York   NY              10021
Diana Agrest                103 E 86 St #4A                                   New York   NY              10028
Antonella Fabri             111 E 85 St                                       New York   NY              10028
Leslie Daniels              1040 Fifth Ave                                    New York   NY              10028
Wendy Sanders               45 E 89Th Street                                  New York   NY              10028
Sherry Parker
Margaret Keene              8 East 83rd Street                                New York   NY              10028
Charles Hovland             217 East 83Rd Apt 3A                              New York   NY              10028
Robin Lewis                 125 E 87th                      16B               New York   NY              10128
Jerry Dimitriou             8 East 79th St                                    New York   NY              10075
Gamze Ates                  31 East 79th Street             9W                New York   NY              10075
Charlie Schwartz            2 E 88 St Apt #2                                  New York   NY              10028
Erin Mansfield              25 E 86 St Apt#10A                                New York   NY              10028
Krista Pernice                                                                           NY
Tiiu Frankfurt              525 East 86th Street                              New York   NY              10028
Parastu Malik               20 East 84Th St                                   New York   NY              10128
Trainer Claudia Mendes                                                                   NY
Ted Kauffman                50 E. 89Th. Street #31D                           New York   NY              10128
Ron Mize                    1049 Fifth Ave Apt #3C                            New York   NY              10028
Tony Hass                   45 East 85th St.                                  New York   NY              10028
Dina Propp                  25 E 86th St Apt #12F                             New York   NY              10028
Izak Senbahar               2 E 88Th Street                 10Th Floor        New York   NY              10128
Sam Basch                   10 E 85th Street                Apt 1B            New York   NY              10028
Melissa Morris              60 East 88th Street                               New York   NY              10128
David Ritter                45 East 89Th St, #34F                             New York   NY              10128
Diana Frank                 40 East 94 Street               Apartment #25-H   New York   NY              10128
Richard Petrocelli          30 East 85th Street             Apt 3H            New York   NY              10028
Marvin Luboff               1025 5Th Ave. 10Cs                                New York   NY              10028
Sandra Roth                 1025 5Th Ave                    6Gn               New York   NY              10028
Charles Wolfe               1025 5Th Ave                    6G-N              New York   NY              10028
Jill Sand D'Angelo          57 E 77th St.                   Apt 10            New York   NY              10028
Jacques Vuillieme           30 E. 76Th St                                     New York   NY              10021
Barbara Zasky               57 East 80th Street             Apt #1            New York   NY              10021
Susanna Hansen              307 E 77Th                      3E                New York   NY              10021
James Weinhoff              1035 5Th Ave                                      New York   NY              10028
Betsy Battle                12 E. 86Th St                                     New York   NY              10028
Victor Kravets              1755 York Ave                   24a               New York   NY              10128
Andrew Lipsky               103 E 86th Street                                 New York   NY              10028
Pierre Bonan                140 E 81 St Apt#7D                                New York   NY              10028
Leslie Engel                38 E 85Th St                    8B                New York   NY              10028
Tommy Pisano                1060 Park Ave Apt#13A                             New York   NY              10128
Alexandra Nicklas           1030 5th Ave                    Apt 7W            New York   NY              10028
Lori Kramer                 900 5th Avenue Apt 3B                             New York   NY              10021
Kathy Wenning               1095 Park                       17 C              New York   NY              10128
Gail Casale                 1112 Park Ave. Apt1C                              New York   NY              10128
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Lilian Bakhash             120 E 87th St                                      New York    NY              10128
Lesley Koeppel             35 East 75th Street                11E             New York    NY              10021
Mary Lewis                 2 East 80Th St, #7                                 New York    NY              10021
Carol Roskin-paul          11 E 86th St #10A                                  New York    NY              10028
Susan Goldin               8 East 83rd Street                                 New York    NY              10028
Mary Ann Tighe             988 5th Ave                        10th Floor      New York    NY              10075
Max Chapman                920 Park Avenue                                    New York    NY              10028
Maarit Glocer              60 East 96th Street                                New York    NY              10028
Peter Desorcy              One Central Park South             602             New York    NY              10019
Laura O'Donohue            985 5th Avenue                     11B             New York    NY              10075
Barbara Dixon              993 Park Avenue                                    New York    NY              10028
Ellen Monness              1080 Madison Avenue                                New York    NY              10028
Wendy Modlin               1050 5th Avenue                    Apt.14A         New York    NY              10028
Daniel Keegan              30 East 85th Street                                New York    NY              10028
Florian Hartmann           40 East 78th Street Apartment 6G                   New York    NY              10075
Gloria Roth                969 Park Ave                                       New York    NY              10028
Ron Kantowitz              1036 Park Avenue Apt 20B                           New York    NY              10028
Lisa Borodkin              1020 Park Avenue                   Apt 2C          New York    NY              10028
Mark Wasserberg            35 E. 85th Street                  6C              New York    NY              10028
Greg Racz                  10 East 85th Street                2D              New York    NY              10028
Suling Mead                30 East 85th Street                Apt. 23         New York    NY              10028
Linda Donovan              1040 5th Ave Apt #2A                               New York    NY              10028
Jennifer Shannon           103 E. 86tth Street                Apartment #1A   New York    NY              10028
Fe Fendi                   1010 Fifth Avenue                  Apt. 11C        New York    NY              10028
James Gorman               1120 5th Ave                                       New York    NY              10128
Larry Trainer Larry
Eugene Schloss             30 east 85th                                       new york    NY              10028
Eleanore Schloss           30 East 85th Street                                New York    NY              10028
Mary Elizabeth Bunzel      970 Park Avenue                    Apt. 12N        New York    NY              10028
John Levy                  50 East 89th St    Apt 9E                          New York    NY              10128
Trainer Jose Baca
Patrick Ledford            940 Park Avenue Apt 7B                             New York    NY              10028
Megan Scott                17 East 89th, Apt 11B                              New York    NY              10128
John Forbes                40 East 88th Street Apt 5B                         New York    NY              10128
Thomas Leddy               1000 Park Ave, 1F                                  New York    NY              10028
Shelly Leibowitz           1100 Madison Ave                   8F              New York    NY              10028
Michelle Brilliant         11 East 68                         2B              New York    NY              10065
Joan A. Mcclure            1115 5th Avenue                                    New York    NY              10128
Jenny Meyers               12 East 86th Street #428                           New York    NY              10028
Robert Prizer              10 East 85th street                Apt 9B          New York    NY              10028
Nina Christopher           7 E 85th St Apt # 9D                               New York    NY              10028
Gail Shapiro               120 East 85Th. #5W                                 New York    NY              10028
Antoinette Botarelli       1349 Lexington Ave #3F                             New York    NY              10128
Keith Lite                 35 East 85th Street Apt 7D                         New York    NY              10028
Jay Snyder                 1020 Fifth Avenue                                  New York    NY              10028
Irene Mavroyannis          30 East 85th, 5C                                   New York    NY              10028
Linda Basch                5251 Sycamore Ave                                  Riverdale   NY              10471
Lisa Arnold                4 East 70th Street                 Apt 8D          New York    NY              10021
Allyson Waterman           1095 Park Avenue                                   New York    NY              10028
Gerald Rizzieri            1261 Madison Avenue                Apt 7S          New York    NY              10128
Arlen Blakeman             38 East 85th Street                Apt 8D          New York    NY              10028
Sheila Hartnett            16 East 84th Street                PH              New York    NY              10028
Steven Bensinger           1049 Fifth Ave. #11A                               New York    NY              10028
David Katz                 151 East 83rd Street     Apt 3C                    New York    NY              10028
Maryanne Mullarkey         1136 5th Avenue                                    New York    NY              10128
Carol Staab                1049 5Th. Ave. #11A                                New York    NY              10028
Stacy Scheehle             35 East 85th Street                Apt. 6F         New York    NY              10028
Caryn Schwab               30 East 85th St                                    New York    NY              10028
Larry Hass                 40 East 80th Street Apt 17A                        New York    NY              10021
Trish Katz                 151 East 83rd St.                  #3C             New York    NY              10028
Carol Robinson             50 East 89th Street                Apt 21G         New York    NY              10128
Roberta Cook               45 East 89th Street                32E             New York    NY              10128
Amanda Burden              31 East 79Th Street #2E                            New York    NY              10028
Ralph Klein                35 East 85th Street                5C              New York    NY              10028
Gianni Valenti             1680 York Avenue                   4K              New York    NY              10128
MICHAEL MATHEWS            227 West 149th St                  #2E             New York    NY              10039
Roger Berg                 262 Central Park West                              New York    NY              10024
Alfred Mendelsohn          19 East 80th Street                                New York    NY              10021
Mary Gallagher             P.O Box 1127                                       New York    NY              10028
Susan Segal                1040 Park Ave                                      New York    NY              10028
Meg Roth                   1085 Park Ave Apt#14A                              New York    NY              10128
Lucinda Ross               1136 5th Avenue                    9C              New York    NY              10128
Ben Herman                 49 West 94Th. St.                                  New York    NY              10025
David Volpi                45 East 85th St Apt #4C                            New York    NY              10028
Ann Bigelow                40 East 84th Street                                New York    NY              10028
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Marlene Doyle                 201 E 69th St #5D                             New York   NY                10021
Jim Adamson                   38 East 85th Street Apt 4C                    New York   NY                10028
Angeline Loo                  14 E 96th St       16th Fl                    New York   NY                10128
Harold Klein                  40 East 80Th St. 24A                          New York   NY                10021
Gregory Fukutomi              70 East 96th St Apt #7A                       New York   NY                10128
Douglas Hendrickson           60 E 96th St Apt #6A                          New York   NY                10128
Jamie Elias                   153 East 87th Street                          New York   NY                10128
Hassan Alamzad                4 East 88th Street #7C                        New York   NY                10128
Deanne Spiegel                30 East 85th St. 3G                           New York   NY                10028
Jessica Marinaccio            55 East 86th Street           Apt 5B          New York   NY                10028
Michaela Roth                 49 E 86th St Apt #16A                         New York   NY                10028
Barbara Grodd                 1035 Fifth Ave                Apt#11A         New York   NY                10028
Peter Graham                  50 East 79th St. Apt 14A                      New York   NY                10021
Ruthie Nass                   57 East 77 St                 Apt 6           New York   NY                10021
Carol Stein                   1215 Fifth Ave Apt #17B                       New York   NY                10029
Otto Kernberg                 40 East 84th Street           Apt 10 A        New York   NY                10028
Catherine Kinsey              31 East 79th Street           8E              New York   NY                10021
Michael Dennedy               258 85th Street                               Brooklyn   NY     New York
Amy Schorr                    21 East 87 St                                 New York   NY                10128
David Shipley                 131 Hall St                                   Brooklyn   NY                11205
Nina Roth                     830 Park Ave                                  New York   NY                10021
Tom Glocer                    60 E 96th St PH B                             New York   NY                10128
Dupre Cochran                 66 East 79th Street                           New York   NY                10021
Molly Hogan                   435 E 85th St #30                             New York   NY                10028
Elena Lord                    1070 Park Ave Apt #12D                        New York   NY                10128
Robert Leeds                  1035 Park Ave                                 New York   NY                10028
Philip Galanes                4 East 82nd Street            3F              New York   NY                10028
Ellen Warner                  148 East End Avenue                           New York   NY                10028
Dona Schaitkin                12 East 86th Street           Apt 404         New York   NY                10028
Julia Shepard                 100 W 80th St Apt #9B                         New York   NY                10024
Michael Pralle                1050 Fifth Avenue             Apt 19C         New York   NY                10028
Gillian Stern                 26 East 81st Street           Apt 5S          New York   NY                10028
Marissa & Gabi Hollander      12 E 87th St #7B                              New York   NY                10128
Lynda Mandell                 1020 Park Avenue              Apt 6B          New York   NY                10028
Charles Platto                1020 Park Avenue              6B              New York   NY                10028
Berthold Frowein              71 East 77th Street           PHN             New York   NY                10075
Valerie Wolloch               8 E 83rd Street                               New York   NY                10028
Jo Ann Halpern                11 East 86 st                 Apt 7b          New York   NY                10028
Linda Bahrenburg              1025 Park Ave                                 New York   NY                10028
Keith Schaitkin               12 East 86th Street                           New York   NY                10028
Matt Smerling                 1148 Fifth Ave                                New York   NY                10128
Laura Golub                   920 Park Ave                  Apt 9b          New York   NY                10028
Laurie Scollar                47 East 87th st                               new york   NY                10128
Lauren Peaslee                45 East 82nd Street           2W              New York   NY                10028
Susan Sack                    19 E 88th St #5G                              New York   NY                10128
Laura Prozes                  1045 Fifth Avenue             7B              New York   NY                10028
Annette Mcevoy                929 Park Ave                                  New York   NY                10028
Tony Ponturo                  1025 Fifth Ave                                New York   NY                10028
Sepi Nasseri                  49 East 86th Street                           New York   NY                10028
Ted Wang                      45 East 85th Street #9E                       New York   NY                10028
Franklin Armas                92 Main St                    #311            Yonkers    NY                10701
Amelia Ogunlesi               1000 Park Avenue              Apt 8A          New York   NY                10028
Allen Dudley                  317 West 83rd St #4E                          New York   NY                10024
Paulina Eisenbeis             980 Fifth Avenue              Apt 8B          New York   NY                10075
Stephen Hofmeister            19 East 88th Street Apt#10C                   New York   NY                10128
Maya Malek                    1009 Park Ave 12th Floor                      New York   NY                10028
Lauren Manning                8 East 83rd St #7F                            New York   NY                10028
Mina Teitelbaum               1049 5th Avenue               Apt 9B          New York   NY                10028
Mel Fishman                   1049 5th Ave                  9B              New York   NY                10028
Andrea Karambelas             1021 Park Ave.                13D             New York   NY                10028
Ali Elovitz                   201 East 87th St Apt #17K                     New York   NY                10128
David Hidalgo                 988 Fifth Ave                                 New York   NY                10075
Jeff Schwartz                 40 East 88th St                               New York   NY                10128
Karen Schwartz                40 East 88th Street                           New York   NY                10128
Garett Albert                 969 Park Avnue                                New York   NY                10028
Heather Haele
Alex Lotocki                  1040 Park Avenue              Apt 9J          New York   NY                10028
Richard Banziger              1095 Park Ave                                 New York   NY                10128
Pamela Cavallo                127 East 90th St Apt B                        New York   NY                10128
Danny Wolloch                 8 East 83 Street                              New York   NY                10028
Maurley Miller                12 East 88th Street                           New York   NY                10028
Toby Greenberg                106 East 85th Street          apt 5N          NewYork    NY                10028
Lavinia Giuliani Ricci        49 East 86th                                  New York   NY                10028
Logan Donovan                 1040 Fifth Avenue                             New York   NY                10028
Elizabeth Zabludoff           7 East 86th Street            Apt 17A         New York   NY                10028
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Dick Tarlow                  985 Park Ave                                      New York       NY              10028
Christina Snylyk             30 E 85th                                         NY             NY              10028
Willem Houck                 22 East 82nd Street                               New York       NY              10028
David Roth Roth              1085 Park Ave                 Apt 14A             New York       NY              10028
Kathy Drill                  150 East 81st Street                              New York       NY              10028
Ruth Raisman                 188 E. 78th Street            Apt. 10C            New York       NY              10075
William Hendrickson          60 East 96th Street           Apartment #6A       New York       NY              10128
Steve Bunkin                 35 East 85th St #7E                               New York, NY   NY              10028
Mary Ann Deignan             25 E 83rd St #12                                  New York       NY              10028
Katia Ghouzi                 525 East 80th Street                              New York       NY              10075
Gio De Jesus                 30 East 85th Street                               New York       NY              10028
Marta Radzyminski            40 East 94th 10A                                  New York       NY              10128
Larry Spelts                 865 UN Plaza                  12 D                New York       NY              10017
Fausto Gonzalez-taveras      C/O Mail Hold                 4127 42 Street #2   Sunnyside      NY              11104
Robert Mcduffie              124 East 84Th Street                              New York       NY              10028
Susan Levine                 8 East 83rd Street                                New York       NY              10028
Tanya Gonzaga
Lucie Kinsolving             7 West 96th St                6C                  New York       NY              10025
Amie Hadden                  25 E. 86th Street             5C                  New York       NY              10028
Andy Prozes                  421 Stanwich Road                                 Greenwich      CT               6830
Emily Andrews                1588 1st Ave                                      New York       NY              10028
Robert Nass                  22 E. 82nd St                                     New York       NY              10028
Dorie Berliner               993 Fifth Ave #3A                                 New York       NY              10028
Jacques Safra                1049 fifth ave                                    New York       NY              10028
Lauren Marcus                1016 5th Ave                                      New York       NY              10028
Jay Grushkin                 1080 Fifth Ave.               Apt 4C              New York       NY              10128
Elliot Cosgrove              993 Park Ave                                      New York       NY              10028
Allan Lans                   935 Park Ave Apt 12A                              NY             NY              10028
Charlotte Frieze             125 East 84th Street                              New York       NY              10028
Marc Bean                    8 East 83rd Street                                New York       NY              10028
Trainer Norbert Peti
Christina Donnell            12 East 86th Street                               New York       NY              10028
Doug Waite                   60 East 96th Street           2B                  New York       NY              10128
Christopher Cox              1040 Fifth Avenue #3/4-C                          New York       NY              10028
Jane Singer                  25 East 86Th, #14E                                New York       NY              10028
Marietta Tempesta            1049 Park                     5C                  New York       NY              10028
Michael Tempesta             1049 Park Ave                 5C                  New York       NY              10028
John Nemeth                  110 East 87th St                                  New York       NY              10128
Ann Hunt                     55 E. 87th Street                                 New York       NY              10128
Barry Siegel                 30 E 85th St                                      New York       NY              10028
Laurie Campbell              124 W 60th st 46F                                 Ny             NY              10023
Kim Sherman                  1049 Park Ave Apt 7B                              New York       NY              10028
Candice Lombardi             35 East 85th Street                               New York       NY              10028
Janice Oresman               1001 park ave                                     NY             NY              10028
Alyce Toonk                  40 E 80th St Apt 24A                              New York       NY              10075
Bryan Siegel                 64 E 86th St Apt 5B                               New York       NY              10028
Christine Siegel             64 E 86th St Apt 5B                               New York       NY              10028
Janice Pikey                 46 E 92nd St #4                                   New York       NY              10128
Kimiko Fields                40 E 83rd St                  8W                  New York       NY              10028
Craig Fields                 40 E 83rd St Apt 8W                               New York       NY              10075
Helene Comfort               1021 Park Ave                 #3C                 New York       NY              10028
Emily Braun                  25 East 86th                                      New York       NY              10028
Andrew Frackman              25 E 86th                                         New York       NY              10028
Steve Reinstadtler           12 East 87th Street                               New York       NY              10128
Sharon Korman                911 Park Ave.                                     New York       NY              10075
Ian Abbott                   1020 5th Ave.                                     New York       NY              10128
William Lerner               215 E 68th Street 23A                             NY             NY              10065
Bella Sagalina               1270 5th ave                  9B                  NY             NY              10029
Selda Kenis                  30 E 81 St Apt 2C                                 NY             NY              10028
Allison Kiger                536 Fort Washington Ave #3J                       New York       NY              10033
Jorge Rodriguez              11 east 92nd Street                               New York       NY              10128
Andrea Hyde                  3 East 85th Street            Apt 9b/c            NY             NY              10028
Ed Menninger                 55 E. 87th Street                                 New York       NY              10028
Lauren Blum                  35 E 85th St                                      NY             NY              10028
Raja Flores                  152 East 38th St.                                 New York       NY              10016
Penny Wohlstetter            1200 5th Ave                  Apt 8B              New York       NY              10029
Ashley Christopher           17 E 84th St 3A                                   NY             NY              10028
Carl Ogunlesi                1000 Park Ave #8A                                 New York       NY              10028
Meeta Anand                  1230 Park Ave Apt 6B                              NY             NY              10128
Dan Waltcher                 3 East 83rd Street                                New York       NY              10028
Carmella Ambrosino           49-18 66th Street             1L                  Woodside       NY              11377
Elaine Morena                7 E 85th St Apt 7C                                NY             NY              10028
Sandra Gentile               500 West End Ave                                  New York       NY              10024
Melanie Tucker               1035 Fifth Avenue #5B                             New York       NY              10028
Margo Schab                  1000 Park Ave, Apt #9C                            New York       NY              10028
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Clemente Cohen              49 East 86th Street #8C                              New York   NY              10028
Ricky Peaslee               45 East 82Nd St, #2W                                 New York   NY              10028
Andrea Van Beuren           925 Park Ave                                         New York   NY              10128
Steven Merdinger            35 East 85 Th. #9E                                   New York   NY              10028
Joan Bright                 239 Central Park West                                New York   NY              10024
Corporate Maguire           25 E. 83Rd. St. #4E                                  New York   NY              10028
Sue Dorn                    25 E. 86Th. St. #8B                                  New York   NY              10028
Judith Parnes               1100 Madison Avenue            Apt 4G                New York   NY              10028
Josephine Danielson         27 E 94th St     Apt #4D                             New York   NY              10128
Patricia Silvers            25 East 86th Street Apt #11B                         New York   NY              10028
Hilary James                39 East 75th St. Apt #6W       Cell # 646-724-5533   New York   NY              10021
Peter Wirth                 40 East 84Th Street Apt 16B                          New York   NY              10028
Nancy Marshak               19 East 88Th Street #16E                             New York   NY              10128
Michael Dean                1049 Fifth Avenue #7A                                New York   NY              10028
Frederick Lapham            18 East 81St.                                        New York   NY              10028
Sebastian Pinto-thomaz      18 E 73rd St Apt #4B                                 New York   NY              10021
Dorothy Hertling            1025 Fifth Avenue #4Bn                               New York   NY              10021
Sharon Zambrelli            945 Fifth Avenue #8C                                 New York   NY              10021
Leslie Model                945 Fifth Avenue                                     New York   NY              10021
Bryan Forley                5 East 82nd                                          New York   NY              10028
Mary Edlow                  35 East 85Th Street #5E                              New York   NY              10028
Yvonne Ruben                1025 Fifth Ave. #12Cs                                New York   NY              10028
Tina Raver                  1356 Madison Ave                                     New York   NY              10128
Bert Amador                 28 East 73rd Street                                  New York   NY              10021
Anita Leclerc               20 East 88Th Street                                  New York   NY              10128
Barbra Snow                 1060 5Th Ave. #5A                                    New York   NY              10128
John Hadden                 25 East 86th st                5c                    New York   NY              10028
William Sofield             380 Lafayette Street                                 New York   NY              10003
Brian Haskel                900 Third Avenue                                     New York   NY              10022
Stacey Haskel               345 West 13th Street                                 New York   NY     NY
Fared Eyer                  605 West 170th Street          #6J                   New York   NY              10032
Adam Hirsch                 137 East 36th Street           Apt 5F                New York   NY              10016
Josh Klein                  12 east 86th St                Apt 1130              New york   NY              10028
Alan Zients                 1056 Fifth Ave.#20E                                  New York   NY              10028
Richard Dessau              35 East 85Th St.                                     New York   NY              10028
Berrin Tekiner              30 E 85th Street                                     New York   NY              10028
Warren Esanu                20 East 84Th Street                                  New York   NY              10028
Pam Roth                    169 E 78th St Apt #4A                                New York   NY              10028
Pawan Gundavaram            655 W Hobbie                                         Chicago    IL              60610
John Feeney, Jr.            1095 Park Ave #3A                                    New York   NY              10102
Carole Fensterstock         50 East 89Th Street Apt #16D                         New York   NY              10128
Tina Flaherty               1040 Fifth Ave Penthouse                             New York   NY              10028
William Newman              40 East 83rd Street Apt 5E                           New York   NY              10028
Michele Newman              40 East 83rd Street Apt 5E                           New York   NY              10028
Evelyn Floret               8 East 83rd St Apt #14D                              New York   NY              10028
Ronald Fried                12 East 86Th St #537                                 New York   NY              10028
Mark Warfel                 201 W. 21st                                          New York   NY              10011
Laurie Ledford              940 Park Ave Apt 7B                                  New York   NY              10028
Daniel Brooks               7 East 85Th. St. #9A                                 New York   NY              10028
Diana Rudman                9 East 79Th St                                       New York   NY              10021
Mary Walsh                  985 5th Ave Apt #11A                                 New York   NY              10021
Jim Jaegers                 165 East 89Th St. Apt. 1E                            New York   NY              10128
Barbara Rosenthal           40 East 84Th Street                                  New York   NY              10028
Ira Levy                    111 East 85Th Apt 30G                                New York   NY              10028
Matthew Chapin              139 E. 66 St. Apt 2S                                 New York   NY              10021
Mary Ellen Johnson          1040 Fifth Ave #5A                                   New York   NY              10028
Touri Kazemi                301 East 69Th Street                                 New York   NY              10021
Raffaela Romanowski         1020 Park Ave. #10C                                  New York   NY              10028
Brad Collins                1021 Park Avenue #4C                                 New York   NY              10028
Deborah Fleck               6 East 92Nd. St. #209                                New York   NY              10128
Erik Hyman                  334 E 79th St                                                   NY              10028
Arthur Field                945 Fifth Avenue Apt #3F                             New York   NY              10021
Kim Puntillo                1165 5Th Ave.                                        New York   NY              10029
Karen Glanternik            910 5th Avenue                                       New York   NY              10021
Barbara App                 1036 Park Avenue #9A                                 New York   NY              10028
Marilyn Yanowich            35 East 84Th Street                                  New York   NY              10028
Jane Weingold               425 East 58Th. St.             11D                   New York   NY              10022
Laura Weinstein             8 East 83rd Street             Apartment #7D         New York   NY              10028
Daria Hope                  1283 Madison Ave                                     New York   NY              10128
Sahba Vaziri                1172 Park Ave, 1C                                    New York   NY              10128
Margot Green                215 E 68th Street Apt 18E                            New York   NY              10065
Margery Kurtz               49 East 86Th Street Apt#18A                          New York   NY              10028
Peter Wood                  34 East 81 St #2                                     New York   NY              10028
Carlos Picon                169 East 78Th. St. #4B                               New York   NY              10021
Lynne Breslin               1050 Fifth Avenue                                    New York   NY              10028
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Nancy Mccartney            38 East 85th Street                 Apt 8D    New York      NY              10028
Howard Gurvitch            161 E 79th                                    New York      NY              10075
Neil Getnick               40 East 88Th Street Apt #4F                   New York      NY              10128
Michael Nathan             40 East 84Th Street                 Apt 8D    New York      NY              10028
Jeffrey Small              1056 Fifth Avenue Apt 9A                      New York      NY              10028
Bill Simon                 38 E 85 St                                    New York      NY              10028
Chuck Balis                785 Park Ave                                  New York      NY              10021
Dora Kuhn                  1050 Park Ave. #12B                           New York      NY              10028
Marybeth Harvey            30 East 85th Street Apt 12A                   New York      NY              10028
Kathy Hausman              154 East 89Th Street                          New York      NY              10128
Jeffrie Pergament          uptown at 85th Street                         New York      NY              10028
Cheryl Green               940 Park Ave.                       Apt 8-D   New York      NY              10028
Arlene Hillman             10 East 85Th Street Apt 2B                    New York      NY              10028
Lucy Gordon                9 E 79 Street Apt 12                          New York      NY              10021
David Kaufman              35 East 85Th Street Atp 10E                   New York      NY              10028
Ken Franklin               1056 5Th Avenue Apt 7C                        New York      NY              10028
Morid Kamshad              40 East 89Th St #7A                           New York      NY              10128
Nancy (sunny) Hayward      47 East 87Th Street #3A                       New York      NY              10028
Bahar Tavakolian           1080 Madison Ave. #2B                         New York      NY              10028
Mina Atabai                16 East 96Th Street Apt #5B                   New York      NY              10028
Brook Mason                38 East 85 Street Apt 6C                      New York      NY              10028
Linda Jesselson            3 East 71St Street                            New York      NY              10021
Michael Ocrant                                             1             New York      NY                  1
Robert Blumenthal          1508 Bay Rd.                        1571      Miami Beach   FL              33139
Tex Caldarola              19 E 76th St #1                               New York      NY              10021
Amy Miller                 uptown at 85th St                   867       Miami Beach   FL              33139
Deborah Karol              35 East 85Th Street #3F                       New York      NY              10028
Anthony Carpinelli         9031 SW 122 Ave #309                          Miami Bch     FL              33186
Ruth Karush                38 East 85Th Street #9A                       New York      NY              10028
Douglas Braunstein         1030 5Th Ave                                  New York      NY              10121
Harriet Kaufman            35 East 85Th Street #10G                      New York      NY              10028
Hilary Cooper              275 CPW                             #17B      Villanova     PA              10024
Eron Roland                1020 Park Ave Apt 8D                          New York      NY              10028
Rick Kinsel                167 E 73rd st                                 New York      NY              10021
Merryl Klein               35 East 85th Street #5C                       New York      NY              10028
John Knott                 24 East 82Nd Street #3A                       New York      NY              10028
Brinton Parson             17 East 84Th Street                           New York      NY              10028
Robert Albertson           P.O. Box 19                                   Sagaponack    NY              11962
Gary Tinterow
Leslie Feely               1000 Park Ave                                 New York      NY              10028
Alexa Jervis               10 East 85th street                 Apt 2D    New York      NY              10028
Geraldine Kunstadter       1035 Fifth Avenue Apt #15C                    New York      NY              10028
Allan Rabinowitz           911 Park Ave                        9B        New York      NY              10021
Victoria Lam               30 East 85Th Street, Apt#15B                  New York      NY              10028
Ellen Cromack              35 E 84th St Apt#10A                          New York      NY              10028
Shelly Mitchell            1125 Fifth Ave 4Th Fl                         New York      NY              10128
Marie Schu                 45 E. 89 Street                               NY            NY              10028
Eve Wolf                   24 East 82Nd Street                           New York      NY              10028
Stuart Oltchick            40 East 84Th Street                 8B        New York      NY              10028
Carl Romanowski            1020 Park Avenue Apt. 10C                     New York      NY              10028
Steven Spolansky           55 East 87th Street                 #9F       New York      NY              10028
Lydia Denton               96 East 93rd Street                           New York      NY              10128
Robin Burns-mcneill        1035 5Th Ave. Apt. 2C                         New York      NY              10028
Dennis Mcneill             1035 5Th Ave Apt. 2C                          New York      NY              10028
Alicia Lubowski            12 E 86th St                        730       NY            NY              10028
Brian Dubin                11 East 86Th Street                           New York      NY              10028
Susana Finkel              19 East 79Th Street                           New York      NY              10028
Suzane Santry              1060 Park Ave.                                New York      NY              10128
Nancy Rochford                                            44             New York      NY              10128
Malla Perry                                                1             New York      NY                  1
Jill Lampe                 40 East 88Th. Street #10F                     New York      NY              10128
Sandra Mccormick           1060 Park Avenue #9C                          New York      NY              10128
Diana Riklis               1020 Park Avenue Apt 14                       New York      NY              10028
Pamela Ader                820 Park Ave                        4         New York      NY              10021
Ilene Mandell              61 East 86 Street Apt44                       New York      NY              10028
Gail Meisel                1170 5th Ave #PH A                            New York      NY              10029
Phillip Thomas             1150 5Th Avenue Apt 10B                       New York      NY              10128
Robert Berk                945 5Th Ave                                   New York      NY              10021
Peter Miller               40 East 84Th Street                           New York      NY              10028
Fern Traeger               19 East 88Th Street #6E                       New York      NY              10028
Cynthia Nachmani           111 East 85th St Apt 18F                      New York      NY              10028
Tessa Namuth               40 East 84th Street #14B                      New York      NY              10028
Ben Black                  760 Park Ave.                                 New York      NY              10021
Daniel Azizo               PO BOX 180207                                 Brooklyn      NY              11218
Joel Segal                 1040 Park Avenue                              New York      NY              10028
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Alice Knapp             1010 5th Ave                                  New York   NY              10028
Maureen Mccarthy        38 East 85th Street Apt 2E                    New York   NY              10028
Larry Bader             12 East 87th Street                           New York   NY              10128
Michele Golden          945 Fifth Avenue Apt #12D                     New York   NY              10021
Gina Pampena            150 E 69th St                   10Q           New York   NY              10021
Judy Choix              38 East 85Th St. ##11E                        New York   NY              10028
Margert Altenus         68 East 86Th Street 5A                        New York   NY              10021
Joanne Kaye             55 East 87th Street             7J            New York   NY              10128
Nancy Preston           35 East 85Th Street                           New York   NY              10028
Lucia Smith             1225 Park Ave                   Apt. 2A       New York   NY              10128
Naomi Friedland         1040 Park Ave                                 New York   NY              10028
Susan Ollila            1050 5Th Avenue Apt 6B                        New York   NY              10028
Ruth Vanderheide        10 East 85Th Street #3D                       New York   NY              10028
Simon Shemia            1056 5Th Ave                    3E            New York   NY              10028
Sarita Rausnitz         30 East 85th Street                           New York   NY              10028
Beth Dannhauser         1035 5Th Ave                    Apt 8         New York   NY              10021
Lisa Revson             25 East 86Th St, Apt #3F                      New York   NY              10128
Debbie Stevenson        1021 Park Ave Apt 6B                          New York   NY              10028
Michael Misisco         1065 Park Ave                   Apt 12D       New York   NY              10128
Gerda Hoehm             25 E. 86th Street                             New York   NY              10028
Paul Wassarman          17 East 84Th St #7B                           New York   NY              10028
Carmen Dubroc           111 East 85Th Street            Apt 22G       New York   NY              10028
Phyllis Rosen           18 East 85Th Street                           New York   NY              10028
Natasha Bergreen        40 East 94Th Street #28G                      New York   NY              10128
Laurie Margolies        1025 Fifth Avenue                             new york   NY              10028
Bill Merten             35 E 85th St                    6E            New York   NY              10028
Gary Markoff            8 E 96th                        #7C           New York   NY              10128
Mark Millstein          111 East 88th Street            4F            New York   NY              10128
Cynthia Camacho         14 East 80th St #4B                           New York   NY              10075
Cathy Mangan            70 East 85th Street #1A                       New York   NY              10028
Sandy Samberg           40 E 80th                       10B           New York   NY              10075
Joan Weinberg           185 E 85th St 31J                             New York   NY              10028
Scott Sherman           1049 Park Ave                                 ny         NY              10028
Dinorah Matos
Martin Okner            25 E 86th St #3E                              New York   NY              10028
Julian Taub             45 East 82nd street                           New York   NY              10028
Peggy Flaum             19 E 88th St                    14D           New York   NY              10128
Elise Brodsky           140 East 81st Street                          New York   NY              10028
Kelsey Marcus           767 Prospect Place              Apt 2B        Brooklyn   NY              11216
Jennifer Russell        8 East 83rd st                                New York   NY              10028
Peggy West              10 E 85th St                    4c            New York   NY              10028
Gary Ragsdale           1111 n. dEARBORN #506                         Chicago    IL              60610
Amy Landis              40 East 83rd St                               New York   NY              10028
Dennis Clemente         1326 Madison Ave                              New York   NY              10028
Tristan Bultman         na                                            New York   NY     na
Jenny Gallagher         7 East 86th Street                            New York   NY              10028
Charles Torres          25 East 94th Street             Apt. B        New York   NY              10128
Amy Tyree               141 E 88th St                                 NY         NY              10028
Meriel Hosty            75 E 77th St                                  New York   NY              10075
Hector Capponi          1966 First Ave                  $8G           New york   NY              10029
Dee Lalwani             160 East 84th Street                          New York   NY              10028
Daniel Flynn            11 E 87th St                                  New York   NY              10028
George Getrajdman       19 East 88th Street                           New York   NY              10028
Miriam Feldstein        1009 Park Avenue                              New York   NY              10028
Stephanie Murg          12 East 86th Street, apt 1440                 New York   NY              10028
Debbie Kestenbaum       983 Park Ave                                  NY         NY              10028
Peter Sallese           171 east 84th Street                          New York   NY              10028
Pam Bradford            3 E 85th St                                   New York   NY              10028
Peter Mcnierny          156 East 79th Street                          New York   NY              10075
Loren Bassett           4 Astor Pl.                                   New York   NY              10003
Peter Lee               30 east 85th Street             9C            New York   NY              10028
Flora Collins           1021 Park ave                   4C            New York   NY              10028
Joseph Powers           30 East 85th ST #3C                           New York   NY              10028
Stephen Sills           108 East 86th St                              New York   NY              10028
Daniel Lubin            40 E 94th Street                              New York   NY              10128
Jamie Lee               30 East 85th Street             9c            New York   NY              10028
Samantha Sandler        31 E 79th St                                  New York   NY              10075
Lara Slager             43 W 64th st                    12b           New York   NY              10023
Dick Davis              1136 5th Avenue                               New York   NY              10128
Robert Lubin            40 E 94th st                                  New York   NY              10028
Michael Bell            12 E 88th St #7F                              NY         NY              10128
Miguel Riglos           1080 Madison Ave PH                           New York   NY              10028
Sabine Riglos           1080 madison Ave PH                           New York   NY              10028
Michael Barber          230 West 38th ST                              New York   NY              10018
Patricia Durkan         20 East 74th St                               New York   NY              10021
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Jessica Levitas            38 East 85th St               #6A             New York   NY              10028
Lana Lewin-ross            162 East 80th Street          Apt. 4B         New York   NY              10075
Amilton Amaro              3177 44th Street                              Astoria    NY              11103
Parker Stitzer             60 East 88th St                               New York   NY              10028
Vassilios Livanos          40 East 84th Street           9d              New York   NY              10028
Steve Goldstein            45 E 89th St                  8D              New York   NY              10128
Adele Gomez                119 E 84th st                                 New York   NY              10028
Gerardo Gomez              119 E 84th                                    New York   NY              10028
Steve Marshall             40 E 80th St                  10B             NY         NY              10075
Carrie Pencek              40 E 89th st PHA                              New York   NY              10128
Howie Day                  40 E 89th St                  Pha             New York   NY              10128
Mariam Kamshad             35 East 84th ST                               New York   NY              10028
Mary Eyer                  605 W 170th St.               6-J             New York   NY              10032
Alan Kassan                11 East 86th St                               New York   NY              10028
Eva Dubin                  1040 5th Avenue                               New York   NY              10028
Jordan Dubin               1040 5th Avenue                               New York   NY              10028
Judy Losben                8 E 83rd St                                   NY         NY              10028
Phillip Chartouni          5 East 92nd ST                                New York   NY              10128
Val Andrei                 45 E 89th St                  17G             New York   NY              10128
Barri Waltcher             uptown at 85th                                New York   NY              10028
Robert Ditkoff             1001 Park Ave                                 New York   NY              10028
Lee Weiss                  115 East 82nd St                              New York   NY              10028
Glenn Dubin                1040 5th Ave.                                 New York   NY              10028
Elizabeth Caldwell         1670 York Ave.                #4C             New York   NY              10128
Matthew Mawby              1670 York ave                                 New York   NY              10128
Susie Davis                271 Central Park West                         New York   NY              10024
Marcus Silberman           16 E 84th st                                  New York   NY              10028
Vivian Chou                30 East 85th                  #28A            New York   NY              10028
Matt Borst                 245 East 77th Street          #1rW            New York   NY              10075
Lyle Rosnick               129 East 82nd Street                          New York   NY              10028
Marie Irvine               1134 Madison Avenue           3R              New York   NY              10028
Arnold Federman            25 Est 86th St. 11F                           New York   NY              10024
Marco Walker               67 E 80thst apt 3                             New York   NY              10075
Olivia Silberman           16 East 84th ST #6                            New York   NY              10028
Jerry Chipuck              161 E 110th st                8G              New York   NY              10029
Varda Vidal Goldstein      45 E 89th st                                  New York   NY              10128
Erica Mitchell             1125 Fifth Ave                                NY         NY              10128
Christopher Winn           na                                            New York   NY              10028
Roger Pearse               12 E 86th St                                  New York   NY              10028
John Pagac                 1049 5th Ave..                                New York   NY              10028
Paul Lee                   38 East 85th Street                           New York   NY              10028
Richard Zoffness           8 East 83rd Street            #3G             New York   NY              10028
Ruth Eisenberg             8 East 83rd St                #3G             New York   NY              10028
Liz Rayle                  4440 Abbott Ave                               Dallas     TX              75205
Daniel Solomon             55 E 87th st                                  New York   NY              10128
Maha Omar                  430 E 86th st                                 New York   NY              10028
Grant Vingoe               8 E 83rd St 4B                                New York   NY              10028
Asami Ishimaru             1049 Fifth ave                                New York   NY              10028
Ileene Smith               1000 Park Avenue                              New York   NY              10028
Lynne Warne                na                                            New York   NY              10028
Cristiane Silberman        16 E 84th St                  apt 6           New York   NY              10028
Christa Minardi            59 E 80th st                  3B              New York   NY              10075
Tom Connolly               1025 Fifth Ave                                New York   NY              10028
Katherine Greig            70 East 96th Street           PH A            New York   NY              10028
Kate Ballen                1148 Fifth Avenue, 12 C                       New York   NY              10128
Jeremy Benkiewicz          8 East 83rd Street            9F              New York   NY              10028
Silvina Benkiewicz         8 East 83rd Street            9F              New York   NY              10028
Emily Alva                 1085 Park Ave                                 New York   NY              10128
Raj Alva                   1085 Park Ave                                 New York   NY              10128
Emily Madrigal             79 E 79th St                                  New York   NY              10028
Jennifer Ryan              64 East 86th Street           5L              New York   NY              10028
Karen Proner               9 E 96th St                                   New York   NY              10028
Stephanie Van-hengel       7 E 85th St                   6c              New York   NY              10028
Peter Van Hengel           7 E 85th St                                   New York   NY              10028
Emily Berger               400 East 71st ST                              New York   NY              10021
Diana O'Toole              1212 Fifth Avenue             5c              New York   NY              10029
Sabrina Getrajdman         uptown at 85th                                New York   NY              10028
Arie Zask                  21 E 90th st                                  New York   NY              10128
Rachel Loeb                60 Ave C                      Apt. 7          New York   NY              10009
Emma Haskel                na                                            New York   NY     na
James Brooks               1150 Fifth Avenue, 10D                        New York   NY              10128
Anton Levy                 3 East 92nd Street                            New York   NY              10028
Abby Levy                  3 East 92nd Street                            New York   NY              10028
Alice Frelinghuysen        1000 Fifth Avenue                             New York   NY              10028
Jeremy Schein              103 East 84th St                              New York   NY              10028
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Spencer Goldberg          4217 Kmnox Rd                                  New York    NY              20740
Philida Rosnick           129 East 82nd Street                           New York    NY              10028
Brian Feil                160 E 84th St                  20E             New York    NY              10028
Susan Kingsolver          525 East 86th ST                               New York    NY              10028
Grant Macaulay, Md        65 W. 85th St. 4A                              New York    NY              10024
Caroline Landis           128 North Garmis                               Aspen       CO              81611
Jackson Eisenpresser      1049 5th Avenue                                New York    NY              10028
Kathryn Castellucci       30 East 85th Street                            New York    NY              10028
Katherine Ahn             1049 5Th Ave                                   New York    NY              10028
Katie O'Neill             1049 Fifth Ave                                 New York    NY              10028
Michele Wissot            35 East 84th St                                New York    NY              10028
Debra Edelman             1050 5th Avenue                                New York    NY              10028
Richard Biegen            61 E 86th St                   #23             New York    NY              10028
Marilyn Berger            956 Fifth Ave                                  New York    NY              10028
Scott Greenwald           400 East 89th St                               New York    NY              10128
Kathleen Rein             4 East 89th ST #4E                             New York    NY              10128
Tess Jacobson             1000 Park Avenue                               New York    NY              10028
Julie Shean               3053 12th ST                                   Astoria     NY              11102
Arton Gjonbalaj           100 W 15t St                   Apt 4G          New York    NY              10011
Don Middleberg            715 Park Avenue                9B              New York    NY              10021
Juliette Cohen            30e 85th St.                                   New York    NY              10028
Lisa Rotondi              286 5th avenue                 brooklyn        New York    NY              11215
Jack Dayan                uptown at 85th sT                              New York    NY              10028
Pat Herbst                8 East 83rd ST                                 New York    NY              10028
Jorge Jauregui            51 MacDougal St                                New York    NY              10021
Meredith Champion         303 Mercer St                                  New York    NY              10003
Sanford Miller            17 East 89th ST                                New York    NY              10028
Antonio Farnos            51 East 92nd St                                New York    NY              10028
Jake Margolis             30 E. 85th Street                              New York    NY              10028
Stephen Squinto           22 E. 82nd Street                              New York    NY              10028
Travis Schwerin           104 adelphi st                                 brooklyn    NY              11205
Brooke Gelb               1520 York Ave                                  New York    NY              10028
Michelle Schwartz         12 East 86th ST                                New York    NY              10028
Gigi Fitzmorris           601 E. Daily Drive Suite 112                   Camarillo   CA              93010
Eric Barsky               7 East 85th St                                 NY          NY              10028
Chris Dixon               993 Park Ave                                   New York    NY              10028
Russell Berman            1056 Fifth Ave                                 New York    NY              10028
Ryan White                321 E. 108th 3F                                New York    NY              10029
Leigh Mherabi             3 East 85th Street                             New York    NY              10028
Nader Mherabi             3 E. 85th Street                               New York    NY              10028
Jessica Clavijo           1755 York Ave                  #24A            New York    NY              10028
Nojan Aminosharei         37 East 83rd Street                            New York    NY              10028
Margaret Grace            71 E. 77th Street.             Apt. 4C         New York    NY              10075
Pamela Paul               38 E. 85th                     4D              New York    NY              10028
David Bernick             uptown at 85th St                              New York    NY              10028
Tia Tagliaferro           23/31 Steinwat St                              New York    NY              10028
Caroline Lowndes          1001 Park Ave                                  New York    NY              10028
Antonella Fongaro         115 e86th St                   #122            New York    NY              10028
Vas Leonidov              12 East 86th                                   New York    NY              10028
Carrie Schein             103 East 84th St                               New York    NY              10028
Donna Olshan              45 east 85                                     newyork     NY              10028
Alex Mirenberg            uptown 85th Street                             New York    NY              10028
Michael Kennelly          uptown at 85th St                              New York    NY              10028
Meg Rhodus                20 East 88th ST                                New York    NY              10028
Jessica Sylvester         21st and 8th                                   NY          NY              10011
George Sheanshang         40 E. 88th Street              15F             New York    NY              10128
Laura Mantell             322 Central Park West                          New York    NY              10025
Ronald Piciullo           1000 5th Avenue                                New York    NY              10028
George Mykoniatis         30 East 85th Street                            New York    NY              10028
Joyce Mykoniatis          30 East 85th Street                            New York    NY              10028
David Sanin               uptown at 85th                                 New York    NY              10028
Yani Beach                11 East 86th Street            6BC             New York    NY              10128
David Beach               11 East 88th                   6BC             New York    NY              10128
Emily Walter              320 Riverside Drive                            New York    NY              10025
Tom Graham                257 Central Park West                          New York    NY              10024
Carole Polisner           115 East 86th Street           131             New York    NY              10028
Ernesto Freire            21 South End. Ave.                             New York    NY              10280
Burt Greenwood            1370 West North Ave                            Baltimore   MD              21217
Malena Cirio              40 East 83rd Street #6S                        New York    NY              10028
Nathaniel August          49 East 86th Street                            New York    NY              10028
Jane Mcsweeney            uptown at 85th STreet                          New York    NY              10028
Dustin Dessau             35 East 85th Street                            New York    NY              10028
Marlene Brommund          1060 Park Ave.                                 New York    NY              10028
Meghan Magyar             1148 5th Ave. 10C                              New York    NY              10028
Stella Dellamora          225 E. 86th Street             #801            New York    NY              10028
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Aleksandra Cragg         1035 5th Ave #16E                             New York   NY              10028
Elizabeth Kroll          7 east 86th Street            4B              New York   NY              10028
Oded Nachmani            22 East 82nd Street                           New York   NY              10028
Randy Lombard            152 East 94th                                 New York   NY              10028
Heloise Waislitz         uptown at 85th                                New York   NY              10028
Cathy Rikhye             64 East 94th Street                           New York   NY              10128
Hope Litoff              46 East 91st Street                           New York   NY              10128
Bobby Tse                112 East 83rd Street          67b             New York   NY              10028
Kumiko Mack              120 East 75th Street                          New York   NY              10028
Jacob Rhodes             100 West 87th Street          3b              New York   NY              10024
Ashley Muchmore          55 East 87th Street                           New York   NY              10028
Michael Lee              uptown at 85th                                New York   NY              10028
Susan Teplitz            7 East 85th                                   New York   NY              10024
Kaylee Tully             316 East 82nd Steet                           New York   NY              10028
Michael Cahill           316 E. 82nd                   Apt. 1RW        New York   NY              10028
Giovani Tosti            920 Park Avenue                               New York   NY              10028
John Millman             na                                            New York   NY              10028
Lauren Walsh             uptown at 85th street                         New York   NY              10028
Max Teplitz              uptown at 85th                                New York   NY              10028
Vera Tosti               uptown at 85th STreet                         New York   NY              10028
Erica Klein              1136 Fifth Ave                                New York   NY              10128
Harvey Hosack            7 East 85th Street                            New York   NY              10028
Stacy Bookman            201 East 69th Street          9D              New York   NY              10021
Will Snellings           108 E 81st                                    New York   NY              10028
Brett Rosen              1056 Fifth Ave                                New York   NY              10028
Tim Mccarthy             7 East 85th Street                            New York   NY              10028
Jessica Mccarthy         7 East 85th Street                            New York   NY              10028
Nick Graas               170 east 77th Street                          New York   NY              10075
Suzanne Dawson           205 East 78th Street          #11L            New York   NY              10075
Margery Riker            112 Park Ave                                  New York   NY              10128
Mary Dillow              955 Park Ave                  #12 W           New York   NY              10028
Betsy Frowein            71 East 77 st                                 New York   NY              10075
Patrick Harvey           30 East 85th Street                           New York   NY              10028
Ella Metlitsky           1025 5th                      5GN             New York   NY              10028
Benno Kass               45 Est 82nd Street            7W              New York   NY              10028
Philip Gutin             40 E. 83rd Street                             New York   NY              10028
Naomi Hataway            30 East 85th street                           New York   NY              10012
Suzanne Satow            uptown at 85th                                New York   NY              10028
Doree Seligmann          1046 Madison Ave              5               New York   NY              10075
Karen Wolny              1046 Madison Ave              5               New York   NY              10075
Thomas Trube             237 East 88th Street          401             New York   NY              10128
Susan Dramm              50 East 89th Street                           New York   NY              10128
Ian Phelan               1133 Park                                     New York   NY              10028
Hillary Beckman          8 East 83rd                                   New York   NY              10028
Donald Malafronte        uptown at 85th                                New York   NY              10028
Fei Liu                  119 E. 89th Street                            New York   NY              10028
Warren St John           929 Park Ave                                  New York   NY              10028
Chitose Yamamoto         64 East 86th Street                           New York   NY              10028
Yoshi Yamamoto           64 East 86th Street                           New York   NY              10028
Debbie Rosen             1056 5th Ave                                  New York   NY              10028
Katherine Mccormick      uptown at 85th                                New York   NY              10028
Joseph Clark             1010 Fifth Ave                                New York   NY              10028
Elena Kirko              uptown at 85th                                New York   NY              10028
Greg Rohan               30 East 85th Street                           New York   NY              10028
Lysa Rohan               30 East 85th Street                           New York   NY              10028
Mark Weeks               uptown at 85th                                New York   NY              10028
Joe Kelly                12 East 97th Street           3c              New York   NY              10028
Shanasia Hodges          30 E 85th ST                                  New York   NY              10017
Kamal Mohanty            uptown at 85th                                New York   NY              10028
Gary Wynn                405 East 82nd Street          #4D             New York   NY              10028
Andrea Vasiliu           7 East 86th STreet                            New York   NY              10028
Ashley Davis             uptown at 85th                                New York   NY              10028
Stephanie Nica           700 Columbus Avenue           21E             New York   NY              10025
Maria Tsogias            700 Columbus Avenue           21E             New York   NY              10025
Maynard Um               uptown at 85th                                New York   NY              10028
Hugh Baker               na                                            New York   NY              10028
Marian Gross             uptown at 85 street                           New York   NY              10028
John Priber              na                                            New York   NY              10028
Patricia Mackenzie       1140 5th Ave                  #1B             New York   NY              10128
Kate Mccleary            1100 Madison Ave                              New York   NY              10028
Shauna Denkensohn        1025 5th Ave                                  New York   NY              10028
Neva Anton               uptown at 85th                                New York   NY              10024
Adam Abensohn            25 East 83rd                                  New York   NY              10028
Burt Rosen               uptown at 95th                                New York   NY              10028
Adrienne Rosen           51 East 90th                                  New York   NY              10028
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Blair Lewis              1067 5th Avenue                               New York         NY              10028
Hugh Mansfield           25 East 86th Street                           New York         NY              10028
Jonathan Cohen           30 East 85th Street                           New York         NY              10028
Phil Costanzo            1000 Park Ave.                8H              New York         NY              10028
Susan Roth               1000 Park Ave                 8H              New York         NY              10028
Larry Kudlow             26 East 93rd Street                           New York         NY              10128
Rachel High              336 East 81st Street          2F              New York         NY              10028
Denise Lepera            30 East 85th Street                           New York         NY              10028
Isabel Schroeder         1036 Park Vae # 9E                            New York         NY              10028
David Labiner            3 East 85th Street                            New York         NY              10028
Mudit Kaushal            239 East 84th Street          6C              New York         NY              10028
Jeremy Kramer            1040 Fifth Ave                                New York         NY              10028
Nancy Roberson           55 East 87th Street           5E              New York         NY              10028
Susan Shevell Cohen      40 E. 84th Street             3D              New York         NY              10028
Harrison Jackson         uptown at 85th                                New York         NY              10028
Susan Woolworth          20 E. 74th                    Apt 14 E        New York         NY              10021
Matt Dias                uptown at 85th                                New York         NY              10028
Jed Limmer               uptown at 85th                                New York         NY     na
Noreen Okarter           uptown at 85th                                New York         NY              10028
Margaret Comber          166 Harbor Watch ct.                          Sag Harbor, NY   NY              11963
Helena Abbott            1020 Fifth Ave                                New York         NY              10028
Marilyn Ratner           1025 fith ave                                 nyc              NY              10028
Nupur Garg               30 East 85th                                  New York         NY              10028
David Van Tassel         1045 5th Avenue                               New York         NY              10028
Kurt Simon               na                                            New York         NY              10028
Gaelle Vlahcevic         170 East 77th Street                          New York         NY              10075
Thomas Curran            uptown at 85th                                New York         NY              10028
Ryan Cary                na                                            New York         NY              10028
Frank Carillo            157 E. 89th Street            1RW             New York         NY              10128
Edward Pulling           uptown at 85th                                New York         NY              10028
Cameron Mehr             29 7th Avenue South                           New York         NY              10014
Robin Aviv               4 East 72nd ST                                New York         NY              10028
Juan Castaneda           uptown at 85th                                New York         NY              10028
Jane Power               1125 5th Avenue                               New York         NY              10128
Fariborz Damanpour       40 E. 83rd Street                             New York         NY              10028
Alexandra Barth          uptown at 85th                                New York         NY              10028
Beth Dupont              50 East 72nd ST                               New York         NY              10028
Tara Rosenblum           na                                            NY               NY     na
Dave Coulter             55 E. 72nd Street                             New York         NY              10028
Peter Brandt             uptown at 85th                                New York         NY              10028
Wayne Verspool           uptown at 85th                David Barton    New York         NY              10028
Sylvie Vaccari           125 East 87th STreet                          New York         NY              10128
Marc Scollar             uptown at 85th STreet         DBGYM           New York         NY              10028
Andrew Frankel           uptown at 85th                                New York         NY              10028
Katheryn Moynahan        uptown at 85th                                New York         NY              10028
Tara Liberman            uptown 85                                     New York         NY              10028
Danielle Herbst          35 East 84th Street                           New York         NY              10028
Dick Gaffney             uptown at 85th                                New York         NY              10028
Matthew Mandl            315 East 85th                                 New York         NY              10028
Craig Phillips           70 E. 77th                                    New York         NY              10075
Richard Gerst            444 East 57th Street                          New York         NY              10022
Brooke Pulling           uptown at 85th                                New York         NY              10028
Carlos Gaona             uptown at 85th                                New York         NY              10028
Mirjam Evers             12 East 86th                  826             New York         NY              10028
Robert Green             1060 Park Ave                                 New York         NY              10028
Niko Rissi               30 East 85th Street                           New York         NY              10028
Marcy Green              uptown at 85th                                New York         NY              10028
Tracy Berger             45 East 89th St               23 G            New York         NY              10128
Michelle Smith           1319 East 64th Street                         New York         NY              11234
Janet Larose             300 East 85th                                 New York         NY              10028
Sam Musmanno             430 East 86th Street          10C             New York         NY              10028
Barbara Kaplan           38 east 85                                    New York         NY              10028
Matt Sandy               uptown at 85th                                New York         NY              10028
Rob Jacobson             10 East 85th STreet                           New York         NY              10028
Steve Herbst             uptown at 85th                                New York         NY              10028
Sam Sack                 uptown at 85th                                New York         NY              10028
Paul Schienberg          30 East 85th Street                           New York         NY              10028
Eric Fitzpatrick         404 East 65th Street          6D              New York         NY              10065
Ravi Sachdev             10 East 85th                  #5 C            New York         NY              10028
Jean Grecco              uptown at 85th                                New York         NY              10028
Tierney Modell           66 East 80th Street                           New York         NY              10075
Luis Rosero              uptown at 85th                                New York         NY              10028
Adam Plotkin             uptown at 85th                                New York         NY              10028
Faiz Ahmed               35 East 84                                    New York         NY              10024
Pamela Weinberg          uptown at 85th                                New York         NY              10028
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Matthew Weinberg         uptown at 85th                                New York       NY              10028
Jesse Margel             uptown at 85th                                New York       NY              10028
Hayden Goodman           uptown at 85th                                New York       NY              10028
Nick Ciccone             uptown at 85th                                New York       NY              10028
Irwin Hirsch             25 East 86th                      10b         New York       NY              10028
Mario Dell'Olio          85 Greenridge Ave.                            White Plains   NY              10605
Jaime Morales            uptown at 85th                                New York       NY              10028
Caleb Bushbrown          3 East 85th                                   New York       NY              10024
Paulina Rogawski         200 East 74th STreet                          New York       NY              10021
Sarah Sobel              201 E. 86th                       20 E        New York       NY              10028
Diane Clemente           56 East 87th Street                           New York       NY              10028
Bridget Creel            16 East 80th                      4D          New York       NY              10075
Kathy Pike               30 East 85th Street                           New York       NY              10028
Regina Vouyiouklis       uptown at 85th                                New York       NY              10028
Lisa Walsh               uptown at 85th                                New York       NY              10028
Jim Porcarelli           444 East 57th Street                          New York       NY              10022
Christen Zellinger       uptown at 85th                                New York       NY              10028
Robert Chedid            131 East 83rd Street              3B          New York       NY              10028
Laurie Giddins           uptown at 85th                                New York       NY              10028
Andrew Hawkins           19 East 80th ST                               New York       NY              10075
Marni Nossel                                          85               New York       NY              10028
Ali Angerman             up at 85th                                    New York       NY              10028
Kathy Black              uptown at 85th                                New York       NY              10028
Bob Burke                uptown at 85th                                New York       NY              10028
Julian Perricone         106 East 85th Street              5N          New York       NY              10028
Karen Cole               na                                            New York       NY     na
Jacob Aronson            uptown at 85th                                New York       NY              10028
Sidney Rothberg          na                                            New York       NY     na
Paolo Zannoni            uptown at 85th                                New York       NY              10028
Amy Treanor              160 E. 84th                       Penthouse   New York       NY              10028
Emily Walker             na                                            New York       NY
Tyler Landau             uptown at 85th                                New York       NY              10028
Heidi Young              9 east 96th Street                            New York       NY              10028
Maria Tanova             uptown at 85th                                New York       NY              12002
Allison Uccello          900 Park Avenue                               New York       NY              10075
Nicole Weiss             115 East 82nd St                              New York       NY              10028
Kristi Evans             na                                            New York       NY              10028
Jennifer Oken            1021 Park Avenue                              New York       NY              10028
Enrique Uruchima         819 Fox STreet                                New York       NY              10459
Megan Prenty             819 Fox Street                    3B          New York       NY              10455
Randy Taylor             1140 fifth                                    New York       NY              10028
Matthew Mcgowen          NA                                            New York       NY              10028
Marcia Deans             2940 Wilson Ave                               Bronx          NY              10461
Bryan Spielman           10 West 86th Street                           New York       NY              10024
Michael Schroeder        1036 Park Avenue                  9E          New York       NY              10028
Bonnie Kagan             115 east 92nd Street                          New York       NY              10128
J.p. Aractingi           up at 85th                                    New York       NY              10028
Jesse Beagan             548 West 142nd Street                         New York       NY              10031
Jonathan Hirschfeld      NA                                            New York       NY              10128
Evgenia Kovda            226 East 85th Street                          New York       NY              10028
Violante Masetti         49 East 86th Street                           New York       NY              10028
Eva Dichand              na                                            New York       NY              10021
Julian Salisbury         47 East 91 Street                 7           New York       NY              10128
Nicole Harrison          625 Madison Ave                               New York       NY              10022
Casey Schnell            uptown at 85th                                New York       NY              10028
Steven Lisker            12 East 86th Street                           New York       NY              10028
Chaim Wachsberger        45 E> 82nd                                    New York       NY              10028
Stacey Boral             50 E. 89th Street                 31D         New York       NY              10028
Oliver Stroeh            uptown at 85th                                New York       NY              10028
Navin Chintala           76 Edgecomb Avenue                3           New York       NY              10030
Victor Goldstein         1365 York Ave.                                New York       NY              10021
Carlos Mejia             uptown at 85th                                New York       NY              10028
Luc Harbers              7 East 80th STreet                            New York       NY              10075
Daniel Zaffran           25 East 86th Street                           New York       NY              10028
Shavit Mekeiten          25 Tudor City                                 New York       NY              10017
Amanda Brown             516 Bainbridge Street             1R          Brookyn        NY              11233
Andrew Wood              12 East 86th street               1629        New York       NY              10028
Jonathan Palma           uptown at 85th                                New York       NY              10028
Alex Wong                525 E 72nd St                                 New York       NY              10021
Andrew Skobe             uptown at 85th                                New York       NY              10028
Justin Skobe             uptown at 85th                                New York       NY              10028
Alexandra Kwiat          19 East 88th street               apt 11A     New York       NY              10128
Sally Taylor             1000 Madison                      9D          New York       NY              10028
Duane Welch              11 E 88th St                                  New York       NY              10128
Jennifer Contreras       30 East 85th                                  New York       NY              10028
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Kyla Ryan                 8 E. 96th Street                               New York   NY              10128
Donna Pressman            985 5th Ave                                    New York   NY              10075
Richard Pressman          uptown at 85th                                 New York   NY              10028
Henry Elghanayan          30 E 85th St                                   New York   NY              10028
Anya Sharma               uptown DBGYM 85th                              New York   NY              10028
Sunali Sharma             uptown at 85th STreet                          New York   NY              10028
Vikrant Sharma            uptown DBGYM 85th                              New York   NY              10028
Lynne Fina                8 E 83rd St                                    New York   NY              10028
Hannah Hume               420 E 86th                        Apt 3E       New York   NY              10028
Nancy Spinosa             9 East 96th                       15C          New York   NY              10128
Benjamin Weinberg         uptown at 85th                                 New York   NY              10028
Franco Andrade            up at 85th ST                                  New York   NY              10028
Linda Ryder               DBGYM 85th                                     New York   NY              10028
Rich Chun                 uptown at 85th                                 New York   NY              10028
Solomon Polshek           uptown at 85th                                 New York   NY              10028
Adam Kimmel               24 E 82nd St                                   New York   NY              10028
Brian Benstock            57-02 Northern Blvd.                           Woodside   NY              11377
Eleni Thomas              177 E 93rd St                     Apt 3B       New York   NY              10128
Gabriel Souza             923 5th Ave.                      2C           New York   NY              10021
David Nordlinger          1016 Fifth Ave                                 New York   NY              10028
Hart Fukutomi             uptown at 85th                                 New York   NY              10028
Deborah Nottenburg        250 E 73rd st                                  New York   NY              10021
Ryan Connors              11 E 87th St                                   New York   NY              10128
Peter Kikis               uptown at 85th                                 New York   NY              10028
Chris Beaty               uptown at 85th                                 New York   NY              10028
Shehan Beneragama         uptown at 85th                                 New York   NY              10028
Chloe Simon                                             1                New York   NY                  1
Margie Orenstein          211 East 70 Street 10021                       New York   NY              10021
Jane Quarta               uptown at 85th                                 New York   NY              10028
Jennifer Enghauser        uptown at 85th                                 New York   NY              10028
Tevin Birch               182 Broadway Apt 709                           New York   NY              10038
Carole Witpen             47 E. 87th 8E                                  New York   NY              10128
David Levine              35 E 85th St                                   New York   NY              10028
David Toussaint           345 east 86                                    New York   NY              10028
Samantha Dibenedetto      204 East 77th Street              Apt 1D       New York   NY              10075
Christa Joanna Lee        200 East 89th Street              Apt 14C      New York   NY              10128
Ashley Oerman             1482 York Ave                     Apt 2A       New York   NY              10075
Heather Marshall          uptown at 85th                                 New York   NY              10028
Deborah Squiers           uptown at 85th                                 New York   NY              10028
Victor Millar             35 East 85th Street                            New York   NY              10028
Alexander Wah             up at 85th                                     New York   NY              10028
Benjamin Fink             710 Park Ave                                   New York   NY              10021
Nicholas Sanfilippo       239 E 84th St                     Apt 6C       New York   NY              10028
Sebastian Stern           uptown at 85th                                 New York   NY              10028
Benjamin Shapiro          up at 85th                                     New York   NY              10028
Katie Didrichsen          1469 Bushwick Ave # 2F                         Brooklyn   NY              11211
Robert Nacron             1001 Park Avenue                               New York   NY     na
John Eckenrode            12 East 75th                                   New York   NY              10021
Sarah Wray                12 E 75th                                      New York   NY              10021
Dylan Monroe              30 East 85th Street                            New York   NY              10028
Jessica Holman            30 E 85th St                                   New York   NY              10028
Carol Lipsky              1385 York Ave                                  New York   NY              10021
Roger Markfield           969 5th Avenue                                 New York   NY              10028
Mike Noble                25 East 86th                      7e           New York   NY              10028
John Thompson             30 East 85th Street                            New York   NY              10028
Derek Pratt               30 E 85th                                      New York   NY              10028
Michelle Rubenstein       65 East 76th St                   #8D          New York   NY              10021
Laura Slatkin             18 E 74th                                      New York   NY              10021
Ghislaine Boreel          1045 Park Ave                                  New York   NY              10028
Anthony Viani             157 E 85th                                     New York   NY              10028
Kay Bearman               1060 Park Ave                     6C           New York   NY              10128
Stacy Friedman            1036 Park Ave                                  New York   NY              10028
Heather Lorence           30 East 85th                                   New York   NY              10028
Kate Clark                                              1                New York   NY                  1
Ana Salisbury             47 East 91st Street                            New York   NY              10128
Garrett Vanerk            UP AT 85TH                                     New York   NY              10028
Kim Merlin                16 East 84th                                   New York   NY              10028
Steven Chaiken            4 E 88th St                       5D           New York   NY              10128
Sally Vanerk              525 East 89th                                  New York   NY              10028
Lori Johnson              NA                                             New York   NY     na
Jordan Green              12 E 86 St                                     New York   NY              10028
Rick Davidman             na                                             New York   NY     na
Ann Harrison              79 E 79th St                                   New York   NY              10075
Dan Quinn                 225 E 85th St                     Apt 1601     New York   NY              10028
Brandon Muller            225 E 85th                        1601         New York   NY              10028
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David Koeppel                35 East 75th Street                          New York   NY              10021
James Fleck                  uptown at 85th ST                            New York   NY              10028
James Warren                 2834- 42nd Street                            Astoria    NY              11103
Marc Feinberg                14 East 90th Street                          New York   NY              10128
Mario Powell                 30 W 16 St.                                  New York   NY              10011
Renaud Breton-pelletier      162 E 90th St                                New York   NY              10128
John Risley                  50 E 78th St                 11Fl            New York   NY              10025
Amy Regan                    50 E 78th St                 11FL            New York   NY              10025
Ella Ayberk                  UP AT 85TH                                   New York   NY              10028
Neal Stufano                 19 East 80th Street                          New York   NY              10075
Leon Katselnik               115 East 87th Street                         New York   NY     na
Cassandra Pettinella         401 E 80th st                A8J             New York   NY              10075
Lloyd Lander                 1085 Park Ave                                New York   NY              10128
Chrissy Dever                229 East 79th Street                         New York   NY              10075
Emily Nass                   22 E 82nd St                                 New York   NY              10028
Morgan Wilcock               7593 Lerner Hall             2920 Broadway   New York   NY              10027
Karen Kelly                  545 wEST eND aVE                             New York   NY              10024
Marcela Cosio                54 E 80th                                    New York   NY              10075
Robert Cooney                up at 85th Street                            New York   NY              10028
Wendy Cooney                 up at 85th                                   New York   NY              10024
Nino Zdunic                  30 E 85th St                                 New York   NY              10028
Inge Pretsfolder             up at 85th                                   New York   NY              10028
Helen Teklits                190 East 72nd Street         34A             New York   NY              10021
Jon Urbana                   205 East 76th Street         PH              New York   NY              10021
Matt Simon                   30 E 85th st                                 New York   NY              10028
Maria Lander                 1085 Park Ave                                New York   NY              10128
Josh Weiner                  1049 Park Ave                                New York   NY              10028
Jeff Feil                    na                                           New York   NY              10028
Philip Kim                   455 East 86th Street                         New York   NY              10028
Anthony Tegnelia             45 East 80th Street                          New York   NY              10075
Aiden Friedsam               180 East 79th Street                         New York   NY              10075
Lexie Ryan                   8 E 96th St                                  New York   NY              10128
Charles Silber               830 Park Ave                                 New York   NY              10021
Michael O'Neill              35 East 85th Street                          New York   NY              10028
Doug Hirsch                  895 Park Avenue                              New York   NY              10075
Charles Goings               211 West 111th st            Apt 2           New York   NY              10026
Jeanette Tegnelia            na                                           New York   NY     na
David Ivill                  1361 Madison Ave             4B              New York   NY              10028
Scott Kauffman               50 East 89th Street                          New York   NY              10028
Kristin Kehrberg             1050 5th Ave                                 New York   NY              10028
Nancy Brady                  7 East 85Th St #8B                           New York   NY              10028
Anita Friedman               980 Madison Avenue                           New York   NY              10021
Stephen Ruzow                1080 Fifth Avenue                            New York   NY              10028
Joseph Sauvage               .                                            New York   NY              10128
Georgette Leblanc            55 E 87Th St 15C                             New York   NY              10128
Melinda Harris               1261 Madison Avenue          Apt 2S          New York   NY              10128
Peter Kunz                   65 East 96Th St # 12B                        New York   NY              10128
Marvin Hopkins               30 East 85Th St                              New York   NY              10028
Eric Beall                   24 East 93rd St Apt #Ga-1A                   New York   NY              10128
Suzanne Sales                60 East 88th Street                          New York   NY              10128
Jane Schube                  19 East 73Rd Street          2               New York   NY              10021
Cheryl Beall                 24 East 93rd Street                          New York   NY              10128
Merri Merberg-lite           35 East 85Th Street          Apt 7D          New York   NY              10028
Diana Dessau                 35 East 85Th Street                          New York   NY              10028
Beth Schweitzer              936 Fifth Avenue                             New York   NY              10021
Chris Andersen               1050 Fifth Ave                               New York   NY              10028
Joe Uvino                    50 E 89 St Apt. 22F                          New York   NY              10128
Adam Gopnik                  19 E 88 St 6A                                New York   NY              10128
Martha Parker                19 E 88 St #6A                               New York   NY              10128
Judith Clements              19 East 88Th Street #15E                     New York   NY              10028
Brad Ossip                   310 East 70th Street         Apt. 5E         New York   NY              10021
Tamara Behan                 47 East 87Th Street                          New York   NY              10028
Charlotte Ackert             1056 Fifth Ave #8A                           New York   NY              10028
David Ackert                 1056 5th Ave                                 New York   NY               6883
Greg Palm                    925 Park Ave.                                New York   NY              10028
Susie Palm                   925 Park Ave.                                New York   NY              10028
Jill Lewis                   111 E 88 St                  Apt 5F          New york   NY              10128
Toby Myerson                 1056 5th Ave #4AB                            New York   NY              10028
Gabriela Shnay               30 East 85Th Street                          New York   NY              10028
Ildiko Butler                1040 5Th Ave                                 New York   NY              10028
Candice+chloe Bergen         1040 Fifth Ave                               New York   NY              10028
Richard Mervis               64 East 86Th Street          Apt 7B          New York   NY              10028
Larry Levine                 35 East 85 Apt. 3F                           New York   NY              10028
Philip Eisenberg             1035 Fifth Ave.                              New York   NY              10028
Chantal Park                 55 E 87Th St, 14C                            New York   NY              10128
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Ruth Streeter                     36 Hycliff Road                                   Greenwich      CT                   6831
Alan Miller                       17 E. 84Th St. Apt.2A                             New York       NY                  10028
Dana Cohen                        45 East 85Th Street               Apt 7B          New York       NY                  10028
Michael Cohen                     45 East 85th Street               Apt 7B          New York       NY                  10028
Ronnie Glick                      1035 5Th Ave. Apt #14B                            New York       NY                  10028
Alix O Mara                       160 East 83rd Street                              New York       NY                  10028
Felix Pflaster                    12 East 87Th Street               2B              New York       NY                  10128
Chris Cahill                      991 Fifth Avenue                                  New York       NY                  10028
Roys Poyiadjis                    PO Box 52                                         New York       NY                  10021
Philip Sweenie                    3 Three Mile Harbor Drive                         East Hampton   NY                  11937
Alan Galishoff                    35 East 85 Street Apt #15A                        New York       NY                  10028
Kathy Dent                        1140 5Th Ave                      Apt 13C         New York       NY                  10128
Joan Homolka                      38 East 85 St                     Apt 8E          New York       NY                  10028
Douglas Van Der Heide             10 East 85Th Street #3D                           New York       NY                  10028
Kathy Robbins                     8 East 83Rd Street Apt 2A                         New York       NY                  10028
Patricia Pedraza                  56 East 87Th Street               Apt 5B          New York       NY                  10128
Sarah Kurz                        30 E.85Th St. #9E                                 New York       NY                  10028
Joanne Stone                      19 E. 88th Street                                 New York       NY                  10128
Murray Sanders                    1025 5Th Ave. Apt. 12Bn                           New York       NY                  10028
Andres Mata                       16 E 52nd Street                                  New York       NY                  10022
Robin Remick                      1088 Park Avenue                                  New York       NY                  10028
Devon Eghdami                     25 East 86th Street               Apt #11D        New York       NY                  10028
Tamara Hallisey                   38 East 85Th St                                   New York       NY                  10028
Brian Wille                       1088 Park Ave                                     New York       NY     10028-0000
Penny Gorman                      1120 Fifth Ave.                                   New York       NY                  10128
Pat Ewert                         1088 Park Ave                                     New York       NY                  10128
Beth Sperling                     120 East 87th Street              R 16I           New York       NY                  10028
Gail Marks                        103 East 86 St                                    New York       NY                  10028
Hillary Demby-malafront           1056 Fifth Ave                    19E             New York       NY                  10128
Joan Weltz                        945 Fifth Avenue Apt #3F                          New York       NY                  10021
Elaine Weiss                      111 E 85 St #20D                                  New York       NY                  10028
Sava Thomas                       1150 5 Ave Apt #10B                               New York       NY                  10128
Marc Spilker                      960 Park Ave                                      New York       NY                  10028
Roland Hassan                     4 E 88Th St                                       New York       NY                  10128
Sally-ruth May                    17 East 80th Street Apt #6                        New York       NY                  10021
Glenys Birchfield                 525 East 86Th Street              Apt 20C         New York       NY                  10128
Joan Hirsch                       30 East 85Th Street                               New York       NY                  10028
Mark Mason                        47 E 87Th 5D                                      New York       NY                  10128
Barbara Gillers                   40 E 83rd St #11E                                 New York       NY                  10028
Louise Guarneri                   970 Park Avenue                                   New York       NY                  10028
Steven Gelfman                    970 Park Avenue                                   New York       NY                  10028
Gertje Utley                      19 East 88 St                     Apt Ph          New York       NY                  10128
Edward Boyer                      129 E 82nd Ave #5A                                New York       NY                  10028
Katherine Weinhoff                1035 5th Ave #14D                                 New York       NY                  10028
Stefanie Tashkovich               1150 Park Ave                     Apt 8C          New York       NY                  10128
Roger Thomas                      1150 5Th Ave                      Apt 10B         New York       NY                  10128
Jill Kargman                                                                        New York       NY                  10021
Robert Rothman                    11 E 86Th St. 5A                                  New York       NY                  10028
Howard Sobel                      960 Park Avenue                                   New York       NY                  10028
Jennifer Mason                    544 E. 86th St. Apt #3W                           New York       NY                  10028
Richard Wright                    115 East 82nd Street              3D              New York       NY                  10028
Fred Distenfeld                   50 E 79th St                                      New York       NY                  10028
Marvis Berk                       945 Fifth Avenue                                  New York       NY                  10021
Sharon Grelsamer                  35 East 85th Street #Ph-A                         New York       NY                  10028
Trainer Gary Goodwin                                                                New York       NY                  10028
Kevin Coulthard                   Trainer                           Ace                            NY
Trainer Daniel Flores             Cscs,Cpr                                                         NY
Trainer Frank Picchione           Trainer                           Ace,Cpr                        NY
Trainer Joe De Baun               902 72 St #1A                                     Brooklyn       NY                  11228
Paul VonHolten                    Trainer                           Ascm,Tssa,Ace                  NY
Marian Williams                   941 Park Ave                      Apt 15B         New York       NY                  10028
Nick Bertha                       14 E 92nd St                                      New York       NY                  10128
Mary Ann Adams                    1150 5th ANe #6A                                  New York       NY                  10128
David Adams                       1212 Fifth Ave                    14D             New York       NY                  10029
Lon Rubackin                      1020 Park Ave                     17C             New York       NY                  10028
Micheal Nolan                                                                                      NY
James Richmond                    860 Un Plaza                      Apt 60          New York       NY                  10028
Stuart Saftchick                  1100 Madison Ave Apt #2G                          New York       NY                  10028
Debbie Gahr                       30 E 85 St #11C                                   New York       NY                  10028
Lavinia Lavinia Long Pilates                                                                       NY
Marcia Abbott                     55 E 78 St                                        New York       NY                  10021
Scott Gutterman                   581 Sixth St                                      Brooklyn       NY                  11215
Linda Silverman                                                                                    NY
Fern Hurst                        1060 Fifth Avenue                                 New York       NY                  10128
Zoltan Saary                      45 East 85Th Street                               New York       NY                  10028
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Jack Tilton              152 E 94Th Street                            New York   NY              10128
Karen Wexler             60 East 96 St                Apt 2B          New York   NY              10128
Lisa Broder              35 E 85Th St.. Apt#11D                       New York   NY              10028
Michael Marin            30 E 85Th St                                 New York   NY              10028
Robyn Prizer             10 E 85 Street Apt #9B                       New York   NY              10028
Allan Keene              8 East 83rd Street                           New York   NY              10028
Ted Savaglio             40 E.89Th St., Apt #3C                       New York   NY              10128
Erwin Atkins             45 E.80Th St., #18B                          New York   NY              10021
Carolyn Carter           50 E 79 St #5C                               New York   NY              10021
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                                        CHICAGO MEMBERS
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Name                      Address1                        Address2   City             State   Zip
Anthony Gonzalez          5212 N. Winthrop Avenue         Apt. 3     Chicago          IL            60640
Drey Thomas               1345 Rockwell Apt3                         Chicago          IL            60622
Jesslyn Jalayerian        2022 N Spaulding                3N         CHicago          IL            60647
Samantha Sesso            3221 N Kemore                              Chicago          IL            60640
Leandro Fernandes         850 Margate Terrace                        Chicago          IL            60640
Tino Avalos               2927 S 48th ct                             Cicero           IL            60804
Elia Cuenca               3345 S Oakley                              Chicago          IL            60608
Kortni Simkins            540 N State #2605                          Chicago          IL            60654
Kaitlin Fumarolo          1948 W. Farragut                           Chicago          IL            60640
Marlene Guartan           1542 W Fry                                 Chicago          IL
Joshua Davis              5559 N Magnolia                 3W         Chicago          IL            60640
Jean Rene                 1510 S Central Park                        Chicago          IL            60623
Beth Maxwell              1136 Wolfram                               Chicago          IL
Jose Salgado              4124 W School                              Chicago          IL            60641
Mercedes Rohlfs           2713 W Giddings #1                         Chicago          IL            60625
Beth Kleeblatt                                                       Chicago          IL
Jessica Meadors
Rebecca Knauss            700 N. Larrabee #301                       Chicago          IL            60610
Stephen Fountain                                                     Chicago          IL
Anne Barnett                                                         Chicago          IL
Danielle Max              733 N Wells St #2                          Chicago          IL            60610
Adalberto Abad            3620 W, 27th St.                           Chicago          IL
Laura Kelly
Omar Alsubbagh            600 W. Chicago                             Chicago          IL            60666
Andy Hafertepe            810 N. Wolcott                             Chicago          IL            60622
Damion Harris             910 W. Huron, #1115                        Chicago          IL            60642
Chris Hehmeyer            301 S. LaSalle St., #200                   Chicago          IL            60605
Susan Tennant             900 N. Kingbury St. #832                   Chicago          IL            60610
Kurt Stevens              924 N. Crosby Street                       Chicago          IL            60610
Nancy Capadona            1720 W. Huron                              Chicago          IL            60622
Andy Lai                  40 E. Delaware                  #1001      Chicago          IL            60611
Karen Schmidt             678 N. Peoria                   Unit F     Chicago          IL            60622
John Pink                 678 N. Peoria                   #F         Chicago          IL            60622
Tracy Mcleod              850 W. Erie Unit 3E                        Chicago          IL            60642
Bill Rosman               680 N. Green Street             Apt #708   Chicago          IL            60622
Leyla Tran                653 N Kingsbury #906                       Chicago          IL            60610
Shelia Mcclendon          460 W. Superior                            Chicago          IL            60610
Helen Tomczuk             9603 S. Troy                               Evergreen Park   IL            60805
Josh Suter                2230 N. Lincoln Ave Unit 405               Chicago          IL            60614
John Gutman               757 N. Orleans St., Unit 1209              Chicago          IL            60654
Hayley Harness            4954 N Christiana                          Chicago          IL            60625
Colin Biggs
Jamie Koval               620 Stonegate Terrace                      Glencoe          IL            60022
Ann Schumacher            1350 N. Wells Unit D310                    Chicago          IL            60610
Nadya Engler              6939 S. Crandon Unit #9F                   Chicago          IL            60649
Phillip Castro            757 N. Orleans Unit #1402                  Chicago          IL            60654
Mike Demir                3804 W. Addison                            Chicago          IL            60618
Dan Belwood               3759 N. Wayne, #1E                         Chicago          IL            60613
Georgia Tracy             819 N. May St.                             Chicago          IL            60642
Jeremy Schmidt            2637 W. Haddon                             Chicago          IL            60622
Jay Liboon                1015 N Cleveland Ave            Unit 4     Chicago          IL            60610
Dana Haskins              900 N. Kingsbury #1154                     Chicago          IL            60654
Trung Lu                  3520 N. Broadway                Unit 2W    Chicago          IL            60657
Jerod Willey              525 W Superior # 326                       Chicago          IL            60610
Anthony Pittman           8400 S. St. Lawrence                       Chicago          IL            60619
Brandon Barnett
Kathryn Ryan              15506 Canterbury                           Orland Park      IL            60462
Peter Turim               1843 North Ave., #4W                       Chicago          IL            60622
Grace Curwin
Stephanie Lewicky         1622 W Division St              Apt 208    Chicago          IL            60622
Leslie Shook              900 N. Kingsbury #1156                     Chicago          IL            60610
Jeremiah Vara
Brandon Vezmar
Barbara Owen              1125 Ponderosa Ct.                         Darien           IL            60561
Kyle Stoner               845 N. Kingsbury Unit 714                  Chicago          IL            60610
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Kaustubh Pandav           18294 Stratford Lane                          Villa Park        IL          60181
Scott Corley              1651 Constitution Dr.                         Glenview          IL          60026
Amber Miller              5958 N. Kenmore, #404                         Chicago           IL          60660
Erica Watts               26 B. Dogwood St.                             Park Forest       IL          60466
Peter Slaven              2465 N. Halsted Apt 3                         Chicago           IL          60614
Laura Zegar               100 W. Chestnut St., Unit 2410                Chicago           IL          60610
Tara Brown
Jim Milligan              1052 W. Austin Ln.                            Palatine          IL          60067
Dara Perlow               510 W. Erie #1405                             Chicago           IL          60654
James Luther              630 N. Franklin St., Unit 1008                Chicago           IL          60654
Markell Osler
Tim O'Hara                5817 S. Harper Ave.                           Chicago           IL          60637
Sergio Rivera             909 E Bradley Court                           Palatine          IL          60074
Joe Kinahan               323 Phillippa                                 Hinsdale          IL          60521
Seth Winn                 5451 N East River Road                        Chicago           IL          60656
Thomas Oswald             1117 W Fry St                    #10          Chicago           IL          60642
Sahar Honari              100 E. 14th St. #1407                         Chicago           IL          60605
Milburn Miranda           1919 W. Crystal, #102                         Chicago           IL          60622
Stacey Page
Anthony Chandler          1726 Birch Place                 206          Schaumburg        IL          60173
Zach Finley               111 E. Chestnut, #17C                         Chicago           IL          60611
Amy Molski                1414 W School Unit 1                          Chicago           IL          60657
Susan Papedis             725 N.Aberdeen St.               Unit 403     Chicago           IL          60642
Courtney Welch            331 Essex Rd                                  Kenilworth        IL          60643
Patrick Gilroy            718 N Throop Unit 1                           Chicago           IL          60642
Gina Fabregas             4155 W Mikwaukee Ave                          Chicago           IL          60640
Mark Glafka               340 W. Diversey Pkwy #2618                    Chicago           IL          60657
Matt Schrecengost         1431 W Erie                                   Chicago           IL          60642
Mishell Meyer             912 N Larrabee                                Chicago           IL          60610
Patrick Taylor            1146 Greebriar Ln.                            Northbrook        IL          60062
Charlie Stewart           873 N.Larrabee St.               Unit 310     Chicago           IL          60610
Brian Ryder               2015 Thornwood Ave.                           Wilmette          IL          60091
Robert Kallman            333 W. Hubbard, #519                          Chicago           IL          60610
Matthew Mitten            758 N. Larrabee 616                           Chicago           IL          60610
Stephen Kao               33 W. Ontario, #PHC                           Chicago           IL          60654
Angie Theodoris           845 Kingsbury #213                            Chicago           IL          60610
Derek Jones               1024 W Fry #202                               Chicago           IL          60622
Adam Dickler              925 W Huron #212                              Chicago           IL          60622
Molly Spooner             853 N. Paulina, #2                            Chicago           IL          60622
Daniel Devine             224 Woodstock Ave                             Clarendon Hills   IL          60514
Erik Mejia                3516 N. Sheffield, #4RN                       Chicago           IL          60657
Veronica Mellado          3223 North California Apt G                   Chicago           IL          60618
Abby Nowodzelski          3934 N Hermitage                 Coachhouse   Chicago           IL          60613
Lisa Maloney              1000 N Kingsbury St., #704                    Chicago           IL          60610
Johnathan Williams        900 N. Kingsbury #1029                        Chicago           IL          60610
Erin Swain                2108 N. Sheffield                #3           Chicago           IL          60614
Kelly Morgan              521 W. Superior St., #133                     Chicago           IL          60610
Camelo Romelus            1624 W. Rascher Ave.                          Chicago           IL          60640
Keno Ely                  23 N Green unit 302                           Chicago           IL          60607
Rakesh Khanna             939 W Huron @401                              Chicago           IL          60622
Bryan Oakley              375 W. Erie, #311                             Chicago           IL          60610
Paul Gurinas              645 W. Briar, #4                              Chicago           IL          60657
Jeff Molitor              900 N Kingsbury                  #820         Chicago           IL          60610
Mark Desky                1760 W. Thorndale Avenue                      Chicago           IL          60660
Bill Disomma              143 S. Elmwood                                Oak Park          IL          60302
John Holmes               333 W Hubbard, #806                           Chicago           IL          60610
Jason Chamberlain         1200 W. Monroe 507                            Chicago           IL          60607
Kevin Miske               1621 W Carroll Ave.                           Chicago           IL          60612
Aj Lacsamana              5610 New Castle Dr.                           Richardson        TX          75082
Eugene Thomas             6700 S Shore #14H                             Chicago           IL          60649
Marcus Warren             1 W. Superior                                 Chicago           IL
Shawn Lightner            8119 Pulaksi                                  Schererville      IN          46375
Maria Torres              1521 W. 18th Place                            Chicago           IL          60608
Rocky Alicea              1819 SMichigan                   Unit 310     Chicago           IL          60616
James Eldrenkamp          519 W Brompton                   Unit #306    Chicago           IL          60657
Steven Pawlak             525 W Superior Unit 233                       Chicago           IL          60610
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Chad Duda                   2638 St. Louis Ave.                         Chicago          IL         60647
Mark Larabee                1619 Greenwood Ave.                         Wilmette         IL         60091
Edison Urena                2525 W Chicago                              Chicago          IL         60622
Michael Eboh                435 W Eric 801                              Chicago          IL         60610
John Letsos                 1700 n rockwell st                          Chicago          IL         60647
Dawn Lee                    1036 N crosby                               Chicaogo         IL         60610
Tiffany Tamplin             421 W. Huron, #804                          Chicago          IL         60610
David Creed                 1301 N. Bosworth Ave.                       Chicago          IL         60622
Molly Dirksen               2140 W. Moffat #1                           Chicago          IL         60647
Lucas Erickson              3755 N Racine unit 3c                       Chicago          IL         60613
Liu Gross                   1500 W. Monroe                  apt 521     Chicago          IL         60607
Karensa Renich              525 N. Halsted, #301                        Chicago          IL         60622
Elana Tuizer                1000 N. Kingsbury #702                      Chicago          IL         60610
Ray Conrad                  770 N Halsted suite 502                     Chicago          IL         60622
Joe Abbas                   540 N Lake shore                            Chicago          IL         60611
Irina Ovrutsky              540 N Lake Shore                            Chicago          IL         60611
Matt Ghiasi                 642 W. Oak                                  Chicago          IL         60610
John Paterson               65 E Scott , #10M                           Chicago          IL         60610
Cheryl Stanton              849 N Franklin St.              Unit 709    Chicago          IL         60610
Victor Poznyak              10425 Aldridge Dr.                          Huntley          IL         60142
Mike Glandt                 873 N Larrabee St #206                      Chicago          IL         60610
Scott Johnson               500 W. Superior, #2109                      Chicago          IL         60610
Gary Metzner                500 W. Superior, #2109                      Chicago          IL         60610
Brian Degrado               1030 N. Paulina, #2                         Chicago          IL         60622
Louisa Furno                600 W. Chicago Ave                          Chicago          IL         60610
Amiee Baewolff              2012 N Richmond                             Chicago          IL         60647
Denise Semiglia             900 N. Kingsbury, #860                      Chicago          IL         60610
Brian Hoban                 1530 S. State, #18N                         Chicago          IL         60605
Gigi Gudani                 4904 W. Eastwood                            Chicago          IL         60630
Sarah Collins               9706 S Springfield                          Evergreen Park   IL         60805
Steven Kopach               469 W Huron                     Apt. 1601   Chicago          IL         60654
Eileen Brown                8749 S Prairie Ave                          Chicago          IL         60619
Eric Belcher                600 W Chicago                   Suite 850   Chicago          IL         60647
Jeff Muse                   611 S. Wells                    #704        Chicago          IL         60601
Paul Michihara              700 N. Larrabee St.             Unit 2013   Chicago          IL         60654
Lewis Warrick               932-34 W Wilson Ave., Unit 1D               Chicago          IL         60640
Alexey Kamenev              705 Chestnut St.                            Hinsdale         IL         60521
Doug Waggoner               1950 W South Meadow Lane                    Lake Forest      IL         60045
Julie Burke                 1730 W. Foster Ave #2                       Chicago          IL         60640
Angie Ng                    1217 W. Augusta, #2                         Chicago          IL         60642
Dean Kalamatianos           1327 W. Washington, #3H                     Chicago          IL         60607
Andrea Cerniglia            4108 N. Kenneth                             Chicago          IL         60614
Patrick Collins             2001 W Wabansia Apt 301                     Chicago          IL         60647
Aaron Leckow                919 N Wolcott                               Chicago          IL         60622
Travis Game                 1166 W. Grand Ave.                          Chicago          IL         60642
Jennifer Simon              1412 W. Chestnut                #3w         Chicago          IL         60642
Christi Cooke               1111 N Crosby 37A                           Chicago          IL         60610
Stephen Scola               3354 N Osage Ave                            Chicago          IL         60634
Bruce Soter                 948 N Winchester                Unit 2      Chicago          IL         60622
Nick Theodorakos            3743 N. Sheffield, #2                       Chicago          IL         60613
Christina Michalatou        340 W. Superior, #1211                      Chicago          IL         60654
Bill Lasche                 2303 N Jansen                               Chicago          IL         60611
Matthew England             1000 N. Kingsbury Unit 508                  Chicago          IL         60610
Angela White                600 W. Chicago Ave.                         Chicago          IL         60610
Anita Reyna                 2449 Clough Ave                             Highland         IN         46322
Stephen Paterson            1408 W Byron #1                             Chicago          IL         60613
Benjamin Stevenson          132 N. Mason                                Chicago          IL         60644
Kyle Bruck                  150 W. Superior St apt 504                  Chicago          IL         60654
Gerardo Campostello         700 N. Larrabee Ave Unit 1713               Chicago          IL         60610
Erin Harvego                512 N McClurg Ct                            Chicago          IL         60611
Michael Flood               320 W Illinois Ave Unit 909                 Chicago          IL         60610
Jerry Hagedorn              16 Wellington                               Lincolnshire     IL         60069
Chris Perrin                1327 N Halsted                              Chicago          IL         60620
Kimberly Duda               3636 W. Wrightwood, #3W                     Chicago          IL         60647
Greg Rudin                  1739 N Honore                               Chicago          IL         60622
Mike Peeples                2255 W Wabansia Ave                         Chicago          IL         60647
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Michael Mauceri              2017 W McLean                            Chicago        IL             60647
Mark Wattley                 1434 W Hollywood              Unit 2     Chicago        IL             60660
Anthony Durand               1337 W. Foster                #2         Chicago        IL             60640
Alexander Roura              6526 Irving Park Rd           #409       Chicago        IL             60634
Robert Friedman              23 N. Green St.                          Chicago        IL             60607
Saul Ortega
Mike Wieland
Maria Suconota               826 N Noble                              Chicago        IL             60622
Imran Sajan                  520 W Huron                              Chicago        IL             60610
Randall Kalik                845 N. Kingsbury #211                    Chicago        IL             60610
Stephen Yi                   924 Lehigh Circle                        Naperville     IL             60565
David Blau                   3266 N. Clark                            Chicago        IL             60657
Ryan Waters                  1322 W. Belmont Ave.          Unit 1W    Chicago        IL             60657
Megan Morrissey              845 N Kingsbury                          Chicago        IL             60616
Robyn Hoban                  849 N May St                  Unit M     Chicago        IL             60642
Kolby Boyle                  245 W. North Ave                         Chicago        IL             60610
Rodrigo Olivares             1532 N Pauilna ST                        Chicago        IL             60622
Sean Stewart                 1821 N Marshfield                        Chicago        IL             60622
Jesus Gutierrez              4737 N. Central Park                     Chicago        IL             60625
Jennifer Conradt             333 N. Oak St.                           Chicago        IL             60126
Grant Birkenbeuel            2012 W Augusta                           Chicago        IL             60602
Stephen Naparstek            1151 N Damen                             Chicago        IL             60622
Lamont Mims                  469 W. Huron, #606                       Chicago        IL             60608
Mark Pfleger                 161 E Chicago Ave Unit 36C               Chicago        IL             60611
Terri Basch                  3S635 Mignin Dr.                         Warrenville    IL             60555
Katie Stillwell              1255 S. State, #610                      Chicago        IL             60605
Mark Rosenhauer              1245 N. Orleans. Unit 1004               Chicago        IL             60610
John Worsek                  1746 W Crystal                           Chicago        IL             60622
Michael Reed                 1936 W. Wolfram St.                      Chicago        IL             60657
Hrvoje (joe) Hrgovcic        750 N Dearborn                           Chicago        IL             60654
Chris Hiemstra               451 W Huron st                           Chicago        IL             60610
Mike Roda                    451 W Huron                              Chicago        IL             60610
Patrick O'Connor             50 N St. Clair #2402                     Chicago        IL             60611
Nick Leckow                  2012 W Saint Paul Ave         apt 317    Chicago        IL             60647
Jay Armstrong                642 W. Belden Ave.                       Chicago        IL             60614
Kim Koupal                   1915 N. Damen unit A                     Chicago        IL             60647
Herbert Earl                 906 W Ainslie Unit 2E                    Chicago        IL             60640
Alex Hernandez               1405 N Orleans A                         Chicago        IL             60610
Shak Wazir                   1725 Windward                            Chicago        IL             60563
Chris Metzger                130 Alderwood Ln                         Aurora         IL             60504
Jeff Lucas                   939 W Huron                              Chicago        IL             60622
Dee Dee Knoche               2772 N. Lincoln Ave. #203                Chicago        IL             60614
Craig Gentile                520 N Kingsbury               2806       Chicago        IL             60654
Heather Pande                15357 W. 130th Place                     Lemont         IL             60439
Sabina Szura                 2 W. Delaware                 #1203      Chicago        IL             60610
Tony Rossi                   2649 W. Iowa                             Chicago        IL             60622
Willie Wagner                1804 S Racine                            Chicago        IL             60608
Brett Novack                 3232 N Halsted #D803                     Chicago        IL             60657
Sonja Lilljeberg             3135 N. Racine #3F                       Chicago        IL             60657
Michael Whiteside            444 West Huron Street                    Chicago        IL             60610
Dave Elzinga                 2631 N Wayne                             Chicago        IL             60622
Fei Wang                     2730 N. Racine Avenue         Unit #2N   Chicago        IL             60614
Melissa Keene                873 N Larrabee                           Chicago        IL             60654
Leah Lee                     845 N Kingsbury               Unit 201   Chicago        IL             60610
Mimi Bosika                  211 E Ohio 1517                          Chicago        IL             60611
Aleida Bucciarelli           2068 N Humboldt Blvd                     Chicago        IL             60647
Tom Gallagher                110 W Superior St Unit 2601              Chicago        IL             60654
Ryan Levonyak                2273 Sprucewood                          Des Plaines    IL
Jennifer Scarpetta           225 W. Huron #209                        Chicago        IL             60654
Jane Slaven                  500 W Superior Unit 2703                 Chicago        IL             60610
Stefani Klayman              907 N Racine Ave. 1                      Chicago        IL             60622
Yance Macneill               727 N Hoyne Ave                          Chicago        IL             60612
Rebecca Resnick              900 N Kingsbury #844                     Chicago        IL             60610
Dominique Patterson          816 N Cleveland                          Chicago        IL             60610
Lauren VanDerVeen            801 S Plymouth Ct.            Unit 212   Chicago        IL
Al'An Blasio                 720 N. larrabee, #1403                   Chicago        IL             60610
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Darija Dokic                 2905 W Summerdale Ave                       Chicago     IL             60625
Angie Beltsos                1724 Blue Stem Lane                         Glenview    IL             60026
Sylvia Edwards               931 N Kingsbury St                          Chicago     IL             60610
Ray Boyd                     2521 N Marshfield Ave                       Chicago     IL             60614
Bryan Cook                   1445 N. State Pkwy              2603        Chicago     IL             60610
Steve Sheely                 455 W Armitage9300 S Leavitt                Chicago     IL             60614
Bobby Wood                   65 E Scott St                   Unit 5F     Chicago     IL             60610
Ryan Rhola                   730 S Clark                                 Chicago     IL             60605
Ronald Coleman               309 S Leavitt                   Apt 1       Chicago     IL             60612
David Lindner                2225 W Wabansia Ave, #303                   Chicago     IL             60647
David Shin                   630 N. State, #908                          Chicago     IL             60654
Anna Lempert                 4832 N. Hamilton                            Chicago     IL             60640
Molly Wallace                3115 S May                                  Chicago     IL             60608
Lisa Siefert                 910 W Van Buren                 #180        Chicago     IL             60607
Desiree Desalle-baron        16464 Teton Dr.                             Lockport    IL             60441
Ryan Grady
Chris Stuart                 860 W. Blackhawk St.            Unit 1207   Chicago     IL             60642
Tunia Mycyk                  839 N Hermitage Ave, Unit 301               Chicago     IL             60622
Lauren Westhusing            661 W. Sheridan, #308                       Chicago     IL             60613
Scott Morgan                 1039 N Kingsbury                            Chicago     IL             60610
Kara Smith
Todd Crow                    421 W Huron Unit 1204                       Chicago     IL             60654
Jeff Bierman                 620 North May Street            Unit C      Chicago     IL             60642
Keith Hales                  1411 W. Chicago Ave. Ste. 1                 Chicago     IL             60642
Leslie Nichols               3501 N Greenview Unit 3                     Chicago     IL             60657
Milan Mcgraw                 6461 W Warner                               Chicago     IL             60634
Kevin Collopy                1648 W. Augusta Blvd. #2                    Chicago     IL             60622
Craig Thessin                758 N Larrabee                  #305        Chicago     IL             60654
Jeffrey Kallas               680 N Green St #609                         Chicago     IL             60642
Casey Carlock                1241 N. Maplewood, #1                       Chicago     IL             60622
Timothy Bowen                758 N Larrabee, #809                        Chicago     IL             60654
Fionn Mcmanigal              2959 N Lincoln Ave                          Chicago     IL             60657
Sue Hong                     845 N Kingsbury St #617                     Chicago     IL             60610
Jeff Johnson                 521 W Superior                              Chicago     IL             60654
Brooke Karagozian            10 E. Ontario, #1203                        Chicago     IL             60611
Cesar Rangel                 4609 W. Deming                              Chicago     IL             60639
John Standley                2743 W Thomas St                            Chicago     IL             60622
John Davis                   2743 W. Thomas St., #301                    Chicago     IL             60622
Justin Meyers                1438 W. Summerdale Unit 2                   Chicago     IL             60640
Allison O'Brien                                                          Chicago     IL
Ryan Steele                  1834 N Halsted                              Chicago     IL             60614
John Schneider               1316 W. Nelson                              Chicago     IL             60657
Kyle Mccluskey               2153 W Division                             Chicago     IL             60622
Lisa Stygar                  2100 W Division                             Chicago     IL             60622
Stephen Mcdonald             2040 W Belmont Unit 301                     Chicago     IL             60618
Ross Compton                 3821 N Fremont Apt #505                     Chicago     IL             60613
Jason Surovy                 435 W Erie Unit 1103                        Chicago     IL             60654
Chris Resto                  1 W. Superior, #3013                        Chicago     IL             60610
Franny Weiler                850 N. Dewitt 13A                           Chicago     IL             60611
Patrick Fong                 5500 S Shore Dr                             Chicago     IL             60647
Christine Armbruster         510 W Erie                      #1607       Chicago     IL             60654
Susanne Stoll                600 North Kingsbury #1108                   Chicago     IL             60654
Sol Sender                   2335 N. Commonwealth Ave        5G          Chicago     IL             60614
Manolis Kostantinidis        845 N Knigbusy 212                          Chicago     IL             60610
Matt Theodorakos             4235 N. Kenmore, #2S                        Chicago     IL             60613
Scott Baker                  181 E 900 North                             LaPorte     IL             46350
Jason Gilles                 1071 N Hermitage, Unit 2                    Chicago     IL             60622
Miki Ingraffia               900 N Kingsbury Unit 756                    Chicago     IL             60610
Steven Quirk                 600 W Chicago                               Chicago     IL             60610
Matt Herlihy                 900 N Kingsbury #904                        Chicago     IL             60611
Eric White                   520 W Huron Unit 503                        Chicago     IL             60654
David Heatley                1031 Montana St.                            Chicago     IL             60614
Thom Wolfe                   1711 W Division #204                        Chicago     IL             60622
Nancy Hasenauer              600 N Kingsbury #1710                       Chicago     IL             60654
Elizabeth Gorski             600 W Chicago                               Chicago     IL             60654
Sara Strother                600 W Chicago Ave                           Chicago     IL             60654
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Dave Wydman                21320 N Laurine Dr                         Barrington    IL             60010
Arun Chacko                900 N. Kingsbury Unit 967                  Chicago       IL             60610
Aldo Gagliardi             944 N. Howe St.                            Chicago       IL             60610
Arthur Slaven              500 W Superior                             Chicago       IL             60610
Jack Weber                 20 River Terrace                           NYC           NY             10282
Jennifer Franks
Chad Craner                1393 N Mozart St                           Chicago       IL             60647
Angela Gill                1638 W Blackhawk                #1         Chicago       IL
Ilan Weissberg             1000 N Kingsbury #308                      Chicago       IL             60610
Kellie Corr                451 W. Huron, #1405                        Chicago       IL             60654
Andrew Stephens                                                       Chicago       IL
Tim Woods
Bill Tilch                 1000 N. Kingsbury Unit 609                 Chicago       IL             60654
Rahul Shah                 833 W. Chicago Ave Suite 105               Chicago       IL             60622
Nate Carrera               873 N. Larrabee St., Unit 209              Chicago       IL             60610
Darin Repp                 1000 N. Kingsbury #402                     Chicago       IL             60610
Benjamin Seymour           77 W. Huron, #503                          Chicago       IL             60610
Tracy Somers               536 N Clark St #3                          Chicago       IL             60654
Daniel Colin               208 E. Hirsch                              Northlake     IL             60164
Shigeru Kitano             100 E. Walton, #20E                        Chicago       IL             60611
Rommy Najor                1223 N Wolcott Ave              Apt #2     Chicago       IL             60622
Randy Reyes                534 Shadetree Blvd.                        Marietta      PA             17547
Scott Krauss               931 N. Howe                                Chicago       IL             60610
Santiago Martin            2461 W. Foster #3E                         Chicago       IL             60625
Douglas Hoenig             649 W. Division St.                        Chicago       IL             60610
David Ramirez              5421 S. Talman                             Chicago       IL             60632
Chris Gallet               1635 W Foster Ave., #1                     Chicago       IL             60640
PJ Cris
Jessica Frano              720 W Randolph                  #704       Chicago       IL             60661
Shweta Kapur               660 W. Wayman, #402B                       Chicago       IL             60661
Brett Isadore              1061 W. 16th St., #101                     Chicago       IL             60608
Ariana Puckett             1024 W Belmont                  Unit 3     Chicago       IL             60657
Erwin Santiago             2811 N Bell Ave., #107                     Chicago       IL             60618
Dan Wilsea                                                                          WA
Evan Price                 4240 N. Avers                              Chicago       IL             60618
Travis Van Zetten          1555 W Montana 4N                          Chicago       IL             60614
Rakesh Navuluri            355 E. Ohio Unit #4408                     Chicago       IL             60611
Adele Hazan                3338 N Sheffield                Apt #3     Chicago       IL             60657
Ashley Miller              720 N. Larrabee, Apt #706                  Chicago       IL             60654
Gabrielle Eldefrawy        510 W. Belmont                  Apt. 804   Chicago       IL             60657
Maria Patrinos             2513 W. Gunnison                           Chicago       IL             60627
Brittney Severe
Maxine Chaikouang          2620 N. Dayton St.                         Chicago       IL             60614
Justin Enders
Katherine Smith            210 East Pearson                           Chicago        IL            60611
Ian Hickey                 400 N. Lasalle                  #2806      Chicago        IL            60654
Shan Duseja                850 N. State, Unit #9G                     Chicago        IL            60610
Andrew Dipiazza            348 N. Ashland, #2D                        Chicago        IL            60607
Leo Ivery                  2245 S DesPlaines Ave Apt E                NorthRiverside IL            60654
Jeff Anderson              2736 N. Wolcott                            Chicago        IL            60614
Christopher Zachary        1915 N Damen Apt F                         Chicago        IL            60647
Ray Belmonte               500 W. Superior, #2007                     Chicago        IL            60654
Emily Berghoff             2850 N Sheridan Unit 309                   Chicago        IL            60657
Kevin Park                 865 N. Larrabee                            Chicago        IL            60610
Adam Edelstein             3038 N. Kenmore Ave             3N         Chicago        IL            60657
Ryan Murphy                2828 N. Pine Grove Ave., #420              Chicago        IL            60657
Ryan Daniel                601 N Western Ave., #1                     Chicago        IL            60612
David Scheele              712 W Cornellia Ave Apt 3                  Chicago        IL            60657
Costica Aloman             51 High Street                             North AttleboroMA             2760
Leslie Denicola            223 W Erie Suite 4E                        Chicago        IL            60654
Sophia Pagan               3204 Bird Ave. Unit#104                    Miami          FL            33133
Tim Houston                531 W. Roscoe St.               Apt. 2R    Chicago        IL            60657
Robert Ruschmeier          5445 N Sheridan                            Chicago        IL            60640
Brandon Gardner            1300 N. Milwaukee                          Chicago        IL            60622
Holly Begle                615 W. Armitage, #2                        Chicago        IL            60614
Brian One                  1234 John st                               New York       NY            10019
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Jared Snow                1636 N Wells St                          Chicago        IL            60614
Sarah Trent               2300 W. Wabansia St.        Unit 234     Chicago        IL            60647
Gerard Notario            1923 W Dickens Ave                       Chicago        IL            60614
Susan Manenti             520 N. Halsted, #616                     Chicago        IL            60622
Ryan Esser                430 W Dickens                            Chicago        IL            60654
Ellen Hagans              375 W. Erie #315                         Chicago        IL            60654
Lauren Glandt             873 N. Larrabee Unit #206                Chicago        IL            60610
Don Richman               2320 N. Southport, #3FF                  Chicago        IL            60614
Paul Mancini              900 N. Lake Shore Dr.       Unit #511    Chicago        IL            60611
Taylor Ek                 2625 N Clark                #1805        Chicago        IL            60614
Harpreet Khera            411 W ONtario               Apt 512      Chicago        IL            60654
Steve Klang               444 W. Fullerton            Unit 2004    Chicago        IL            60614
Nohemi Moran              1939 W Superior                          Chicago        IL            60622
Vladimir Vranes           320 W. Illiniois St. #408                Chicago        IL            60654
Shehnela Kazmi            6650 NArtesian                           Chicago        IL            60645
Mitch Slowik              555 W Kinzie St             Apt 3804     Chicago        IL            60654
Nick Pizzurro             3039 Sheffield                           Chicago        IL            60651
Bryan Richeson            1300 N. Milwaukee, #3F                   Chicago        IL            60622
Nicole Janci              647 N. Green St., #304                   Chicago        IL            60642
Emmanuel Fernandez        1503 S. State, #603                      Chicago        IL            60605
Kyle Dalton               2337 W. McLean              Apt #1       Chicago        IL            60647
Mike Mobley               1033 Woodlawn Rd.                        Glenview       IL            60025
Hunter Lane               1256 W Roscoe                            Chicago        IL            60657
Tom White                 2662 N. Marshfield                       Chicago        IL            60614
Matt Olenak               1006 N Crosby                            Chicago        IL            60610
Miguel Aviles             1504 W. Cullerton                        Chicago        IL            60608
Mark Steffen              65 E Scott                  #16G         Chicago        IL            60610
Amy Manning               910 N Howell                             Chicago        IL            60610
Jonathan Marcus           520 N. Kingsbury St.        Apt 4201     Chicago        IL            60654
Randal Chao               240 Westmoreland Dr                      Wilmette       IL            60093
Virginia Ortega           5706 W. 129th St. Unit 6                 Crestwood      IL            60445
Lucas Black               18 E. 29th St.                           La Grange Park IL            60526
Jude Sullivan             70 W. Madison                            Chicago        IL            60602
Blair Schlader            1133 W Drummond             Unit A5      Chicago        IL            60614
John Raup                 1212 N LakeShore Drive      13CN         Chicago        IL            60610
Tyler Fulmer              531 W. Roscoe, #3                        Chicago        IL            60657
Charlie Argento           1049 N Kingsbury                         Chicago        IL            60610
Philip Carava             1114 W. Altgeld, #2                      Chicago        IL            60614
Bob Shook                 900 N. Kingsbury            Unit #1156   Chicago        IL            60610
Patrick Wilhelm           600 W Chicago                            Chicago        IL            60654
Meredith Ahern            900 N. Kingsbury St. #776                Chicago        IL            60610
Omar Aweidah              245 W. North Ave., #113                  Chicago        IL            60610
Kristen Gallant           2668 N. Halsted             Unit 501     Chicago        IL            60614
Erik Unfried              303 W. Ohio St.                          Chicago        IL            60654
Kenneth Rosche            1530 N. Paulina, #F                      Chicago        IL            60622
Steve Nwe                 700 N. Larrabee             Unit 1604    Chicago        IL            60654
Jb Mackenzie              2333 N Wayne                             Chicago        IL            60000
Karen Johnson             845 N Kingsbury                          Chicago        IL            60610
Danicka Brown             7611 S. Cregier Ave                      Chicago        IL            60649
Amy Schwartz              469 W Huron, #1709                       Chicago        IL            60601
Bill Pescatello           211 E. Ohio                              Chicago        IL            60611
Jonathan Pelan            900 N Kingsbury Ut 708      Unit #1905   Chicago        IL            60610
Ashley Thiel              1830N. Winchester, #215                  Chicago        IL            60622
James Cook                222 W Erie Unit 1406                     Chicago        IL            60654
Ryan Mccomas              845 N. Kingsbury, #209                   Chicago        IL            60610
Gail Tang                 125 E. 13th St. #910                     Chicago        IL            60605
Wade Dabah                720 N Larrabee Apt 1313                  Chicago        IL            60654
Danielle Maddox           2526 N. Linden Pl. #2                    Chicago        IL            60647
Grant Newsome             2614 N Clybourn             #402         Chicago        IL            60614
Adrienne Brown            520 N. Kingsbury                         Chicago        IL            60654
Gongmyung Lee             222 W. Erie                              Chicago        IL            60654
Jake Seidman              1618 N Burling                           Chicago        IL            60614
Calvin Kao                635 N Dearborn              2005         Chicago        IL            60654
Michael Tsao              517 W 26th                               Chicago        IL            60616
Andrew Tomka              1434 N North Park Ave                    Chicago        IL            60610
Lawrence Chan             520 N. Kingsbury                         Chicago        IL            60654
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Brandon Good                  3450 N Lake Shore Drive                               Chicago       IL            60657
Edgar Castaneda               358 W. Ontario                                        Chicago       IL            60654
Shane Mellow                  734 W. Barry                                          Chicago       IL            60650
Sanaz Lee                     1255 S. Michigan Ave             unit# Penthouse 24   Chicago       IL            60605
Molly Kramer                  309 Rosenfelder Court                                 Geneva        IL            60134
Lauryn Krause                 211 E Delaware Pl                #1002                Chicago       IL            60611
Matthew Schabdach             1742 W. Ohio St.                 #1                   Chicago       IL            60622
Maureen Kearney               5120 W. Wilson Ave                                    Chicago       IL            60630
Demetrius Stringfellow        1550 S. Blue Island, #909                             Chicago       IL            60608
John Khatwani                 10043 Lacrosse                                        Skokie        IL            60007
Kenneth Moreland              630 N Franklin                   401                  Chicago       IL            60654
Paul Dryer                    328 N. Hamlin, #1N                                    Chicago       IL            60624
Anita Yantz                   1736 W. Ohio                                          Chicago       IL            60622
Candice Savino                1928 W. Roscoe, #3W                                   Chicago       IL            60657
Aisha Faridi                  700 N. Larrabee, #1710                                Chicago       IL            60654
Zeeshan Shaykh                330 N Jefferson                  Unit 2002            Chicago       IL            60661
Mark Ventrone                 910 W Hurron                     1408                 Chicago       IL            60642
Anthony Creagh                1531 N. Campbell, #1                                  Chicago       IL            60622
Caty Lamadrid                 900 N. Kingsbury                 Unit 1127            Chicago       IL            60610
Thomas Stultz                 4018 N. Albany, #3A                                   Chicago       IL            60641
Jim Toth                      5324 BrookBank Rd                                     Downers Grove IL            60515
Cory Eskoff                   3433 N. Janssen, #1                                   Chicago       IL            60657
David Garfield                2005 W. Ohio St Apt 2                                 Chicago       IL            60612
Daniel Southern               757 N. Orleans                   Unit 1511            Chicago       IL            60654
Brad Weisberg                 1962 N. Lincoln #2                                    Chicago       IL            60614
Denise Nash                   106 S. Sangamon, #4S                                  Chicago       IL            60607
Herve Medard                  NA                                                    Chicago       IL            60000
Mario Capetillo               374 N. Oaklawn                                        Chicago       IL            60126
Adrian Gray                   1000 N Kingsbury 306                                  Chicago       IL            60610
Brandon Ackley                2153 W. Cornelia Ave                                  Chicago       IL            60618
Derek Woloshyn                427 Fawell Blvd Unit 312                              Glen Ellyn    IL            60138
Sarah Cohen                   757 N. Orleans                                        Chicago       IL            60654
James Wozny                   421 W. Barry Unit 201                                 Chicago       IL            60657
Alice Toth                    900 N. Kingsbury                                      Chicago       IL            60610
Vidya Shivakumar              924 N .Howe                                           Chicago       IL            60610
Kimberly Sloan                873 N. Larabee                                        Chicago       IL            60610
Stuart Lapping                1257 Devonshire                                       Buffalo Grove IL            60089
Jim Jackson                   600 W. Chicago Suite 800                              Chicago       IL            60654
Wendy Lua                     10 E. Ontario                    #4303                Chicago       IL            60611
Ewelina Lyzniak               180 n jefferson                  #605                 Chicago       IL            60661
Mark Samelson                 2241 1/2 N. Lincoln, #3B                              Chicago       IL            60614
Stefanie Straub               2163 N Oakley                                         Chicago       IL            60647
Clinton White                 1000 N. Kingsbury St. Apt. 608                        Chicago       IL            60610
Heidi Litwin                  958 N. Crosby                                         Chicago       IL            60610
Victor Mehren                 611 N. 1st St.                                        Geneva        IL            60134
Jessica Schultz               928 North Wolcott Ave                                 Chicago       IL            60622
Yiming Zhang                  505 N. McClurg Ct                apt 2303             Chicago       IL            60611
Jonathan Lacorazza            900 N. Kingsbury. #709                                Chicago       IL            60610
Natalie Cawley                1931 N. Leavitt                  #2F                  Chicago       IL            60647
Huanzhou Yu                   6385 Hampshire Court                                  Lisle         IL            60532
Israel Reyes                  770 N. Halsted                                        Chicago       IL            60642
Andrew Castillon              1156 N. Howe                                          Chicago       IL            60610
Luiza Barteldes               1064 W. Chestnut                                      Chicago       IL            60642
Henrique Farinha              1064 W. Chestnut                                      Chicago       IL            60642
James Bretl                   1506 W. Grand #3                                      Chicago       IL            60042
Tony Enrici                   600 w. chicago                                        Chicago       IL            60654
Katrina Pena                  1459 Fred Street                                      Chicago       IL            46394
Amanda Mausner                1642 E. 56th St. Apt. 409                             Chicago       IL            60637
Annie Lagoni                  2140 N. Halsted, #2F                                  Chicago       IL            60614
John Callas                   1224 W Van Buren                 514                  Chicago       IL            60607
Jenny Beightol                839 West Newport                                      Chicago       IL            60657
Rachel Belack                 2727 N. Pine Grove                                    Chicago       IL            60614
Richard Yang                  758 N. Larrabee St.                                   Chicago       IL            60654
Nicole Staehlin               700 N. Larabee Unit 2013                              Chicago       IL            60654
Julia Dryden                  1249 W. Byron #3                                      Chicago       IL            60613
Ryan Brennan                  2007 W. Belmont, #2N                                  Chicago       IL            60618
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Elizabeth Martinez        600 W. Chicago                              Chicago         IL             60654
Jennifer Varela           1601 Hatch Pl.                              Chicago         IL             60516
Jonathan Amir             1404 W Chicago Ave #2                       Chicago         IL             60642
Lauren Weliever           900 N. Kingsbury #726                       Chicago         IL             60610
Mark Pawson               233 E. Wacker Dr.               Unit 1410   Chicago         IL             60601
Adela Casales             192 Northgate Road                          Chicago         IL             60546
Marte Shaffmeyer          866 N Hermitage Ave             APT 1F      Chicago         IL             60622
Allison Penney            680 N. Peoria 3C                            Chicago         IL             60642
Matt Larken               7425 170th Street                           Chicago         IL             60477
Sasha Gribov              3845 N . Kenmore                            Chicago         IL             60654
Steve Savanna             680 N Peoria Unit 3C                        Chicago         IL             60642
John Sugihara             5402 N. Artesian                            Chicago         IL             60625
Alexander Wayman          3122 N. Kenmore                             Chicago         IL             60657
Tony Bou-sliman           N/A                                         Chicago         IL             60610
Mike Tehensky             2322 Lincoln Park West                      Chicago         IL             60614
Nicholas Halliwell        3416 N. Wolcott Ave                         Chicago         IL             60657
Matthew Weiner            2515 W. Chicago Ave             Unit 4      Chicago         IL             60622
Heather Wallack           939 W Huron                     301         Chicago         IL             60642
Todd Schossow             939 W. Huron, #301                          Chicago         IL             60642
Simon Palmer              2536 N. Southport Ave.                      Chicago         IL             60614
Eric Hansen               1936 N. Clark #224                          Chicago         IL             60614
Daniel Hagen              3450 n. Lakeshore, #2315                    Chicago         IL             60657
Kelly Connor              2643 N. Mildred                             Chicago         IL             60614
Josh Atwood               1067 N Hermitage Ut 1                       Chicago         IL             60622
Sara Kobaissi             845 N Kingsbury                 206         Chicago         IL             60610
Ashima Jaiswal            630 N. Franklin St., #821                   Chicago         IL             60654
Andrew White              4045 Grand Ave.                             Chicago         IL             60558
Jordan De Shon            451 West Wrightwood                         Chicago         IL             60614
Nathan Hahn               854 N. Wood St #3                           Chicago         IL             60622
Chris Fisher              550 N Kingsbury Apt 509                     Chicago         IL             60654
Amy O'Connell             3616 N. pine Grone                          Chicago         IL             60613
Bob Piekarz               6920 New Hampshire Trail                    Crystal Lake    IL             60012
Megan Robertson           839 W. newport Ave                          Chicago         IL             60657
Tim Nickels               5555 N. Sheridan                            Chicago         IL             60640
Jackie Rodriguez          10651 S. Ave E                              Chicago         IL             60617
Rebecca Ahasic            700 N. Larabee st               1005        Chicago         IL             60654
Danielle Scott            758 N. Larabee                              Chicago         IL             60654
Mike Vesole               1620 W. Huron                               Chicago         IL             60622
Kailey Carroll            6520 Double Eagle Dr.                       Chicago         IL             60517
Taylor Niehus             925 W. Armitage                             Chicago         IL             60614
Tara Ferguson             226 Lakeland Dr.                            Palos Park      IL             60466
Tifffany Raucci           3651 N racine Ave                           Chicago         IL             60613
Alex Cook                 758 N. Larrabee, #622                       Chicago         IL             60610
Anna Babicz               4842 N. Vine                                Norridge        IL             60706
Rachel Schwartz           469 W. Huron                                Chicago         IL             60654
Darko Kirovski            2650 Lakeview, #4110                        Chicago         IL             60614
Jordan Horras             1645 W Ogden                    430         Chicago         IL             60612
Lily Duevel               1712 W. Lemoyne, #2E                        Chicago         IL             60622
Nat Seidel                535 W. Wellington, #63                      Chicago         IL             60657
Rebecca Schroeder         1731 Linder                                 Chicago         IL             60639
Jeff Schroeder            1731 N Linder                               Chicago         IL             60642
Janine Diaz               666 N. Dearborn                 Apt 1F      Chicago         IL             60654
Alexander Gigler          1424 Sequoia Rd.                            Chicago         IL             60540
Chloe Vanriemsdijk        451 W. Huron St. #903                       Chicago         IL             60654
Josh Fabian               5967 N Greenview                Apt 3A      Chicago         IL             60626
Kristin Conrad            3130 N. Lakeshore Dr                        Chicago         IL             60657
Troy Lewis                1735 W. Diversy Prkwy Apt 312               Chicago         IL             60614
Michael O'Brien           10456 South Bell                            Chicago         IL             60643
Marcus Hall               4231 N. Kenmore, #3S                        Chicago         IL             60613
Emma Dacey                1328 N Greenview                #2          Chicago         IL             60642
Katrina Manoshin          3038 N. Columbia                            Chicago         IL             60645
Stephane Blardone         200 N. Dearborn, 3603                       Chicago         IL             60601
Dan Pan                   505 N McClurg Ct                Unit 4503   Chicago         IL             60611
John Giacone              2616 N. Marshfield, #2F                     Chicago         IL             61108
Jason Booker              2028 N. Larrabee                            Chicago         IL             60614
Jim Reeder                1443 W. Belmont, #1                         Chicago         IL             60657
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Mike Vasquez                    230 W Division               1408       Chicago     IL             60610
Dena Greenwald                  2653 W. Superior                        Chicago     IL             60612
John Keating                    11001 Jan Court                         Lagrange    IL             60525
Kerri Scheneck                  1049 W. Oakley                          Chicago     IL             60622
Ryan Walker                     1339 N. Dearborn                        Chicago     IL             60610
Tarek Elmofty                   4542 North Spalding Ave                 Chicago     IL             60625
Mike Cronin                     1531 N Cleveland             APT 1N     Kirkland    WA             60610
Gabrielle Shiberman             510 W Belmont                           Chicago     IL             60657
Tao Ji                          840 W Blackhawk              Apt 2212   Chicago     IL             60642
Daniel Quinones                 1533 North Wells Street      apt 1c     Chicago     IL             60610
Asher Mellul                    208 W Washington Unit 506               Chicago     IL             60606
Cody Lewis                      1627 W. Fargo Ave 3N                    Chicago     IL             60620
Angie Caballero                 3237 W. Sunnyside Ave 2E                Chicago     IL             60625
Kenny Griffin                   2730 N. Ashland, #201                   Chicago     IL             60614
Courtney Carlson                616 W. Fulton St Unit 311               Chicago     IL             60661
Aj Kahling                      2824 W Armitage Ave #3R                 Chicago     IL             60647
Shannon Malloy                  900 N. Kingsbury, 967                   Chicago     IL             60610
Chelsea Stack                   2320 W. Jackson Blvd                    Chicago     IL             60612
Andre Watkins                   5332 South Greenwood Ave                Chicago     IL             60615
Patrick Palmer                  725 Randall St.                         Chicago     IL             60515
Aacia Hussain                   25 East Superior Unit 2103              Chicago     IL             60611
Jordan Fischer                  429 W melrose                1W         Chicago     IL             60657
Maria Richardson                7834 S. Throop                          Chicago     IL             60620
Natalie Dominick                1535 W. Chestnut                        Chicago     IL             60642
Chesley Spencer                 3908 N. Central Park                    Chicago     IL             60618
Kerri Soukup                    1024 W Fry #202                         Chicago     IL             60622
Rick Bailey                     1000 N Kingsbury #209                   Chicago     IL             60610
Carla Castellanos               11 S. 2nd Ave                           Lombard     IL             60148
Denise Nino                     5159 S Troy                             Chicago     IL             60606
Joe Catrambone                  770 W. Gladys #507                      Chicago     IL             60661
Carnell Lyons                   2322 W. 18th Pl.                        Chicago     IL             60608
Nino Boss                       847 N. Milwaukee Unit #6                Chicago     IL             60624
Dragan Muvceski                 925 W. Huron St. #620                   Chicago     IL             60642
Ryan Smythe                     1030 N State                            Chicago     IL             60614
Andy Hoffman                    2220 W. Bissel Apt 2                    Chicago     IL             60614
Rey Hagens                      858 N. Wood St., #2R                    Chicago     IL             60622
Anne Goodenow                   1000 N. Kingsbury #608                  Chicago     IL             60654
Daniel Alexandre                4800 S. Chicago Beach Dr.               Chicago     IL             60615
Kristofer Gjemre                1759 W. Superior, #1                    Chicago     IL             60622
Ashley Vargas                   600 W Chicago                           Chicago     IL             60654
January Overton                 2953 S. Emerald Ave.                    Chicago     IL             60616
Matthew Mcgrath                 1369 W. Hubbard                         Chicago     IL             60642
Nicole Rollins                  1130 N. Dearborn St.                    Chicago     IL             60610
Sebastian Borza                 2045 N. Larrabee, #7207                 Chicago     IL             60614
Brent Marten                    3056 N. Ashland                         Chicago     IL             60657
Elizabeth Helchen               5550 N. Kenmore #711                    Chicago     IL             60640
Kristin Noriega                 1006 N Crosby St.                       Chicago     IL             60610
Stephanie Owens-burkhart        1555 W Pearson St.           Unit F     Chicago     IL             60642
Carmen Guzman                   1515 S. Halstead                        Chicago     IL             60607
Billy Lullo                     625 W. Oak                              Chicago     IL             60610
Wesley White                    1334 N. Cleaver St.          Apt 1      Chicago     IL             60642
Elizabeth Walker                7024 N Ridge Blvd Apt 2N                Chicago     IL             60645
Jerome Landrieu                 925 W Huron                             Chicago     IL             60662
Tim Galeckas                    2420 Smithfield Ct.                     Aurora      IL             60503
Pete Prokopowicz                910 Fair Oaks                           Oak Park    IL             60302
Kevin Almady                    645 N. Kingsbury                        Chicago     IL             60654
Jeremey Watson                  606 W. Cornelia Ave.         Apt 274    Chicago     IL             60657
Emily Bentrup                   1655 N Campbell Ave #3                  Chicago     IL             60647
Josh Siegel                     1043 Woodbine Ave.                      Oak Park    IL             60302
Anna Saavedra                   648 N Oakley Blvd Apt 3                 Chicago     IL             60612
Stephanie Gordon                873 N. Larrabee, #305                   Chicago     IL             60610
Sara Altman                     4601 W. Touhy Ave #303                  Chicago     IL             60712
Sam Serpoosh                    3959 N Lake Shore Dr 711B               Chicago     IL             60613
Elyce Carnali                   1500 W Grand                 3E         Chicago     IL             60642
Chris Silungan                  3950 N. Lakeshore, #1503A               Chicago     IL             60613
Nick Gialessas                  720 N. Larrabee, #1208                  Chicago     IL             60654
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Jon Lontai                   1225 N. Cleaver            Apt 2f     Chicago        IL             60622
Chris Bach                   873 N. Larrabee St.                   Chicago        IL             60610
Kirsten Olmsted              1236 W. Barry Ave                     Chicago        IL             60657
Nick Mcevily                 2109 N. Stave St.                     Chicago        IL             60647
Shawn Moran                  1411 W. 19th Street                   Chicago        IL             60608
Matt Mccorry                 3049 W. Sunnyside Unit 2              Chicago        IL             60625
Jose Juarez                  1934 N. Fairfield          Apt 3F     Chicago        IL             60647
Vamsi Kanuri                 5529 W. Higgins Ave.                  Chicago        IL             60630
Cyril Lan                    530 N Lake Shore Dr        Apt 2607   Chicago        IL             60611
Thanh Nguyen                 375 W. Erie                #417       Chicago        IL             60654
Chris Wittenborn             34W 439 Valley Circle                 St Charles     IL             60174
Alyson Womack                501 W Deming                          Chicago        IL             60614
Anna Berman                  700 N. Larrabee, #2014                Chicago        IL             60654
William Collosky             758 N. Larrabee, #404                 Chicago        IL             60654
Timothy Rigdon               900 N Kingsbury            apt 921    Chicago        IL             60611
Matt Tobel                   900 N Kingsbury            apt 921    Chicago        IL             60611
Nolan Wade                   807 N trumbell                        Chicago        IL             60651
Mari Jo De Paolo             922 N Crosby St                       Chicago        IL             60610
Nick Vuoto                   77 W. Huron                #910       Chicago        IL             60654
Craig Roper                  345 N. LaSalle             #2106      Chicago        IL             60654
Alex Menendez                600 W. Chicago                        Chicago        IL             60654
Matt Brumley                 3800 N. Greenview                     Chicago        IL             60613
Rebecca Maroon               873 N. Larrabee                       Chicago        IL             60654
Kyle Hannon                  873 N larrabee st          apt 603    Chicago        IL             60610
Brittany Roebke              758 N Larrabee #428                   Chicago        IL             60654
Lindsey Foreman              873 N Larrabee St.         #510       Chicago        IL             60610
Derek Ward                   1000 N Kingsbury St #404              Chicago        IL             60610
Narmar Doyle                 2032 N. Sheffield          Apt G.     Chicago        IL             60614
Dan Romes                    1504 w altgeld st                     Chicago        IL             60614
Chris Kudlacz                600 W Chicago Ave                     Chicago        IL             60611
Jeff Wurtzel                 472 w superior                        Chicago        IL             60654
Traci Lloyd                  1071 15th st                          Chicago        IL             60608
Midge Hardt                  415 e north water                     Chicago        IL             60610
Joanna Share                 2800 N Lake Shore Dr                  Chicago        IL             60657
John Beason                  900 N kingsbury                       Chicago        IL             60654
John Stivers                 17 43 W Cornelia ave                  Chicago        IL             60654
Thong Tong                   116 Rumsey Pl                         Westomont      IL             60559
Pedro Bissegger              1220 w flournoy                       Chicago        IL             60666
Luke Mladucky                2217 W. Rice st                       Chicago        IL             60622
Jennifer Larson              900 N. Kingsbury                      Chicago        IL             60610
Evan Vladem                  600 w chicago                         Chicago        IL             60654
Joshua Rauch                 845 n kingsbury                       Chicago        IL             60610
Linda Ridge                  900 n kingsbury                       Chicago        IL             60610
Kristi Mccotter              845 N. Kinsbury                       Chicago        IL             60654
Vighnesh Venkataraman        555 W Cornelia Ave         707        Chicago        IL             60657
Alison Hooker                933 N. Ashland                        Chicago        IL             60622
Lindsay Yasseri              2129 w le moyne st                    Chicago        IL             60622
Maxwell Kendall              600 W. Chicago                        Chicago        IL             60610
Zach Jecklin                 1412 W. Chicago Ave #2w               Chicago        IL             60642
Alexandra Lasco              500 N Lakeshore Dr                    Chicago        IL             60611
Caroline Vasquez             230 w. division                       Chicago        IL             60610
Tom Johnson                  3411 Kentshire Circle                 Aurora         IL             60504
Angie Merritt                544 N. Milwaukee                      Chicago        IL             60642
Kumar Ijanagiri              600 w chicago                         Chicago        IL             60654
Eric Watson                  1301 W. Fletcher St.       Apt 225    Chicago        IL             60657
Drew Erdmann                 600 w chicago                         Chicago        IL             60654
Kevin Johnson                6166 N. Sheridan rd                   Chicago        IL             60660
Heather Yargus               873 n larrabee             604        Chicago        IL             60610
Mrugesh Bavda                600 w chicago                         Chicago        IL             60654
Bryan Diamond                600 n mcclurg ct                      Chicago        IL             60611
Lauren Lowenbaum             2132 n sheffield                      Lake Forest    IL             60045
Matt Mittelstadt             1333 W. North Shore #2                Chicago        IL             60626
Joey Diaz                    2939 N. Whipple                       Chicago        IL             60612
Mandy Patz                   400 N McCLeurg                        Chicago        IL             60611
Christian Sheppard           2130 N. Lincoln West                  Chicago        IL             60614
John Malloy                  906 n larrabee                        Chicago        IL             60610
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Wayne Zhu                     600 w chicago                                  Chicago        IL          60654
Eddie Beauduy                 225 W. Huron                     #308          Chicago        IL          60654
Olena Rudenko                 600 W. Chicago ave                             Chicago        IL          60654
Nora Kaitis                   2828 N. Pine Grove               #209          Chicago        IL          60656
Gergana Szenda                5900 N. Sheridan                               Chicago        IL          60660
Cheryl Johnson                600 W Chicago                                  Chicago        IL          60654
Ethan Allman                  600 w chicago                                  Chicago        IL          60654
Yelena Ogan                   2217 W Rice APT 2F                             Chicago        IL          60622
Grace Yu                      600 w chicago                                  Chicago        IL          60654
Brandon Mcnamara              958 w cuyler                                   Chicago        IL          60613
Katelan Shirk                 11 W. Division                   Apt 1203      Chicago        IL          60610
Rob Deslaurier                2 w delware                      2103          Chicago        IL          60610
Paul Polk                     2 w delaware                     2103          Chicago        IL          60610
Meagan Legear                 8 E. Randolph, #1405                           Chicago        IL          60601
Rita Cremeans                 925 w. huron                                   Chicago        IL          60642
Dana Stramaglio               3108 N. 78th Ave                               Elmwood Park   IL          60707
Alex Plungis                  245 S Oak Pk Ave                               Oak Park       IL          60302
Jenny Hicks                   720 N. Larrabee                                Chicago        IL          60654
Robert Winter                 600 w chicago ave                              Chicago        IL          60654
Caroline Maxwell              10 e ontario                                   Chicago        IL          60611
Groupon Training Class        600 West                                       Chicago        IL          60654
Haily Wineland                4919 N. Glenwood                               Chicago        IL          60640
Juan Rodriguez                5513 E. Celebritycir                           Hanover Park   IL          60133
David Hanley                  918 Hull Ave                                   Westchester    IL          60154
Keisha Adams                  100 E 14th St                                  Chicago        IL          60605
Ben Sauerwine                 873 n larrabee                                 Chicago        IL          60610
Simiao Li                     873 n larrabee                                 Chicago        IL          60610
Marci Billow                  1531 N Cleveland                 APT 1N        Chicago        IL          60610
Chris Haisma                  1006 N Kingsbury                               Chicago        IL          60610
Rob Capps                     2511 W Moffat                                  Chicago        IL          60647
Charles Dickstein             354 Washington Ave                             Glencoe        IL          60022
Ryan Searle                   1742 W. School St. 3                           Chicago        IL          60657
Mike Galligan                 1638 W. Blackhawk St.                          Chicago        IL          60622
Daniel Nicholson              2500 N Ashland Ave                             Chicago        IL          60614
Kinsey Griffin                555 W. Kinzey                    Unit 1202     Chicago        IL          60654
Dave Fontechia                509 Germaine Pl                                Chicago        IL          60007
Rafael Angelcucci             320 W Illinois St                              Chicago        IL          60654
Courtney Collins              2105 N. Hudson Ave.              Garden Unit   Chicago        IL          60614
Tim Madigan                   853 Ellen Way                                  Libertyville   IL          60048
Michael Slaven                900 Kingsbury St                               Chicago        IL          60610
Cheryl Slaven                 900 Kingsbury St                               Chicago        IL          60610
Olga Norremo                  600 West Chicago                               Chicago        IL          60654
Emma Rosen                    1077 N Paulina                   1             Chicago        IL          60622
Doug Holok                    1036 Seneca Dr                                 Crown Point    IN          46307
Kevin Hincks                  7 Camelot                                      Oak Brook      IL          60523
Ashley Dillard                939 W Huron Unit 304                           Chicago        IL          60642
Luke Reardon                  520 W Huron                                    Chicago        IL          60654
Cliff Ryan                    221 Ravine Rd                                  Hinsdale       IL          60521
Courtney King                 93 Tomlin Circle                               Chicago        IL          60527
Ro Parrish                    900 N Kingsbury                                Chicago        IL          60610
Bradon Holleran               720 N Larrabee 904                             Chicago        IL          60654
Candace Savino                5717 N Wolcott                   301           Chicago        IL          60640
John Uribe                    825 N. Hudson Ave                              Chicago        IL          60610
Mollie Skale                  825 N. Hudson Ave                              Chicago        IL          60610
Mike Kaupa                    900 N Kingsbury                  925           Chicago        IL          60610
Steven Dormanen               326 N Cuyler Ave                               Chicago        IL          60302
Brett Dolin                   600 W Chicago                                  Chicago        IL          60654
Tiffany Menyhart              335 Locust Rd                                  Chicago        IL          60093
Matt Ferrari                  2711 N. Wilton Ave                             Chicago        IL          60614
Kurt Ames                     1107 W. Cornelia                               Chicago        IL          60657
Maureen Howard                1503 N. Wieland Street Apt. 3R                 Chicago        IL          60610
Marlene Lewis                 2646 N Mildred Ave                             Chicago        IL          60614
Nikki Skale                   653 N. Kingsbury                 #1508         Chicago        IL          60654
Maritza Solis                 6239 S. Menard Ave                             Chicago        IL          60638
Ryan Lindahl                  535 W Superior 229                             Chicago        IL          60654
Kristin O'Kelly               4411 Westbridge Ct                             Chicago        IL          60192
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Christopher Paladino        1027 N Kingsbury                        Chicago        IL             60610
Fox Narayan                 3847 Hermitage Ave                      Chicago        IL             60654
Vladimir Kalugin            720 N Larrabee St                       Chicago        IL             60654
Anthony Ramirez             3508 N Sheffield                        Chicago        IL             60657
Del Larkin                  201 E. Chestnut St. #6E                 Chicago        IL             60611
Mackenzie Chaffee           640 W Sherdian Rd                       Chicago        IL             60613
Scott Uloswceh              7404 Ridgefied Ln                       Tinley Park    IL             60487
Jared Herschberger          2312 W. Mc Lean Ave                     Chicago        IL             60647
Tony Leiva                  912 Chicago                     203     Chicago        IL             60642
Robert Mclellarn            873 Larrabee                    511     Chicago        IL             60610
Allison Butler              1730 N Clark St Apt 4111                Chicago        IL             60614
Brock Wanless               4055 W. Wolcott                         Chicago        IL             60613
Katie Quinn                 2335 Thomas                             Chicago        IL             60605
Cecelia Myers               2148 W. Ainslie                         Chicago        IL             60625
Gary Opp                    900 N. Kingsbury St                     Chicago        IL             60610
Bill Kalantzis              2038 W Grace #3                         Chicago        IL             60618
Casey Cummings              600 West Chicago                        Chicago        IL             60654
Kristin Bandurski           1316 N Bell                     2R      Chicago        IL             60622
Katie Hunter                3138 N South Port Ave 1FF               Chicago        IL             60657
Dean Hewson                 600 West Ste 350                        Chicago        IL             60654
Chris Wiese                 14400 West Ohio St                      Chicago        IL             60642
Michael Wiese               1440 W Ohio St                          Chicago        IL             60642
Chad Mannes                 122 N Wateford Dr                       Round Lake     IL             60073
Erin Edwards                3950 N Lakeshore Dr                     Chicago        IL             60613
Max Vitek                   923 W Addison St                        Chicago        IL             60613
Christopher Dravus          2431 W Gunnison                 2       Chicago        IL             60625
Kyle Bicking                873 N Larabee                           Chicago        IL             60654
Venkata Murali              2150 Old Glenview Rd                    Wilmette       IL             60091
Emily Horne                 540 N State                     4107    Chicago        IL             60654
Ken Olsen                   2909 N Sheridan                         Chicago        IL             60657
Elliot Lourie               2817 N Sheffield Ave                    Chicago        IL             60614
Taline Navarro              1310 N Claremont Ave Ut 3               Chicago        IL             60622
Stephanie Johnson           1411 W Chicago                          Chicago        IL             60642
George Miller               1117 W. Fry St.                         Chicago        IL             60642
Sean Tuffy                  3590 N Lakeshore Dr Apt 1411B           Chicago        IL             60613
Samantha Baker              1246 W Sunnyside Ave 1W                 Chicago        IL             60640
Dexter Peak                 1523 N. Elk Grove #3                    Chicago        IL             60622
Brandon Gaty                1046 W Barry                    Apt 2   Chicago        IL             60657
Gretchen Pinnick            2007 N Sedgwick                         Chicago        IL             60611
Tracy Glickauf              366 W. Illinois                         Chicago        IL             60654
Matt Bradbard               845 N. Kinsbury St #514                 Chicago        IL             60610
Lory Alami                  845 N Kingsbury 514                     Chicago        IL             60610
Eric Merritt                1252 N Cleaver                          Chicago        IL             60642
Greg Moore                  11336 S Church St                       Chicago        IL             60643
John Neal                   530 W Aldine                            Chicago        IL             60657
Tyler Perna                 3040N Racine                            Chicago        IL             60621
Elizabeth Schwartz          2206 N. Southport #1                    Chicago        IL             60654
Taylor Olker                600 W Chicago                           Chicago        IL             60654
Keaton Muphy                2076 N Stave 2F                         Chicago        IL             60647
Mary Zinni                  1255 N Sandburg Ter 1712                Chicago        IL             60610
Jenna Mcfarland             1628 N Marshfield Ave           #2F     Chicago        IL             60654
Nick Bruce                  10 E Delaware Pl 12C                    Chicago        IL             60611
Amy Vikrey                  555 W Kinzie                            Chicago        IL             60654
Jovanny Roman               3200 N Lakeshore Dr                     Chicago        IL             60657
Eric Bell                   805 N LaSalle Dr                1802    Chicago        IL             60610
Ryan Staudt                 600 w chicago                           Chicago        IL             60654
Dan Colomb                  600 w chicago                           Chicago        IL             60654
Dylan Washburn              600 W Chicago                           Chicago        IL             60654
Michael Surface             1549 W Walton St Apt 1                  Chicago        IL             60642
Naveen Kathuria             510 West Erie                           Chicago        IL             60654
Andrea Chadwick             2430 N Surrey Ct                        Chicago        IL             60617
Kristin Stowers             1 E Delaware PL APT 26J                 Chicago        IL             60611
Michael Cubert              2801 Mayfield Dr                        Park Ridge     IL             60068
Camille Brown               1339 N Dearborn                         Chicago        IL             60611
Alec Shimon                 600 W Chicago Ave                       Chicago        IL             60654
Marvin Hossain              5519 W Lawrence                         Chicago        IL             60654
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Amy Radick                       900 N Kingsbury St. Unit 1178               Chicago         IL          60610
Brandie Rossi                    444 W. St James PL unit#1012                Chicago         IL          60614
Daniel Flannery                  1541 W Walton Apt 1                         Chicago         IL          60642
Goran Gogic                      845 N kinigsbury                            Chicago         IL          60654
Guy Bargnes                      3718 N Kenmore Ave 101                      Chicago         IL          60613
Kevin Holmes                     600 W Chicago                               Chicago         IL          60654
Justin Nauth                     2117 W Rice St                              Chicago         IL          60622
Ryan Paul                        600 W Chicago                               Chicago         IL          60654
Ruben Martinez                   600 W Chicago                               Chicago         IL          60654
Jeff Rawsky                      1706 W Huron                                Chicago         IL          60642
Oliver Kimberley                 2116 W Barry Ave #3                         Chicago         IL          60618
Nelson Bowers                    233 E. Wacker, #1611                        Chicago         IL          60601
Nick Harper                      600 N Kingsbury 1905                        Chicago         IL          60654
Marc Ladd                        3832 Grassmere Rd                           Naperville      IL          60564
Lara Unnerstall                  120 N. Green St.                            Chicago         IL          60607
Nick Butchko                     1453 W Irving Park Rd                       Chicago         IL          60613
Jacqueline Ream                  758 N Larrabee 619                          Chicago         IL          60654
Michelle Gorecki                 600 W Chicago                               Chicago         IL          60654
Fan Wu                           2144 N. Linocln Park                        Chicago         IL          60614
Talia Schlamowitz                873 N Larabee #506                          Chicago         IL          60610
Andrea Keeble                    1429 W. Augusta                             Chicago         IL          60622
Sacha Chen                       1101 S. State St #1103                      Chicago         IL          60605
Ronak Patel                      500 W Superior 805                          Chicago         IL          60654
Amanda Dechavez                  720 N Larrabee Street           Unit 809    Chicago         IL          60654
Keegan Chapman                   600 W Chicago                               Chicago         IL          60654
Lester Robinson                  1218 N Dearborn St Apt 1B                   Chicago         IL          60610
Yash Jadhwani                    12 Polo Dr                                  South BarringtonIL          60010
Bryan Mitzel                     600 W Groupon                               Chicago         IL          60654
Angela Singh-kalsi               600 W Chicago                               Chicago         IL          60654
Brian Clark                      900 N Kingsbury #1118                       Chicago         IL          60610
Charles Goergen                  1616 Home Ave                               Berwyn          IL          60402
Chad Didriksen                   600 W Chicago                               Chicago         IL          60654
Brian Chadwick                   2430 N Surrrey Ct.                          Chicago         IL          60654
Brian B Chadwick                 2430 N Surrey Ct.                           Chicago         IL          60614
Ryan Willits                     630 York Rd                                 Chicago         IL          60025
Brian Carpizo                    600 W Chicago                               Chicago         IL          60654
Jacob Ziehlke                    3740 N Halsted #1218                        Chicago         IL          60610
Sintija Pilecka                  445 E Ohio                                  Chicago         IL          60611
Mike Tripp                       2141 N Leavitt Apt 1F                       Chicago         IL          60647
Courtney Delaney                 834 N Damen Ave Apt 3                       Chicago         IL          60622
Alexander Sasha Gutfraind        600 W Chicago                               Chicago         IL          60654
Andrew Wilson                    541 W Wellington Apt 54                     Chicago         IL          60657
Daniel Roshan                    435 W Erie                                  Chicago         IL          60654
Chiara Piccinotti                600 W Chicago                               Chicago         IL          60654
David Mennenoh                   600 W Chicago                               Chicago         IL          60654
Lauren Corl                      915 W Belle PLaine Ave 1                    Chicago         IL          60613
Courtney Oltman                  1800 N Honore                   1R          Chicago         IL          60622
Andrew Hammes                    1218 W Wrightwood Ave                       Chicago         IL          60614
William Hansmann                 600 W Chicago                               Chicago         IL          60654
Miamath Khandaker                3708 N Freemont                             Chicago         IL          60613
Gia Tovar                        1439 W Walton                               Chicago         IL          60642
Katie Dececca                    873 N Larabee                               Chicago         IL          60654
Clark Kampfe                     908 N Western Ave Apt 3F                    Chicago         IL          60622
Eric Baird                       3605 N Oakly Apt                            Chicago         IL          60618
Andrew Kopplin                   965 Lorie                                   Lake ZurichChicago
                                                                                             IL          60647
Erica Feddeler                   942 N Crosby St                             Chicago         IL          60610
Megan Bui                        600 W Chicago                               Chicago         IL          60654
Jessica Skoff                    77 West Huron Dt                            Chicago         IL          60654
Kevin Brantley                   1540 N Salle Apt 1508                       Chicago         IL          60654
Brendan Carey                    600 W Chicago                               Chicago         IL          60654
Duane Bednorz                    600 W Chicago Ave                           Chicago         IL          60654
Lyle Roebuck                     42 E. Chicago Avenue                        Chicago         IL          60611
Dan Huml                         110 E Delarare Pl               Unit 1102   Chicago         IL          60611
Jackson Terhorst                 600 W Chicago                               Chicago         IL          60654
Lauren White                     600 W Chicago                               Chicago         IL          60654
Blake Rodgers                    600 W Chicago                               Chicago         IL          60654
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Doug Gallow                924 N. Wolcott Ave                      Chicago       IL         60622
Andrew Dowd                866 N. Hermitage                        Chicago       IL         60622
Kevin Patel                811 W. Lill                             Chicago       IL         60614
Theo Bonau                 873 N. Larabee                          Chicago       IL         60654
Jeff Grovak                4100 N Kedzie                           Chicago       IL         60618
Jessica Findley            6309 South Gilbert Ave                  Chicago       IL         60525
Brian Scherpenberg         720 N Larrabee St            1402       Chicago       IL         60654
Chelsea Macpherson         720 N Larrabee St            1402       Chicago       IL         60654
Kristen Slusarczyk         521 W Superior Unit 330                 Chicago       IL         60654
Claire Beverage            520 W Huron #405                        Chicago       IL         60654
Julie Dorken               1056 W. Lill Ave                        Chicago       IL         60614
Sarah Cohen                1000 W Diversy 3A                       Chicago       IL         60614
Andrew Rudahl              1000 W Diversy APT 3A                   Chicago       IL         60614
Holly Williamson           642 S. East Ave                         Chicago       IL         60304
Danny Weinmeier            3811 N. Neva                            Chicago       IL         60634
Kelly Dirie                2315 W Huron                            Chicago       IL         60622
Jennifer Frank             900 N Kingsberry             APT 824    Chicago       IL        600610
Sagar Sheth                449 W Hobbie                            Chicago       IL         60654
George Garifalis           1230 N. State Pkwy #9B                  Chicago       IL         60610
Ariel Bolles               1819 N. Albany Ave                      Chicago       IL         60647
Justin Slavinskas          600 W Chicago                           Chicago       IL         60654
Ian Roddis                 600 W Chicago                           Chicago       IL         60654
Toufeek Dabah              627 W Oak St                            Chicago       IL         60610
Larry Tobia                78 W Schiller                           Chicago       IL         60610
Nick Leskiw                6104 Lincoln                            Chicago       IL         60053
Kevin Sherlock             658 W Superior St #2                    Chicago       IL         60622
Grace Gealey               123 Easy Street                         Chicago       IL         12034
Samar Jain                 365 N Jefferson #1610                   Chicago       IL         60654
Mokena Trigueros           2496 Hillsboro Blvd                     Chicago       IL         60503
Ryan Spalding              2521 N Marshfield                       Chicago       IL         60614
Heather Dannewitz          1000 N Kingsbury             Unit 605   Chicago       IL         60654
Colleen Hickey             317 4th St.                             Downers Grove IL         60615
Andrew Jang                511 W Division               #409       Chicago       IL         60654
Olin Flores                4917 N Avers Ave; GDN Unit              Chicago       IL         60625
Tara Gallagly              555 W Kinzie Apt 401                    Chicago       IL         60654
Michael Frasco             5423 S Harper                           Chicago       IL         60615
Daniel Foley               600 W Chicago                           Chicago       IL         60654
Steve Stewart              365 N Jefferson                         Chicago       IL         60661
Lee Delarm                 2709 W. Altgeld #2                      Chicago       IL         60647
Kalyan Yerramraju          2472 Waterbury Ln                       Buffalo Grove IL         60089
Grace Hahn                 2042 W Chicago                          Chicago       IL         60622
Vineetha Kommareddi        1647 N Wells                            Chicago       IL         60614
Joy Kelly                  340 W Superior #703                     Chicago       IL         60654
Scott Orbin                1927 W Berteau                          Chicago       IL         60613
Katrina Tecmire            5923 N Paulina                          Chicago       IL        606660
Dylan Loch                 lochdyla@gmail.com                      Chicago       IL         60614
Maggie Williams            2316 N Clark                            Chicago       IL         60657
Alec Mitrovich             3060 N Central Park Ave                 Chicago       IL         60618
Crystal Byrne              1830 N. Winchester Ave.                 Chicago       IL         60622
Susanna Petrolle           845 N. Kingsbury                        Chicago       IL         60654
Chris Clemmensen           91 W Mallard Lane                       Forest        IL         60045
Mick Singh                 510 W Erie St 701                       Chicago       IL         60654
Luke Hill                  2138 S. Indiana                         Chicago       IL         60616
Carol Joseph               2217 N Cleveland                        Chicago       IL         60614
Jason Howard               1000 N Kingsbury             APT 502    Chicago       IL         60654
Phil Hamilton              523 N May St                            Chicago       IL         60642
Brian Roberts              3133 Gresham Ln W.                      Aurora        IL         60504
Israel Alguindigue         544 Paulina St Apt #1                   Chicago       IL         60622
Alyssa Kesaris             1000 N Kingsbery St                     Chicago       IL         60610
Jarvis Smith               1000 N Kinsbery                         Chicago       IL         60610
Tohru Oyasu                600 w cHICAGO                           Chicago       IL         60654
Elizabeth Martinez         654 N Talma                             Chicago       IL         60612
Ted Mcelroy                952 N Wolcott Ave #3                    Chicago       IL         60622
Damarra Fears              4350 W Ford City Dr                     Chicago       IL         60652
Morgan Waller              1967 N Maud Ave                         Chicago       IL         60614
Erin Woods                 550 N St Clair #904                     Chicago       IL         60611
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Michael P Thayer            1250 N LaSalle Unit 1413                Chicago    IL          60610
Ariana Isaac                1300 E 88th Pl                          Chicago    IL          60619
Erin Amico                  700 N Larrabee                          Chicago    IL          60654
Enacky Martinez             1718 W Augusta Blvd                     Chicago    IL          60622
Nate Schlimme               2008 W Racine Ave                       Chicago    IL          60612
Bradley Snow                3753 W George St              Apt !     Chicago    IL          60618
Danielle Elliott            900 N Kingsbury #869                    Chicago    IL          60610
Phil Yatvin                 2808 W Chicago Ave                      Chicago    IL          60622
Siddha Gemeni               900 W Kingsbury                         Chicago    IL          60610
Tracy Li                    680 N Green St                203       Chicago    IL          60642
Elizabeth Fahey             860 N Dewitt                            Chicago    IL          60611
Darrell Snyder              913 Gordon Tr.                          Chicago    IL          60613
Schuyler Weinberg           1316 W Eddy St                          Chicago    IL          60657
Jason Olesnavage            1502 Hudson                             Chicago    IL          60610
Karen Yokiel                805 N LaSalle Dr #701                   Chicago    IL          60610
Jared Fryksdale             4837 N Central Ave                      Chicago    IL          60630
Jonathon Minion             3726 N Albany                           Chicago    IL          60618
Jared Cohen                 3633 N Wilton Ave             Apt 2     Chicago    IL          60613
Drew Schmedding             1000 N Kingsbury APT 502                Chicago    IL          60654
Patrick Sheller             700 N Larrabee St                       Chicago    IL          60654
Aaron Eckert                175 N. Harbor Dr.                       Chicago    IL          60607
Kyle Washington             1407 W Potomac                          Chicago    IL          60642
Jaime Lang                  758 N Larrabee Apt 422                  Chicago    IL          60654
Maureen Lang                758 N Larrabee ST #422                  Chicago    IL          60654
Sabina Cervera              1156 N Howe St.                         Chicago    IL          60610
Daniella Sucato             1 W Superior                  #1411     Chicago    IL          60654
Tasos Angelopoulos          1400 W Grand                            Chicago    IL          60642
Jason Dadah                 600 W. Chicago                          Chicago    IL          60654
Raphael Shejnberg           2150 N. Halsted                         Chicago    IL          60614
Anthony Papagirogio         1 East Delaware Pl            #36C      Chicago    IL          60611
Jon Levy                    900 N. Kingsbury                        Chicago    IL          60610
Chris Ellison               3115 S. Michigan                        Chicago    IL          60616
Satch Nanda                 1439 S Prairie Ave                      Chicago    IL          60605
Mark Flemming               900 N. Kingsbury St.                    Chicago    IL          60654
Michelle Feilmeier          195 N. Harbor Dr.                       Chicago    IL          60601
Ping Zhang                  629 W Deming Pl.                        Chicago    IL          60614
Amanda Thaxton              5718 n Winthrop               #708      Chicago    IL          60660
Leslie Anderson             900 N Kinsbury                APT       Chicago    IL          60610
Nicole Meyerson             2318 N Milwaukee Ave                    Chicago    IL          60647
Xiaokang Xin                628 W Deming Pl #304                    Chicago    IL          60614
Vincent Gonzalez            720 N Elizabeth #2                      Chicago    IL          60642
Marcelo Mendonca            954 Webster                             Chicago    IL          60614
Jeremy Trinchere            4503 W. Wrightwood                      Chicago    IL          60639
Michael David Jensen        3706 N Bell Ave, Chicago IL             Chicago    IL          60618
Christopher Dierks          1238 W Altgeld St                       Chicago    IL          60614
Jennifer Bonesz             600 W Chicago                           Chicago    IL          60654
Justin Johnston             900 N Kingsbury                         Chicago    IL          60610
Britta Ossim                1117 W Fry                    Unit 6    Chicago    IL          60654
David Ossim                 1117 W Fry St                 UNIT 6    Chicago    IL          60654
Frank Pollera               873 N Larrabee                          Chicago    IL          60654
Daniel Radick               900 N Kingsbury               904       Chicago    IL          60654
Matthew Dolkart             5655 N Wayne                            Chicago    IL          60660
Greg Chiopelas              824 W Superior Unit 301                 Chicago    IL          60622
Mateo Conner                1227 W Columbia #2                      Chicago    IL         600063
George Navas                1900 N Lincoln Ave                      Chicago    IL          60614
Amy Johnson                 845 N Kingsbury                         Chicago    IL          60610
Christine Ebinger           2630 N Hampden Ct             Apt 514   Chicago    IL          60614
Jenna Johnson               600 W Chicago                           Chicago    IL          60642
Kevin Yarashefski           901 S Seminary Ave                      Chicago    IL          60068
Michael De Runtz            718 N Throop                            Chicago    IL          60642
Nicole Cadwell              5402 N Campbell Ave #2A                 Chicago    IL          60625
Gary Morton                 1711 W Tera Cotta                       Chicago    IL          60614
Micah Dorfman               600 w chicago ave                       Chicago    IL          60654
Joshua Bernick              944 W Montana St                        Chicago    IL          60614
Ricco Ramos                 2242 S Marshall Blvd                    Chicago    IL          60623
Dana Hall                   1039 N Kingsbury                        Chicago    IL          60654
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Dane Zentgraf              954 N Crosby                          Chicago       IL             60610
Andrew Bernardi            7918 W Cortland St                    Chicago       IL             60707
Bryce Anderson             3130 N Lakeshore                      Chicago       IL             60657
Angelo Marasco             2006 W. Warren               4NE      Chicago       IL             60612
Dan Eichelkraut            200 W. Warren                         Chicago       IL             60612
Leslie Tamura              900 N Kingsbury St APT 912            Chicago       IL             60610
Leigh-ann Boots            3653 N Racine Ave 1                   Chicago       IL             60613
Gabrielle Tobel            900 N Kingsbury St. #921              Chicago       IL             60654
Kendall Zemmin             900 N Kingsbury #771                  Chicago       IL             60654
Adam Szymoniak             824 W Superior APT 609                Chicago       IL             60642
Melissa Salem              824 W Superior APT 609                Chicago       IL             60642
Ryder Lewis                3018 N Racine                         Chicago       IL             60657
Shelton Banks              2114 Deway Ave                        Chicago       IL             60201
Piero Soria                2235 W. Melrose                       Chicago       IL             60618
Troy Gross                 873 Larrabee St              703      Chicago       IL             60610
Kayla Zalenski             1350 W Hubbard St                     Chicago       IL             60642
Ron Klein                  1238 N Noble St #3                    Chicago       IL             60642
Kelsey Hipskind            712 chatham rd                        glenview      IL             60614
Brian Holtrop              SN825 Campton Ridge Dr                St charles    IL             60175
Natalia Espinosa           929 N Kingbury                        Chicago       IL             60610
Manish Jain                720 N Larabee                         Chicago       IL             60654
Sean Miles                 155 Gosling Dr                        Chicago       IL             60120
Nikki Moore                412 N Desplaines St APT 2             Chicago       IL             60654
Kathleen Hoppie            100 S Clinton Ave                     Oak Park      IL             60302
Kyle Panfil                600 W Chicago Ave                     Chicago       IL             60654
Kyle Evangelista           3740 N Halstead              619      Chicago       IL             60613
Michael Hubbarth           225 W Huron Unit 411                  Chicago       IL             60654
Beni Atibalentja           3500 N Paulina                        Chicago       IL             60657
Brienna Weibel             2028 N Bissell                        Chicago       IL             60614
Terrell Jackson            3918 N Ashland                        Chicago       IL             60613
Danielle Wyatt             1431 W Huron St                       Chicago       IL             60642
Stephanie Casper           1335 W Huron                          Chicago       IL             60642
Alex Reavy                 900 N Kingsbury              1004     Chicago       IL             60654
Shannon Sieck              900 n Kingsbury              1004     Chicago       IL             60654
Jason Beddigs              555 W. Kinzie                         Chicago       IL             60654
Emilie Weinheimer          1834 W Wabansia                       Chicago       IL             60622
Mark Stubler               1435 W Chase                          Chicago       IL             60626
Jessica Vanek              1545 S State St                       Chicago       IL             60605
Anjali Gurnani             1714 w superior                       Chicago       IL             60622
Jason Pacey                917 W Cornelia                        Chicago       IL             60610
Miguel Cervantes           3928 N. Mozart                        Chicago       IL             60618
Brandon Guarascio          2212 W 21st St                        Chicago       IL             60608
Billy Warrick              2211 w giddings                       Chicago       IL             60625
Hillary Geller             5448 S Ridgewood Court                Chicago       IL             60615
Michael Lampariello        506 W Diversey Pkwy          2        Chicago       IL             60614
Ryan Childers              420 W Ontario                         Chicago       IL             60654
Nathan Klipp               944 W Grace                  D202     Chicago       IL             60613
Greg Goff                  319 N County Line Rd                  Chicago       IL             60521
Margaret Larkin            201 E Chestnut                        Chicago       IL             60611
Margo Yoon                 2649 N Spaulding                      Chicago       IL             60647
Pohul Khera                758 N LArabee                         Chicago       IL             60654
Casey Frankenberger        9004 W 122 St                         Palos Park    IL             60464
Nick Cavet                 1 West Superior                       Chicago       IL             60654
Jessica Smith              821 W Superior St.                    Chicago       IL             60642
Hayley Nickerson           2326 W Walton                         Chicago       IL             60622
Rishabn Krishna            623 W Surf St                         Chicago       IL             60657
Carter Cates               1314 Greenwood St                     Evanston      IL             60301
Kyle Bullock               1311 West University                  Champaign     IL             61821
Catherine Fee              728 W Jackson Blvd                    Chicago       IL             60661
Jon Nathan                 360 W Hubbard                3103     Chicago       IL             60654
Kailey Whipple             1040 w Roscoe                         Chicago       IL             60657
Mark Hilger                360 W Illinois                        Chicago       IL             60654
Joel Rocha                 469 W Huron                  812      Chicago       IL             60654
Deb Rocha                  469 W Huron                  812      Chicago       IL             60654
Tim Rose                   845 n kingsbury                       Chicago       IL             60654
Sharon Boner               638 W. Oak St.                        Chicago       IL             60610
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Doug Gruener              510 w Erie St              APT 1105   Chicago         IL              60654
Trevor Mecham             600 W Chicago                         Chicago         IL              60654
Shilpa Srinivasan         6460 Double Eagle Dr                  Woodridge       IL              60517
Lee Semien                6 E Monroe St                         Chicago         IL              60603
Will Hasten               679 N Peoria St                       Chicago         IL              60642
Lorrina Harris            455 n green st             4n         Chicago         IL              60642
Steffany Kaplan           700 N Larrabee                        Chicago         IL              60654
Kathleen Merto            600 W Chicago                         Chicago         IL              60654
Jeff Wulf                 2331 W Superior                       Chicago         IL              60612
Eric Ong                  600 W Chicago                         Chicago         IL               6054
Aaron Wilson              440 N Wabash                          Chicago         IL               2508
Charlie Selig             944 n crosby                          Chicago         IL              60610
David Samhat              653 w hobbie                          Chicago         IL               6065
Brooke Roller             1840 W Diversey            J          Chicago         IL              60614
John Hutchinson           1107 W Lawrence            308        Chicago         IL              60640
Taria Buchanan            933 W. Van Buren                      Chicago         IL                509
Lena Lewis                600 W Chicago Ave                     Chicago         IL              60654
Lisa Killeen              1524 W Nelson                         Chicago         IL              60657
Rick Ngo                  4740 N Cumberlin Ave 151              Chicago         IL              60656
Kamila Czech              640 Murray                            Des Planes      IL              60016
Jeff Lins                 70 W. Huron #1007                     Chicago         IL              60654
Andrew Briggs             2800 N Lakeshore Dr                   Chicago         IL              60657
Stephanie Shanahan        907 N Damen                           Chicago         IL              60622
Aimee Madrigrano          1610 W Fullerton                      Chicago         IL              60614
Madeline Leuby            3060 W Armitage                       Chicago         IL              60647
James Phillips            1901 w chicago ave                    Chicago         IL              60622
Tanya Smith               1901 w chicago                        Chicago         IL              60622
James Foster              757 N Orleans                         Chicago         IL              60654
Tim Finney                757 N Orleans                         Chicago         IL              60654
Joseph Stock              757 N Orleans              2204       Chicago         IL              60654
Danielle Alain            600 w chicago ave                     Chicago         IL              60654
Lieli Khorassani          1201 S Prairie Ave                    Chicago         IL              60605
Juan Gonzalez             1201 S Prairie                        Chicago         IL              60610
Laura Lauth               600 w chicago ave                     Chicago         IL              60654
Joe Mason                 5351 N Kenmore             1B         Chicago         IL              60618
Jessica Martin            600 W Chicago Ave                     Chicago         IL     60654`
Michael Rapken            600 W Chicago Ave                     Chicago         IL              60654
Ted Samore                831 jackson ave                       river forest    IL              60305
Marisa Rondinelli         1202 W Altgeld St                     Chicago         IL              60614
Melissa Haligas           55 E Erie 3002                        Chicago         IL              60610
Lindsey Epley             218 N Halsted              Unit 4     Chicago         IL              60661
Dorian Flowers            541 E 60th St                         Chicago         IL              60637
Devin Londo               900 N Kingsbury                       Chicago         IL              60654
Steve Voith               1432 W Erie                2R         Chicago         IL              60642
Korey Daunhauer           3170 n sheridan            707        Chicago         IL              60657
Ed Giosa                  111 W Wacker                          Chicago         IL              60601
Karl Meyer                2438 w walton                         Chicago         IL              60622
Noel Baba                 510 w erie                            Chicago         IL              60654
Scott Schrader            500 w superior                        Chicago         IL              60654
Katie Rosales             500 w superior                        Chicago         IL              60654
Martin Gembis             1500 W Grand               3E         Chicago         IL              60642
Gentz Franz               615 W University Ave                  Chicago         IL              61820
David Leslie              729 n HOWE                            Chicago         IL              60610
Jon Bowman                680 n green                           Chicago         IL              60642
Jennifer Chappuis         949 N Hoyne                #2         Chicago         IL              60622
Aminata Musa              1310 W Lunt Ave                       Chicago         IL              60626
Sarah Hepner              365 N Jefferson                       Chicago         IL              60661
Cordell Yazzie            200 N Dearborn St          1303       Chicago         IL              60601
Joey Shoemaker            1963 n wilmot                         Chicago         IL              60647
Jim Hinton                659 W Randolph                        Chicago         IL              60661
Owen Deignan              2216 N. Cleveland                     Chicago         IL              60614
Brad Boven                4206 Devonshire Ct.                   Chicago         IL              60062
Macario Viezca            401 N Milwaukee                       Chicago         IL              60654
Joe Connelly              845 N Kingsbrry                       Chicago         IL              60610
Joe Goodman               845 N Kingsbury                       Chicago         IL              60610
Lisa Goodman              845 N Kingsburry                      Chicago         IL              60610
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Canmu Dennis                 738 W Briar                             Chicago         IL         606547
Tim Dunn                     1475 W Farragut Ave                     Chicago         IL          60640
Kristy Flores                343 W Old Town Ct             505       Chicago         IL          60610
Jay Cantwell                 600 W Chicago                           Chicago         IL          60654
Todd Weidner                 623 Milburn St                          Evanston        IL          60201
Asad Ali                     161 W Kinzie St                         Chicago         IL          60654
Will Coffin                  1386 N Greenbay Rd                      Chicago         IL          60045
Zachary Poll                 4008 N Hermatige Ave                    Chicago         IL          60613
Minh Hoang                   469 W Hurron St #902                    Chicago         IL          60654
Sarah Tomasaitis             3937 N Greenview Ave                    Chicago         IL          60657
Christopher Hountalas        1135 W Chicago                          Chicago         IL          60642
Maggie Dubray                932 W Montana                           Chicago         IL          60614
Pritesh Chokshi              932 N Crosby                            Chicago         IL          60654
Amanda Hamner                1816 W. Melorse                         Chicago         IL          60616
Noel Garcia                  497 Hirsch Ave                          Chicago         IL          60409
Andrew Heinlein              404 Elder Laine                         Winnetka        IL          60093
Taylor Feldman               520 W Huron                             Chicago         IL          60654
Katrina Servatius            516 W Melrose                 308       Chicago         IL          60654
Eric Jakubczak               7900 W 32nd St                          Bridgeview      IL          60455
Peter Sutton                 3937 N Greenview Ave                    Chicago         IL          60657
Andrew Field                 222 W Erie                    804       Chicago         IL          60654
Jill Konecnik                929 N Howie                             Chicago         IL          60610
Pedro Dal Col                845 N Kinsbury                          Chicago         IL          60610
Pliny Smith                  845 N Kingsbury                         Chicago         IL          60610
Todd Anderson                838 Bernadette                          batavia         IL          60510
Joel Witmer                  340 W Superior #110                     Chicago         IL          60654
Anthony Castro               6363 N Berwyn                           Chicago         IL          60654
Kimberly Trainor             3576 N Reta Ave                         Chicago         IL          60657
Chris Pendergast             1463 W Chicago Ave                      Chicago         IL          60642
Matt Hinkamp                 630 n franklin                          Chicago         IL          60654
Joe Follmer                  7506 w rosedale                         Chicago         IL          60631
Matthew Cater                6132 N Meade                            Chicago         IL          60646
Raleigh Shetka               4409 N Greenview Ave                    Chicago         IL          60640
Aaron Amsberry               600 W Chicago                           Chicago         IL          60654
Jonathan Arciaga             969 S Michigan                          Chicago         IL          60101
Collier Longshore            525 W Superior                324       Chicago         IL          60654
Claudia Miranda              3705 N Lavergne                         Chicago         IL          60691
Elizabeth Brown              215 W Illinoins               3C        Chicago         IL          60654
Daniel Armbrecht             600 W Chicago Ave                       Chicago         IL          60654
Brian Thompson               600 W Chicago Ave                       Chicago         IL          60654
Kelly Blumberg               420 W Fullerton Ave APT 315             Chicago         IL          60614
Annie Hobbs                  1445 W Catalpa Ave                      Chicago         IL          60640
Joe Carlyon                  5009 N Sheridan Rd                      Chicago         IL          60640
Ada Ng                       510 Bonnie Brae Place                   River Forest    IL          60305
Jacqui Simon                 600 W Chicago Ave                       Chicago         IL          60654
Dom Wong                     8 W Mornroe St APT 1403                 Chicago         IL          60603
Rashaunda Dooley             12225 S Vincennes Rd                    Chicago         IL          60406
Lydia Wang                   170 W Polk St                 1404      Chicago         IL          60605
Drew Glover                  340 E North Water                       Chicago         IL          60611
Karey Baum                   600 w chicago ave                       Chicago         IL          60654
Richard Failla               1702 W Cornelia                         Chicago         IL          60657
Jeff Lewis                   910 W Lawrence                1005      Chicago         IL          60640
Nick Danavi                  600 N Kingsbury                         Chicago         IL          60654
Brian Wagner                 510 W Erie                    808       Chicago         IL          60654
Ryan Marshall                700 N Larrabee                          Chicago         IL          60654
Caroline Wilhelm             930 N Fairfield                         Chicago         IL          60622
Megan Hammermeister          8014 Monroe Ave                         Munster         IN          46321
Rob Chun                     700 W. Van Buren              #703      Chicago         IL          60607
Cheryl Wagner                950 W Erie                              Chicago         IL          60654
Bob Chappuis                 1728 n Damen                            Chicago         IL          60647
Leslie Samson                1352 W George                           Chicago         IL          60657
Nicole Johnson               4753 N Beacon St APT 3                  Chicago         IL          60640
John Mims                    505 N State St                          Chicago         IL          60610
Ellis Peters                 1806 N Paulina                          Chicago         IL          60622
Timothy Scharf               790 Royal St George           141-211   Naperville      IL          60563
Roxane West                  236 S. Maple                            Oak Park        IL          60302
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Raul Lasso                 2954 W School St                       Chicago    IL          60618
Cody Dannenberg            1235 W Ohio St                         Chicago    IL          60642
Jay Mcnamara               1235 W Ohio St                         Chicago    IL          60640
Chetan Taralekar           508 W Melrose                A8        Chicago    IL          60657
Yuriy Koshkin              2160 S. Goebbert                       Chicago    IL          60005
Ian D'Silva                1644 W Belmont               2W        Chicago    IL          60657
Andrew Slutsky             600 S Dearborn St APT 208              Chicago    IL          60605
Scott Parker               3900 W Pine Grove                      Chicago    IL          60613
Shalon Coleman             1511 N Winslow Dr                      Chicago    IL          60074
Giana Edwards              4702 W Fulton                          Chicago    IL          60644
Jake Martin                1550 N Hoyne                           Chicago    IL          60622
Rana Alayli                6 W Chicago Ave              #5        Chicago    IL          60654
Aeshah Alayli              6 W Chicago Ave              #5        Chicago    IL          60654
Hanna Kennedy              3402 N Jansen Ave                      Chicago    IL          60657
Claire Leonard             2424 N Clark St              505       Chicago    IL          60614
David Lotterer             824 W Superior APT 306                 Chicago    IL          60642
Aarti Gopal                873 N Larrabee                         Chicago    IL          60654
Alan Spadoni               1047 W Winona                          Chicago    IL          60640
Sean Ryan                  2138 N halsted               2F        Chicago    IL         606614
Stephanie Strauss          840 N Lakeshore Dr           2003      Chicago    IL          60611
Daniel Hahm                2256 N. Cleveland            apt 114   Chicago    IL          60614
Aleiali Abdulraheem        6 N Chicago                            Chicago    IL          60654
Kevin Mccauley             10 Howe St                             Chicago    IL          60654
Noah Ginsburg              3241 N Levitte St                      Chicago    IL          60618
Jason Tham                 4541 N Levitt APT 1A                   Chicago    IL          60625
Jordan Ledger              700 N Larrabee               211       Chicago    IL          60654
Noah Enyert                700 N Larrabee               314       Chicago    IL          60654
Lisa Decristofaro          700 N Larrabee                         Chicago    IL          60654
Quentin Stephens Jr        2001 S 24th                            Chicago    IL         601540
Naveen Narayan             1458 W Taylor St                       Chicago    IL          60607
Gretchen Jesse             4572 N Milwaukee                       Chicago    IL          60630
Bernie Seidl               705 W Belmont                          Chicago    IL          60657
Max Richter                1585 N McKinely                        Chicago    IL          60045
Samantha Pehlke            1351 N Greenview                       Chicago    IL          60642
Salena Siragusa            4200 N Ashland               2D        Chicago    IL          60613
Mac Lanphier               250 Birch                              Chicago    IL          60093
Lexi Engeldinger           208 W Washington                       Chicago    IL          60606
Celeste Rudd               910 W Huron St               1108      Chicago    IL          60654
Peter Dimiropoulos         1927 N. Sedgwick                       Chicago    IL          60610
Michael Deluca             20 N troop                             Chicago    IL          60654
Michael Arbanas            2642 W Cortland                        Chicago    IL          60647
Couri Benz                 1815 N Orleans St APT 3                Chicago    IL          60614
Lauren Patterson           8129 S Sangamon                        Chicago    IL          60620
Lydia Mulvany              1118 W Fulton Market                   Chicago    IL          60607
Braulio Sanchez            1532 W Chestnut                        Chicago    IL          60642
Michael Kelly              1348 N Cleveland                       Chicago    IL          60610
Jessica Grandchamp         2951 N Clyboun               202       Chicago    IL          60618
Lauren Engelbrecht         813 N Larrabee # 306                   Chicago    IL          60610
Alex Greco                 536 Highlanad Rd                       Chicago    IL          60521
Johnathan Lopez            2444 W. Addison                        Chicago    IL          60618
Elizabeth Hancock          2056 N Leavitt               3         Chicago    IL          60647
Eric James                 365 N Jefferson Unit w3007             Chicago    IL          60661
Pete Haitaian              663 N Peoria                           Chicago    IL          60642
Zach Sumanis               1444 N Orleans                         Chicago    IL          60610
Pratibha Hotwagner         165 N Canal St                         Chicago    IL          60606
Lexie Schustrom            4944 N Harding Ave           3E        Chicago    IL          60625
Michael Goldstein          2446 W Walton Unit 1                   Chicago    IL          60622
Daniel Alfonso             230 W Superior                         Chicago    IL          60654
Paolo Estefania            1165 W Eddy St               3E        Chicago    IL          60657
Mike Caruso                77 W. Huron                            Chicago    IL          60654
Chad Toles                 931 N Wolcott                          Chicago    IL          60622
Namitta Shankar            1 W Superior Pl                        Chicago    IL          60654
Lauren Pesce               2214 W Roscoe                          Chicago    IL          60618
Gene Zhydovich             2700 N Newland                         Chicago    IL          60707
Grace Abbott               3146 N Southport Ave                   Chicago    IL          60657
Morgan Manock              626 W Wellington #3                    Chicago    IL          60657
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Alexandra Buck              2221 pioneer                          evanston         IL             60201
Samuel Olanipekun           7724 S Green St                       Chicago          IL             60620
Hugo Torres                 1713 N Pulaski                        Chicago          IL             60639
Joel Serrano                1218 N 35th Ave                       Melrose Park     IL             60160
Mike Moyer                  1916 W Nelson St                      Chicago          IL             60657
Pat Greco                   907 N Kingsbury                       Chicago          IL             60654
Tom Esposito                700 W Van Buren St         Unit 801   Chicago          IL             60607
Joseph Ruescher             360 W Hubbard St           Apt 2702   Chicago          IL             60654
Peter Isbell                4428 N Racine                         Chicago          IL             60640
Natalie Isbell              4428 N Racine Ave          Unit GN    Chicago          IL             60640
Mike Asta                   1053 Dana Court                       Antiock          IL             60002
Dan Alid                    300 N Canal                           Chicago          IL             60606
Tim Henry                   3438 s giles ave                      Chicago          IL             60616
William Nowak               3657 N Bosworth                       Chicago          IL             60613
David Cooperberg            601 W Jackson Blvd         Unit 602   Chicago          IL             60661
Ellen Ryan                  2137 N Sheffield                      Chicago          IL             60614
Evan Salmela                700 N Larrabee #208                   Chicago          IL             60654
Troy Rau                    905 Howe St                           Chicago          IL             60610
Kevin Combs                 55 w chestnut                         Chicago          IL             60610
Elizabeth Durkin            14400 ridge ave                       orland park      IL             60642
Alex Merkle                 529 N Milwaukee                       Chicago          IL             60035
Jill Henry                  3438 S Giles                          Chicago          IL             60616
Betty Miranda               5925 w henderson                      Chicago          IL             60654
James Mcguire               927 N Spring                          Chicago          IL             60826
Lindsey Olsen               600 W Chicago Ave                     Chicago          IL             60654
Kristen Krauland            4437 N Osage               Unit #2    Norridge         IL             60706
Prashanth Eladasari         30 E Hurron ST                        Chicago          IL             60611
Logan Mcdonell              3528 W Shakpear                       Chicago          IL             60640
Alex Kaupanin               2141 Ridge Ave                        Evanston         IL             60301
Randy Vollarth              2644 N Wilton Ave          Apt 1      Chicago          IL             60614
Shannon Cardeno             1643 Mount Pleasant                   Chicago          IL             60093
Tom Jacobs                  555 W Kinzie               806        Chicago          IL             60654
Alison Whalen               917 N. Kingsbury                      Chicago          IL             60654
Agneesh Banerjee            1038 N Kingsbury                      Chicago          IL             60610
Megan Prescott              1038 N Kingsbury                      Chicago          IL             60610
Juan Garcia                 1 W Superior               Apt 3404   Chicago          IL             60054
Joshua Mallon               1200 W Waveland Ave                   Chicago          IL             60613
Zack Novak                  355 E Ohio                            Chicago          IL             60611
Mary Farnham                20 N Aberdeen              Unit 303   Chicago          IL             60607
Chris Wooldridge            912 W Chicago              302        Chicago          IL             60642
Mike Ruvo                   2252 W Berwyn Ave                     Chicago          IL             60625
Heneu Tan                   4403 Ivy Dr.                          Glenview         IL             60026
Jamie Magaliff              15 Indian Field Dr                    Chicago          IL             60654
Leonid Bilenko              2108 N Oakley Ave                     Chicago          IL             60647
Jake Brown                  1210 Chicago Ave                      Evanston         IL             60202
Christopher Roehm           634 W. Addison St, Apt 8              Chicago          IL             60613
Phil Ko                     215 Middleberry Drive                 Aurora           IL             60503
Chris Stratas               411 W Ontario # 622                   Chicago          IL             60654
Anthony Placido             600 W chicago                         Chicago          IL             60654
Radoslaw Bobrowicz          1750 w rascher                        Chicago          IL             60654
Ivy Tzur                    1980 N Maud Ave            Unit C     Chicago          IL             60614
Alex Cahue                  11305 S. St. Lawrence                 Chicago          IL             60628
Irene Carrasco              2330 N Clark St                       Chicago          IL             60614
Dani Childress              873 N Larrabee                        Chicago          IL             60610
Christian Robinson          7131 S Cornell                        Chicago          IL             60649
Jacob Meszaros              220 w illinois                        Chicago          IL             60654
Lindsey Meszaros            220 w illinois                        Chicago          IL             60654
Caroline Ross               700 N Larrabee             1104       Chicago          IL             60654
Jade Port                   951 N. Howe St                        Chicago          IL             60610
Olha Mukhamedaliyeva        1721 N Windsor Dr                     Arlington Hts    IL             60004
Leah Smith                  1960 N Lincoln Park                   Chicago          IL             60615
Greg Gosman                 828 W Grace                1401       Chicago          IL             60613
Nilpa Mehta                 605 W Madison St           Apt 804    Chicago          IL             60661
Divan Jekels                2518 N Ashland                        Chicago          IL             60614
Sam Spencer                 1018 n larrabee            5s         Chicago          IL             60610
Brad Stratdfield            134 W King George Ct       Unit 103   Chicago          IL             60067
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Michael Shoemaker               1018 n larrabee                         Chicago        IL            60610
James Whitehead                 3711 N Ravenswood                       Chicago        IL            60613
Seung Lim                       2541 W Chicago A                        Wilmette       IL            60091
Julie Carrillo                  900 N Kingsbury               Apt 709   Chicago        IL            60610
Koni Crossan                    1900 w oakdale                2f        Chicago        IL            60657
Israel Sanchez-gutierrez        1614 W Prat St                          Chicago        IL            60625
Gary Tinnin                     2373 e 70th st                          Chicago        IL            60649
Ali Heffernan                   445 e ohio                              Chicago        IL            60611
Jon Podulka                     845 N Hoyne Ave               #1        Chicago        IL            60622
Cory Spaetti                    316 prairie rider                       winthrop harborIL            60096
Paul Kaye                       1463 W Chicago Ave                      Chicago        IL            60654
Morgan Snouffer                 2334 w augusta                          Chicago        IL             6622
Chris Capozzi                   948 N Orleans                           Chicago        IL            60610
Sarah Walker                    266 Pebble Creek Dr.                    Chicago        IL            60010
Joan Daluga                     365 N Halsted                           Chicago        IL            60661
Dexter Bensman                  3508 n wilton ave                       Chicago        IL            60657
Zach Kutchin                    845 N Kingsbury               304       Chicago        IL            60654
Ben Houg                        9603 E Shore Dr                         Oak Lawn       IL            60453
Markus Rose                     469 W Huron                             Chicago        IL            60654
Sharien Rizk                    516 w cornelia ave                      Chicago        IL            60657
Izha Gayotin                    945 W Superior                          Chicago        IL            60642
Jason Ross                      926 N Crosby St                         Chicago        IL            60610
Brandon Tryon                   2238 W. Belmont Ave. Apt 2W             Chicago        IL            60618
Eric James                      201 Homestead Rd Unit 2                 Chicago        IL            60526
Ted Lamson                      647 N Green St                201       Chicago        IL            60642
Anlei Tang                      1545 N Wood St                          Chicago        IL            60642
Ryan Crockett                   3369 n clark                            Chicago        IL            60657
Michael Oakes                   685 N Peoria                            Chicago        IL            60642
Jessica Malkin                  600 w chicago                           Chicago        IL            60654
Francesco Echenique             4116 N Kedzie                           Chicago        IL            60618
Alexander Knezevic              900 N Kingsbury                         Chicago        IL            60610
Manny Pranckevicuis             600 w chicago                           Chicago        IL            60654
Nicholas Nikitas                114 South Ellyn Ave                     Chicago        IL            60137
Eriin Walker                    4338 sheridan                           Chicago        IL            60613
Hoang Duong                     77 West Huron 2311                      Chicago        IL            60654
Ben Plaey                       558 W Armitage Ave #2                   Chicago        IL            60614
Talia Camalo                    1000 N Kingsbury                        Chicago        IL            60654
Patrick Camalo                  1000 N Kinigsbury                       Chicago        IL            60654
Dallas Wolford                  8055 E ThomasRd                         Chicago        IL            88251
Heather White                   2607 N Central Park                     Chicago        IL            60647
Telemachus Houlis               1155 W Chicago                          Chicago        IL            60642
Matt Castiel                    1135 W Chicago Ave                      Chicago        IL            60642
Angela Champion                 1043 W Barry                            Chicago        IL            60657
Doug Jusich                     2448 W Walton                           Chicago        IL            60622
Max Glassner                    1023 W Argyle                           Chicago        IL            60618
Eric Rolfsen                    1952 N Fairfield              #1        Chicago        IL            60647
Jake Wolinsky                   512 W Cornelia Ave            101       Chicago        IL            60657
Annette David                   600 W Chciago Ave                       Chicago        IL            60654
Ali Afridi                      303 E Green                             Chicago        IL            61820
Weiwen Gu                       417 w rosco                             Chicago        IL            60657
Karin Weichelt                  824 N May                               Chicago        IL            60642
Jim Eldridge                    5923 S. Nashville                       Chicago        IL            60638
Anthony Montoya                 5009 N Sheridan Rd                      Chicago        IL            60640
Dan Pyatetsky                   2425 n.Geneva #2                        Chicago        IL            60614
Christina Ward Escobar          3107 N Natchez                          Chicago        IL            60634
Jessica Brown                   NA                                      Chicago        IL            60654
Anthony Knighten                1146 N Howe St 13                       Chicago        IL            60610
Nicole Dvorak                   1146 N Howe                             Chicago        IL            60610
Cermak Bland                    1000 N Kinsbury Street        #406      Chicago        IL            60610
Kevin Leahy                     2046 W. Cortez                          Chicago        IL            60612
Denice Davies                   420 W Grand Ave                         Chicago        IL            60654
Christopher Contag              420 W Grand Ave                         Chicago        IL            60654
Alexandra Goldman               600 W Chicago                           Chicago        IL            60654
Andrew Farag                    403 atwood                              Chicago        IL            60516
Kristi Angel                    3451 W Parker AVE #2                    Chicago        IL            60647
Leda Delfiacco                  900 N Kingsbury                         Chicago        IL            60654
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Michael Branchick        929 N Kingsbury                           Chicago       IL             60610
Justin Rivera            300 w grand ave                           Chicago       IL             60654
Dom Merritt              365 N Halsted                             Chicago       IL             60601
Sarah Czapla             13817 A Quail Run Drive                   Chicago       IL             60564
Rob Vanbrunt             1521 W Superiior St                       Chicago       IL             60642
Mark Gundzik             18 E Elm St                               Chicago       IL             60611
Nayeem Qadir             3140 N Scheffield                         Chicago       IL             60657
Demitri Jerow            1330 N Dearborn St             #1006      Chicago       IL             60610
Sarah Ferolo             460 N Main St                             Wauonda       IL             60084
Tyler Flood              21 W Goathe St                            Chicago       IL             60610
Anthony Grollo           518 S Michigan                            Villa Park    IL             60181
Ben Heilman              1136 S Delano Court west 308              Chicago       IL             60605
Dominique Johnson        6425 S. Lowe                              Chicago       IL             60621
Jason Mossburg           426 monticello                            Chicago       IL             60559
Carissa Felger           1320 n. oakley                            Chicago       IL             60622
Leunnith Ortiz           25 E Delaware PL                          Chicago       IL             60611
Dan Hinze                4621 cresthaven lane                      Chicago       IL             62526
Jianbo Xie               469 W Huron                               Chicago       IL             60654
Joan Pierson             1024 Crosby                               Chicago       IL             60654
Ken Pierson              1024 Crosby                               Chicago       IL             60654
Jared Greenough          843 N Maplewood                           Chicago       IL             60622
Shakeel Abdul            1714 w superior                           Chicago       IL             60654
Chris Collichio          2161 N California Ave                     Chicago       IL             60647
Chad Hotwagner           500 W Superior St              Unit 711   Chicago       IL             60654
Jason Lustbader          1-E Delaware Pl                Apt 15G    Chicago       IL             60611
James Megivern           805 N. Lasalle                            Chicago       IL             60654
Jaysal Parikh            312 N May St Apt 4C                       Chicago       IL             60607
Andrew Fisher            628 w Barry Ave                           Chicago       IL             60657
Robert Gialessas         720 N larrabee st                         Chicago       IL             60654
Daniel Barnes            1443 W Oakdale Ave                        Chicago       IL             60657
Stephanie Yang           451 W Wrghtwood Ave                       Chicago       IL             60614
Michael Frontier         393 Montrose                              Chicago       IL             60191
Bill Zientek             900 N Kingsbury                           Chicago       IL             60654
John Coad                1954 N Cleveland Ave                      Chicago       IL             60614
Nick Gatti               600 W Chicago                             Chicago       IL             60654
Jake Welsh               3930 N PineGrove Ave                      Chicago       IL             60613
Nicholas Bonfitto        2645 N Southport                          Chicago       IL             60614
David Hakimi             600 w kingsbury                           Chicago       IL             60654
Cassie Clark             1426 n bowsorth                           Chicago       IL             60642
Nicholas Nova            2914 N Burling St                         Chicago       IL             60657
Joseph Bradley           1324 W Melrose                            Chicago       IL             60657
Laurie Bradley           1324 W Melrose                            Chicago       IL             60657
Vivek Vaid               3936 Hobson Crate Circle                  Naperville    IL             60644
Samir Sharma             629 W Oak St                              Chicago       IL             60610
Richard Oruzco           1436 Norfolk                              Chicago       IL             60154
Tang Jiadi               2331 w. Harrison                          Chicago       IL             60612
Lauren Keierleber        855w cornella                             Chicago       IL             60657
Syed Raza                707 N. Wells                   602        Chicago       IL             60654
Javier Gonzalez          5308 s ridgway                            Chicago       IL             60632
Marie Macaisa            2333 n geneva                             Chicago       IL             60614
Joey Leshman             720 N Larabee St                          Chicago       IL             60654
Richard Snyder           860 Dewitt                                Chicago       IL             60611
Michele Kory             873 N. Larabbee                           Chicago       IL             60610
Zach Rothberg            873 N Larabbee                            Chicago       IL             60610
Erik Sawyer              860 N. Dewitt                             Chicago       IL             60611
Andrew Koenig            600 W Chicago                             Chicago       IL             60654
Samantha Goudreau        951 W Huron                               Chicago       IL             60642
Joseph Lee               805 N. Lasalle                            Chicago       IL             60610
Francisco Buendia        2249 W 21st st                            Chicago       IL             60608
Jade Davis               4035 W Armitage                           Chicago       IL             60639
Jen Perez                3701 N Pioneer                            Chicago       IL             60637
Becky Kelleher           2207 N Halsed                             Chicago       IL             60614
Linette Mikel            1033 E 46 th st                           Chicago       IL             60653
Rachel Vogelsong         33 W Ontario                              Chicago       IL             60654
Steve Sorensen           495 Hillside Drive                        Chicago       IL             60035
Rosie Hatzilabrou        906 N Howe                                Chicago       IL             60654
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Ricardo Huerta            4414 s st louis                       Chicago        IL             60632
Steve Starzynski          824 W Superior                        Chicago        IL             60642
Robert Witowski           7734 W Gale View Ln                   Chicago        IL             60423
Oksana Svyryd             438 W Oak St                          Chicago        IL             60610
Nadine Tadros             9124 175 st                           Tinley park    IL             60487
Jonathan Palmer           841 N Damen Ave                       Chicago        IL             60622
Sierra Parker             2144 W. Potomac                       Chicago        IL             60654
John Joseph               945 Kenfield Ave                      Los Angeles    CA             90049
Curt Cronin               945 Kenfield Ave                      Los Angeles    CA             90049
Richard Burstein          1410 w. Ohio                          Chicago        IL             60642
Sreerama Jayanthi         565 W Quincy                          Chicago        IL             60661
Pratik Dalal              1515 S Prairie                        Chicago        IL             60605
Tony Vasile               128 W Lake St                         Chicago        IL             60601
Jess Adepoju              2348 N Lister                         Chicago        IL             60614
Cassandra Rossbach        215 N. Aberdeen         310 B         Chicago        IL             60607
Clark Kiesling            600 W Chicago Ave                     Chicago        IL             60654
Alejandro Navarro         469 W. huron            1708          Chicago        IL             60654
Patrick Mcgarvey          653 n. kingsbury                      Chicago        IL             60654
Samantha Lera             1254 N Wells                          Chicago        IL             60610
Annette Medina            600 W Chicago                         Chicago        IL             60654
Alexa Kavanaugh           1254 N Wells                          Chicago        IL             60610
Kristen O'Sullivan        832 W George St                       Chicago        IL             60657
Jessica Wurm              300 N Canal                           Chicago        IL             60606
Audre Kapacinskas         852 W. wisconsin                      Chicago        IL             60614
Marc Jerbi                166 Stonegate                         Chicago        IL             60137
Eric Weber                357 W. Chicago Ave                    Chicago        IL             60654
Donny Jekels              9748 S. Hamilton                      Chicago        IL             60643
Patrick Lebuhn            2056 n.                               Chicago        IL             60614
Jon Burke                 4305 N Whipple                        Chicago        IL             60660
Calvin Kujawa             900 n. kingsbury                      Chicago        IL             60610
Kaleb Knipp               1325 N.state pkwy                     Chicago        IL             60610
Matt Mcbride              2140 w. North ave                     Chicago        IL             60647
Andrew Jadin              1509 W. Walton                        Chicago        IL             60642
Chad Slovin               1535 N Campbell Ave     33            Chicago        IL             60622
Arman Ahmadi              600 chicago                           Chicago        IL             60638
Rachel Hensel             2244 N Cleveland                      Chicago        IL             60614
Chris Tirovolas           6451 N Northwest Hwy                  Chicago        IL             60631
Abed Alayli               6 W Chicago Ave                       Chicago        IL             60610
Jonna Burck               1771 hartley dr                       algonquin      IL             60102
Michael Silungan          1507 haise                            ekk grove      IL             60007
Dan Keesis                1035 W Huron ST         304           Chicago        IL             60642
Jim Hines                 625 W Division St       314           Chicago        IL             60610
Kevin Hong                645 N. Kingsbury                      Chicago        IL             60654
Amanda Chin               645 N. Kingsbury        2201          Chicago        IL             60654
Michael Zamost            600 W Chicago                         Chicago        IL             60654
Anthony Ori               1017 Busse Hwy                        Park Ridge     IL             60068
Nikki Weyrauch            630 N Franklin                        Chicago        IL             60654
Consuelo Luttke           300 W Altgeld                         Chicago        IL             60614
Bryan Sun                 600 N Fairbanks                       Chicago        IL             60611
Kelly Scott               1967 N Maud Ave                       Chicago        IL             60614
Ben Williams              450 W Oak St                          Chicago        IL             60610
Morris Gearing            161 E Chicago Ave                     Chicago        IL             60654
Woody Wu                  431 s dearborn                        Chicago        IL             60605
Karen Purze               21 W Goethe                           Chicago        IL             60610
Brendan Oneil             600 W Chicago Ave                     Chicago        IL             60654
Zakeia Hampton            600 w chicago                         Chicago        IL             60605
Robin Vogel               3252n. kenmre                         Chicago        IL             60657
Karin Orstrom             3734 N Sheffield        2S            Chicago        IL             60613
Sagar Mungole             1422 W.Taylor                         Chicago        IL             60607
Anthony Munari            1923 N Wolcott Ave                    Chicago        IL             60622
Peter Delman              385 Carriage Way                      Deerfield      IL             60015
Chris Wilkes              600 W Chicago Ave                     Chicago        IL             60653
Jessica Wilkes            600 W Chicago Ave                     Chicago        IL             60653
Joshua Velasquez          160 N Dearborn                        Chicago        IL             60610
Eric Barr                 923 SDryden                           Chicago        IL             60005
Andrew Coin               600 W chicago                         Chicago        IL             60605
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Justin Goldberger              2150 n. lincon park                   Chicago         IL          60614
Farhan Siddiqi                 161 W. Kinzie                         Chicago         IL          60654
Sean Riley                     520 N Halsted                         Chicago         IL          60642
Mark Simkus                    556 jefferson st                      Chicago         IL          60521
Daniel Lipschultz              785 Marion                            Highland Park   IL          60035
Lisa Gwynne                    3255 N. Seminary                      Chicago         IL          60657
Zack Strang                    415 W. Surf                           Chicago         IL          60657
Erica Buerger                  680 N Green St                        Chicago         IL          60654
Michael Rozow                  680 N Green                           Chicago         IL          60654
Renee Mahoney                  360 W. Hubbard                        Chicago         IL          60654
Suri Musiri                    600 W Chicago                         Chicago         IL          60054
Jim Rennie                     424 Diversey                          Chicago         IL          60654
Josie Chiavetta                900 N Kingsbury                       Chicago         IL          60610
Todd Durham                    2850 N Sheridan                       Chicago         IL          60657
Nickolas Fronimos              900 N Kingsbury                       Chicago         IL          60654
Christie Fronimos              900 N Kingsbury                       Chicago         IL          60654
Jerry Privasky                 600 W Chicago                         Chicago         IL          60654
Mitch Celik                    1741 W Black                          Chicago         IL          60615
Ben Huan                       400 N LaSalle Dr          1407        Chicago         IL          60654
Samantha Shoemaker             2509 W. Fullerton                     Chicago         IL          60647
Luke Kohan                     444 Fullerton                         Chicago         IL          60614
Raza Khan                      2468 n. linchon ave                   Chicago         IL          60614
Mikaela Westerholm             600 W Chicago                         Chicago         IL          60654
Harry Pomerantz                1534 N Bosworth                       Chicago         IL          60642
Amanda Campbell                3010 N Sheffield                      Chicago         IL          60657
Daniel Vallo                   1112 ccastillian rd                   Chicago         IL          60025
Keya Jefferson                 7333 S. Crendon                       Chicago         IL          60649
Soma Akainyah                  1720 N Ashalnd                        Chicago         IL          60622
Bridget Murphy                 2616 W rice St            #2          Chicago         IL          60622
Heather Jordan                 5445 w reno ave                       Las Vegas       NV          89118
Chris Schneider                979 w 37 th pl                        Chicago         IL          60609
Samuel Farnsworth              4610 N Lincoln                        Chicago         IL          60625
Alex Baxter                    1034 N Orleans                        Chicago         IL          60610
John Kelley                    916 W Diversey                        Chicago         IL          60619
Eric Williams                  4347 w. 108th pl                      Chicago         IL          60453
John Faerber                   1450 W Erie st            2W          Chicago         IL          60642
Norway Manalaysay              347 w chestnut                        Chicago         IL          60610
Adam Edwards                   5056 N Kenmore                        Chicago         IL          60640
Chris Matza                    600 w Chicago Ave         Suite 725   Chicago         IL          60654
Joseph Reeves                  6866 n. dowagiac ave                  Chicago         IL          60646
Elliott Prizant                2834 W Palmer St          #105        Chicago         IL          60647
Jim Woolsey                    1255 N Sandburg                       Chicago         IL          60614
Michael Bruggman               758 N Larrabee                        Chicago         IL          60654
Robby Schuler                  425 W. Surf St. Apt 205               Chicago         IL          60657
Tim Buckley                    715 diversy                           Chicago         IL          60614
Kristi Barbour                 627 W. Oak St.                        Chicago         IL          60061
Jessica Mcnitt                 600 W Chicago Ave                     Chicago         IL          60654
Sarav Subramani                1740 W Belmont                        Chicago         IL          60657
Lewis Dowell                   600 w Chicago Ave #725,               Chicago         IL          60610
Tony Goldsmith                 1425 N Ashland                        Chicago         IL          60622
Courtney Tanner                633 s. plymoth ct         1006        Chicago         IL          60605
Danielle Oberheu               1250 W. Van Buren                     Chicago         IL          60607
Kris Kringle Kringle           aa                                    New York        NY          10003
Terry Hamilton                 1935 N Fairfield                      Chicago         IL          60647
Jillian Mahen                  600 W Chicago Ave                     Chicago         IL          60654
Brittany Kiley                 600 W Chicago Ave #620                Chicago         IL          60654
Ludmila Semikina               9748 S. Hamilton                      Chicago         IL          60643
Ketan Patel                    353 W chicago ave                     Chicago         IL          60654
Adam Evans                     600 w. Chicago ave                    Chicago         IL          60654
Sean Dicks                     600 W Chicago Ave                     Chicago         IL          60654
Allison Soto                   8112 w.                               Chicago         IL          60706
Dean Sinadinoski               1866 N Damen Unit 4                   Chicago         IL          60647
Chase Berman                   100 E Walton                          Chicago         IL          60611
Miresh Patel                   424 w Diversey                        Chicago         IL          60614
Christian Debettencourt        600 W Chicago                         Chicago         IL          60654
Samir Ahmed                    2930 N Pine Grove                     Chicago         IL          60657
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Adam White               1728 W. Beach                         Chicago    IL             60622
Malorie Parry            504 N green st, apt 617               Chicago    IL             60642
Rebecca Manske           1202 W Huron                          Chicago    IL             60642
David Schnorr            432 W Belmont Ave                     Chicago    IL             60657
Sona Jones               733 W Roscoe ST                       Chicago    IL             60657
James Elbaor             445 E. ill                2306        Chicago    IL             60611
Mike Peters              900 N Kingsbury                       Chicago    IL             60610
Trevor Oliff             720 N Larrabee                        Chicago    IL             60654
Rachel Oliff             720 N Larrabee                        Chicago    IL             60654
Ben Roeper               1115 N Crosby                         Chicago    IL             60610
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                                              BELLEVUE MEMBERS
                                                                                  Main Document
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Name                         Address1                         Address2     City            State   Zip
Sean Kurzweil                11111 Third Avenue                            Seattle         WA            98102
Laila Hilfinger              8417 NE 10th Street                           Medina          WA            98039
Robin Hardiman               10020 Briarwood Ln                            Mercer Island   WA            98040
Sharon Linton                10828 NE 18th Street                          Bellevue        WA            98004
William Linton               10828 NE 18th Street                          Bellevue        WA            98004
Tyler Wilson                 4535 lake washington blvd ne                  kirkland        WA            98033
Christopher Kattenhorn       P.O. Box 34628                                Seattle         WA            98124
Sally Mccray                 6815 Ripley Lane N                            Renton          WA            98056
Patti Kilburn                10624 ne 46th st                              Kirkland        WA            98033
Bill Koszewski               347 4th ave s                                 Krkland         WA            98033
Joe Cha                      6205 142nd Ave SE                             Bellevue        WA            98006
Linsy (elle) Holiman         12022 Slater Ave NE C-8                       Kirkland        WA            98034
Richard Chang                2437 132nd Ave SE                             Bellevue        WA            98005
Brian Yotz                   29840 SE 15th PL                              Fall City       WA            98024
Wanda Miles                  1338 Bellevue Way SE                          Bellevue        WA            98004
David Milot                  11555 se 8th st                               Bellevue        WA            98004
Jo Gray                      7718 Fairway Ave SE # 301                     Snoqualmie      WA            98065
Florian Voss                 80 East Roanoke #15                           Seattle         WA            98102
Tina Kim                     688 110th Ave Ne                              Bellevue        WA            98004
Otto Sperka                  16032 SE 4th street                           Bellevue        WA            98008
Elina Martirosyan            155 108th ne suite 510                        Bellevue        WA            98004
Lynne Uyehara                11405 SE 66th ST                              Bellevue        WA            98006
Ahad Matin                   800 84th Ave NE                               Medina          WA            98039
Vanessa Schiodtz             10500 NE 8th Street Suite 1000                Bellevue        WA            98004
Doug Corlette                13125 NE 111th PL                             Kirkland        WA            98033
Melanie Ness                 16627 SE 17th St                              Bellevue        WA            98008
Kathleen Kinchloe            9329 SE Shoreland Dr.                         Bellevue        WA            98004
Maxine Hayes                 4443 156th PL SE                              Bellevue        WA            98006
Mark Miller                  10535 NE 53rd St                              Kirkland        WA            98033
Carey Ann Mccarthy           11425 SE 67th                                 Bellevue        WA            98006
Elton Mock                   1420 Terry Ave #10003                         Seattle         WA            98101
Corey Recla                  1800 136th PL NE                 Suite 101    Bellevue        WA            98005
Tatyana Basova               12117 Bel- Red Rd B210                        Bellevue        WA            98005
Brad Baker                   24305 SE 47th St                              Issaquah        WA            98029
Doris Mcmahan                1300 92nd Ave NE                              Clyde Hill      WA            98004
Douglas Tarnow               3017 127th PL SE M-21                         Bellevue        WA            98005
Emily Lum                    415 140th SE                                  Bellevue        WA            98005
Nancy Hebert                 2230 109th Ave NE                             Bellevue        WA            98004
Vickie Siamundo              18916 SE 42nd Place                           Issaquah        WA            98027
Sherie Sabour                10398 NE 17th St #305                         Bellevue        WA            98004
Jason Wise                   1020 108th Ave NE #1204                       Bellevue        WA            98004
Natasha Markouskaya          1020 108th Ave NE #1204                       Bellevue        WA            98004
John Yun                     177 107th Ave NE #2208                        Bellevue        WA            98004
Gary Vitalone                Bellevue Towers                               Bellevue        WA            98004
Sundeep Malik                11101 NE 60th St                              Kirkland        WA            98033
Marcy Sturdevant             10702 NE 65th LN                              Kirkland        WA            98033
Tim Sturdevant               10702 NE 65TH LN                              Kirkland        WA            98033
Zoltan Gyorki                435 S 51st Court                              Renton          WA            98055
Surya Kamepalli              1375 Bellevue Way NE             #A           Bellevue        WA            98004
John Kim                     5924 170th Ave NE                             Bellevue        WA            98006
Eun Kim                      5924 170th Ave SE                             Bellevue        WA            98006
Tracey Nguyen                2919 131st Pl NE                              Bellevue        WA            98005
Mike Battaglia, Md           1020 108th Ave Ne #1901                       Bellevue        WA            98004
Ryan Abe                     24544 SE 39th PL                              Issaquah        WA            98029
Lisa Hanson                  10922 SE 10th PL                              Bellevue        WA            98004
Lauren Cohen                 10495 NE 4th St Apt. N538                     Bellevue        WA            98004
Curt Fuhlman                 14426 NE 64th Street                          Redmond         WA            98052
Gil Solis                    1320 ne 62nd                                  Seattle         NY            98115
Megan Chapin                 10604 NE 60th Lane                            Kirkland        WA            98033
Robert Walker                4623 1st Ave Ne                               Seattle         WA            98105
Akshay Rao                   12025 131st Lane NE                           Kirkland        WA            98033
Sue Kopazna                  900 108th Ave NE #401                         Bellevue        WA            98004
Morgan Zamora                3012 231st LN SE #N303                        Sammamish       WA            98075
Kristen Carnevali            3735 101st Way NE                             Kirkland        WA            98033
Dan Warren                   6120 111th Ave Ne                             Kirkland        WA            98033
Scott Kasper                 6625 SE 25th ST                               Mercer Island   WA            98040
Roger Bischoff               13923 SE 21st Ct                              Bellevue        WA            98007
Zeyad Rajabi                 424 102nd Ave SE                 #203         Bellevue        WA            98004
Sally Salas                  24040 SE Black Nugget Rd                      Issaquah        WA            98029
Sanjiv Bhardwaj              2310 91st PL NE                               Clyde Hill      WA            98004
Loc Trinh                    5263 University Way NE #204                   Seattle         WA            98105
Marlene Carpenter            1401 S. 18th ST #12                           Renton          WA            98055
Kari Jo Campbell             1417 NE 120th St Apt. B                       Seattle         WA            98125
Mike Navarro                 3810 110th PL NE                              Bellevue        WA            98004
Daniel O'Brien               5630 40th AVE W                               Seattle         WA            98199
Desmond Davis                6812 25th Ave NE                              Seattle         WA            98155
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Vanessa Abuan               21310 11th DR SE                             Bothell         WA     98021
Whitney Wilson              5024 112th AVE NE                            Kirkland        WA     98033
Patrick Vacca               18718 5th PL SW                              Seattle         WA     98166
Tami Marinakis              9111 143rd Avenue SE                         Newcastle       WA     98059
Jason Farnsworth            10314 NE 114th Place                         Kirkland        WA     98033
Dane Haye                   1650 25th AVE NE #104                        Issaquah        WA     98029
Jelena Chafkar              13620 NE 12th ST B103                        Bellevue        WA     98005
Jensen Molly                800 2nd AVE N APT 44                         Seattle         WA     98109
Malinda Allen               1511 33rd Avenue                             Seattle         WA     98122
Andrew Pile                 12 Holly Hill DR                             Mercer Island   WA     98040
Trevor Yeats                1408 12th Ave #205                           Seattle         WA     98122
Tuya Luehr                  1286 Bellevue Way NE #2                      Bellevue        WA     98004
Jonathan Pio                12230 Greenwood Avenue North                 Seattle         WA     98133
Brad Hambleton              1541 A NW 53rd Street                        Seattle         WA     98107
Melissa Olsen
Balbir Singh                8423 230th Way NE                            Redmond         WA     98053
Patrick Rogers              3909 Lake Washington Blvd                    Bellevue        WA     98056
Raymon Kooner               10655 N.E. 4th St.                           Bellevue        WA     98004
Mike Jensen                 515 Lake St S 302                            Kirkland        WA     98033
Paul Hopkins                10245 Main Street #403                       Bellevue        WA     98004
Joe Galante                 1750 LWB North                               Renton          WA     98056
Ilhae Kim                   1334 100th Ave NE                            Bellevue        WA     98004
Dottie Moore                120 W Highlands Drive                        Seattle         WA     98119
Luis Sanchez                12635 NE 130th Way Apt A204                  Kirkland        WA     98034
Kasey Essex                 1006 NE 96th St                              Seattle         WA     98115
Karl Weiss                  2758 78th Street C306                        Mercer Island   WA     98040
Yuliya Aleksyeyeva          123 112th AVE NE Apt 516                     Bellevue        WA     98004
Michael Mccormack           999 3rd Avenue Suite 1900                    Seattle         WA     98104
Kate Hasz                   PO Box 864                                   Mercer Island   WA     98040
Jeremiah Khan               6220 153rd Ave SE                            Bellevue        WA     98006
Jill Dildine                261 140th Avenue NE                          Bellevue        WA     98005
Duane Dildine               261 140th Ave NE                             Bellevue        WA     98005
Erin Vassar                 3038 118th Ave SE apt. g202                  Bellevue        WA     98005
Danny Weichel               1532 29th Ave                                Seattle         WA     98152
Debbie Heyer                9024 W Shorewood Dr             #360         Mercer Island   WA     98040
Vince Hampton               1704 4th St.                                 Kirkland        WA     98033
Eric Fickeisen              505 99th Ave NE                              Bellevue        WA     98004
Laurie Harvey               505 99th AVE NE                              Bellevue        WA     98004
Kimberly Tsang              14907 NE 75th Crt                            Redmond         WA     98052
Cynthia Hwang               111 108th Ave. NE #A306                      Bellevue        WA     98004
Karen Schiodtz              900 108th Ave N.E.#403                       Bellevue        WA     98004
Mark Mcneely                9425 SE 53nd                                 Mercer Island   WA     98040
Jennifer Stuart             6445 Hampton Rd S                            Seattle         WA     98118
Michaela Bobeva             13118 NE 139th Street                        Kirkland        WA     98034
David Blackham              2511 W Fulton Street                         Seattle         WA     98199
Mikin Macwan                5557 Lakemont Blvd SE                        Bellevue        WA     98006
Thomas Butcher              1612 Taylor Ave N.                           Seattle         WA     98109
Xuetao Yin                  10701 Main St Apt 207                        Bellevue        WA     98004
Madeleine Mendoza           3211 NE Larkspure Lane                       Issaquah        WA     98029
Rachele Bouchand            11004 NE 11th St                #311         Bellevue        WA     98004
M. Parama Paramasivam       7534 21st Ave NE                             Seattle         WA     98115
Jon Palmer                  22010 42nd Ave #101                          Kent            WA     98032
Megan Pierce                688 110th Ave NE                Apt S2004    Bellevue        WA     98004
Tom Ness                    16627 Se 17th St                             Bellevue        WA     98008
Mohammed Samji              16802 NE 117th St                            Redmond         WA     98052
Alex Chang                  6726 135th Pl SW                             Edmonds         WA     98026
Sean Malcolm                5400 Carillon Point                          Kirkland        WA     98033
Jason Nelson                4319 SW 322nd St                             Federal Way     WA     98023
Kaan Ozel                   11000 NE 10th St. Apt. 121                   Bellevue        WA     98004
Diyar Gokara                788 110th Ave NE N608                        Bellevue        WA     98004
Danny Dorazio               11111 8th st ne                              Bellevue        WA     98004
Karen Hammer                10034 127th Ave. N.E.                        Kirkland        WA     98033
Josh Lamar                  418 E Loretta Pl Apt#520                     Seattle         WA     98102
Ryan Yee                    1435 E John Street                           Seattle         WA     98112
Fiona Hunt                  9205 126th Ave NE                            Kirkland        WA     98033
Mandana Ahmadian            227 Upland Rd.                               Medina          WA     98039
Trevor Hoeker               13807 250th Ave SE                           Monroe          WA     98272
Tory Schuessler             11418 NE 86th St.                            Kirkland        WA     98033
Isaac Hammer                10034 127th Ave. N.E.                        Kirkland        WA     98033
Steve Wall                  1320 Bellevue Way SE                         Bellevue        WA     98004
Jean Wall                   1320 Bellevue Way SE                         Bellevue        WA     98004
Ryan Coogan                 9515 117th Ave NE                            Kirkland        WA     98033
Daniel Bagdasarov           989 112th Ave NE                             Bellevue        WA     98004
Paul Anderson               6519 Earl Ave NW                             Seattle         WA     98117
Hansoo Lee                  2449 132nd AVE SE                            Bellevue        WA     98005
Chad Storey                 788 110th Ave NE#1706                        Bellevue        WA     98004
Hae Kyung Lee               938 110th Ave NE #C212                       Bellevue        WA     98004
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Vincent Castellese            925 110th Ave NE PH 5                         Bellevue        WA        98004
Seth Tyler                    1331 Summit Ave                               Seattle         WA        98102
Viktoria Garkavi              7960 129th Pl SE                              New Castle      WA        98056
Roderick Bond                 688 110th Avenue S-704                        Bellevue        WA        98004
Nikolay Budchanin             11115 ne 2nd st #409                          Bellevue        WA        98004
Joon Chae                     4423 143rd Ave                                Bellevue        WA        98006
Gabe Wadt                     12644 N.E. 164th St. #B201                    Kirkland        WA        98034
Brian Wilson                  13301 SE 79th Pl                              New Castle      WA        98059
Lamont Douglas                P. O. 831                                     Bellingham      WA        98227
Max Rombakh                   14704 Simonds Rd. NE                          Bothell         WA        98011
Nadia Rombakh                 14704 Simonds Rd. NE                          Bothell         WA        98011
Elizabeth Mills               10047 main street                             bellevue        WA        98004
Brian Torgerson               na                                            na              WA   na
Skky Phillips                 na                                            Bellevue        WA        98004
Steve Hansen                  10655 NE the                                  Bellevue        WA        98004
Brian Carter                  555 st                                        Bellevue        WA        98033
Penn Tasinga                  317 112th Ave NE apt1010                      Bellevue        WA        98004
Savita Mittal                 22531 NE 93rd PL                              Redmond         WA        98027
Michael Nichols               6950 93rd Ave SE                              Mercer Island   WA        98040
Michael Krejcik               308 108th Ave NE                 Apt. B402    Bellevue        WA        98004
Michelle Nguyen               8204 155th Ave SE                             Newcastle       WA        98059
Brian Charlton                3628 24th place west                          seattle         WA        98199
Valerie Sornette              4527 137th Ave SE                             Bellevue        WA        98006
Joseph York                   1918 E Miller                                 Seattle         WA        98112
Bo Jin                        10301 NE 10th St                              Bellevue        WA        98004
David London                  N/a                                           Bellevue        WA        98004
Cyrus Asasy                   PO Box 2992                                   Kirkland        WA        98083
Jinhee Chin                   11111 NE 12th Street             C404         Bellevue        WA        98004
Chris Wilbus                  688 110th Ave. NE                S504         Bellevue        WA        98004
Sameer Advani                 13608 NE 16th Pl. Apt 9-205                   Bellevue        WA        98006
Mandana Alizadehastasri       800 84th Ave. NE                              Medina          WA        98039
Kurt Shintaffer               1938 Boyer Ave., E                            Seattle         WA        98112
Ashley Zherebrenko            989 112th ave NE                 #2110        Bellevue        WA        98008
Bradley Perkinson             8051 West Mercer Way                          Mercer Island   WA        98040
Arun Rao                       288 106th Ave NE #904                        Bellevue        WA        98004
Laura Morgan                  3103 Mt.View Ave.N                            renton          WA        98056
Tareq Humphrey                688 110tha Ave Ne 5#1601                      Bellevue        WA        98004
Denise Maxwell                5021 Ripley Lane North Unite 1                Renton          WA        98056
Farjad Fani                   88 102nd Ave NE #709                          Bellevue        WA        98004
Jennifer Stimac               11000 NE 10th St #142                         Bellevue        WA        98004
Matthew Kelley                .                                             Kirkland        WA        98003
Maria Betancourt              1020 170 Pl NE                                Bellevue        WA        98008
Noah Tratt                    2205 22nd Ave. East                           Seattle         WA        98112
Vladimir Pogosov              11111 NE 12th Street             C425         Bellevue        WA        98004
Marta Dewulf                  12342 NE 26th PL                              Bellevue        WA        98005
Glenn Morrison                6605 Swordfern Ave SE                         Snoqualimie     WA        98065
Jamie Hong                    375 Kirkland Ave #338                         Kirkland        WA        98033
Todd Nadel                    6026 105th Ave NE                             Kirkland        WA        98033
Andrew Kalinowski             6026 105th Ave. NE                            Kirkland        WA        98033
Indra Puri                    24506 SE 34th PL                              Issaquah        WA        98029
Emnet Yemane                  1051 108th Ave NE #4                          Bellevue        WA        98004
Stella Davtyan                12240 8st                                     Bellevue        WA        98004
Hiren Shah                    17245 NE 119th Way                            Redmond         WA        98052
Hyang Lee                     1032 106TH Ave NE Apt A508                    Bellevue        WA        98004
Leeya Miller                  688 110th Ave NE                 S503         Bellevue        WA        98004
Laura Pacelli                 4141 240th Place Se                           Bothell         WA        98021
Mark Buscher                  8614 113th Lane Ne                            Kirkland        WA        98033
Jeff Sorensen                 2920 Eastlake Ave E #404                      Seattle         WA        98102
Wais Wazeri                   na                                            Bellevue        WA        98004
Ryan Juckett                  688 110th Ave. NE                Apt. S1106   Bellevue        WA        98004
Ernest Ip                     227 Bellevue Way NE 516                       Bellevue        WA        98004
Vladislav Baydoskiy           650 Bellevue Way Ne                           Bellevue        WA        98004
Levina Kasmora                2827 162nd Ave SE                             Bellevue        WA        98008
Jeremy Dennis                 15200 NE 16th pl #14                          Bellevue        WA        98007
Stephen Lee                   11004 NE 11th St 202                          Bellevue        WA        98004
Jeff Stewart                  688 110th S2101                               Bellevue        WA        98004
Jon David                     2212 Bigelow ave n                            Seattle         WA        98109
Arne Josefsberg               402 Upland Rd                                 Medina          WA        98039
Dan Dole                      3211 14th Ave South                           Seattle         WA        98144
Reza Tehrani                  12724 NE 144th St apt E202                    Kirkland        WA        98034
Aaron Bobuk                   10351 NE 10th #509                            Bellevue        WA        98004
Mckenzie Holly                9207 117th Ave SE                             New Castle      WA        98056
Wongani Botha                 11000 Ne 10th At                              Bellevue        WA        98004
Philippe Ockenden             2929 1st Ave Apt 622                          Seattle         WA        98121
Elvin Alisuretov              6900 132nd pl se apt 5                        Bellevue        WA        98059
Todd Kosenski                 11329 47th Ave Se                             Bellevue        WA        98208
Leilani Augustine             115 Lake Ave. W #101                          Kirkland        WA        98033
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Michael Egeck                115 Lake Ave. W #101                         Kirkland        WA     98033
Vyacheslave Dekmin           1440 Syvcamore Dr SE                         Bellevue        WA     98004
Adnan Alam                   226262 NE Florence Circle                    Bellevue        WA     98052
Jae Ellard                   10116 NE 68th St                             Bellevue        WA     98033
Daniel Musgrave              14120 82nd ave98036                          Bellevue        WA     98036
Kim Sinkula                  4104 118st Ave SE                            Bellevue        WA     98008
Geoffrey Rodey               7235 87th Ave Se                             Mercer Island   WA     98040
Gregory Ratajik              688 110th Ave NE                 N1207       Bellevue        WA     98004
Shannon Selitsch             688 110th ave ne #s612                       Bellevue        WA     98004
Tyler Donahue                10650 NE 9th Pl #621                         Bellevue        WA     98004
Claire Gottschalk            7526 126th Ave Ne                            Bellevue        WA     98033
Wini Weisberg                po box 75                                    issaquah        WA     98027
Nicole Bettinger             317 112th Ave. NE #1215                      Bellevue        WA     98004
Brandy Ogg                   211 112th Ave 210                            Bellevue        WA     98004
Ramses Chmait                317 112 Ave                                  Bellevue        WA     98004
Matt Phillips                10710 NE 10th ST Apt 1005                    Bellevue        WA     98004
Kirk Starkey                 688 110tha Ave NE #5612                      Bellevue        WA     98004
Pauline San Nicolas          100 6th Ave NE                               Seattle         WA     98104
Gavin Ray                    na                                           Bellevue        WA     98004
Kenneth Welling              20126 Ballinger Way Suite 162                Seattle         WA     98155
Alyssa Kimberly              12636 NE 144th St Apt D102                   Bellevue        WA     98004
Mary Hennessy                688 110th NE N1108                           Bellevue        WA     98004
Sheldon Menezes              909 112th Ave NE 708                         Bellevue        WA     98004
Brad Froemming               10610 NE 9th Pl 1404                         Bellevue        WA     98004
Alan Waldbaum                4853 167th Ave SE                            Bellevue        WA     98006
Randip Singh                 8812 NE 2nd Pl                               Madina          WA     98039
Glenn Nelson                 688 110th Ave Apt. S1209                     Bellevue        WA     98004
John Cirone                  1308A Lakeview Blvd East                     Seattle         WA     98102
Stephanie Moen               11058 SE 61st Pl                             Bellevue        WA     98006
Polly Palwasha Peshtaz       1020 108th Ave NE                            Bellevue        WA     98374
Krishnaja Gutta              123 2nd Ave N                                Seattle         WA     98109
Brett Meier                  2634 175th Ave. NE                           Redmond         WA     98052
Richard Jacques              6035 111 Ave NE                              Kirkland        WA     98033
Evan Potter                  9045 7th Ave                                 Seattle         WA     98117
Diana Akopova                21412 35 th Ave S                            Seattle         WA     98198
David Israel                 1001 106th ave ne                            Bellevue        WA     98004
Chris Welch                  19042 21st Ave NW                            Shoreline       WA     98177
Lisa Robin                   4649 92nd Ave NE                             Bellevue        WA     98004
Alex Reales                  1020 108th Ave NE #1402                      Bellevue        WA     98004
Luke Gallison                227 Bellevue Way NE #696                     Bellevue        WA     98004
Megan Schmit                 2212 NW 116th St                             Vancouver       WA     98685
Benjamin Sevilla             1362 30th Ave South                          Bellevue        WA     98144
Rajesh Kota                  6404 East Lake Smamish Pkwy NE   306         Redmond         WA     98052
Paul Flanagan                920 1st Avenue N                 #418        Seattle         WA     98109
Rachel Emadi                 11111 NE 8th St                              Bellevue        WA     98004
Victor Korchemmiy            11111 8th ST                                 Bellevue        WA     98004
Kristine Kim                 6219 142nd Ave Se                            Bellevue        WA     98006
Andy Linton                  11200 NE 11th St pt B09                      Bellevue        WA     98004
Gabriel Diaz                 938 110th Ave NE B311                        Bellevue        WA     98004
Liana Diaz                   938 110th Ave NE B311                        Bellevue        WA     98004
Mike Calcagno                1100 East Harrison Street #401               Seattle         WA     98102
Cesar Sanchez                1619 E John St                   #166        Seattle         WA     98112
Giovanni Lopez               8906 132nd PL SE                             Newcastle       WA     98059
Anna Kultin                  8843 124th AVe SE                            Newcastle       WA     98056
Cristiano Popescu            15621 64th Ave NE                            Kenmore         WA     98028
Kenny Cho                    1032 106TH Ave NE Apt A508                   Bellevue        WA     98004
Dan Templin                  788 110th Ave NE apt N3002                   Bellevue        WA     98004
Ryan Stefan                  908 112th Ave NE                             Bellevue        WA     98004
Julia Peckham                701 122nd Ave ne                 204         Bellevue        WA     98005
Joel Reynolds                                                             Bellevue        WA     98004
Betsy Hansen                 426 Upland Dr.                               Medina          WA     98039
Katie Parker                 1990 134th Pl SE                             Bellevue        WA     98005
Ashish Jain                  938 110th Ave NE                 B#201       Bellevue        WA     98004
Pawel Janowski               1525 9th Ave.                    Apt. 3010   Seattle         WA     98101
Pamela Bell                  1194 Ave NE                                  Bellevue        WA     98009
Ron Greenidge                10655 NE 4th                     600         Bellevue        WA     98004
Suzannah Greenidge           10655 NE 4th 600                             Bellevue        WA     98004
James Kalpakis               8033 Ne 132nd St                             Kirkland        WA     98034
Siunie Sutjahjo              308 Ward St                                  Seattle         WA     98109
Bryan Grady                  317 112th ave ne                 1308        Bellevue        WA     98004
Yemi Jackson                 7457 South 114th St                          Seattle         WA     98178
Zack O'Rourke                DBG                                          Bellevue        WA     98004
Emina Dodic                  8501 Willows Road NE Apt D220                Redmond         WA     98052
Jyotkumar Patel              624 Bellevue Way SE                          Bellevue        WA     98004
Bitika Patel                 624 Bellevue Way Se                          Bellevue        WA     98004
Sonny Roybal                 10011 NE 1st St #E515                        Bellevue        WA     98004
Tomasz Wojewoda              2348 NE Park Dr                              Issaquah        WA     98029
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Lily Wu                     10351 NE 10th St #1609                       Bellevue     WA       98004
Michael Van Gessel          10700 NE 4th St                              Bellevue     WA       98004
Anne Van Gessel             10700 NE 4th St Apt #320                     Bellevue     WA       98004
Lana Avodyayev              424 148th Ave Se D8                          Bellevue     WA       98007
Ryan Gavin                  2217 238th Pl NE                             Sammamish    WA       98074
Ashley Sarieddine           12818 SE 47th PL                             Bellevue     WA       98006
Elena Kruler                12814 NE 28th St                             Bellevue     WA       98005
Victor Korshemniy           TBD                                          Bellevue     WA       98004
Jonathan Bostwick           10033 62nd Ave South                         Seattle      WA       98178
David Salgado Bermejo       1032 106th Ave NE Apt A543                   Bellevue     WA       98004
Melissa Copen               4302 Center st S304                          Tacoma       WA       98409
Amit Dekate                 2625 77th Ave NE                             Medina       WA       98039
Justin Donato               11111 NE 8th St                              Bellevue     WA       98004
Jenny Wang                  2334 Elliot Ave #702                         Seattle      WA       98121
Tamanda Nyasulu             958 111th Ave Ne                             Bellevue     WA       98004
Matt Laverty                15924 NE 15th Street                         Bellevue     WA       98008
Abhi Bhunia                 10715 NE 37th Ct #345                        Kirkland     WA       98033
Doug Sherry                 316 118th Ave Se Apt 23                      Bellevue     WA       98005
Rozita Yousefian            10710 ne 10th st #1408                       Bellevue     WA       98004
Joseph Yousefian            10710 ne 10th st #1408                       Bellevue     WA       98004
Jon Arsheed                 10650 NE 9th Pl                  #627        Bellevue     WA       98004
Zeeshan Siddiqui            958 111th ave ne #801                        Bellevue     WA       98004
Andrew Nechayev             16005 Inglewood road ne                      Bellevue     WA       98028
Jay Stein                   10710 NE 10th st                 1007        Bellevue     WA       98004
Ayman Almadhoun             1032 106th ave ne #a212                      Bellevue     WA       98004
Ying Liu                    126 25th Ave E                               Seattle      WA       98112
Chelsa Hiatt                10434 210TH ave ne                           Redmond      WA       98053
Thida Sin                   10650ne 9th place #922                       Bellevue     WA       98004
Shiv Rai                    14829 6th st                                 Bellevue     WA       98007
Werner Leibrandt            1425 1st street                              kirkland     WA       98003
Amanda Ishler               1020 108th Ave Ne                            Bellevue     WA       98004
Benjamin Elowitz            222 Harvard Avenue East                      Seattle      WA       98102
Helen Luu                   688 110th ave ne                             Bellevue     WA       98004
Cindy Back                  11111 102nd ave ne                           Bellevue     WA       98004
Jessie Pahng                11111 8th ave                                Bellevue     WA       98006
Joe Areyano                 5607 East 128th st                           Puyallup     WA       98373
Whitney Wood                2031 43rd ave e                  G           Seattle      WA       98112
Kevin Williams              226 26 NE Inglewood Rd           428         Sammamish    WA       98074
Doug Charlton               2536 122nd ave se                            bellevue     WA       98004
John Carrica                688 110th ave ne #s1408                      Bellevue     WA       98004
Jenny Yu                    11417 21st ne                                Bellevue     WA       98004
Garrett Padera              1101 E Terrace St Apt 402                    Bellevue     WA       98122
David Watanabe              9848 ne 20th                                 Bellevue     WA       98004
Lorraine Henry              9848 ne 20th                                 Bellevue     WA       98004
Jungim Bostwick             1020 108th Ave NE #904                       Bellevue     WA       98004
Viktoria Garkavi            7960 129th place se                          Bellevue     WA       98006
Charles Fan                 5723 141st pl se                             Bellevue     WA       98006
Liz Reininger               1509 100th Ave. SE                           Bellevue     WA       98004
Graham Maxwell              672 Sunset BLVD NE                           Renton       WA       98056
Christina Kung              13915 94th Ave NE                            Kirkland     WA       98034
Stephanie Mullen            688 110th ave ne s1507                       Bellevue     WA       98004
Angela Chung                399h place se0 129t                          Bellevue     WA       98006
Robert Moorman              984 Se Shoreland Dr                          Bellevue     WA       98004
Christine Moorman           9811 Se Shoreland Ave                        Bellevue     WA       98004
Asim Ranjha                 12543 NE PL                                  Bellevue     WA       98005
Joel Ruane                  537 25th Ave S                               Seattle      WA       98144
Rom Impas                   7020 18th ave sw g17                         Seattle      WA       98106
Thomas Mulligan             1463 east republican #202                    Seattle      WA       98144
Jim Mercer                  9010 112th ave ne                            Bellevue     WA       98033
Scott Kopazna               900 108th Ave NE #401                        Bellevue     WA       98004
Dani Romain                 1100 queen anne ave north #201               Seattle      WA       98109
Michael Santos              2487 south edmunds street                    Seattle      WA       98108
Anjali Muralidhar           124 Bellevue Ave East #206                   Seattle      WA       98102
Marcus Fontoura             9525 ne 26th street                          Clyde Hill   WA       98004
Kelly Hintz                 Po Box 1701                                  Bellevue     WA       98009
Kris Arushanov              20725 37th Dr Se                             Bellevue     WA       98021
Gwen Francis                1660 Interlaken place east                   Seattle      WA       98112
Benjamin Willis             14400 NE 42nd Pl                             Seattle      WA       98007
Dale Almasy                 13626 Ne 7th Apt D16                         Bellevue     WA       98005
Tucker Maxwell              1154 Edmonds Pl Ne                           Renton       WA       98056
Rebecca Bair                1154 Edmonds Pl Ne                           Renton       WA       98056
Lillian Mckee               13415 Ne 111th Ct                            Bellevue     WA       98052
Casey Selleck               518 7th ave                                  Kirkland     WA       98034
Shane Keck                  788 110th ave #n1001                         Bellevue     WA       98004
Elizabeth Tudor             10701 main st                    #510        Bellevue     WA       98004
Sharelle Pampo              3011 nw 94th st                              Seattle      WA       98117
John Launceford             18703 soundview place                        Edmonds      WA       98020
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Natsag Donjpalm           1231 112thave ne                                     Bellevue        WA     98004
Cameron Jensen            3832 167TH WAY                                       Bellevue        WA     98006
Erick Jensen              4101 26th                                            Bellevue        WA     98006
Min A Kim                 11030 main st                             A106       Bellevue        WA     98004
Winston Mcfarlane         po box 1701                                          Mercer Island   WA     98040
Akram Amiry               17190 ne 5th pl                                      Bellevue        WA     98008
Jason Lantz               788110th ave ne                           N1002      Bellevue        WA     98004
Jessica Galante           1750 lk wa blvd                                      Renton          WA     98056
Ryan Spalding             10301 ne 6th                                         Bellevue        WA     98004
Shraddha Deobhar          9922 181st ave ne                                    Redmond         WA     98052
Erick Konkel              18305 se newport way                      n301       Issaquah        WA     98027
Kelli Kludt               3834 136th ave se                                    Bellevue        WA     98006
Andrea Hu                 10132 134th PL NE                                    Kirkland        WA     98033
Taisha Bezzo              688 110th ave ne                          S2902      Bellevue        WA     98004
Samantha Neuteld          3506 108th pl e                           #2         Bellevue        WA     98004
Yuliya Budchanin          4486 144th lane                                      Bellevue        WA     98004
Jigesh Parekh             11101 ne 12th st                                     Bellevue        WA     98004
Austin Modelski           20 G st se                                           Auburn          WA     98002
Neil Virnig               3120 170th st                                        Lynnwood        WA     98037
Christine Morton          1111 ne8th st                             2207       Bellevue        WA     98007
Savannah Morton           1111 ne 8th st                            2207       Bellevue        WA     98004
Nick Morton               1111 ne 8th st                            2207       Bellevue        WA     98004
Esther Park               6433 166th place se                                  Bellevue        WA     98006
Pat Bako                  5203 30th Ave S                                      Seattle         WA     98108
Ravender Virk             688 110th ave #s504                                  Bellevue        WA     98004
Nasreen Abbuljaleel       6616 155th ave west                                  Bellevue        WA     98006
Sarfraz Ali               3821 144th court                                     Bellevue        WA     98007
Annette Puccio                                                                 Seattle         WA     98112
Kevin Franklin            4865 lakehurst lane                                  Bellevue        WA     98006
Paul Megison              688 110th ave ne                                     Bellevue        WA     98004
Chris Weber               10610 ne 9th pl                                      Bellevue        WA     98004
Melanie Holzman           11011 NE 9th #1213                                   Bellevue        WA     98004
Daniel Moorman            11806 144th place                                    Kirkland        WA     98034
Christian Smith           17115 se 100th st                                    New Castle      IL     98059
Linda Smith               17115 se 100th st                                    New Castle      WA     98059
Kim Liikala               788 110th Ave NE #N2105                              Bellevue        WA     98004
Pete Bourgeault           788 110th Ave NE #N2105                              Bellevue        WA     98004
Alexander Verge           11101 ne 12th st                          Apt 112    Bellevue        WA     98004
Ashley Greenidge          1805 150th                                           Bellevue        WA     98004
Erin Sullivan             3120 170th street sw                                 Bellevue        WA     98005
Lyle Lohman               1306 211th PL NE                                     Bellevue        WA     98074
Arika Boutwell            788 110th ave ne                          #N1207     Bellevue        WA     98004
Anna Koch                 688 110th ave ne                          S1803      Bellevue        WA     98004
Christine Gilbert         8911 NE 19th St                                      Clyde Hill      WA     98004
Callie Fields             788 110th ave N-2406                                 Bellevue        WA     98004
Oliver Maron              7613 Overlake Dr W                                   Bellevue        WA     98039
Angie Draghicescu         16033 ne 27th st                                     Bellevue        WA     98008
Roxie Drofiak             532 Smithers Ave. S                                  Renton          WA     98057
Jim Laforce               2604 171st ave se                                    Bellevue        WA     98008
Nicole Washington         688 110th ave ne                          S1008      Bellevue        WA     98004
Sonia Singh               375 Kirkland ave s                        #514       Kirkland        WA     98033
Tim Chryst                800 seneca street                         #2805      Seattle         WA     98004
Andrea Schmitt            10125 ne 125th dr                         #3         Kirkland        WA     98034
Chip Jacob                2626 106th ave ne                                    Bellevue        WA     98004
Anne Joseph               788 110th ave                                        Bellevue        WA     98004
Joneil Sampana            7001 Brighton Lane S                                 Seattle         WA     98118
Christopher Hsu           4711 towhee dr nw                                    Gig Harbor      WA     98332
Vishal Kotencha           6606 144th lane                                      Bellevue        WA     98004
Ashley Linne              788 110th ave ne                          N502       Bellevue        WA     98004
Jordan Lee                126 10th ave se                           #10        Bellevue        WA     98004
Sushant Wad               601 e denny way                           apt 501    seattle         WA     98122
Ross Fouladi              11011 ne 9th st                                      Bellevue        WA     98004
Michael Lockman           2414 S. Lane St.                                     Seattle         WA     98144
Nick Edwards              11000 ne 10th st                                     Bellevue        WA     98004
Hadley Edwards            11000 ne 10th st                          apt 415    Bellevue        WA     98004
Lee Pridemore             19061 21st                                ave nw     shoreline       WA     98177
Layne Sapp                227 Bellevue Way NE                       # 551      Bellevue        WA     98004
Abbas Rachaman            903 bellevue pl e unit 103                           seattle         WA     98102
Katelyn Mincin            26555 se 15th st                                     sammamish       WA     98075
Igor Lokhmatov            31811 Pacific High Way South Suite B130              Federal Way     WA     98003
Alla Lokhmatov            31811 Pacific High Way South Suite B130              Federal Way     WA     98003
Danny Farmer              1525 9th Ave. Apt. 3110                              Seattle         WA     98101
Michael Perkins           800 5th Ave. Apt. 101                                Bellevue        WA     98104
Rohith Maneyapanda        1720b 27ave                                          seattle         WA     98122
Matthew Steel             3010 128th Ave. NE                                   Bellevue        WA     98005
Claude Brun               1910 132nd Ave. SE                        Unit #52   Bellevue        WA     98005
Angee Carlsen             4865 Lakehurst Ln.                                   Bellevue        WA     98006
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Sean Nyberg                  10351 NE 10 Street              Apt. 1004     Bellevue       WA      98004
Mark Anderson                312 11th PL.                                  Kirkland       WA      98033
Kristina Anderson            312 11th Pl.                                  Kirkland       WA      98033
Giovanni Acosta              11004 ne 11th st                appt 502      Bellevue       WA      98004
Adam Roodman                 9200 SE. 46th St.                             Mercy Island   WA      98040
Dargos Barac                 16083 SE. 45th Pl.                            Bellevue       WA      98006
Josh Helling                 9416 32nd Ave. NE.                            Seattle        WA      98115
Brooke Andersen              215 9th st                      d302          kirkland       WA      98033
Daniel Kultin                8843 124th ave se                             newcastle      WA      98056
Lee Mitchell                 2911 w mccgraw st                             Seattle        WA      98199
Tim Halley                   1124 NE Lilac St. #307                        Issaquah       WA      98029
Marc Vanderbilt              1008 NE High St.                              Issaquah       WA      98029
Ping Shi                     11011 ne 9th st                               Bellevue       WA      98004
Mike Burdo                   11331 ne 50th PL                              Bellevue       WA      98033
Sergey Zhevlakov             12424 52ND. DR. SE.                           Everett        WA      98208
Daniel Castro                688 110th ave ne                s608          Bellevue       WA      98004
Doug Haack                   2643 sw 172nd st                              Burien         WA      98166
Kirk Johnson                 688 110Th Ave. NE. S801                       Bellevue       WA      98004
Navid Esmailzadeh            11902 SE 73rd PL.                             Newcastle      WA      98056
Sabra Schneider              12029 ne 65th st                              kirkland       WA      98033
Nitin Rathee                 20305 124th Ave. Ave. NE                      Bothell        WA      98011
Jacqueline Levy              14526 ne 31st st b-16                         Bellevue       WA      98007
H. Ajith Kumar               11100 NE 11TTH ST.              APT. D309     Bellevue       WA      98004
Paras Kumar                  11000 NE 10TH. Ave.             APT. 264      Bellevue       WA      98004
Shruti Sharma                11000 NE. 10th Ave.             APT. 264      Bellevue       WA      98004
Joji Hirose                  12719 12th. Ave. NE                           Bellevue       WA      98125
Michele Selover              4700 NE 23RD. ST.                             Renton         WA      98059
Brittany Mains               704 228th ave ne apt 701                      sammamish      WA      98074
Ashley Selover               4700 NE 23rd.                                 Renton         WA      98059
Brendan Mcauliffe            11100 NE. 8th St. #400                        Bellevue       WA      98004
Nicki Navarro                3810 110th pl ne                              Bellevue       WA      98004
Jay Ohm                      10351 NE 10th st # 1807                       Bellevue       WA      98004
Shannon Boehme               1211 6th St.                                  Kirkland       WA      98033
Linda Kaszycki               865 170th pl ne                               Bellevue       WA      98008
Jeff Gochenour               865 170th pl ne                               Bellevue       WA      98008
Brittany King                10650 NE 9th Place.             Unit. 621     Bellevue       WA      98004
Rafael Machado Pereira       11011 9th st                    apt 225       Bellevue       WA      98004
Kacnika Oeurn                8300 160th Ave. NE              Apt. 628      Redmond        WA      98052
Cassandra Arora              2680 139th Ave. SE.             Unit 13       Bellevue       WA      98005
Patrick Acosta               216 Junction BLVD                             Algona         WA      98001
Janet Gagliardi              4028 S. 342nd.                                Auburn         WA      98001
Jessica Frank                NA                                            Bellevue       WA      98004
George Baxter-holder         4254 s graham st                              seattle        WA      98118
Gargy Majumday               1415 2nd Ave.                   Unit 701      Bellevue       WA      98101
Amanda Otero                 225 112th ave ne                number 420    Bellevue       WA      98004
Jamon Bollock                1210 15th Ave. E.               Apt. 226      Seattle        WA      98112
Gail Manuguid                806 31st ave                                  seattle        WA      98122
Blain Howard                 2428 nw market                  apt 313       seattle        WA      98107
Tina Lai                     505 122nd place ne              apt #F2       Bellevue       WA      98005
Jonathan Harris              1400 Bellevue Way SE.           Apt. 15       Bellevue       WA      98004
Alex Weinstein               3138 130th ave ne                             Bellevue       WA      98005
Irina Weinstein              3138 130th ave ne                             seattle        WA      98005
Kristina Lee                 1020 seneca st                  #214          seattle        WA      98101
Michael Travis               16616 NE 9th St.                              Bellevue       WA      98008
Greg Spane                   2481624                         ne 25th st    sammamish      WA      98074
Sierra Radosevic             29012 140th Ave. SE.                          Auburn         WA      98082
Justin Fagnan                788 110th NE                    APT. N2703    Bellevue       WA      98004
Bernadette Freelong          788 110th Ave. NE               N1205         Bellevue       WA      98004
Joesph Freelong              788 110th Ave. NE               N1205         Bellevue       WA      98004
Sun Min Chung                788 110th NE                    N605          Bellevue       WA      98004
Jessica Velasco              2718 franklin ave east          apt 5         seattle        WA      98102
Michael Nix                  938 110th st c-512                            Bellevue       WA      98004
Curtis Wells Jr.             13928 106TH PL NE                             Kirkland       WA      98034
Spencer Freid                14048 171ST LN NE                             Woodinville    WA      98072
Casey Martinez               308 108th ave ne                apt d205      Bellevue       WA      98004
Odessa Dodd                  44804 179th at                                Gold Bar       WA      98251
Jill Doran                   4717 162nd ct se                              Bellevue       WA      98006
Alex Bliznyuk                24633 se 165th st                             Issaquah       WA      98027
Shenouda Gerges              8920 138th ave se                             Bellevue       WA      98059
Angie Hsiao                  1405 231st court ne                           sammamish      WA      98074
Tyler Sargent                850 beech street                              Bellevue       CA      92101
Randall Jeremiah             417 bellevue way se             #102          Bellevue       WA      98004
Bryce Covey                  5002 47th Ave NE                              Bellevue       WA      98105
Raye-lynn Jassman            10690 ne 9th place              townhome 25   Bellevue       WA      98004
J-f Mannina                  777 108th ave                                 Bellevue       WA      98004
Martin Chaw                  23714 ne 70th st                              redmond        WA      98053
Kira Springer                688 110th ave ne                unit s1410    Bellevue       WA      98004
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Grant Sutherland             7435 e mercer way                            mercer island   WA     98040
Amanda Merkatz               10117 NE 64th St                             Bellevue        WA     98033
Sean Fiene                   10595 main street               apt 650      Bellevue        WA     98004
Christopher Davies           13408 138th place                            Bellevue        WA     98034
Tiffany Solack               13408 ne 138th place                         kirkland        WA     98034
Casey Mcguire                11011 NE 9th                                 Bellevue        WA     98004
Pavel Vakar                  800 seneca st                   apt 1013     seattle         WA     98101
Jubel Koshy Joseph           10312 ne 12th st apt b103                    Bellevue        WA     98004
Travis Martin                4319 Lake Washington Blvd                    Kirkland        WA     98033
Steve Mann                   10680 ne 9th pl                              Bellevue        WA     98004
Pashon Mann                  10680 ne 9th pl                              Bellevue        WA     98004
Carlos Camacho               688 110th ave ne                             Bellevue        WA     98004
Cassie Kinson                724 16th ave we                              kirkland        WA     98033
Courtney Gehring             610 Galer St                                 Seattle         WA     98109
Uli Bonilla                  938 110th Ave NE                             Bellevue        WA     98004
Ankita Dey                   9301 Avondale Road NE                        Redmond         WA     98052
Jonathan Everett             2744 ne 54th st                 apt b        seattle         WA     98105
Ryan Coffey                  2744 ne 54th street             apt b        seattle         WA     98105
Antonio Civitarese           826 NW 62nd Street                           Ballard         WA     98107
Teanna Lai                   5545 159th PL                                Bellevue        WA     98006
Lindsey Toledo               4422 bagley ave n               apt 111      seattle         WA     98103
Tim Fowler                   11101 ne 12th street            unit 108     Bellevue        WA     98004
Christina Martinez           4513-B evanston ave n                        seattle         WA     98103
Melissa Will                 11030 Main St A212                           Bellevue        WA     98004
Katya Bezdeleva              10688 NE 10th Street #B517                   Bellevue        WA     98004
Justin Cavanaugh             1744 28th AVE S                              seattle         WA     98144
Charles Smith                5756 Wilson Ave S                            Seattle         WA     98118
Anthony Giuliano             7603 Alexander hills                         Las Vegas       NV     89139
Maria Dane                   3006 14th Ave W                              Seattle         WA     98119
Gregory Banning              10555 Main Street #511                       Bellevue        WA     98004
Laura Lazo                   10555 Main St #511                           Bellevue        WA     98004
Steve Liikala                11011 NE 9th Street             #223         Bellevue        WA     98004
Megan Madlena                11011 NE 9th St                 #223         Bellevue        WA     98004
Jennifer Wagner              6623 Azaelea Way SE                          Snoqualmie      WA     98065
Han-yi Wang                  10042 Main St apt 405                        Bellevue        WA     98004
Victor Castleman             11709 NE 71st Street                         Kirkland        WA     98033
Mark He                      13440 NE 25th St                             Bellevue        WA     98005
Rebecca Kim                  5620 135th Pl SE                             Bellevue        WA     98006
Kelly Weisweaver             12025 NE 67th Street                         Kirkland        WA     98033
Jessica Huss                 6290 Terrace View Ln #A404                   Auburn          WA     98092
Stephanie Gates              688 110th Ave NE #S602                       Bellevue        WA     98004
Cathy Le-roux                10304 163rd Ave NE #2                        Redmond         WA     98052
Rainey Swan                  1301 4th Ave #1004                           Seattle         WA     98101
Ivy Xu                       788 110th ave ne                N517         Bellevue        WA     98004
David Johnson                1329 Aala Street Apt 206                     Honululu        HI     96817
Elaine Melnik                11310 124th Ave NE Unit 201                  Kirkland        WA     98033
Nonna Tarasenko              420 yakima blvd                              pacific         WA     98047
Rakesh Gandham               15223 NE 15th Pl #3302                       Bellevue        WA     99007
Eugene Suh                   909 112th Ave NE #113                        Bellevue        WA     98004
Elizabeth Shepherd           2121 6th Ave #S1111                          Seattle         WA     98121
Amanda Brace                 18520 63rd Ave NE                            Kenmore         WA     98028
Matt Bergen                  4460 145th Ave SE                            Bellevue        WA     98004
Pablo Chacon                 1730 22nd Ave #W508                          Seattle         WA     98122
Bing Blalock                 12323 NE 97th Street#H                       Kirkland        WA     98033
Jessica Brocius              12323 NE 97th Unit #H                        Kirkland        WA     98033
Thomas Swann                 7516 NE 153rd PL                             Kenmore         WA     98028
Robert Johnson               900 108th Ave NE#301                         Bellevue        WA     98004
Melissa Johnson              900 108th Ave Ne #301                        Bellevue        WA     98004
Sri Daruru                   14600 NE 32nd St #I23                        Bellevue        WA     98007
Paul Tenaglia                938 110th ave ne                a408         Bellevue        WA     98004
Quyen Vu Fahey               14301 106th Ave NE                           Kirkland        WA     98034
Jered Fahey                  14301 106th Ave NE                           Kirkland        WA     98034
Bianca Wilson                888 Western Ave #301                         Seattle         WA     98104
Sujith Vidanapathirana       650 Bellevue Way NE             Apt. 2608    Bellevue        WA     98004
Yasmin Mallah                211 kirkland ave                unit 512     kirkland        WA     98033
Lauren Pratt                 23826 Carter Road                            Bothell         WA     98021
Diana Jacobson               14606 NE 51st St                             Bellevue        WA     98007
Morgan Field                 66 Orchard Pl                                Orondo          WA     98843
Daniel Porras                803 E Denny Way #508                         Seattle         WA     98122
Gina Goodrich                8819 353rd Ave NE                            Carnation       WA     98014
Taylor Blair                 2246 Fairview Ave E                          Seattle         WA     98102
Laura Ewbank                 10722 15th ave                               seattle         WA     98125
Mary Potapova                16005 Inglewood road ne                      Bellevue        WA     98028
Brian Mckee                  13416 ne 11th court                          redmond         WA     98052
Donte Dupree                 77 S Washington St                           Seattle         WA     98104
Maria Deatley                6800 132nd PL SE #E205                       Bellevue        WA     98059
Nicholas Lauver              12643 NE 23nd St                             Bellevue        WA     98005
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Lei Zhang                  362 bellevue way ne                  n532       Bellevue         WA    98004
Nick Rodriguez             1032 106th ave ne                    apt a518   Bellevue         WA    98004
Physique Kitchen                                                           Bellevue         WA    98004
Brian Cawyer               3615 115Th Ave NE #H312                         Bellevue         WA    98004
Tasha Cawyer               3615 115th Ave NE H312                          Bellevue         WA    98004
Mahathi Ravella            688 110th Ave NE                                Bellevue         WA    98004
Divya Ravella              688 110th AVe NE #S808                          Bellevue         WA    98004
Jian Yang                  8909 weiting ave se                             snoqualmie       WA    98065
Michael Epstein            3441 77th PL SE                                 Mercer Island    WA    98040
Josephine Zheng            900 NE 65th St                                  Seattle          WA    98115
Briana Cornwell            10595 Main st #751                              Bellevue         WA    98004
Jill Stamborsky            40109 278th Ave SE                              Enumclaw         WA    98022
Kimberly Tran              1806 94th St SW                                 Everett          WA    98204
Cathy Kiel                 15103 33rd Ave SE                               Mill Creek       WA    98012
Flabiano Macon Jr          23829 13th ct s                                 DEs Moines       WA    98189
Roshane Silva              1320 E Marion Street                            Seattle          WA    98122
Sajani Amarasiri           1320 E Marion St                                Seattle          WA    98122
Avi Thaker                 62 Pascal Ln                                    Austin           TX    78746
John Cucco                 19918 5th Ave W                                 Lynnwood         WA    98036
Jane Kim                   129 118th Ave #A203                             Bellevue         WA    98005
Greg Nichols               10512 ne 25th st                                Bellevue         WA    98004
Abby Martins               788 110th ave ne                                Bellevue         WA    98004
Jesse Davis                4801 Rainier Ave S                   #623       Seattle          WA    98118
Brandon Hoff               13008 409th Ave SE                              North Bend       WA    98045
Chris Gregson              2948 224th PL SE                                Samammish        WA    98075
Chao Wang                  4011 Letitia Ave S                              Seattle          WA    98118
Elina Prok                 8501 NE 13th Ave                                Clyde Hill       WA    98004
Erin Bookey                7519 137th Ave NE                               Redmond          WA    98052
Josh Martin                8914 138th St SE                                Snohomish        WA    98296
Jennifer Yang              5208 ne 10th place                              renton           WA    98059
Tyler Yagi                 88 102nd Ave NE                                 Bellevue         WA    98004
Richard Lundeen            3717 Se Angelique st                            Seattle          WA    98118
Jennifer Edwards           20523 21st PL W                                 Seattle          WA    98036
Eric Norberg               820 NW 90th                                     Seattle          WA    98117
Ron Huddleston             11111 NE 8th St                                 Bellevue         WA    98004
Amy Renda                  688 110th ave ne                                Bellevue         WA    98004
Thomas Chang               909 112th Ave NE #1210                          Bellevue         WA    98004
Mark Reese                 8850 Redmond-Woodinville Road #306              Redmond          WA    98052
Beau Keller                989 112th NE #2704                              Bellevue         WA    98004
Gloria Keller              989 NE 112 #2704                                Bellevue         WA    98004
Cristina Pishchenko        1313 V St NW                                    Auburn           WA    98001
Daniel Deutsch             11101 NE 12th St #201                           Bellevue         WA    98004
Jon Friedman               5340 W Mecer Way                                Mercer Isoland   WA    98040
Jaclynn Hiranaka           1420 Terry Ave #803                             Seattle          WA    98101
Robyn Singh                30306 127th PL SE                               Auburn           WA    98092
Tim Sadler                 809 Laurel Way                                  Edmonds          WA    98020
Chris Henderson            4851 26th Ave SW                                Seattle          WA    98106
Anthony Griggs             1410 ne 20th ave                                Bellevue         WA    98007
Iryna Strenytska           11816 SE 66th St                                Bellevue         WA    98006
Amisha Bhatia              21110 SE 5th St                                 Sammamish        WA    98074
Gokay Hurmali              15607 ne 91st way                               redmond          WA    98052
Monica Duggal              13827 NE 93rd Ct.                               Redmond          WA    98052
Tali Roth                  9625 110th Ave NE                               Kirkland         WA    98033
Abhishek Arora             15719 90th Way                                  Redmond          WA    98007
Brian Mayer                117 16th Ave                                    Seattle          WA    98122
Pete Card                  7509 30th Ave NE                                Seattle          WA    98115
Travis Hover               1750 23rd Ave                                   Seattle          WA    98122
Asher Perlmutter           1414 10th Ave #500                              Seattle          WA    98122
Romulus Agiu               688 110th Ave NE #S404                          Bellevue         WA    98004
Jenny Pollack              3637 Woodlawn Ave N                             Seattle          WA    98103
Martin Del Rosario         2522 124th pl Ne                                Bellevue         WA    98005
Amy Bozic                  688 110th Ave NE S1002                          Bellevue         WA    98004
Mollie Johnsen             10602 NE 65th Ln                                kirkland         WA    98033
Kathy Thompson             7404 Linden Ave N                               Seattle          WA    98103
Amy Harmala                953 Field Ave NE                                Renton           WA    98059
Christoffer Rosen          8280 164th Ave NE #434                          Redmond          WA    98104
Umair Ahmad                2929 180th PL SE                                Bothell          WA    98012
Augustine Mathew           1823 Terry Ave #2103                            Seattle          WA    98101
David Curry                2415 SE 8th PL                                  Renton           WA    98055
Francis Fan                2828 95th Ave NE                                Clyde Hill       WA    98004
Aya Tange                  1111 NE 12th C110                               Bellevue         WA    98004
Darren Apfel               11111 NE                                        Bellevue         WA    98008
Isaiah Hunt                3300 College Street SE #G8                      Lacey            WA    98503
Johannes Gehrke            5789 173rd AVE SE                               Bellevue         WA    98006
Avinash Suresh             23703 NE 107th LN                               Redmond          WA    98053
Anthony Robinson           14127 NE 78th CT                                Redmond          WA    98052
Saidivya Velagapudi        10734 248th Ave NE                              Redmond          WA    98053
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Edgardo Alifano           18007 NE 28th Street                         Redmond         WA     98052
Rajeev Rajan              11018 NE 104th ST                            Kirkland        WA     98033
Alexandra Savelieva       688 110th Ave NE #S1210                      Bellevue        WA     98004
Craig Macken              317 112th Ave NE #1206                       Bellevue        WA     98004
Kathleen Voelbel          5449 Lake WA Blvd SE                         Bellevue        WA     98006
Chao Chen                 13612 174th Ave NE                           Redmond         WA     98052
Michelle Yurica           115 NE 77th St                               Seattle         WA     98115
Ryan Murphy               607 NW 29th Street                           Seattle         WA     98117
Laura Rosich              8315 NE Juanita DR                           kirkland        WA     98034
Erica Mummert             11398 NE 36th PL                A242         Bellevue        WA     98004
Amit Wadhwani             11306 183rd PL NE #H1014                     Redmond         WA     98052
Ashwin Mohan              10800 NE 8th St Ste 910                      Bellevue        WA     98004
David Fisher              136 102nd Ave #302                           Bellevue        WA     98004
Pia Fisher                136 102nd Ave NE                             Bellevue        WA     98004
Ania Gonzalez             1224 225th AVE NE                            Sammamish WA           98074
Darrin Morrow             6934 119th PL SE                             Newcastle       WA     98056
Todd Dean                 958 111th Ave NE #1206                       Bellevue        WA     98004
Kendall Cooper            3907 N. Lake washington                      Renton          WA     98056
Eric Nielson              688 110th ave ne                             Bellevue        WA     98004
Anqi Wu                   13408 ne 12th pl                             Bellevue        WA     98005
Jamie Klavano             14615 NE 32nd Street D302                    Bellevue        WA     98007
Barbina Jongsook          3804 130th ln apt b7                         Bellevue        WA     98006
Albert Roux               10304 163rd Ave NE #2                        Redmond         WA     98052
Garrett Gentling          20006 13th PL NW                             Shoreline       WA     98177
Belinda Trewern           1390 109th ave ne                            Bellevue        WA     98004
Nathan Mercer             1065 108TH AVE NE                            Bellevue        WA     98004
Jessica Gauthier          131 NE 145th PL                              Kirkland        WA     98034
Jay Templeton             2620 Bellevue Way NE #132                    Bellevue        WA     98004
Darrin Lee                12001 Arrowpoint Loop NE                     Bainbridge Island
                                                                                       WA     98110
Georges Delacretaz        6290 terrace view lane #a410                 auburn          WA     98092
Lin Chen                  526 1st Ave S                   305          Seattle         WA     98104
Garrett Mayock            12348 33rd ave ne #202                       seattle         WA     98125
Troy Ballesteros          1525 14th Ave #717                           Seattle         WA     98122
Sridev Pawar              607 E Harrison St                            Seattle         WA     98102
Gustavo Carmo             15130 NE 81ST Way #107                       redmond         WA     98052
Jana Reis                 15130 ne 81st way               #107         redman          WA     98052
Kruger Schaumkel          15791 Bear Creek Pkwy #A325                  Redmond         WA     98052
Fengrong Xin              1905 108th Ave NE                            Bellevue        WA     98004
Npti Npti                 11111 NE 8TH STREET                          Bellevue        WA     98004
Jacob Silzer              1625 park ave.                               puyallup        WA     98372
Colton Spahn              11702 98th ave ne #303                       kirkland        WA     98034
Erin Ham                  16635 SE 18th St                             Bellevue        WA     98008
Komron Mohseni            6161 S Langston Rd                           Seattle         WA     98178
Steven Zhu                13440 ne 25th street                         Bellevue        WA     98005
Aj Le                     1250 S Bupuget Drive H234                    renton          WA     98055
David Szymamski           2523 34th ave s                              seattle         WA     98144
Sharanya Chavo            11005 NE 124th Ln F202                       Kirkland        WA     98034
Sebastian Bengochea       22633 NE 4th PL                              Sammamish WA           98074
Jiahui Zou                8658 ne 7 th st                              Bellevue        WA     98039
Minsoo Ha                 11000 NE 10th street                         Bellevue        WA     98004
Yu Sun                    11417 21st ne                                Bellevue        WA     98004
Pilar Baquero             9060 ne 26th street                          clyde hill      WA     98004
Morgan Olberding          1032 106TH AVE NE APTA209                    Bellevue        WA     98004
Maryna Robets             2114 NW Paciifc Elm Dr                       Issaquah        WA     98027
Michael Kirchoff          221 1st Street                               Kirkland        WA     98033
Lance Riveira             1950 alasken way #421                        seattle         WA     98101
Ludmila Khilchenko        101 W Olympic                   #417         Seattle         WA     98119
Jiang Xue                 21807 56th Ave W                             Mountlake Terrace
                                                                                       WA     98043
David Newton              21807 56th Ave                               Mountainlake WA        98043
Matt Griffin              31519 121th PL SE                            Auburn          WA     98092
Tiffany Ferguson          13207 101st lane ne                          Kirkland        WA     98034
Molli Bahlenhorst         324 Central Way #410                         Kirkland        WA     98033
Kyle Curlett              8710 Mary Ave NW                             Seattle         WA     98117
Janelle Schneider         1020 108th Ave NE 1703                       Bellevue        WA     98004
Anders Svensson           448 4th Ave S                                Kirkland        WA     98033
Tiancong Zhou             16438 NE 19th St                             Bellevue        WA     98008
Keith Mcguinness          688 110th ave ne                             Bellevue        WA     98004
Chris Wells               909 112th Ave NE #505                        Bellevue        WA     98004
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 Fill in this information to identify the case:

 Debtor name         Club Ventures Investments LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         17-10060
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Club Ventures Investments LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         17-10060
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Club Ventures                     4 Astor Place                                     Motionsoft, Inc.                   D
             Archive LLC                       New York, NY 10003                                                                   E/F       3.91
                                                                                                                                    G




    2.2      Club Ventures III,                4 Astor Place                                     Motionsoft, Inc.                   D
             L.L.C.                            New York, NY 10003                                                                   E/F       3.91
                                                                                                                                    G




    2.3      Club Ventures III,                4 Astor Place                                     Life Fitness                       D   2.3
             L.L.C.                            New York, NY 10003                                                                   E/F
                                                                                                                                    G




    2.4      Club Ventures III,                4 Astor Place                                     LBN Holdings LLC                   D   2.2
             L.L.C.                            New York, NY 10003                                                                   E/F
                                                                                                                                    G




    2.5      Club Ventures III,                4 Astor Place                                     Praesidian Capital                 D   2.4
             L.L.C.                            New York, NY 10003                                Investors, LP                      E/F
                                                                                                                                    G




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           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Club Ventures III,                4 Astor Place                                Praesidian II SPV1,             D   2.5
             L.L.C.                            New York, NY 10003                           LP                              E/F
                                                                                                                            G




    2.7      Club Ventures III,                4 Astor Place                                Praesidian II SPV2,             D   2.6
             L.L.C.                            New York, NY 10003                           LP                              E/F
                                                                                                                            G




    2.8      Club Ventures III,                4 Astor Place                                EQC 600 West                    D
             L.L.C.                            New York, NY 10003                           Chicago Property                E/F       3.53
                                                                                            LLC
                                                                                                                            G




    2.9      Club Ventures                     4 Astor Place                                Mansion Realty, LLC             D
             Limelight                         New York, NY 10003                                                           E/F       3.86
                                                                                                                            G




    2.10     Club Ventures                     4 Astor Place                                Motionsoft, Inc.                D
             Limelight LLC                     New York, NY 10003                                                           E/F       3.91
                                                                                                                            G




    2.11     Club Ventures                     4 Astor Place                                Motionsoft, Inc.                D
             Miami LLC                         New York, NY 10003                                                           E/F       3.91
                                                                                                                            G




    2.12     Club Ventures                     4 Astor Place                                200 South Biscayne              D
             Miami LLC                         New York, NY 10003                           TIC II LLC                      E/F       3.1
                                                                                                                            G




    2.13     Club Ventures                     4 Astor Place                                ADR Drexel, LLC                 D
             Philadelphia LLC                  New York, NY 10003                                                           E/F       3.7
                                                                                                                            G




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           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.14     Club Ventures X,                  4 Astor Place                                Motionsoft, Inc.                D
             LLC                               New York, NY 10003                                                           E/F       3.91
                                                                                                                            G




    2.15     Club Ventures X,                  4 Astor Place                                The Shops at the                D
             LLC                               New York, NY 10003                           Bravern, LLC                    E/F       3.136
                                                                                                                            G




    2.16     Club Ventures X,                  4 Astor Place                                LBN Holdings LLC                D   2.2
             LLC                               New York, NY 10003                                                           E/F
                                                                                                                            G




    2.17     Club Ventures X,                  4 Astor Place                                Praesidian Capital              D   2.4
             LLC                               New York, NY 10003                           Investors, LP                   E/F
                                                                                                                            G




    2.18     Club Ventures X,                  4 Astor Place                                Praesidian II SPV1,             D   2.5
             LLC                               New York, NY 10003                           LP                              E/F
                                                                                                                            G




    2.19     Club Ventures X,                  4 Astor Place                                Praesidian II SPV2,             D   2.6
             LLC                               New York, NY 10003                           LP                              E/F
                                                                                                                            G




    2.20     DB 85 Gym Corp.                   4 Astor Place                                Motionsoft, Inc.                D
                                               New York, NY 10003                                                           E/F       3.91
                                                                                                                            G




    2.21     DB 85 Gym Corp.                   4 Astor Place                                Life Fitness                    D   2.3
                                               New York, NY 10003                                                           E/F
                                                                                                                            G




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            Column 1: Codebtor                                                          Column 2: Creditor



    2.22     DB 85 Gym Corp.                   4 Astor Place                                LBN Holdings LLC                D   2.2
                                               New York, NY 10003                                                           E/F
                                                                                                                            G




    2.23     DB 85 Gym Corp.                   4 Astor Place                                Praesidian Capital              D   2.4
                                               New York, NY 10003                           Investors, LP                   E/F
                                                                                                                            G




    2.24     DB 85 Gym Corp.                   4 Astor Place                                Praesidian II SPV1,             D   2.5
                                               New York, NY 10003                           LP                              E/F
                                                                                                                            G




    2.25     DB 85 Gym Corp.                   4 Astor Place                                Praesidian II SPV2,             D   2.6
                                               New York, NY 10003                           LP                              E/F
                                                                                                                            G




    2.26     Howard Brodsky                    9 Great Hill Farms Rd.                       ADR Drexel, LLC                 D
                                               Bedford, NY 10506                                                            E/F       3.7
                                                                                                                            G




    2.27     John Howard                       80 Irving Place                              ADR Drexel, LLC                 D
                                               New York, NY 10011                                                           E/F       3.7
                                                                                                                            G




    2.28     John Howard                       80 Irving Place                              200 South Biscayne              D
                                               New York, NY 10011                           TIC II LLC                      E/F       3.1
                                                                                                                            G




    2.29     John Howard                       80 Irving Place                              Bank of America                 D   2.1
                                               New York, NY 10011                                                           E/F
                                                                                                                            G




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            Column 1: Codebtor                                                          Column 2: Creditor



    2.30     Lanard &                          1801 Market Street Ste. 550                       ADR Drexel, LLC                D
             Axilbund d/b/a                    Philadelphia, PA 19103                                                           E/F       3.7
             Colliers Int'l
                                                                                                                                G




    2.31     Non-debtor                        4 Astor Place                                     LBN Holdings LLC               D   2.2
             subsidiaries                      New York, NY 10003                                                               E/F
                                               The subsidiaries are: Club Ventures II,
                                                                                                                                G
                                               L.L.C.; CV II Gym, LLC; CV 2, LLC; CV III
                                               Gym, LLC; CV 3, LLC; Club Ventures IV,
                                               LLC; CV IV Gym, LLC; Club Ventures V,
                                               LLC; Club Ventures VI, LLC; CV VII Gym,
                                               LLC; CLub Ventures VIII, LLC; CV VIII Gym
                                               LLC; CV 4 Leasing, LLC; CV VI, LLC; Club
                                               Ventures IX, LLC; Club Ventures X, LLC;
                                               CV X Gym, LLC; Club Ventures XI, LLC;
                                               Club Ventures XII, LLC. Some or all of the
                                               subsidiaries may no longer be operating.




    2.32     Non-debtor                        4 Astor Place                                     Praesidian Capital             D   2.4
             subsidiaries                      New York, NY 10003                                Investors, LP                  E/F
                                               The subsidiaries are: Club Ventures II,
                                                                                                                                G
                                               L.L.C.; CV II Gym, LLC; CV 2, LLC; CV III
                                               Gym, LLC; CV 3, LLC; Club Ventures IV,
                                               LLC; CV IV Gym, LLC; Club Ventures V,
                                               LLC; Club Ventures VI, LLC; CV VII Gym,
                                               LLC; CLub Ventures VIII, LLC; CV VIII Gym
                                               LLC; CV 4 Leasing, LLC; CV VI, LLC; Club
                                               Ventures IX, LLC; Club Ventures X, LLC;
                                               CV X Gym, LLC; Club Ventures XI, LLC;
                                               Club Ventures XII, LLC. Some or all of the
                                               subsidiaries may no longer be operating.




    2.33     Non-debtor                        4 Astor Place                                     Praesidian II SPV1,            D   2.5
             subsidiaries                      New York, NY 10003                                LP                             E/F
                                               The subsidiaries are: Club Ventures II,
                                                                                                                                G
                                               L.L.C.; CV II Gym, LLC; CV 2, LLC; CV III
                                               Gym, LLC; CV 3, LLC; Club Ventures IV,
                                               LLC; CV IV Gym, LLC; Club Ventures V,
                                               LLC; Club Ventures VI, LLC; CV VII Gym,
                                               LLC; CLub Ventures VIII, LLC; CV VIII Gym
                                               LLC; CV 4 Leasing, LLC; CV VI, LLC; Club
                                               Ventures IX, LLC; Club Ventures X, LLC;
                                               CV X Gym, LLC; Club Ventures XI, LLC;
                                               Club Ventures XII, LLC. Some or all of the
                                               subsidiaries may no longer be operating.




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            Column 1: Codebtor                                                          Column 2: Creditor



    2.34     Non-debtor                        4 Astor Place                                     Praesidian II SPV2,            D   2.6
             subsidiaries                      New York, NY 10003                                LP                             E/F
                                               The subsidiaries are: Club Ventures II,
                                                                                                                                G
                                               L.L.C.; CV II Gym, LLC; CV 2, LLC; CV III
                                               Gym, LLC; CV 3, LLC; Club Ventures IV,
                                               LLC; CV IV Gym, LLC; Club Ventures V,
                                               LLC; Club Ventures VI, LLC; CV VII Gym,
                                               LLC; CLub Ventures VIII, LLC; CV VIII Gym
                                               LLC; CV 4 Leasing, LLC; CV VI, LLC; Club
                                               Ventures IX, LLC; Club Ventures X, LLC;
                                               CV X Gym, LLC; Club Ventures XI, LLC;
                                               Club Ventures XII, LLC. Some or all of the
                                               subsidiaries may no longer be operating.




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